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          Quackenbush Appendix A
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 STATE OF NEW YORK
                                                        •
 SUPREME COURT: COUNTY OF ALBANY


Retired    Public    Employees   Association,                 NOTICE OF PETITION
Inc.; Stanley Winter, as an individual
and President, Retired Public Employees
Association,    Inc.;   Alan Dorn,    as   an
individual     and     Executive    Director,                 ALBANY COUNTY
Retired    Public    Employees   Association,                 INDEX NO. 7S86,-/L
Inc.; Hon. Jules L. Spodek; Hon. David R.
Townsend;    Helen M.    Bulson;  Victor L.
Costello; Joy Godin; Francis Hamblin; A.
Joanne Lantz; William C. Moore; JaM H.                       RJI NO.
Neary;    David    B.   Smingler;    Kathleen
Stallrner; and Frosine Stolis,

              Plaintiff-Petitioners,                         HON.

        -Against-

Hon. Andrew Cuomo, Governor, State of New
                                                                                  ....... (:-;
York; New York State Department of civil                                          :-- -J   I-~   '1
Service; New York State Civil Service
Commission;    Patricia   Hite,    Acting
President, New York State Civil Service
Commission;   New   York   State   Health
Insurance Program; State Director of the
Budget; Director of Employee Relations,
Governor's Office of Employee Relations;
and New York State Comptroller as a
necessary party,

              Defendant-Respondents.




SIRS AND MADAMES:

        PLEASE   TAKE   NOTICE,    upon    the    annexed   Verified   Petition

sworn    to   on November    30,   2011,    and   the   annexed   affidavit of



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                    •                                             •
Harvey Randall dated December 7, 2011 and all of the papers and

exhibits   attached thereto,            an application will be made in                      the

Supreme    Court,     Albany        County,      located      in     the    Albany     County

Courthouse-,· 16 EagleSt-reet-, Albany,                New York 12207 on January

13,   2012 at   9:30 A.M.       or as soon thereafter as counsel may be

heard for a judgment and order pursuant to CPLR 3001 and Article

78 containing the following relief:

(a)    Declaring    that       the    administrative              implementation       of   an

increase   in   the    percentages         of    the   contributions           for   medical

benefits   under      NYSHIP    payable         by   State    retirees       and/or    their

dependents participating in NYSHIP in excess of that set forth

in Civil Service Law 167(1) (a) allegedly effective on October 1,

2011 is invalid and null and void; and

(b)   Declaring that the emergency regulation filed on September

27, 2011 and to take effect on October 1, 2011, and published in

the    State    Register       in     an    issue      dated         october     12,     2011

promulgated by the New York State Department of Civil Service

purportedly     implementing         the   increase          in     the    percentages      of

contributions for NYSHIP by retirees participating in NYSHIP is

invalid and null and void; and

(c)   Granting a preliminary and permanent injunction prohibiting


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                       •                              •
the defendant-respondents or any of the their officers,                      agents,

or employees from implementing the October 1,              2011 increases in

the      percentages   of    the    contributions    for   health       insurance

benefits under NYSHIP by retirees participating in NYSHIP; and

(d)   Directing     that    any    increases   for   NYSHIP    paid     by     State

retirees since October 1,          2011 under color of the notification

and/or said emergency regulation be refunded; and

(e) For the costs and disbursements of this action; and

(f) For such other and further relief as the Court may deem just

and proper.

      Venue    is   proper    because    the   principal      offices    of     the

respondents are located in and the decision challenged was made

in Albany County.

      PLEASE TAKE NOTICE, that pursuant to CPLR 7804(c} answering

papers must be served at least five days before the return date

or will be rejected as untimely.

      Oral argument is respectfully requested.



DATED:       Albany, New York
             December 7, 2011




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                 •                               •
                                  Yours, etc.




                                  LEWIS B. OLIVER, JR., ES .
                                  Oliver Law Office
                                  Attorney for Plaintiff-Petitioners
                                  156 Madison Avenue
                                  Albany, New York 12202
                                  518-463-7962



TO:   Hon. Andrew M. Cuomo
      Governor of New York State
      New York State Capitol Building
      Albany, New York 12224

      New York State Department of Civil Service
      Alfred E. Smith State Office Building
      Albany, New York 12239

      New York State civil Service Commission
      Alfred E. Smith State Office Building
      Albany, New York 12239

      Hon. Patricia Hite
      Acting President, New York State Civil Service Commission
      New York State Department of Civil Service
      Alfred E. Smith State Office Building
      Albany, New York 12239

      New York State Health Insurance Program
      Alfred E. Smith State Office Building
      Albany, New York 12239




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                  •                              •
     State Director of the Budget
     New York State Capitol Building
     Albany, New York 12224

     Director of Employee Relations
     Governor's Office of Employee Relations
     2 Empire State Plaza
     Albany, New York 12223

     New York State Comptroller
     Office of the State Comptroller
     110 State Street
     Albany, New York 12236

     Hon. Eric T. Schneiderman
     Attorney General
     Office of the Attorney General
     The Capitol
     Albany, New York 12224-0341




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 STATE OF NEW YORK
                           •
 SUPREME COURT: COUNTY OF ALBANY
                                                                         •
 Retired Public Employees Association,
 Inc.; Stanley Winter, as an individual
 and President, Retired Public Employees                      SUMMONS
 Association,   Inc.; Alan Dorn, as an
 individual    and    Executive   Director,
 Retired Public Employees Association,
 Inc.; Hon. Jules L. Spodek; Hon. David
 R. Townsend; Helen M. Bulson; Victor L.
 Costello; Joy Godin; Francis Hamblin; A.
 Joann~ Lantz; William C. Moore; John H.
 Neary;   David    B.  Smingler ;  Kathleen ..                RJI NO.
 Stallmer; and Frosine Stolis,

                  Plaintiff-Petitioners,
                                                              HON.
         -Against-

Hon. Andrew Cuomo, Governor, State of
New York; New York State Department of
Civil Service; New York State Civil
Service    Commission;     Patricia Hite,
Acting President, New York State Civil
Service    Commission;    New  York State
Health Insurance Program; State Director
of the Budget; Director of Employee
Relations, Governor's Office of Employee
Relations;    and      New    York  State
Comptroller as a necessary party,

                 Defendant-Respondents


TO:   NEW YORK STATE DEPARTMENT OF CIVIL SERVICE; PRESIDENT, NEW YORK STATE
CIVIL SERVICE COMMISSION; NEW YORK STATE DIRECTOR OF THE BUDGET; NEW YORK
STATE CIVIL SERVICE COMMISSION; NEW YORK STATE HEALTH INSURANCE PROGRAM; NEW
YORK STATE COMPTROLLER

         YOU ARE HEREBY SUM:M:ONED                                                      and required to
serve upon plaintiff's attorney an answer to the complaint in this action
within twenty (20) days after service of this summons, exclusive of the day
of service, or within thirty (30) days after service is complete i f this
summons is not personally delivered to you within the State of New York.   In
case of your failure to answer, judgment will be taken against you by default
for the relief demanded in the complaint.

Dated:           December 7, 2011

                                                  LEWIS B. OLIVER, JR.,
                                                  Oliver Law Firm
                                                  Attorney for Plaintiff-Petitioners
                                                  156 Madison Avenue
                                                  Albany, New York 12202
                                                  518-463-7962


The basis for venue in Albany County in this case is that the principal office of the defendants is in Albany
County, and the acts complained ofoccurred in Albany County.
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                       •                                    •
  STATE OF NEW YORK
  SUPREME COURT: COUNTY OF ALBANY


  Retired    Public    Employees    Association,                    VERIFIED COMPLAINT-
  Inc.; Stanley Winter, as an individual                            PETITION
  and President, Retired Public Employees
--Associatien,-- Inc.;    Alan---- Dorn,--- as-- an- -
  individual     and     Executive      Director,
  Retired    Public   Employees     Association,                    ALBANY COUNTY
  Inc.; Hon. Jules L. Spodek; Hon. David R.                         INDEX NO.   75("- LL-
  Townsend;   Helen M.     Bulson;    Victor L.
  Costello; Joy Godin; Francis Hamblin; A.
  Joanne Lantz; William C. Moore; John H.
  Neary;    David    B.   Smingler;       Kathleen                  RJI NO.
  Stallmer; and Frosine Stolis,

                Plaintiff-Petitioners,
                                                                    HON.
          -Against-

 Hon. Andrew Cuomo, Governor, State of New
 York; New York State Department of Civil
 Service; New York State Civil Service
 Commission;    Patricia   Hite,    Acting
 President, New York State Civil Service
 Commission;   New   York   State   Health
 Insurance Program; Stat~ Director of the
 Budget; Director of Employee Relations,
 Governor's Office of Employee Relations;
 and New York State Comptroller as a
 necessary party,

                Defendant-Respondents.



          Plaintiff-Petitioners Retired Public Employees Association,

 Inc. ,    Stanley    Winter,   Alan      Dorn,   Hon.     Jules    L.    Spodek,    Hon.

 David     R.   Town!3end,   Helen   M.    Bulson,       Victor    L.    Costello,    Joy

                                           -1-
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                        •                                          •
Godin,       Francis Hamblin, A.              Joanne Lantz, William C. Moore, John

H.     Neary,    David       B.       Smingler,       Kathleen    Stallmer,        and    Frosine

Stolis by their duly authorized attorney Lewis                                B    Oliver,     Jr.,

Esq.,        hereby    state          for     their    combined       declaratory        judgment

action and Article 78 petition as follows:

        1.      This    is        a     combined        declaratory       judgment         action

pursuant to CPLR 3001 and CPLR Article 78 proceeding to declare

that      implementation of             an increase       in the       percentages        of    the

contributions payable by retirees of the State of, New York who

retired on or after January 1, 1983 and prior to October 1, 2011

(hereafter       "retirees")            and    are    participating      in       the   New York

State Health Insurance Plan                     (hereafter NYSHIP),        from 10% of the

cost      of premiums        for       individual      medical    coverage         to   12%,   and

from 25% of the cost of premiums for dependent coverage to 27%,

violates Civil Service Law 167 (1) (a)                     and the Due Process Clause

of the United States and New York State constitutions and other

statutory and constitutional provisions.



                                        RELIEF-- REQUESTED

     2.         The relief requested herein is                    a    final      judgment and

order pursuant to CPLR 3001 and CPLR Article 78 containing the
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                         '.                                          •
 following relief:

 (a)    Declaring        that     the    administrative          implementation          of   an

increase    in     the    percentages         of    the   contributions          for    medical

benefi ts   under        NYSHIP    payable         by   State    retirees    and/or       their

dependents participating in NYSHIP in excess of that set forth

in Civil Service Law 167(1) (a)                allegedly effective on October 1,

2011 is invalid and null and void; and

(b)    Declaring that the emergency regulation filed on September

27, 2011 and to take effect on October 1, 2011, and published in

the     State    Register         in     an    issue      dated        October     12,     2011

promulgated by the New York State Department of civil Service

purportedly      implementing           the    increase         in   the   percentages        of

contributions for NYSHIP by retirees participating in NYSHIP is

invalid and null and void; and

(c)    Granting a preliminary and permanent injunction prohibiting

the defendant-respondents or any of the their officers, agents,

or employees from implementing the October 1,                           2011 increases in

the    percentages        of    the      contributions           for     health    insurance

benefits under NYSHIP by retirees participating in NYSHIP; and

(d)    Directing    that        any     increases       for     NYSHIP     paid    by    State

retirees since October 1,               2011 under color of the notification



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                        •                                     •
and/or said emergency regulation be refunded; and

 (e) For the costs and disbursements of this action; and

(f) For such other and further relief as the Court may deem just

and proper.



                                        PARTIES



      3•     Plaintiff-Petitioner              the     Retired          Public    Employees

Association, Inc.          [hereafter "RPEA"] insofar as herein relevant,

represents the interests of individuals receiving a                              retirement

allowance,       or      who   are     eligible        for    a     vested       retirement

allowance, from a public retirement system of New York State, or

from an Optional Retirement Plan and their dependents.                            RPEA has

19    chapters     in    New   York,    Florida,        and       the    Carolinas,     with

membership of approximately 40,000 retirees from public service

and their dependents in the State of New York.                            All members of

RPEA are retirees from service in New York State and municipal

governments,      or their dependants.               RPEA is not a          labor union,

but before       their    retirement     its    retiree members were              formerly

represented by the Civil· Service Employees Association                             (CSEA),

the   Public     Employees     Association           (PEF),   Council       82    New   York



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                        •                                                 •
State      Law       Enforcement         Officers             Union,           or     other      unions,

confidential-management                 employees             who        are        members      of   the

Organization of New York State Management Confidential Employees

(OMCE),     or other groups             such as         employees of the Legislature,

State    jUdges, other individuals serving in positions designated

managerial or confidential within the meaning of Article 14 of

the     Civil        Service     Law,        or    individuals                 excluded       from    the

definition of "employee" set out in Civil Service Law 201(7) (a).

Retirees are not employees wi thin the meaning of Article 14 of

the     civil     Service       Law,     and       State        employees             are   no    longer

represented by these unions or employee organizations when they

become    retired.         The purpose of                RPEA       is    to provide effective

advocacy and lobbying on behalf of retired public employees of

New York State, to provide education and information to retirees

about    their       rights     as    retired       employees,             to       provide    personal

assistance,          conduct         research,          and     otherwise             represent       the

interests       of    retirees        from    State      government             service.         In the

past RPEA successfully lobbied for a permanent pension cost-of-

living     adjustment          (CQ~}~_to            improve          pension           benefits       for

retirees,       and has advocated against State and local governments

unfairly        cutting        health        insurance          benefits              for     retirees.



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                           •                                          •
Membership in RPEA is open to all former employees and retirees

of New York state and its political subdivisions who have become

retired from employment.                     Membership is open to all regardless

of    race,         religion          or     national         origin,       or     gender,        age,

disability,         upon payment of annual dues in the mount of $24.00

per year.          RPEA is governed by a Board of Directors,                              and has a

president and other officers who are elected from the membership

and are all volunteers. Stanley winter is the President of RPEA,

and Alan Dorn is the Executive Director of RPBA. The main office

of   RPEA     is    located       at       435    New Karner        Road,   Albany,       New York

12205.    The Board of Directors of RPEA,                           by resolution,         has duly

authorized this litigation.                      RPEA is suing on behalf of all its

members     and       other       retirees          including,       but    not     limited       to,

Stanley Winter, Alan Dorn,                       Hon.   Jules L.     Spodek, Hon.         David R.

Townsend,          Helen    M.        Bulson,      Victor      L.    Costello,       Joy       Godin,

Francis     Hamblin,        A.        Joanne      Lantz,      William C.         Moore,    John    H.

Neary, David B. Smingler, Kathleen Stallmer, and Frosine Stolis

and all other members adversely affected by the administrative

implementation         of        an     increase         in   the    percentages          of    their

contributions         for medical benefits paid to NYSHIP by retirees

and/or their dependents enrolled in NYSHIP in excess of that set



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                                      •                                                    •
      forth in Civil Service Law 167 (1) (a) .

             4.           Plaintiff-Petitioner                   Stanley             Winter        resides        at   255

      Patroon Creek Boulevard, Apartment 4267, Albany, New York 12206.

     Mr. Winter was employed in the New York State Office of Parks,

     Recreation,               and     Historic           Preservation               for   39      years,      where     he

     held         positions           as     Director           of    Human          Resources,           Director       of

     Agency Manpower Management, and Director of Personnel.                                                        During

     his employment with the State he was a Management Confidential

     employee and was not a member of any union.                                           Mr. Winter has been

     retired          from       State       service        for       16    years,         and       he    has    been    a

     member          of        RPEA        for     17     years.          Mr.        Winter        is     currently       a

     participant               in     NYSHIP,       and     he       is    enrolled           in     CDPHP       Medicare

     Advantage Plus plan with individual coverage.                                                 Prior to October

     1 his monthly contribution for the individual health insurance

     premium was $51.86 per month. After October 1,                                                  2011 Mr. Winter

     continues            being        in        CDPHP    Medicare          Advantage            Plus      plan     under

     NYSHIP with individual coverage.                                 Under the proposed increase in

     the      percentage              of    contributions             for       NYSHIP          by      retirees,      Mr.

__   Win_t~1',"-'   s_cQntribution for NYSHIP will be $67.41 per month, which

     is an increase of $16.45 per month.                                    Mr. Winter is currently the

     president            of    RPEA,        and     he    is    suing          as    a    member         of   RPEA,     as



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                          •                                          •
president of RPEA, and as an individual.

       5.       Plaintiff-Petitioner                Alan      Dorn    resides       at    6    Wedge

Road,       Delmar, New York 12054. Mr. Dorn was employed in the New

York        State    Department        of     Civil      Service     as    Director       of   Human

Resources,          the New York State Office of Real Property Services

as Director of Human Resources,                         and the Hudson Valley Community

College as           a   professor      for    a    total of       35 years.         During his

employment           with      the    State    he       was   a   management        confidential

employee and was not a member of any union.                                Mr.    Dorn has been

retired from State service for 4 years, and he has been a member

of RPEA for 4 years.                    Mr.    Dorn is currently a participant in

NYSHIP,       and he        is    enrolled in the EMPIRE plan with dependent

coverage.           Prior to October 1 his monthly contribution for the

individual health insurance premium was $250.12 per month. After

October 1,          2011 Mr.         Dorn expects to continue being enrolled in

the     EMPIRE       plan      with    dependent         coverage.        Under   the     proposed

increase        in       the     percentage        of     contributions       for     NYSHIP     by

retirees, Mr. Dorn's contribution for NYSHIP will be $278.26 per

month,       which is          an increase of            $28.14 per month.          Mr.   Dorn is

currently employed as the Executive Director of RPEA, and he is

suing as a member of RPEA, as Executive Director of RPEA, and as



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                      •                                       •
an individual.

    6.         Plaintiff - Peti tioner Hon.           Jules   L.   Spodek resides      at

75 Henry Street,         Brooklyn, New York 11201.                 Justice Spodek was

employed in the New York State Supreme Court,                        Office of Court

Administration Unified Court System,                   serving six years in Civil

and Criminal Courts,          and twenty-four years as a Justice of the

Supreme Court of the State of New York.                       During his emploYment

with the State he was not a member of any union.                       Justice Spodek

has been retired from State service for about 7 years.                            Justice

Spodek is currently a participant in NYSHIP as an individual and

has dependent coverage in addition.                   Justice Spodek is a retired

member    in    the   New York      State       and   Legal   Employees      Retirement

System    (NYSLERS).        Justice Spodek is currently a participant in

NYSHIP,   and he      is    enrolled in the           Empire plan with dependent

coverage.       Prior to October 1 hi s monthly contribution for the

individual      health      insurance      premium      was    $250.12      per   month.

After October 1,         2011 he expects to continue being enrolled in

the Empire Family plan under NYSHIP as an individual. Under the

propose~ncxease            in the   percen~~g~        of contributions for NYSHIP

by retirees,      Justice     Spodek I s    contribution for          NYSHIP will be

$278.26 per month,          which is       an    increase of       $28.14   per month.



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                            •
Justice       Spodek is           suing     as    an       individual       and as        a    member of

RPEA.

       7.          Plaintiff-Petitioner Hon. David R. Townsend resides at

1524        Oyster        Cove    Road,     Sylvan             Beach,    Virginia     13157.            Mr.

Townsend was elected to the ·New York State Assembly,                                           where he

served        as     an    AssemblYman           in     the       Legislature      for        20   years.

During his tenure with the State Assembly he was not a member of

any union.            AssemblYman Townsend has                          been retired from           State

service for one year.                     Mr. Townsend is currently a participant

in NYSHIP, and he is enrolled in the Empire plan with individual

coverage.           Prior to October              1    his monthly contribution for the

individual          health insurance premium was                         $92.94 per month.              He

has    not     made        a     decision        for       a    health     care    plan        following

notification              of     the      percentage              of     contribution           changes.

AssemblYman Townsend is suing as an individual and as a member

of RPEA.

      8.           Plaintiff-Petitioner                Helen       M.     Bulson    resides        at     2

Wineberry Lane,                Ballston Spa,           New York 12020.             Ms .       Bul son was

"emproyea--by - the New Yor)CState Department" of-""Motor Vehicles for

35 years,          where she was           employed as             a    Supervisor PrClerk-SrES

Clerk.       During her emploYment with the State she was formerly in



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                           •                                             •
a    negotiating unit                represented by CSEA.                    Ms.     Bulson has been

retired from State service                         for    ten years,          and she has been a

member        of     RPEA      for     one     year.            Ms.     Bulson       is        currently        a

participant in NYSHIP,                     and she is enrolled in the Empire Plan

with        individual         coverage.             Prior       to     October          1     her     monthly

contribution             for   the      individual         health        insurance             premium       was

$59.23        per        month.            Under     the     proposed              increases         in      the

percentage          of    contribution             for   retirees,           Ms.    Bulson's payment

for     health        insurance            premium       will     be     $67.72          per    month,         an

increase       of        $8.49       per    month.         Ms.         Bulson       is       suing      as     an

individual and as a member of RPEA.

       9.          Plaintiff - Peti tioner victor L.                     Costello            resides      at   4

Lilliana Lane,             New Hartford,             New York 12413.                Mr.      Costello was

employed by the New York State Office of Mental Health at the

Utica Psychiatric Center for 20 years,                                 where he held positions

as    an Attendant             and Registered Nurse.                     During          his    employment

with the State he was formerly in a bargaining unit represented

by    CSEA     or     PEF.        Mr.       Costello, has             been    retired           from      State

service_for 20 years,_he has been a member of RPEA for 20 years,

and he is currently a member of RPEA's Board of Directors.                                                   Mr.

Costello is currently enrolled in the New York State Retirement



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                              •                                                   •
System and receives                    gross retirement paYments of                                $1,008.00 per

month.            He     is    currently           a    participant              in    NYSHIP,          and     he    is

enrolled in the Empire Plan with individual coverage.                                                     Prior to

October       1        his    monthly        contribution              for       the     individual             health

insurance          premium        was       $58.10        per       month.             Under       the    proposed

increase          in      the     percentage             of      contributions                for       NYSHIP        by

retirees,          Mr.       Costello's contribution for NYSHIP will be $69.72

per    month,          an     increase        of       $11. 62       per     month.          Mr.    Costello          is

suing as an individual and as a member of RPEA.

      10.         Plaintiff-Petitioner                    Joy        Godin        resides          at     133    East

Duncan Hill Road,                 Dover Plains,               New York 12522.                  Ms .      Godin was

employed by Harlem Valley Psychiatric Center for 37 years, where

she    was        employed        as    a     Attendant             Staff        Nurse,       Head       Nurse       and

Supervisor ,            Administrative Assistant                       I.         During her emploYment

with        the        State      she       was         formerly            in     a     negotiating             unit

represented             by    PEF.          Ms.        Godin     has       been        retired          from    State

service for 21 years, and-she has been a member of RPEA for many

years.        Ms.        Godin is       currently enrolled in the New York State

Retirees          System        and         receives           gross. retirement                   paYments          of

$400.00       per        month.         Ms.       Godin        is    currently           a    participant            in

NYSHIP,      and she is              enrolled in the Empire Plan with individual



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                        •                                     •
coverage.        Prior to October 1 her monthly contribution for the

individual health insurance premium was $59.23 per month.                              Under

the    proposed increases          in    the    percentage     of .contribution          for

retirees, Ms. Godin's payment for health insurance premium will

be $69.72 per month, an increase of $10.49 per month.                        Ms. Godin

is suing as an individual and as a member of RPEA.

      11.      Plaintiff-Petitioner Francis Hamblin resides at 99 Old

Route 20, East Nassau, New York 12062.                     Mr. Hamblin was employed

by the New York State Office for Technology for 26 years, where

he     was     employed     as     an     unemployment         insurance     examiner,

administrative          analyst,         computer          programmer,      and        data

communication specialist.               During his employment with the State

he was formerly in a negotiating unit represented by PEF.                               Mr.

Hamblin has been retired from State service for ten years,                              and

he    has    been a   member of         RPEA    for   one year.       Mr.   Hamblin is

currently a      participant       in NYSHIP,         and he     is enrolled in the

CDPHP Health Plan with dependent coverage.                         Prior to October 1

his monthly contribution for the family health insurance premium

wa~    $100.02    per   month.     Under       the    proposed      increases     in    the

percentage of contribution for retirees,                     Mr.    Hamblin's payment

for   health     insurance       premium       will   be    $126.14   per   month,       an



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                              •                                           •
increase           of     $26.12     per      month.         Mr.    Hamblin           is     suing    as    an

individual and as a member of RPEA.

      12.          Plaintiff-Petitioner                A.     Joanne       Lantz           resides    at    20

Owls        Nest        Road,     Saugerties,      New        York       12477.        Ms.     Lantz       was

employed by the New York State Department of Education where she

held the position of Specialist in Pupil Personnel Guidance for

10 years.           During her employment with the State she was formerly

in a negotiating unit represented by PEF.                                       Ms.    Lantz has been

retired from              State     service      for        15 years,       and she           has    been a

member        of        RPEA      for    11    years.         Ms.       Lantz         is     currently       a

participant in NYSHIP,                   and she is enrolled in the United Health

Care    Plan        with        individual      coverage.               Prior    to        October    1    her

monthly contribution for the individual health insurance premium

was    $170.78           per month.            Under        the    proposed           increase       in    the

percentage of contributions for NYSHIP by retirees, Ms.                                              Lantz's

payment for health insurance premium will be $198.92 per month,

an    increase           of     $28.14   per    month.            Ms.    Lantz        is     suing    as    an

individual and as a member of RPEA.

      13.      Plaintiff-Petitioner William C.                            Moore        resides       at 420

East 11 th Street, Apartment 2804, New York, New York 10029.                                               Mr.

Moore was employed by the New York State Department of Taxation



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                            •                                           •
 and Finance for 27 years, where he was employed as an auditor.

 During       his     employment      with     the       State     he     was    formerly      in    a

 negotiating unit represented by PEF.                           Mr. Moore has been retired

 from State service for 15 years,                        he has been a member of RPEA

 for 15 years,            and he is currently a member of RPEA's Board of

 Directors.           Mr.     Moore    is     currently          enrolled       in   NYSLERS    and

 receives gross retirement payments of $2,308.00 per month.                                         He

 is currently a participant in NYSHIP,                           and he is enrolled as an

 individual.          Prior to October 1 his monthly contribution for the

 individual health insurance premium was $59.23 per month.                                    Under

 the    proposed          increases    in    the    percentage           of   contribution      for

 retirees, Mr. Moore's payment for health insurance premium will

be $69.72 per month, an increase of $10.49 per month.                                  Mr. Moore

is suing as an individual and as a member of RPEA.

       14.        Plaintiff-Petitioner John H.                   Neary resides at 11 Pin

Oar Drive, Kinderhook, New York 12106.                             Mr.    Neary was employed

by the New York State Department of Civil Service for 22 years,

where        he     was    employed     as     a        budget    analyst.           During     his

. emplpymentwi tb             the     State        he     was     formerly       a    Management

Confidential employee,                and was       not    a member of a union.                 Mr.

Neary has been retired from State service for 15 years,                                     and he



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                     •                                      •
has been a member of RPEA for 15 years.                  Mr. Neary is currently

enrolled in the New York state Retirement System and receives

gross     retirement       payments    of    $2,000.00      per   month.         He     is

currently a       participant    in NYSHIP,        and he    is   enrolled in the

Empire    Plan with dependent          coverage.        Prior to October             1 his

monthly     contribution       for     his     health   insurance       premium        was

$250.12     per     month.     Under     the     proposed     increases         in     the

percentage of contribution for retirees, Mr. Neary's payment for

health insurance premium will be $278.26 per month,                     an increase

of $28.14 per month.          Mr. Neary is suing as an individual and as

a member of RPEA.

   15.      Plaintiff -Petitioner David B.              Smingler resides         at     4C

Cass    Court,    Ballston Lake,       New York     12019.        Mr.   Smigler was

employed in the New York State Senate for 32 years,                         where he

held    positions     of     Legislative       Assistant,    Manager       of    Office

Automation, and Executive Assistant.               During his employment with

the State he was not a member of any union.                       Mr.   Smigler has

been retired from State service for 2 years and 11 months,                             and

he has been a member of RPEA for                 6 months.        Mr.   Smingler is

currently a       participant in NYSHIP,          and he     is   enrolled in the

Empire plan with individual coverage.                   Prior to October 1 his



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                             •                                         •
monthly contribution for the individual health insurance premium

was     $58.10         per    month.      Under      the      proposed        increase      in        the

percentage          of       contributions         for        NYSHIP     by      retirees,            Mr.

Smingler's         contribution          for     health       insurance       premium       will       be

$69.72 per month, an increase of $11.62 per month.                                   Mr. Smingler

is suing as an individual and as a member of RPEA.

      16.        Plaintiff-Petitioner             Kathleen       Stallmer        resides      at       12

Sycaway Avenue, Troy, New York 12180.                           Ms. Stallmer was employed

by SUNY Empire State College for over 40 years,                                  where she was

employed as a stenographer, senior stenographer, Secretary 2, HR

Associate,         SR.       HR Associate,        and      Director      of    Human    Resoures.

During       her   emploYment           with   the      State    she     was     formerly        in     a

negotiating         unit       represented        by    CSEA,     and     then       served      as     a

Management Confidential employee where she was not a member of

any union.         Ms. Stallmer has been retired from State service for

3 years.         Ms. Stallmer is currently a participant in NYSHIP, and

she   is     enrolled         in   the    Empire       Plan with        dependent       coverage.

Prior       to   October       1   her    monthly        contribution          for    the     family

heal thin,~u_rallce premium                was    $250.    1?~   per    month.         Under       the

proposed         increases         in    the     percentage        of      contribution            for

retirees,        Ms.     Stallmer's       paYment       for     health    insurance         premium



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                                                                 •
will be $278.26 per month, an increase of $28.14 per month.                                Ms.

Stallmer is suing as an individual and as a member of RPEA.

      17.        Plaintiff-Petitioner Frosine Stolis resides at 33 Moon

Drive, Albany, New York 12205.                    Ms.    Stolis was employed in the

New York State Department of Taxation and Finance for 22 years,

where she held positions of File Clerk, Account Clerk, Taxpayer

Services          Representative,           Principal           Clerk,        and       Senior

Administrative Analyst.                  During her employment with the State

she was      a member of          a    negotiating unit         represented by either

CSEA or PEF.         Ms. Stolis has been retired from State service for

8 years,         and she has been a member of RPEA for 6 years.                           Ms.

Stolis      is    currently    enrolled      in NYSLERS          and receives       a   gross

retirement        payment     of      $1,520.75    per        month.     Ms.     Stolis    is

currently a participant in NYSHIP,                      and she is enrolled in the

Empire plan wi th individual coverage.                         Prior to October 1 her

monthly contribution for the individual health insurance premium

was    $59.23      per   month.          Under    the    proposed       increase    in    the

percentage of contributions for NYSHIP by retirees, Ms.                             Stolis'

payment for_health insllran.ce premiums will be $69.72 per month,

an increase of           $10.47       per month.        Ms.    Stolis    is    suing as    an

individual and as a member of RPEA.



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                          •                                               •
       18.     Defendant-respondent Hon.                      Andrew Cuomo is Governor of

the State of New York, and under the New York State Constitution

and Executive            Law is        the      chief     executive officer of New York

State.       Governor Cuomo is responsible for the appointment of the

President          and    members          of    the    New       York    State     Civil        Service

Commission,         the State Director of the Budget,                             the Director of

Employee       Relations              in     the       Governor's         Office     of     Employee

Relations, and for the policies and administration of the State

agencies       under          their    authority.             The    primary       office        of   the

Governor is at the New York State Capitol Building, Albany, New

York 12224.

    19.        Defendant-respondent                    New    York        State    Department          of

Civil Service is a unit in the Executive Department of New York

State government,              and is governed by the New York Civil Service

Law.         The    Department             of    Civil       Service       is     responsible         for

administration of the civil service laws for State and municipal

employees.           One       of   the     functions        of     The    Department       of    Civil

Service is administration of the New York State Health Insurance

Plan_ (NYSHIP),          which provides health insurance plans for State

employees and retirees.                    The primary office of the Department of

Ci viI    Service        is    located in the Alfred E.                     Smith State Office



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                         •                                           •
Building, Albany, New York 12239.

    20.      Defendant-respondent the New York State Civil                                        Service

Commission       is    a    commission       established by            the    New York              Civil

Service     Law.       The     duties       and       responsibilities            of     the       Civil

Service    Commission are             set    out      in     Civil   Service       Law       6,    which

duties     and    responsibilities              include,       but    are    not       limited          to,

prescribing        and      amending        suitable         rules    and    regulations                for

carrying    into effect             the   provisions          of   the Civil       Service             Law.

See Civil        Service      Law 6 (1) .         The primary office of                  the       Civil

Service     Commission         is     located         in    the    Alfred    E.        Smith       State

Office Building, Albany, New York 12239.

   21.       Defendant-respondent                  Patricia          Hite    is        the        Acting

President    of       the New York State Civil                     Service Commission.                 The

President    is       the    head of      the     Civil      Service Commission and the

Department of civil Service as provided by Civil Service Law 7.

Under Civil Service Law 160 the President of the Civil Service

Commission        is       responsible          for        promulgation      of        regulations

governing the eligibility and cost of premiums                               for health care

coverage    for    State      active      employees          and retirees participating

in NYSHIP.       Civil      Service Law 161-a vests                  in the President                  the

authority as       a    matter of discretion,                  with the      approval             of   the



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                      •                                          •
Director     of     the    Budget,    to    extend       health       insurance      benefits

negotiated with collective bargaining units                             (unions),    in whole

or in part, to employees not subject to the provisions of such a

collective bargaining agreement. The primary office of Patricia

Hite is     located in the Alfred E.                Smith State Office Building,

Albany, New York 12239.

    22.      Defendant-respondent             the        New      York       State        Health

Insurance Program (NYSHIP)            is administered by the Department of

Civil     Service    which       provides    health           benefit    plans      for    State

employees      and        retirees.         NYSHIP        is     administered         by      the

Department     of    Civil       Service,     and       the     offices     of   NYSHIP       are

located within and are part of the offices of the Department of

Civil Service.

   23.       Defendant-respondent Director of Employee Relations is

the head of the Governor's Office of Employee Relations                                   (GOER),

which is a unit of the Executive Department of New York State.

GOER is responsible for negotiating and implementing collective

bargaining     agreements        and other         aspects       of   employee      relations

with      recognized        or   certified         collective           bargaining         units

(unions)     representing         employees        of     the     State     of   New       York.

Pursuant to civil Service Law 161-a(l), the Director of Employee



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                        •                                        •
Relations       provides      written directives            to     the    President of     the

Civil        Service    Commission    to      implement       the        provisions   of   the

collective        bargaining       agreements         negotiated           with    collective

bargaining units           (unions)   pursuant to Article 14                  of   the Civil

Service Law, known as the "Taylor Law". The Director of Employee

Relations        is    Gary   Johnson,     and       the   principal        office    of   the

Director of Employee Relations is 2 Empire State Plaza, Albany,

New York 12223.

       24.      Defendant-respondent          Director        of    the     Budget    of   the

State of New York is the head of the New York State Division of

the Budget. Both Under civil Service Law 161-a(1) and 167(8) the

Director of the Budget is responsible for approving any proposed

extension by the President               of    the    Civil      Service     Commission of

the terms of a collective bargaining agreement between the State

and an employee organization                  (union)      to employees who are not

subject       to the provisions of such agreement.                         The Director of

the Budget is Robert L. Megna,                 and the principal offices of the

Director of           the Budget   are     located at New York State Capitol

Building, Albany, New York 12224.

      25.      Defendant-respondent the New York State Comptroller is

a     statewide        elected   officer       responsible          for      the   financial



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                        •                                   •
affairs of New York State.                The Comptroller is responsible                 for

issuing retirement pension payments                  for current State retirees

in the New York State Retirement System, and for calculating and

implementing deductions from said pension payments for retirees'

health insurance coverage as may be directed by the President of

the    Civil       Service     Commission     pursuant      to     a    lawful    rule   or

regulation.         The      New   York     State    Comptroller         is     Thomas   P.

DiNapoli,        and the primary office of the Comptroller is located

at 110 State Street Albany, New York 12236.                        The Comptroller is

being sued as a necessary party.

      26.        The plaintiff-petitioners have no adequate remedy or

relief      at    law   or    in   equity    other   than    the       relief    requested

herein.

      27.        No previous       application has     been made          by plaintiff-

petitioners for the judicial relief requested herein.

      28.        The venue in Albany County is proper because it is the

county where plaintiff-petitioner RPEA has                       its primary office,

and it is the county wherein each of the defendant-respondents

have their primary office.




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                     •                                         •
                                     FACTUAL BACKGROUND



    29.      New York State Civil               Service Law Article 11 governs

health insurance for civil service employees and retirees in New

York State.

    30.      Civil Service Law 165, entitled "Termination of active

employment",       provides       that    the health benefit coverage of                    any

employee     and    his     or     her     dependants         shall    cease       upon     the

discontinuance       of     his    or     her   term    of    office       or    employment,

subject to regulations which may be promulgated or prescribed by

the President of the Civil Service Commission.

   31.       Civil Service Law 163(3),                 in pertinent part, provides

that:     "The   President        shall    adopt   regulations            prescribing       the

conditions under which an employee or retired employee may elect

to participate       in or withdraw from                the    plan ...       [upon]   from   a

retirement or pension plan or system administered and operated

by the State of New York, or a civil division thereof, including

the New York State Teachers'               Retirement system and the optional

retirement       programs    established         under       Article      3     Part   V,   and

Article 8-b of the Education Law. n

   32 .      Civil Service Law 167 (1) (a), entitled "Contributions",



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                                                     •
governs contributions,          if any,   which must be made by retirees

for their health insurance benefits. Civil service Law 167(1) (a)

provides, in pertinent part, as follows:

        "The full cost of premium or subscription charges for
        the coverage of retired state employees who are
        enrolled in the statewide and the supplementary health
        benefit plans established pursuant to this article and
        who retired prior to January first, nineteen hundred
        eighty-three shall be paid by the state. Nine-tenths
        of the cost of the premium or subscription charges for
        the coverage of state employees and retired state
        employees retiring on or after January first, nine-
        teen hundred eighty-three who are enrolled in the
        statewide and supplementary health benefit plans shall
        be paid by the state. Three-quarters of the cOst of
        premium or subscription charges for the coverage of
        dependents of such state employees and retired state
        employees shall be paid by the state."

A copy of the pertinent parts of the Bill Jacket for Laws of

1983 Chapter 14, which enacted Civil Service Law 167(a) (1)                with

the current percentage contribution scheme for medical benefits

for retirees, is attached hereto as Exhibit A.

      33.        Under the statute, retired State employees who retired

prior       to   January 1,   1983   do not   contribute payment    for   their

heal th insurance coverage as an individual,              and the State pays

the    fulL_cost      of   health insurance    benefits   for   employees who

retired prior to January 1, 1983.

      34.        Under the statute,    State employees who retired on or



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                          •                                              •
after January 1, 1983 contribute 10% of the cost of their health

insurance premiums for individual coverage, and 25% of the cost

for     dependent        coverage;           the    state pays       the remaining             90%    for

individual coverage and 75% for dependent coverage.

      35.          The   provisions          of     Civil    Service          Law    167(1) (a)      have

been        implemented         in     the        regulations       of        the     Civil    Service

Commission at 4 NYCRR Part 73,                           which has language parallel to

the statute.

      36.      The plaintiff-petitioners herein, Stanley Winter, Alan

Dorn,       Hon.    Jules      L.     Spodek,       Hon.    David R.          Townsend,       Helen M.

Bulson,       victor      L.        Costello,        Joy    Godin,       Francis        Hamblin,      A.

Joanne       Lantz,       William        C.        Moore,    John        H.     Neary,     David      B.

Smingler, Kathleen Stallmer, and Frosine Stolis are all retirees

who were retired from State service after December 31, 1982 but

prior to October 1,                  2011,    and since their retirements pursuant

to the mandates of Civil Service Law 167(1) (a)                                     the contribution

percentages of all                  said plaintiff -peti tioners                for    their NYSHIP

coverage has been at                  the statutory rate 6f 10% for individual

coverage and where appropriate 25% for dependent coverage.

      37.      Civil      service        Law       161-a    entitled          "Implementation of

negotiated agreements" provides that should an agreement between



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                       •                                •
the   State      and   an   employee     organization    provide   for     health

benefits,     the President of the Civil Service Commission,                after

receipt     of   written    directions     from   the   Director   of    Employee

Relations, shall implement the provisions of the contract by the

adopting regulations and, with the approval of the Director of

the Budget,      the President may extend such benefits to employees

not subject to the agreement           [emphasis supplied]. Civil Service

Law 161-a provides as follows:

      "Where, and to the extent that, an agreement between
      the state and an employee organization entered into
      pursuant to article fourteen of this chapter provides
      for health benefits, the president, after receipt of
      written directions from the director of employee
      relations shall implement the provisions of such
      agreement consistent with the terms thereof and to the
      extent necessary shall adopt regulations providing for
      the   benefits  to   be  thereunder  provided.     The
      president, with the approval of the director of the
      budget, may extend such benefits, in whole or in part,
      to employees not subject to the provisions of such
      agreement.

      2. Insofar as the provisions of this section are
      inconsistent with any other act, general or special,
      or any rule or regulation adopted thereunder, the
      provisions of this section shall be controlling and
      insofar   as  the   regulations  promulgated   by   the
      president pursuant to subdivision one of this section
      are inconsistent with any rule or regulation, the
      provisions of such regulations shall be ~ontrolling.

      3. There is hereby created a council on employee
      health insurance to supervise the administration of
      changes to the health benefit plan negotiated in

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                      •                                        •
        collective negotiations and to provide continuing
        policy direction to insurance plans administered by
        the state the provisions of any other law to the
        contrary notwi thstanding.   The council shall consist
        of the president, the director of the division of the
        budget, and the director of employee relations."

        (Added L.1979, c. 307, §19. Amended L.1985, c. 302,
        §7; L.2010, c. 56, pt. T, §10, eff. June 22, 2010,
        deemed eff. April 1, 2010.)

    38.      Upon information and belief,                during May and June 2011

the state of New York and the Civil Service Employee Association

(CSEA),     on      behalf         of     individuals    in     certain     collective

bargaining units,       entered into collective bargaining agreements

(contracts) pursuant to Article 14 of the Civil Service Law that

provided for an increase in the percentage of contribution for

heal th care       coverage      to be paid by employees            in the    relevant

collective bargaining units represented by CSEA.                       A copy of the

press release by Governor Cuomo dated June 22,                       2011 describing

the terms of the CSEA contract is attached hereto as Exhibit B.

   39.       The    terms     and conditions        of   the   relevant     collective

bargaining agreements              entered into between the State and CSEA

did not     apply to     (a)       State employees       in collective bargaining

units     represented       by     other    certified     or   recognized    employee

organizations       (such     as    the    Public   Employees      Federation   [PEF],

the second largest collective bargaining unit)                      for the purposes

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                            •                                       •
of Article 14 of the Civil Service Law,                            nor did the terms and

conditions of the collective bargaining agreements entered into

between the State and CSEA obtain with respect to                                 (b)    employees

designated managerial or confidential within the meaning of the

Taylor Law,         (c) unrepresented employees, or (d) retirees.

       40.        Laws of 2011 Chapter 491 entitled "State officers and

employees-collective-bargaining-compensation                             and   salaries II      went

into       effect      on   August        17,    2011.     Laws     of    2011        Chapter    491

contained          provisions        implementing          the      terms        of     the     CSEA

contracts negotiated by CSEA and the State of New York.                                       A copy

of Laws of 2011 Chapter 491 is attached hereto as Exhibit C, and

a   copy of the Memorandum in Support for Senate 5856,                                   the bill

which became Chapter 491, is attached hereto as Exhibit D.

     41.       Laws of 2011 Chapter 491 did not amend the provisions

of Civil Service Law 167(1) (a)                    which specifically provides that

the State will pay 90% of the cost of the premium for health

care     coverage       for     retired         State    employees       who     retired       after

January      1,     1983      and   are     enrolled       in     the    State    health        care

benefi t     p:l.an,   and 75% of the             cost of the premium for retired

State employees with coverage for dependents.

    42.        Laws of 2011 Chapter 491 did not amend the provisions



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                            •
of Civil Service Law 161-a, which provides that the President of

the     Civil       Service     Commission      shall      promulgate            regulations         to

implement a collective bargaining agreement only with respect to

"employees" not subject to the provisions of such agreement, and

that     the       regulations       promulgated      by    the          President       shall       be

controlling insofar as               they are inconsistent with any rule or

regulation.

      43.          During   the   last   week    in     August       2011,        the    New       York

State Department of Civil                Service,       Employee Benefits Division,

issued a           notification concerning changes                  in    the percentage of

the     contributions         that   retirees     would be          required        to       pay   for

NYSHIP which was entitled "NYSHIP Rate Changes Effective October

1,     2011".        This   notification        was     received           by     each       of    the

plaintiff-petitioners             herein     during      the     last       week        in    August

2011,       and,    on information and belief,             was sent to all retirees

of the State of New York as the employer and to all vestees                                         [as

defined in 4 NYCRR 73.1(g)*]               affected by such changes during the

last week in August 2011.                A copy of the notification entitled

"NYSHIP       Rate    Changes     Effective      October       1,        2011"    dated August


• Al though both retirees and other vestees were affected by the change and
received the notification, all individuals affected by the change will
hereafter be referred to as "retirees".

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                        •                                           •
2011        [hereafter      referred      to     as    "notification"]                is     attached

hereto as Exhibit E.

      44.      Under       the      notification,         the       Department             of     Civil

Service       notified       the     retirees     that        the    Department             of    Civil

Service was administratively changing the percentages of their

contributions          for       NYSHIP      based     solely         on       the         collective

bargaining         agreements        entered      into    by        the       State        and    CSEA,

wherein       it was       stated:    "The     terms     of    a    collective bargaining

agreement       have    been administratively extended                        to   Retirees            and

Vestees       of     New     York     State      Government          and       their        enrolled

dependents." See Exhibit E, p. 1.

      45.      The     notification          informed         the     retirees             that        the

administrative           change       would      result        in     a       change         in        the

percentages of retirees contribution to payment for NYSHIP that

would be effective on October 1,                      2011,     wherein it was stated:

"This will result in a NYSHIP rate change effective October 1;

the new rates          included in this           publication will                 be      in effect

through the end of 2011." See Exhibit E, p. 1.

      46.      The     notification       informed        the       retirees            that      as    a

result of the changes in the percentages of their contribution

for    NYSHIP,       such     individuals         would       have        a    special           option



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                             •                                            ••
transfer        during            September    2011     within          which       to    choose        a    new

health        insurance           program,     and     that      no     action        was      required       if

such     an    individual            wished     to    keep       his     or     her      current       health

insurance option,                  wherein it was stated:                 "As a       result of these

rate     changes,            there    will    be a     Special          Option Transfer Period,

September           1    through          September    30,       2011.        You     may       select       the

Empire Plan or a NYSHIP-approved Health Maintenance Organization

(HMO)     serving your               area.    No action is             required if you wish to

keep your current health insurance option." See Exhibit E, p. 1.

    47.         The notification informed the retirees of the various

heal th    insurance              coverage options           from       among which they might

choose,       and the monthly premium paYments for each available to

such     individuals.               See     Exhibit     E,       pp.     2-3,       Rate       Sheet.        The

notification also informed the retirees                                 that this was the only

notice they would receive of a                         rate       change        in medical benefit

programs wherein it was stated:                        "Check your plan -                      this is the

only    notice          of    a    rate     change."       See    Exhibit        E,      pp.    2-3,        Rate

Sheet.

   48.          The       notification         did     not       inform       retirees         that     there

would be        a       percentage         increase    in     contributions              that     retirees

would     be        paying          for     their     NYSHIP           participation,             but       the



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                         •                                          •
notification did provide a chart showing the dollar amount that

retirees would be required to contribute for each of the health

insurance programs from among which they might select the one in

which they elected to participate. See Exhibit E, p.4,                               "Enrollee

Contributions for Retirees and Vestees".

       49.     The chart in the notification contained dollar amounts

for NYSHIP which had calculated built-in increases in payments

by     retirees     of    2%    for     each       health    insurance       program.      Thus,

according      to      the     figures        in    the    chart,    where     retirees      had

formerly      contributed 10%               for    individual    health care         insurance

premi urns,     retirees        with        individual       coverage       would    pay     12%

commencing        on     October        1;        and     retirees    who      had    formerly

contributed 25% for             family health insurance premiums would pay

27%.    See Exhibit E,          p.     4,    "Enro],lee Contributions for Retirees

and Vestees".

     50.      The      notification          informed      retirees     that    in order      to

choose a different health care plan option they must submit a

"NYSHIP Option Transfer Request" form to the Department of Civil

Service Employee Benefits Division no later than September 30,

2011.      See Exhibit E,        pp.    5-6,       "If You Are Changing Your Health

Insurance Option" and "NYSHIP Option Transfer Request".



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                            -.                                          •
     51.         The    notification            informed         retirees        that       deductions

from their monthly retirement pension checks or direct deposit

would       be      made      automatically            at        the      new     percentage         of

contribution for health insurance premiums commencing on October

1,   2011,       and might be reflected in their September 30 pension

check. See Exhibit E, p. 7, "Sample Pension Check Stub".

     52.         During      the   last     week    in      August        2011,       the    New York

State Department of Civil                  Service,         Employee Benefits Division,

also       issued       a    Special       Report        concerning             changes       in    the

percentqge of contributions that retirees would be required to

pay for NYSHIP which was entitled "NYSHIP HMO SPECIAL REPORT."

This two page Special Report contains a summary of the changes

effective October 1,               2011 contained in the notification.                             This

Special Report was received by each of the plaintiff-petitioners

herein       during         the    last     week       in        August     2011,          and,    upon

information         and     belief,       was    sent       to    all     State       retirees      and

vestees affected by such changes during the last week in August

2011.      A copy of the Special Report entitled "NYSHIP HMO SPECIAL

REPORT"      dated August          2011     [hereafter            referred       to    as    "special

report"] is attached hereto as Exhibit F.

     53.         This       increase       of      the           percentage           of      retiree



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                        •                                         •
contributions           for     NYSHIP         was     administratively          imposed       on

retirees notwithstanding the fact that the State Legislature did

not amend Civil Service Law 167(1) (a), nor otherwise provide any

authorization for an increase in the percentage of a retiree's

contribution         for      NYSHIP.          See    Affidavit        of     Harvey   Randall

attached hereto.

     54.       On August 23,           2011 Stanley Winter,            President of RPEA,

wrote      a   letter      to    Mr.    Alphonso        David,    Deputy        Secretary      to

Governor Cuomo,          with a        copy to Gary Johnson,                Director of       the

Governor's Office of Employee Relations, requesting the that the

civil      Service    Commission         and    Governor       Cuomo    not     increase      the

percentages of          the     contributions         for NYSHIP        for    retirees.      The

letter recounted a conversation plaintiff-petitioner Winter had

at   a     meeting   with       the    Deputy        Secretary    to    the     Governor      and

Commissioner Gary Johnson on August 11, 2011, and at the meeting

RPEA had advocated that there be no increase in the percentages

of contributions for NYSHIP for current retirees. A copy of the

letter      from   President          Winter    to     the    Deputy    Secretary       to    the

Governor       and Director           Gary   Johnson         dated August       23,    2011    is

attached hereto as Exhibit G.

     55.       On September 14, 2011 Alan Dorn, Executive Director of



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                              '.                                            •
RPEA,    wrote a       letter to Patricia Hite,                       Acting President of the

New     York    State          Civil       Service           Commission,          objecting        to        the

extension       of    the       terms       of        a    collective       bargaining           agreement

concerning increased percentages of contributions for NYSHIP to

current       retirees,         since       retirees          are    neither       employees          wi thin

the    meaning       of       the    Taylor          Law    nor     subject       to   the      terms    and

condi tions      of       a   collective             bargaining       agreement          negotiated by

the    State    and an employee                  organization pursuant                   to    the Taylor

Law.    The     letter         stated       that          retired    employees         are      not     in    a

collective bargaining unit within the meaning of Article 14 of

the     civil        Service             Law,        and     that      employee          organizations

negotiating       for         health       insurance          benefits      do     not    and may        not

represent retirees, and therefore there was no authority for the

Department of Civil Service to extend the terms of a collective

bargaining      agreement            to    persons          who     have    already       retired.       The

letter requested that the percentages of the contributions being

paid    by     retirees            not     be        increased,       and       that     any     proposed

regulations should not include any increases in the percentages

of    contributions            for       NYSHIP       to     be   paid     by     retirees       who     had

retired      prior    to       October          1,    2011.       A copy     of    the        letter    from

Executive Director Alan Dorn to Patricia Hite,                                     Acting New York



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                            •                                              •
State       Department        of     Civil        Service        Commission       President,          dated

September 14,            2011 is attached hereto as Exhibit H,                             and a copy

of    a      similar        letter       by    Executive            Director      Dorn     to     Thomas

DiNapoli,         New York State Comptroller,                       also dated September 14,

2011,       requesting        the       Comptroller           not    to    deduct    the    increased

percentages            of     contributions               for     NYSHIP     from     a     retiree's

retirement allowance, is attached hereto as Exhibit I.

      56.         More      than   30      days    have       elapsed since         RPEA    requested

the Department of Civil Service not to increase the percentages

of    contributions            for      NYSHIP         for      retirees,    and     RPEA       has    not

received any             acknowledgement             of    its    request,     and has       not been

advised of any action taken in response to its letter.

      57.         On   October       12,      2011      the     Department     of    Civil      Service

caused an emergency rulemaking notification to be published in

the     New York         State      Register           under     RUlemaking       Activi ties,         and

this emergency rulemaking was entitled "Provision of the Health

Benefit Plan           for    Active        and Retired New York State Employees"

(I.D.       No.   CVS-41-11-00007-E).                  A complete copy of            the emergency

rulemaking~-notification-published by·                              the    Department       of    civil

Service on October 12,                  2011      [hereafter referred to as "emergency

rule"]       is    attached        hereto         as      Exhibit     J.    The     emergency         rule



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                            -.
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                                                                           •
purports         to        extend        the     increases          in     the       percentages         of

contributions              for        NYSHIP     agreed       to    by      CSEA       on     behalf     of

employees            of     the        State      in      collective             bargaining           units

represented by CSEA and to unilaterally impose such changes in

the percentages of the contributions for NYSHIP set out in the

collective bargaining agreements between the State and CSEA to

retirees including the plaintiff-petitioners.

       58.      On October 20,                 2011 Alan Dorn,            Executive Director of

RPEA,        wrote a letter to Patricia Hite, Acting President of the

New     York     State        civil          Service     commission,            objecting        to    the

emergency rule published in the State Register on October 12,

2011.          The        letter       also     pointed       out        that    the        introducer's

Memorandum in support                   of     S5486,    which was          enacted as          Laws of

2011 Chapter 491 and in pertinent part amended civil Service Law

167(8),        stated       that       the     amendment       applied          to   Uemployers        and

employees"        share          of    health     premium          costs        under       NYSHIP,    not

retirees.         A copy of             the     letter    from Executive Director Alan

Dorn     to    Patricia          Hite,       Acting     New    York        State        Civil    Service

Commission President,                  dated October 20,            2011 is attached hereto

as Exhibit K.




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                    •                                          •
                                FIRST CAUSE OF ACTION



      59.   The     allegations     contained        in    paragraphs         numbered      1

through 58 above are hereby repeated and realleged as if fully

set forth herein.

      60.   The first cause of action is that the increase in the

percentage of contribution by State retirees to pay for health

insurance        premiums      administratively            implemented             by     the

Department of Civil Service violates the plain language of Civil

Service Law 167 (1) (a) and is ultra vires.

      61.   Civil    Service    Law    167 (1) (a)    mandates         that      the    State

pay 90% of       the cost of    the premium for            individual health care

coverage    of    retired   State   employees,        and 75%         of   the    cost    for

dependent coverage,         for employees of         the State as           the employer

who retired on or after January 1, 1983.

      62.   Pursuant to Civil Service Law 167 (I) (a)                      the resulting

maximum percentage of contributions for the cost of the premium

for    retirees    participating      in     NYSHIP       is   10%     for       individual

coverage and 25% for dependent coverage.

      63.   The    notification       and    emergency         rule    issued      by    the



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                        •                                         •
Department of Civil Service purport to administratively increase

the percentages of contributions                    for NYSHIP by retirees to 12%

for individual coverage, and to 27% for dependent coverage .

      64.        The    notification        and    emergency          rule    issued      by   the

Department         of     Civil       Services          purports        to     increase        the

percentages        of    contributions       for       NYSHIP by retirees            for    their

participation in NYSHIP by 2% across-the-board.

      65.        The    increase      in    percentages          of     contributions          for

NYSHIP      by     retirees     for    health          care     coverage      is    in     direct

contradiction to mandate set out in Civil Service Law 167(1) (a).

      66.    The Department of Civil                   Service and other defendant-

respondents        have    no   authority         to     increase       the   percentage       of

contribution retirees must pay for their health care plans.

      67.    The language in Civil                 Service Law 167 (1) (a)               limiting

the percentages of contributions by retirees for NYSHIP to 10%

for    individual        coverage     and    to    25%    for    dependent         coverage    is

mandatory.

      68.    The language in Civil                 Service Law 167 (1) (a)               limiting

the percentages of contributions for NYSHIP by retirees to 10%

for   individual coverage             and to      25%    for dependent coverage,               is

clear and unambiguous and does not require any special expertise



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                       •                                     •
to interpret or decipher.

    69.     The Department of Civil Service and other defendant-

respondents        have . no       authority      to     increase       a     retiree's

percentages       of    contributions       for NYSHIP       for   individual    and/or

dependent health care coverage to exceed that mandated by Civil

Service Law 167 (1) (a)

    70.     The Department of Civil Service and other defendants-

respondents       who     increased    or     approved       the   increase     in   the

percentages of contributions for NYSHIP required of retirees for

their     NYSHIP        individual     and/or    dependent         coverages      acted

contrary to law, arbitrary and capricious, without authority and

ultra vires.

   71.      The        purported      increase     in        the    percentages      of

contributions      for    NYSHIP by retirees           for   their individual        and

dependent coverage described in the notification and emergency

rule, and the coming regulations, by the President of the Civil

Service    Commission        and     other    defendant-respondents           violates

Civil Service Law 167 (1) (a)          and should be declared invalid and

null and void.




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                         •                                                                  •
                                           SECOND CAUSE OF ACTION



       72.      The     allegations                  contained                    in    paragraphs               numbered    1

through 71 above             are hereby repeated and realleged as if fully

set forth herein.

       73.      The second cause of action is that the administrative

increase in the percentage of contribution to be paid by State

retirees        for NYSHIP violates                        the Contract Clause in Article I,

Section 10 (1)          of    the    United States                       Constitution and Article                            I

Section 6 of the New York State Constitution.

     74.        Article        I,          Section                  10 (1)             of        the     United      States

Consti tution provides               that            II   [n]   0     State            shall......pass       any......    Law

impairing the Obligation of Contracts.                                       1I




    75.         Similarly, Article I,                           Section 6 of the New York State

Consti tution provides                II   [n]   0        person         shall              be    deprived of         life,

liberty        or    property       without               due        process                of    1aw lI ,   which means

that     the    State    may        not      deprive                 a   party              to     a   contract      of     an

ess~nj:j.a..l__ golltractual        attz:ibute without due process of law.

    76.         Civil        Service             Law            167 (1) (a)                 creates          a     property

interest        in    behalf        of      State               retirees                in       the     percentage         of



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                            •                                          •
payments        for    medical benefi ts            under NYSHIP to be paid by the

State      of    90%        for    individual       coverage      and    75%    for    dependent

coverage.

     77.         Civil Service Law 167(1) (a)                 creates contractual rights

in behalf of State retirees which are binding on the State of

New York.

     78.         The notification and emergency rule,                          and forthcoming

regulations,           are        an   impairment      of   the    promise      by    the    State

contained in Civil Service Law 167(1) (a).

     79.         The    administrative           increase         in    the     percentage      of

contribution proposed to be paid by State                               retirees      for    their

medical coverage under NYSHIP is not related to promotion of the

health, comfort, safety or welfare of society in general, and is

not an exercise of the police power of the State.

     80.        The     administrative           increase         in    the     percentage      of

contribution proposed to be                    paid by        State     retirees      for    their

medical         coverage          under    NYSHIP      does    not      have     a    reasonable

relationship           to    any       legitimate    goal     under     the    State's      police

power .---

    81.         The     administrative          increase          in    the    percentage       of

contribution proposed to be paid by                           State     retirees      for   their



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                       •
medical coverage under NYSHIP is purely a revenue measure, which

is insufficient to abrogate the state's obligations to retirees.

      82.      The   administrative        increase     in    the    percentage        of

premiums proposed to be paid by State retirees for health care

coverage· under NYSHIP violates the Contract Clause of the United

States       and New York State        constitutions,        and the   notification

and emergency rule,          and the coming regulations,             implemented by

the     President      of   the    Civil     Service    Commission         and   other

defendant-respondents           should be    declared    invalid and null             and

void.



                                  THIRD CAUSE OF ACTION



      83.      The   allegations      contained   in    paragraphs         numbered    1

through 82 above are hereby repeated and                 realleged as if fully

set forth herein.

      84.      The third cause of action is that the administrative

increase in the percentage of contribution to be paid by State

retirees for NYSHIP violates Article 3 Section 1 of the New York

State       Constitution    because    the   Legislature       has   not     delegated

authority       to   increase     contributions   by     retirees      for    medical



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                     •                                     •
benefits to the President of the Civil Service Commission or any

other agency.

      85.    Article      3,   Section       1   of    the     New     York        State

Constitution provides that "The legislative power of this State

shall be vested in the Senate and Assembly."

      86.    An administrative agency such as              the President of the

Civil Service Commission and other defendant-respondents possess

only those powers delegated to it by the Legislature,                      together

with those powers required by necessary implication.

      87.    The   Legislature      has    not   repealed     the    provisions      of

Civil Service Law 167(1) (a) which obligate the State of New York

to pay 90% of the premiums for individual coverage under NYSHIP

and    75%   of    the   premiums    for     dependent      coverage    for    State

retirees.

      88.    The   Legislature      has    not   delegated     authority      to    the

President of the civil Service Commi ssion,                or any of the other

defendant-respondents, to repeal or modify Civil Service Law 167

(l)(a).

      89.    The    administrative        increase    in     the    percentage       of

premiums proposed to be paid by State retirees for their health

care coverage violates the power of the State legislature to fix



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                       •                                               •
public policy with               regard to       payment of            medical    benefits        for

State retirees.

      90.      The     administrative            increase         in    the      percentage        of

premiums       paid    by       State      retirees       for     their    medical       benefits

contained in the notification and emergency rule, and the coming

regulations,          are       invalid     because          legislative      power      was      not

delegated to the President of the Civil Service Commission,                                       and

the said increases should be declared invalid and null and void.

       WHEREFORE,          it    is    respectfully          requested     that     this       Court

grant a final         judgment and order pursuant to CPLR 3001 and CPLR

Article 78 containing the following relief:

(a)    Declaring        that        the    administrative          implementation           of     an

increase    in       the    percentages         of     the    contributions        for   medical

benefits    under          NYSHIP      payable       by   State    retirees       and/or       their

dependents participating in NYSHIP in excess of that set forth

in Civil Service Law 167(1) (a) allegedly effective on October 1,

2011 is invalid and null and void; and

(b)   Declaring that the emergency regulation filed on September

27, 2011 and to take effect on October 1, 2011, and published in

the    State     Register             in   an    issue        dated      October      12,        2011

promulgated by the New York State Department of Civil Service



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                  •
purportedly    implementing     the    increase   in     the   percentages      of

contributions for NYSHIP by retirees participating in NYSHIP is

invalid and null and void; and

(c)   Granting a preliminary and permanent injunction prohibiting

the defendant-respondents or any of the their officers,                    agents,

or employees from implementing the October 1, 2011 increases in

the   percentages    of   the    contributions     for     health     insurance

benefits under NYSHIP by retirees participating in NYSHIP; and

(d)   Directing   that    any   increases   for   NYSHIP       paid   by     State

retirees since October 1,       2011 under color of the notification

and/or said emergency regulation be refunded; and

(e) For the costs and disbursements of this action; and

(f) For such other and further relief as the Court may deem just

and proper.


DATED: Albany, New York
       November 30, 2011

                                   LEWIS B. OLIVER, JR., ES .
                                   Oliver Law Office
                                   Attorney for Plaintiff-Petitioners
                                   156 Madison Avenue
                                   Albany, New York 12202
                                   518-463-7962




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                       EXHIBIT A
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                                                              PROGRAM BILL:fI: I
                                                                .~
     (~                               GOVERNOR IS PROGRM-l BILL

                                                 1983

                                       M E M 0 RAN DUM


                                              AN ACT to amend the civil service
                                                     law to illlplement agreements
                                                     between the state and
                                                     employee organizations

                Purpose of the Bill:

                             To effectuate   provision~   of various memoranda of

                understanding executed pursuant to the collectively-negotiated

                agreements between the State and the employee organizations

                representing its employees dealing with health insurance benefits

                and costs.

                Summary of Provisions of the Bill:

                     The bill amends Section 167 of the Civil Service Law to

                decrease the 'State I s contribution for premium or SUbscription

               charges on behalf of current employees enrolleQ in tbe statewide

               health insurance plan from the current one hundred percent

               contribution to nine-tenths of such charges.         The bill would have
               retroactive effect from December 15, 1982.

                     The bill also appropriates $1.6 million to implement revised

               health insurance benefit packages for employees of signatory

               employee. organizations and unrepresented State employees.

               Statement in support of the Bill:

                    The burgeoning cost of employee health insurance premiums

               has severely strained the financial resources of the State.           The

               State and the employee organizations representing State workers

               have agreed 'to a reduction of the State's contrib~tion for the

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                                                                             •
      premium or sUbscription .chargell for employees enrolled in the
      statewide health insurance plan.      At present, the State pays the
      full cost of such charges.     This bill would reduce the   stat~'s

      contribution to 90'l. or nine-tenths of premiu:.\ or subscription
      costs for current enlployees., The State would continue fu.ll
      contribution for employees who retired prior to January 1, 1983.
      This bill would provide immediate financial relief for the State
      in reference to insurance costs and would assist the long-term
      effort to contain employee insurance costs.
      Fiscal Implications:
           The bill includes an appropriation of $1,683,000 from the
      General Fund-State Purposes.




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                                     •                   lO-Da~Bill
                                                      BUDGET R pORt OH BILLS-
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       SEHATE                                                 1.',•••   10 • •   ~r:                      ASSEMBL Y
                                                       Sen. Schermerhorn
       N••       1257-A
                             Civil Service                       S.,.'i...: 167, subd. 1


       .\:>p, •••:.             XL-_ _   v.,.:              ij. Obj.Clio"'                          H. R.,.••••••• 'i...:            _

       t.    S...... c,
                     •• d Pu'po..: This bill would implement certain unenacted portions of
                 collectively negotiated health insurance benefit and cost agreements
                 between the State and the employee organization~ representing certain
                 State employees.
        2.        Summarv of Provisions: Effective December 15. 1982, this measure would
                    decrease the State's contribution for premium or subscription charges on
                    behalf of all employees (including employees designated managementl
                    confidential) enrolled in the statewide health insurance plan from the
                    existing 100 per~ent contribution rate to ninety percent of such charges.
                    The State shall continue to cover the full costs of premium or subscription
                    charges for those State employees enrolled in the ststewide health
                    insurance plan who retired prior to January I, 1983; however, the State
                    contribution rate for such coverage for employees who reti~e on or after
                    January I, ~983 shall be limited to ninety percent of .such charges.
            3.      Le~islative  Historv: Cha?ters 78. 218. 220, 405 and 924 of the Laws
                      o 1982 enacted the major compensation and benefit provisions of the
                      collective bargaining agreements covering State employees. Chapter 5
                      of the Laws of 1983 provided a~propri&tions necessary to cover expenses
                      associated with provisions of certain other negotiated health benefits
                      and services.
         4.        Arguments in SupDort:
                      a.      ~is measure provides the necessary authorization to implement
                              negotiated agreements between the State an.d employee organizations
                              representing State employees. This action is appropriate in view
                              of the "good faith" efforts of the State and the employee organi-
                              zations to reach agreement on this critical issue.
                     b.       The State would save ten percent of those costs which
                              it must currently allocate for employee health insurance sub-
                            . scriptions. Reducing the current 100 percent contribution rate
                              to ninety percent would result in direct cost savings to the State
                              of ~ox1iDatel¥o $10,000. 000 annually. This cost -sharing approach
                              WoUld,beconsistent with the State's other efforts to contain costs
                              andwQuld be hiShly appropriate in view of efforts generally in the
                              health care field to manage or contain escalating health care costs.

                                                                 QOOO~~
  "'   ...                 _ _-'--'-_:-_-:-__ E... I....,                                                 _

                                                                                 v.t..   H••
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                       ••                                   •
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5.   Possible Objections:   None known.
6.                                      The Office of Emnlovee Relations and
             epartment 0   1V1   e~ce support this bili . . The Department
                     Control would be likely to have an interest in this bill.
7.   ~no~~ Position of Others: None kno~~. but the employee organizations
       representing State e~ployees would be likely to have an interest
       in this bill.
o.   Budgetarv Implications: If.this measure is enacted. the State will save
       approximately $10,000.000 annually in direct costs of health insurance
       coverage for State employees.
9.   Recommendation:   Because this measure would implement certain unenacted
       portions of collectively negotiated health insurance benefit and
       cost agreements between the State and employee organizations re~re­
       senting certain State employees and result in significant direct cost
       savings =0 the State, we recommend its approval.


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                 Case 1:12-cv-00046-MAD-CFH Document 10-3 Filed 03/01/12 Page 60 of 236
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                                                                                                                S-/~7·A

                                  NEW YORK STATE DEPARTMENT OF CIVIL SERVICE                                     March 28, 1983

                                 SENATE
                                 Im="A                                                       Introduced by Senator Schermerhorn

                                 RECO,..,.,ENDATION:                Approyat
                                 STATUTES INVOLVED:                 Ciyil Service Law, §167(1)
                                 EFFECTIVE DATE:                    Immediately and deemed to be in effect on and after
                                                                    Decem"er 15, 1982.
                                 DISCUSSION:
                                           This bill would decrease the State's contribution for premium or
                                 subscription charges on behalf of current enlployees enrolled in the statewide
                                 health insurance plan from the current one hundred percent contribution to
                                 nine-tenths of such charges. The bill would have retroactive effect to
                                 December 15, 1982. However, the State would continue full contribution for
                                 emp1oyees who ,·!:!ti red pri or to January 1, 1983.
                                           We were consulted concerning the drafting of this bill and we fully
                                 support its enactment.
                                           The burgeoning cost of employee health insurance premiums has severely
                                 strained the financial resources of the State. The employee organizations
                                 representing the State workers that would be effected by this bill have agreed to
                                 a reduction of the State's contribution for these charges. 1he estimated cost
                                 sdvings to the State from the enactment of this bill for just the 2i year period
                                 covering January 1, 1983 to March 31, 1985 is $32.7 million .




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                                                  STATE 01' NEW YORI<
                                                INSURANCE DEPARTMENT
                                                Two WORLD TRADE CENTER
                                                    N£w YORK 100... .,
           JRm~S   P. Corcoran


                   Narch 24, 1983

                                                             t..·~ .- .:
,
r                  Honorable Alice Daniel
                   Counsel to the Governor
                   Executive Chamber
                   State Capitol
                   Albany, New York 12224

                   Re:    Senate Bill 125~-A
                          (Sen. Schermerhorn)

                   Dear   ~ls.   Daniel:

                   This is in response to your request for our comments concerning the cap-
                   tioned bill. The bill, which would be retroactive tD December IS, 1982,
                   ~ould amend Section 167 of the Civil Service Law to effect certain reduc-
                   tions in the State's contributions to the cost of health insurance for
                   employees of New York State.

                   At present Section 167 prOVides that the State shall pay the full cost of
                   the health in9urance for both active and retired State employees.

                   Under the amended section the State would continue to pay the full cost
                   for employees who had retired prior to January I, 1983. After that date
                   the State would pay 90% of the health insurance cost for active employees
                   snd for those retiring un snd after January I, 1983. There is no change
                   with respect to the health insurance of dependents, for which the State
                   continues to pay 75% of the cost.

               The changes in the Civil Service Law embodied in the bill have already been
               negotiated with the employee representatives.

               The nepartment has no objection to the measure.




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      S 5846 ROBACH Same as Uni. A sabbate                               .--\.8513 Abbate sam.ni. S 5846 ROBACH
      Governor Program # 22                                              Governor Program # 22
      ON FILE: 06/22/11 Civil Service Law                                Civil Service Law
      TlTLE....Relates to compensation and other terms and conditions   iTITLE....Relates to compensation and other terms and conditions of
      of employment of certain state officers and employees             :employment of certain state officers and employees
      Currently on Senate Committee Agenda                               Currently on Assembly Committee Agenda
      Senate Standing Committee on Rules                                 Rules (SILVER)
      Senator Dean G. Skelos, Chair                                      OFF TIlE FLOOR, Thursday, June 23, 2011
      June 22, 2011
      06/22/11      REFERRED TO RULES                                     'ADDENDUM
      06/22/11      ORDERED TO TIllRD READING CAL.1524                   :Currently on Assembly Committee Agenda
      06/22/11      MESSAGE OF NECESSI1Y                                 Ways and Means (FARRELL)
      06/22/11      PASSED SENATE                                        ,OFF TIlE FLOOR, Thursday, June 23, 2011
      06/22/11      DELIVERED TO ASSEl\IlBLY                             :06/22/11      referred to ways and means
      06/23/11      referred to ways and means
                                                                           06/23/11     reported referred to ru les
      06/23/11      substiJutecLfor a8513
                                                                         :06/23/11      reported
      06/23/11      ordered to third reading rules cal.605
                                                                         :06123111      rules report cal.605
      06/23/11      message of necessity - 3 day message
      06/23/11      passed assembly                                      :06/23/11      substituted by s5846
      06/23/11      returned to senate                                   : 805846        ROBACH
      08/05/11      DELIVERED TO GOVERNOR                                ; 06/22/11    REFERRED TO RULES
      08/17/11      SIGNED CHAP.491                                     : 06/22/11     ORDERED TO TIIIRD READING CAL.1524
                                                                        : 06122/11     MESSAGE OF NECESSI1Y
                                                                        , 06/22/11     P ASSED SENATE
                                                                        ·06122/11      DELIVERED TO ASSEl\IlBLY
                                                                           06/23/11    referred to ways and means
                                                                           06/23/11    substituted for a8513
                                                                        . 06123/11     ordered to third reading rules cal.605
                                                                        : 06/23/11     message of necessity - 3 day message
                                                                        : 06/23/11     passed assembly
                                                                           06/23/11    returned to senate
                                                                        • 08/05/11     DELIVERED TO GOVERNOR
                                                                        , 08/17/11     SIGNED CHAP.491



       06/23/11           S5846     Assembly Vote              Yes: 136           No: 1
       06/22/] J          S5846     Senate Vote                Aye: 62            Nay: 0

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      Floor Votes:

      06/23111 85846 Assembly     Vote Yes: 136 No: 1
      Yes Abbate         Yes      Abinanti          YesAmedore            ER     Arroyo
      Yes Aubry          Yes      Barclay           YesBarron             Yes    Benedetto
      Yes Bing           Yes      Blankenbush     ER Boyland              Yes   Boyle
      Yes Braunstein     Yes      Brennan         Yes Bronson             Yes   Brook-Krasny
      Yes Burling        Yes      Butler          Yes Cahill              Yes   Calhoun
      Yes Camara         Yes      Canestrari      Yes Castelli            Yes   Castro                                       _...   ---~----------




      Yes Ceretto        Yes      Clark           Yes Colton              Yes   Conte
      Yes Cook           Yes      Corwin          ER Crespo               ER    Crouch
      Yes Curran         Yes      Cusick          Yes Cymbrowitz         Yes    DenDekker
      Yes Dinowitz       Yes      Duprey          Yes Englebright        Yes    Farrell
      Yes Finch          Yes      Fitzpatrick     Yes Friend             Yes    Gabryszak
      Yes Galef          Yes      Gantt           ER Gibson              Yes    Giglio
      Yes Glick          Yes      Goodell         Yes Gottfried          Yes    Graf
      Yes Gunther A      Yes      Hanna           ER Hawley              Yes    Hayes
      Yes Heastie        Yes      Hevesi          Yes Hikind             Yes    Hooper
      Yes Hoyt           Yes      Jacobs          Yes Jaffee             Yes    Jeffries

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         Yes
         Yes
         Yes
         Yes
         Yes
               Johns
               Kellner
               Latimer
               Linares
               Lupardo
                                 Yes
                                 ER
                                 Yes
                                 Yes
                                 No
                                       JOrdan. Yes
                                       Kirwan
                                       Lavine
                                       Lopez P
                                       Magee
                                                   Yes
                                                   Yes
                                                   ER
                                                   Yes
                                                         Katz
                                                         KoJb
                                                         Lento!
                                                         Lopez V
                                                         Magnarelli
                                                                          Yes Kavanagh
                                                                          Yes Lancman
                                                                          Yes Lifton
                                                                          Yes Losquadro
                                                                          Yes Maisel
                                                                                            •
         Yes   Malliotakis       Yes   Markey      Yes   McDonough        Yes McEneny
         Yes   McKevitt          Yes   McLaughlin  Yes   Meng             Yes Miller D
         Yes   Miller J          Yes   Miller M    Yes   Millman          Yes Molinaro
         Yes   Montesano         Yes   More lie    Yes   Moya             Yes Murray
         Yes   Nolan             Yes   Oaks        Yes   O'Donnell        Yes Ortiz
         Yes   Palmesano         Yes   Paulin      Yes   Peoples-Stokes   Yes Perry
         Yes   Pretlow           Yes   Ra          Yes   Rabbitt          Yes Raia
         Yes   Ramos             Yes   Reilich     Yes   Reilly           Yes Rivera J
         Yes   Rivera N          Yes   Rivera P    Yes   Roberts          ER Robinson
         Yes   Rodriguez--___    Yes   Rosenthal   Yes   Russell          Yes Saladino
         Yes   Sayward           Yes   Scarborough Yes   Schimel          Yes Schimminger
         Yes   Schroeder         Yes   Simotas     Yes   Smardz           Yes Spano
         Yes   Stevenson         Yes   Sweeney     Yes   Tedisco          Yes Tenney
         Yes   Thiele            Yes   Titone      Yes   Titus            Yes Tobacco
         Yes   Weinstein         Yes   Weisenberg  Yes   Weprin           Yes Wright
         Yes   Zebrowski K       Yes   Mr. Speaker

         Go to Top of Page

         Floor Votes:

         06/22/11 S5846 Senate Vote Aye: 62 Nay: 0
         Aye Adams           Aye Addabbo         Aye Alesi                Aye   Avella
         Aye Ball            Aye Bonacic         Aye Breslin              Aye   Carlucci
         Aye DeFrancisco     Aye Diaz            Aye Dilan                Aye   Duane
         Aye Espaillat       Aye Farley          Aye Flanagan             Aye   Fuschillo
         Aye Gallivan        Aye Gianaris        Aye Golden               Aye   Griffo

         Aye Grisanti                            A     Hasse 11-
                             Aye Hannon            ye Thompson            Aye   Huntley
         Aye Johnson        Aye Kennedy          Aye Klein                Aye Krueger
         Aye Kruger         Aye Lanza            Aye Larkin               Aye LaValle
         Aye Libous         Aye Little           Aye Marcellino           Aye Martins
         Aye Maziarz        Aye McDonald         Aye Montgomery           Aye NozzoIio
         Aye O'Mara         Aye Oppenheimer Aye Parker                    Aye Peralta
         Aye Perkins        Aye Ranzenhofer      Aye Ritchie              Aye Rivera
         Aye Robach         Aye Saland           Aye Sampson              Aye Savino
         Aye Serrano        Aye Seward           Aye Skelos               Aye Smith
                                                 A     Stewart-
         Aye Squadron       Aye Stavisky                                  Aye   Valesky
                                                   ye Cousins
         Aye Young          Aye Zeldin




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                                            CHAPTER LA W MEMORANDA

               permissive referendum to the voters on their own motion. This authority was inadvertently
               removed by last year's law. In the absence of such authority, county electors will be required
               to bear the trouble and expense of a petition campaign. Such effons by the voters ought not be
               required where it is obvious that a referendum will be necessary because of the resolution's
       'o-     controversial nature. Additionally, the deletion made by Chapter 210 of Laws of 1982 has
       ed      rendered a provision found in §34( 4) of the Municipal Home Rule Law ineffective. This
       to      section provides that a county legislative body may submit certain categories of charters or
               local laws to the voters "on its own motion, in the manner provided by subdivision (4) of
      he       Section 101 of the County Law... "Unless the deleted language is restored toSeetion 101 of
   rA          the County Law, this language in the Municipal Home Rule Law can not be implemented.
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   ng
       to



                                             Governor's Program    Memorandu~


               Civil Service: Health Insurance
               S. 1257-A Schermerhorn Ch. 14
                    Ci1JiI Service Law: §167. The purpose of this bill     is to effectUate provisions of various
               memoranda of understanding executed pursuant to the collectively-negotiated agreements
                between the State and the employee organizations representing its employees dealing with
               health insurance benefits and costs. The burgeoning cost of employee health insurance
               premiums has severely strained the financial resources of the State. The State and the
               employee organizations representing State workers have agreed to a reduction of the State's
 .ns
               !;.optrjbution for the premium or subscription charges for employees enroUed in the statewide
 on
               he~lth insurance plan. At present, the Stl!te pays the full cost of such charges. This bill would
 ich
               redti~e the State's contribution to 90% or nine-tenths of premium or subscription costs for
 his
 ee.
               ¢y'rtent employees. T!le State would continue full contribution for employees who retired prior
               ~~q~'~i1ary 1, 1983. This bill would provide immediate financial reHeffor the State in reference
 .e's
               fQ3Bs~rance costs and would assist the long-term effort to contain employee insurance costs.
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                                     Memorandum of the Senate Finance Committee

              :!'iYS Budget Financing
              ·¥i.~f59-A Budget          Ch. 15
               §~~.H?9-B Budget
              };::'[:":"'!lix Law: Amend Generally; Penal Law: §60.35; Criminal Procedure Law: §420.35;
                       cii.(Jnd Traffic Law: §§l48-a, 205, 317, 363, 370, 401, 410, 420, 503, Add §§121-d, -e,
  to                       (809; Alcoholic Beverage Control Law: Repeal and Add §67; State Finance Law: Add
out                  :.• >.§:nvironmental Conservation Law: Add §§ 71-4101, -4103; Commerce Law: Repeal
the                 (t!f'!-A; New York City Administrati1Je Code: §§ T46-112.0, -118.0 -122.0, -184.0, -188.0, -
 to
                     ;1-":'R~"a1 Property Tax Law: §485; Executive Law: §§529, 817; eMI Practice Law and
                      ""':~~8018, 8020; Uniform District Court Act: §1911; Uniform City Court Act: §1911;
                          Jj:'~aw: §39; Transportation Law: Repeal §§86, 92. 93, Add §§92-94; Banking Law:
                           ~~~ailce Law: §32-a,' Public Service Law: §18-a; Workers' Compensation Law: §§50,
                           ~i§ducation Law: §§3006, 6525, 6605, 6707, 67J]·a. 6735, 6806, 6907, 7207, 7305,
                            406, 7604, 7705, 7905; Abandoned Property Law: §§300, 1315, 1316. This bill

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                        EXHIBITB
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JJvernor Andn:w Cuomo Announces Five Year Labor Agreement wi ...

       Published 1m GO'lenJor Andrew M. CUlhltO:1fwww.90vernor.nv.9 0V )




       Governor Andrew Cuomo Announces Fiv.~ Year Labor
       Agrl313ment with Civil Service Employees Association
      \11
      Albany, NY (June Z'. 2011)


      Governcr Andrew M Cuomo today announced lllat his administration has reached a flVll-year labor agreement with the Civil Service
      EmpICYfle~. Association (CSEA). CSEA represents 66,000 New York Slate employees and is one of the largest public employee unionllin
      the slatf). Upon ratification, this agreement would provide CSEA proteclion from brOacll'iYoffs.



      The agmernent ineilides s freeze on base wages for 3 years and a redesign of the empl')}'se health care contr bution and benefit system,
      saving S73 million this fiscal year and $93 million next fiscal year. If adopted by the state's other coiled/lie ba~ !lining units, the agreement
      will red~ce worktorcll costs by $1.63 billion over the course of the agreement, inclUding $1.27 cUlion of savingt in health care costa, and
      would a,:hieve sufficient lHlvings to avoid the need for broad layoHs arising rrom the gap in the state oporatiOl1f budget. Overall, the
      fhe-yeal' a!Jreement if adopted statewide would be $3.5 bnlion less expensive to the Slate than the previous fOllr-year agreement reached
      in 2007



      "\ applalJd CSEA's I.ladership for tr,eir hard work to reach this deal which is a win-win tor CSEA members and the State of New Yo:1l,'
      Govemclr Cuomo said. "This tentaHve contract, if adopted by the other bargaining units, means layoffs needed to ad1ielill needed
      workfort:e ,savings would be avoided. CSEA members are the backbone of state government, responsible for delivering services to 19
      millio" ~JelV Yorkers I commend the union and its leadership for making a significant contribution to help get tle state's fiscal house in
      order and making the shared sacrifices these difficurt limes reqUire. Working together, we wWf turn this state around and gel our economy
      moving once again."



     CSEA Frel~ident Danny Donohue said ·Thelie are not ordinary limes and CSEA and the Cuomo Administration have worl\ed overy hard at
     the bar~IB:l1ing table to produce an agreement that balances sharad sacrifice with fairness and rellpect. CSEA stepped up to help produce
     the LablJr savings that Governor Cuomo sought while the Governor responded to CSEA's concerns about Job 18Curily along with a wage
     and benefit packagl' that recognizes the pressures on lNor~ln9 people. I h BI/& known GClvernor Cuomo lor mar y years and \ know that his
     commitment to organized labor and working families is deeply held and second to no onEl."



     B... WaSil: Under 1he five year agreement, there will be no general salary increase in Fiscal Year 2011-12; :!O12-13; 2013-14.
     Employ,eel; will receive a 2 percent increase In 2014·15 and 2015-16.




                                                                   I 2011-12 2012-13 2013-14 2014-
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     Savin9~~ l'he 2011 wage agreement is $2.5 billion less costly to the state than the 2007 agreement, If adopted through the state
     workfon::e.                          .



    Health Cue Syatern Redesllln: The agreement includes a series of reforms in the employee heallh care syat 1m which saves $61 million
    annuaflf In the CSE A contract and $26:3 million over the contract ierm. If adopted by all bargaining un~s, the&! reforms would save $1.27
    billion. Thl! components of the health system redesign are:



    Health eire Contribution.: The agreement Includes substantial changes to employee health care contributicos bringing pUblic
    employl!e benefits roore in line w~h the private seclor. The contribution for health care tlenetlts have nol chanl/ed in 30 years, while the
    cost of thEI state's h,.alth care program has increased 100 percent In the past decade. lhe agreement reflects a two parcent increase in
    contributions for Gr,lde 9 employees and below, and a si~ percent Increase for Grade 1:) employees and abo~ s, (Under the ilgreement,


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                                                            Five Year Labor                                           http:,/www.govemor.ny.goviprintJ704
                                                                                                          ace"·
  :;0 vernor f\nQreW Cuomo ,\nnounces                                         Agreement wi...


                                                                                                           ~ee
         '..1r example. the stalll will pay 59 p e . family coverage for a Grade 10 employee ar,d                  the emp ayes will pay 31 percent.
         The prier tipllt was           7n
                                   percent sta1e125   cent employee, For IndMdual coverage, a Grade 10                and a lOve will Pili 16 perC43nt
         3nd the st'ile share \"i11 be 84 percent. The prior split was 10 percent employee/90 percent state).



         Savings: The CSEA .lgreement results In $30 mIllion In annual savings from this provision. and $141.7 mmon ever the contract term. If
         adoptee for the entil'11 workforce, this change will save $165 mll!lon per year. and $764 million over the term of t he contract.




         Heelth '::ant Opt Out: For the first lime. the state is cfferlng an opt-out option. Health care premiums cost $16,1;00 lor famMy coverage and
         $7300 f,)r Individual I :overage. Emp loyees electing to opt out of the health insurance program must provide pro)f of alternatlw coverage
         and wMI receive $10(10 or $3000 for the cessation of IndiVidual or family coverage, respectively. This Will save tfH state thousands of dollars
         for eact 8;11ployee who opts out.



         SBvinm~ The OpHlUl will saw $7.3 million annually and $31 miltlon over the contract ter" for CSEA alone. The opt-outachleves $21.6
         million in llnnual savings, and $91.8 million over the five year term if adopted statewide.




        Healtl1 Benefit RedllBign: The health benefit plsn system 01 co-pays, dedL:ctibles, and programs has been redesigned to encourage
        healtny cl'oices and control cosls of pharmaceutical product,. For example. for the first time the plan will COvel the use of nurse
        practitie·ne-rs and "minute clinics" and encourage employees to use thess services when appropriate instead of hospital emergency rooms.



        SaVlngl~ 11113 CSEA savings for this provision are 522.3 mHlion a"nually and $95.7 million over the contract terr1. If adopted by all
        bargainin~1 un~s, thE'se changes generate $65.5 million ennually when adopted &tatewicle, and $361.4 million ewr the term of the
        contract.




        Deficit Re.ductlon Leave: Under the agreement, employees will tike lil fIVe day unpaid .:leficit reduction leave during fiscal year 2011-12
        and fOLr clays unpai.j leave during fiscal year 2012-13. The value of the days taken not 'Harked will be deductEd from employee pay over
        the rerr ailling pay p'!riode equally during the fIScal year in which they are taken. Employees will be repaid the value of the 4 days from
        2012·1:1 in equal installments starting at the end 01 the contract term.




        SavingJ!;..The fur10unhs will yield $380 million in savings if adopted by all bargaining units.




       Periomlance advan.:es. longevity and retention payments: Performance advances ana longevity payments will continue to be in effect.
       Curren': 9:11ployees who remain active through 2013 will eam e onetime retention paymElOt or $775 in 2013 anc S225 in 2014 in recognition
       of wo:1<ing without a wage increase for three years.



       Patient Abuse Reform.: Both CSEA and the Slate agree that the system in place for investigating allegations of abuse of patients at
       stale fecilltles does 'lot adequately protect our most vulnerable population In state care While CSEA employe. IS are dedicated caretakers,
       allegations of abusE' musl be dealt with thoroughly. Under the agreement, the State and CSEA will take a nun'lber of steps to improve the
       quality of care, including creating a completely new Select Panel on Patient Abuse with A-list arbitrators and c 'eating a table of penalties
       for incr,uingly SBVI,re acts of misconduct. along with a number of other reforms.



       RevieYI of TemponllY Employen: The State and CSEA will form a joint committee to review the use of temp'lIary employees and
       contra(:tol"ll and make recommendations to the Division of BUdget and Department of Civll Service.



       Layoff Protection: CSEA amployees will reoeive broad layoff protection for fiscal year ,l01'-12 and 2012·13 aisi:'19 from the $450 million
       budge1 gl3p Workforce reductions due to management decisionllto close or restructurE' faCilities authorized bl' legislation, SAGE


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  j'Jvernor Andr::w Cuomo ,\nnounces Five Year Labor Agreement wi".                                                 http://www.governor.ny.gGviprinlJ7Q4

         recommelndations or material or u n a r . d changes in the State's fiscal circumstances aree"ered DY lliis limitation.



         file tentlrtive agreement must be ratified by CSEA rank and file members.



         Negotiations fer the: ;tate were led by II special team apptlinted by the Governor comprie,ing Todd R. Snyder, f enior Managing Director of
         Rothschild Inc. and (:o-Head of Rothschild's Restructuring and Reorganization group; arid Joseph M. Bren, fermer head oflha
         Governo"s Office of Employee Relations and former Vice President of Labor Relations al Amtrak, under the dlr, Iction of Howard Glasar,
         Director I~f :State OpNations.

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        Cuomo Secures Big Givebacks in 'Union Dt~al
        By OA~INY HAKIM
        ALBAI~" - The state's largest public-employee union, acknowledging the pressures on governme nt workers around the
        nation, figreed on Wednesday to major wage and benefits concessions in n pall! to avoid sweeping layoffs.

       The five-year agrf'ement between Gov. Andrew M. Cuomo, n Democrat, and the Civil Service Em}: loyees Association,
       includ,~s a three-year wage freeze, the first furloughs ever for state workers and an increase in the amount employees must
       pay toward their health insurance.

       Savings would amount to $73 million this year, and as much as $1.6 billion over five years, if othe:'labor unions
       repres'lnting public workers agreed to similar concessions. Absent those agreE'ments, there could i till be layoffs of some
       public workers, the Cuomo administration said.

       The agrel~ment was announced as the governor and lawmakers negotiated ove'r a number of issue:i in the waning hourn of
       the leg.s13tive session. Senate Republicans had not decided on Wednesday night whether to allow a Yote on the most
       contentious issue, the proposed legali1..ation of same-sex marriage.

       The ne~Dtil'ttions between Mr. Cuomo and the union, which represents about 2. third oft1\e 186,00) state workers, were
       largely frlee of the public rancor that accompanied effort:!! to reduce spending on labor in New Jersey and Wisconsin,

       "I want te, applaud C.S.EA. for understanding, truJy, the situation that the stRt,~ is in," the governof' told reporters on
       Wedne5day night. "The union really stepped up and helped the state out at a very precarious time, from a financial point of
       view."

       In a statement, Danny Donohue, the president of the union, said, "These are nJt ordinary times, ar Id C.S.EA and the
       Cuomo administration have worked very hard at the bargaining table to produce an agreement th~ t balances shared
       sacrifice with fairness and respect.~

      The deH] is subject to ratification by union members, who will Yote by mail over the next severa] w'ieks. It would provide
      pay rai~:e~ of:2 pere'ent in the fourth and fifth years of the contract.

      Mr, Cuun:o, facing shrinking resources because of the recession, had earlier in the legislative sessie ,n won approval of a
      state budget that d,)pended on a $450 million cut in labor costs, either from layoffs or union conce,sians.

      He had also proponed reducing pension benefits for new government workers; that proposal is un! ikely to be approved in
      this ses:;ion, but wilJ be a potential flash point going forward.

      Edmund ~r. McMahon, director of the Empire Center for New York State Policy, a research group that favors reduced
      government spending, called the deal a mixed bag.

      On one hand, Mr. McMahon said, the agreement was not an effort at significant transformation, Jill. e that ttied by Gov.
      Scott Walker of Wi:;consin, who sought to end collective bargaining for I:1any p'Jblic-employee unie ns. On the other hand,
      he said, the New Y(.rk deal marked a sharp departure from the state's previous four-yen I' labor con ract, which put in place
      base wage increase:; of 3 percent a year for the first three years and 4 percent ill the fourth year.

      "In WiSI:ollsin, they tried to change the rules,» Mr. McMahon said, adding, "Ifyou'l'e negotiating wi-hin the rules of the
      game, this is p!'obahly the best deal you can get:'



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New York RI:aChes Deal With Largest pu."
                                      " mployee Union - NY...             1~rtp://www,nytime.2011 /06J:!3~n}TegiOnil1eW-YOrk-reaChes-de ...

       Unde] the terms of the deal ann       'ed on Wednesday, !ower-pald employees - those whose salmes start at about
      $33,0:>0 or less _. will have their share of health care premiums rise to 12 pe reent, from 10 perce nt, [01" individuals. Mere
      highly p,lid empli ,yees will have their share rise to 16 percent. The cost of family health coverage will also increase; for
      more ,1ighly paid employees, for example, the share will rise to 31 percent, fmm 25 percent. State officials expect that, as in
      the past, the heall h care changes will also apply to retirees, a potentially critical part of the overall sllvings.

      In addition to takmg a five-day furlough in the current fiscal year, employees must take a four-da f leave in the year after,
      though t~e second-year furlough will be repaid at the end of the contract term.

      Employt'es who mmain through 2013 will earn one-time bonus payments of ~i775 in 2013 and $2~!5 in 2014 - such
      one-time payments do not compound over time like salary increases. which increase long-term ca sh costs for the state and
      the bu:.·d~n on the pension system.

      In additi,)n to the wage and benefits concessions, the union also agreed to an overhaul of the disci pUnary procedures for
      state e:nployees al:cused of abuse or neglect of the developmentally disabled. The state and the urion will develop a series
      ofpun.shments for employees who commit disciplinary offenses in an effort t:1 end the seemingly random punishments
      handed ('ut by arb itrators to employees in the past. And there will also be an e,verhaul of the curre nt arbitration panel and
      higher ptlY in an eifort to recruit better arbitrators.

      The Cuomo administration had pressed for the changes after a series of articles in The New York ·.~imes examining the
      treatm~nt of the  disabled in group homes and state-run institutions. Among the newspaper's findi 19S; The state has
      retained workers who committed physical or sexual abuse, rehired many workers it had fired, shu nned whistle-blowers
      and ral'ely reported allegations of abuse to law enforcement officials.

      While mr..ployees J epresented by the Civil Service Employees Association averted layoffs, the CUOT,10 administration is still
      negoti:3tiug with Ii number of other unions, including the Public Employees Federation, which rep'~esents 50,000
      employees and is tile second-largest union of state employees. The state has put forward a July 15 deadline for layoffs in
      other uni::ms if an .lgreement is not reached to reduce their wages and benefitll.

      The Public Emplorees Federation has had more contentious talks thus far with the Cuomo admini mation, going so far as
      to post the adminbtration's negotiating position on the Internet, but its position was weakened by :he agreement
      annou!.ced on Wednesday.

      Ken Br:mien, president of the Public Employees Federation. issued only a brief statement, saying bis union "stands ready
      to mee1 with the state's negotia,ors to reach an agreement. N




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  CSJSA announces tentative agreement on s-year contract
  (Rick l(arlinfTimes Union)

  Based ~n the details in the union's release, the offer to CSEA is far better than the Cuomo administratioi l'S most recent offer to PEF
  - altt1<l u9h H's worth noting that that offer never even got to the press-release sta~le .

 . CSEA'~.IE,aders met at the Desmond on Wednesday moming to discuss the details cfthe offer. The mal, ingredients, from eSEA's
   release:

  Wages


         •      No across IMe board salary increase in FY 2011 and 2012;
         •      $1.000 (not added 10 base pay) starting April 1, 2013; ($7'75 lump sum pal/able April 1, 2013 I $225
      •         IlJmp sum IJayable April 1,2014)
      •         2 percenl ciCroS5 the board increase payable April 1, 2014;
      •         2 percent Heross the boare increase payable April 1, 2015;
      •         1\0 changes in payments of step Increments;
      •         No changes in Longevity payments.

 Furlougmi


      •        Fve unpaid days off In FY 2011; (The value of the five days will be spread over the remaIning pay periods equally,)
      •        F'Jur unpaid days off in FY 2012. (The value of the four days will be spreac equally O1/er pay period in the fiscal year-
               employees will be reimbursed for the value of these days starting in year fil/e of the contract)

 Health ElMefits

     •        Grade 9 en Iployaes and below - 2 percent increase in premium; (Individuals - 10 percent incree sin to 12 percent and family
              ctlverage - 25 percent increasing to 27 percent of premium cost.)
     •        Grade 10 employees and above - 6 percent increase in premium; (Individuals - 10 percent incrE ,asing to 16 percent and
              family coverage - 25 percent increasing to 31 percent of premium cost.)
     •        Various inc.-emental changes in coverage provisions, co-payments and prescription drug benefit ;;
     •        Maintains fl rnding for dental, prescription eyeglass and other benefi1s provided through the eSEA Employee Benefit Fund;
     •        N,) change in ability to use sick leave credHs to help defray the cost of health insurance premiurrs in retirement.

A 2 p.m. press conference is planned at the union's headquarters on Washington Avenue.

Here's CSEA's fuJI press release:

CSEA - Ne,w York's leadIng union - has reached a tentative contract agreement with New York state on II five-year deal to avert
impendir 9 !ayoffs of CSEA-represented state employees and I<eep people working. Tile agreement was r !ached after challenging
negolialioJn.s with the Cuomo administratiol11hat will prcllide long term benefits to b01h to the 68,000 eSE/I-represented state Executi've
Branch employees 2nd New
York taxpal'ers,

"I applau::l CSEA's le,3dershlp fer their hard work to reach this deal which is a win-win fer CSEA members and the State of New York,"
said Governor Andrew Cuomo, 'I commend the union and its leadership for making a significant contrfbuli~n to help get the state's
fiscal hOllSEl in order and mal<ing the shared sacrffices these difficult times require. Working together, we ~rill t'Jrn this state around and
get our economy moving once again."

"These are not ordinwy times and eSEA and the Cuomo administration have worked very hard at the baq/aining table 10 produce an
agreeme'1t that baJar,ces shared sacrifice With fairness and respect: said eSEA Prei;idant Danny Donohue.

"CSEA sle~'ped up te help produce the labor savings that Governor Cuomo sought while the governor resilonded to CSEA's COi1Cems
about jot SI!CUrily arCing with a wage and benefit package that recognizes the pressures 011 working peopl!," Donohue·said.

"CSEA bl3lil~ves our members and all fair-minded New Yorkers wiD sEle this agreement as a responsIble la~or-maMgement approach to
facing thu challenges in front of our state," Donohue saId.
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                                        •                                                      •
 The agre9ment includes provisions to keep CSEA-represented state employees on-the job delivering e~ sental services to New
 Ycrkar:,. It wiJJ rescind imminent plans to issue layoff notices to CSEA-representad employees included n the 9,800 reductlons
 previol~sr'l annoum;ed by the Cuomo administration. It also prOVides other job secl'my assurances for the life of the contract.


 Wages:


                  •   • No across the board salary increase in FY 2011 and 2012;
                  •   • $1 ,DCa (not added to base pay) startIng April 1, 2013; ($775 lump sum payable April 1, 2013 I $225
                  •   ILJmp sum payable April 1. 2014)
                  •   • 2 percent across the board increase payable April 1, 2014;
                 •    • 2 percent across the board increase payable April 1, .2015;
              •       • No changes in payments of step Increments;
              •       • No changes in Longevity payments.

Furloug1s

              •       • Five unpaid days off in FY 2011; (The value of the five days will be spread over the rf. maining pay periods equally,)
              •       • Four unpaid days off in FY 2012. (The value of the four days will be spread equally 0\ 'er pay period in the fiscal year
                      - ~mployees will be reimbursed for the value of these days startir 9 in year five of the c :mtract.)

Health Benefits

              •       • Orade 9 employees and below - 2 pert:ent increase In premium: (Individwsls -10 per:en! increasin to 12 percent
                      and family coverage - 25 percent increasing to 27 percent of premium cost.)
              •       • (irade 10 employees and above - 6 percent increase in premium; (I ndMduals - 10 pl ircent Increasing to 1S percent
                      and family coverage - 25 percent increasing to 31 percent of premium cost.)
              •       • Various incremental changes in coverage provisions, co-payments and prescription d! ug beneRts;
              •       • Maintains funding for dental, prescription eyeglass and other benefits provided lhroug, the CSEA Employee Benefit
                      Fund;
             •        • No change In ability to use sick leave credits to help defray the C::lst of health insuranc e premiums in retirement.

TIle agrE,ernent would also maintain all side letter labor-management agreements Cllrrently in place betwEen CSEA and New York slate
and establishes 8 committee to address the state's use of temporary employees, consuitants and contrac:ol1l to determine how state
employe:s can be bottsr utilized to fill this role. The tentative agreement must be aa:ed upon by the state legislature and rallfred by
CSEA rank and tile members. CSEA will be conducting informatIonal meetings and prOViding full details or the agreement to all
membem prior to the ratification vote which will pe conducted by mail in the coming weeks.

CSEA nflgeltiating tellm Is comprised of 23 CSEA slate employees selected to repre:>ent their coworkers. They were led at ihe table by
CSEA Dlre,;lor of Contract Administration Ross Hanna and the unIon's professfonalnegotiating staff.
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                       EXHIBIT C
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 2011 Sess. Law News ofN.Y. Ch. 491 (S. 5846) (McKINNEY'S)

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                                                             CHAPTER 491
                                                                 S.5846
           STATE OFFICERS AND EMPLOYEES--COLLECTIVE BARGAINING--COMPENSATION AND SALARIES


                                               Approved and effective August 17, 2011


AN ACT to amend the civil service law and the state finance law, in relation to compensation and other terms and conditions of
employment of certain state officers and employees, to authorize fimding of joint labor-management corrunittees, to implement
agreements between the state and an employee organization; to amend chapter 333 of the laws of 1969 amending the civil service
law and other laws relating to salary increases for certain state officers and employees, in relation to rates of pay for certain state
employees; to repeal certain provisions of the civil service law relating thereto; and making an appropriation for the purpose of
effectuating certain provisions hereof (Part A); to amend the civil service law and the correction law, in relation to salaries; to
repeal certain provisions of such laws relating thereto; and making an appropriation for the purpose of effectuating certain
provisions hereof(Part B) .



                  The People of the State ofNew York, represented in Senate and Assembly, do enact as follows:



§ 1. This act enacts into law legislation necessary to implement collective bargaining agreements, to make changes to an existing
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 fTom collective negotiating units. Each component is wholly contained within a Part identified as Parts A through B. The effective
 date for each particular provision contained within such Part is set torth in the last section of such Part. Any provision in any section
 contained within a Part, including the effective date of the Part, which makes reference to a section "of this act", when used in
 connection with that particular component, shall be deemed to mean and refer to the corresponding section of the Part in which it is
 fOlUld. Section two of this act sets forth the general severability clause applying to this act Section three of this act sets forth the
 general effective date of this act



                                                                 PART A


                                       COLLECTIVE BARGA1J'.ilNG AGREEMENT BETWEEN


                                       TIIE STATE OF NEW YORK AND TIIE CIVIL SERVICE


                                         EMPLOYEES ASSOCIATION, INC. FOR 2011-2016


§ 1. Subparagraphs 1,2,3 and 4 of paragraph a of subdivision 1 of section 130 of the civil service law are REPEALED and three
new subparagraphs 1,2 and 3 are added to read as follows:



                                                      «NY CIY SERV § 130»



(1) Effective April first, two thousand ten for officers and employees on the administrative payroll and effective March
twenty-fifth, two thousand ten for officers and employees on the institutional payroll:



SG        fIR            Step           Step          Step         Step           Step            Step               JRINCR
                            1            2             3           4             5            6
          22041          22785        23529         24273       25017          25761          26505        27249         744
2         22883          23663        24443         25223       26003          26783          27563        28343         780
3         24025          24840        25655         26470       27285          28100          28915        29730         815
4         25074          25937        26800         27663       28526          29389          30252        31115         863
5         26274          27178        28082         28986       29890          30794          31698        32602         904
6         27744          28683        29622         30561       31500          32439          33378        34317         939
7         29278         30263         31248        32233        33218          34203          35188        36173        985
8         30928         31951         32974        33997        35020          36043         37066         38089        1023
9        32653          33722         34791        35860        36929          37998         39067         40136        1069
10       34521          35642         36763        37884        39005          40126         41247         42368        1121
11       36523          37700         38877        40054        41231          42408         43585        44762         1177
12       38612          39830         41048        42266        43484          44702         45920        47138         1218
13       40903          42177         43451        44725        45999         47273          48547        49821         1274
14       43270          44596         45922        47248        48574         49900          51226        52552         1326
15       45781          47163         48545        49927        51309         52691          54073        55455         1382
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                                                                                                                 1596
 19       56912         58587       ~0262         61937      63612          65287        66962       68637       1675
 20       59889         61630       63371         65112      66853          68594        70335       72076       1741
 21       63101         64924       66747         68570      70393          72216        74039       75862       1823
 22       66484         68389       70294        72199       74104          76009        77914       79819       1905
 23       70038         72026       74014        76002       77990          79978        81966       83954       1988
 24       73850         75908       77966        80024       82082          84140        86198       88256       2058
 25       77931         80080       82229        84378       86527          88676        90825       92974      2149
 (2) Effective March twenty-seven, two thousand fourteen for officers and employees on the administrative payroll and
 effective April three, two thousand fourteen for officers and employees on the institutional payroll:



 SG       HR            Step          Step         Step        Step           Step           Step            JR lNCR
                           1           2            3          4             5           6
 1        22482         23241      24000         24759       25518          26277        27036      27795       759
 2        23341         24137      24933         25729      26525           27321       28117       28913       796
 3        24506         25337      26168         26999      27830          28661        29492       30323       831
 4        25575         26455      27335         28215      29095          29975        30855       31735       880
 5        26799        27721       28643         29565      30487          31409        32331       33253       922
 6        28299        29257       30215         31173      32131          33089        34047       35005       958
 7        29864        30869       31874         32879      33884          34889        35894       36899       1005
8        31547         32590       33633         34676      35719          36762        37805       38848       1043
9        33306         34396       35486         36576      37666          38756        39846       40936       1090
10        35211        36354       37497         38640      39783          40926        42069       43212       1143
11        37253        38454       39655         40856      42057          43258        44459       45660       1201
12        39384        40626       41868         43110      44352          45594        46836       48078       1242
13        41721        43020       44319         45618      46917          48216        49515       50814       1299
14       44135         45488       46841         48194      49547          50900        52253       53606       1353
15       46697         48107       49517        50927       52337          53747        55157       56567       1410
16        49313        50788       52263        53738       55213          56688        58163       59638       1475
17       52088         53647       55206        56765       58324          59883        61442       63001       1559
18       55098·        56726       58354        59982       61610          63238        64866       66494      1628
19       58050         59759       61468        63177       64886          66595        68304       70013      1709
20       61087         62863       64639        66415       68191          69967        71743       73519      1776
21       64363         66222       68081        69940       71799          73658        75517       77376      1859
22       67814         69757       71700        73643       75586          77529        79472       81415      1943
23       71439         73467      75495         77523       79551          81579        83607       85635      2028
24       75327         77426      79525         81624      83723           85822        87921       90020      2099
25       79490         81682      83874         86066      88258           90450       92642        94834      2192
(3) EffeCtive March twenty-six, two thousand fifteen for officers and employees on the administrative payroll and effective
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  SG         HR            Step            Step           Step         Step           Step             Step               JR INCR
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            22932          23706        24480          25254        26028          26802          27576        28350          774
  2         23808          24620        25432          26244        27056          27868          28680        29492          812
  3         24996          25844        26692          27540        28388          29236          30084        30932          848
  4         26087          26985        27883          28781        29679          30577          31475        32373          898
  5         27335          28275        29215          30155        31095          32035          32975        33915          940
  6         28865          29842        30819          31796        32773          33750          34727        35704          977
  7         30461          31486        32511          33536        34561          35586          36611        37636          1025
  8         32178          33242        34306          35370        36434          37498          38562        39626          1064
  9         33972          35084        36196          37308        38420          39532          40644        41756          1112
  10        35915          37081        38247          39413        40579          41745          42911        44077          1166
  11        37998          39223        40448          41673        42898          44123          45348        46573          1225
  12        40172          41439        42706          43973        45240          46507          47774        49041          1267
  13        42555          43880        45205          46530        47855          49180          50505        51830          1325
  14        45018          46398        47778          49158        50538          51918          53298        54678          1380
 15         47631          49069       50507           51945        53383          54821          56259       57697           1438
 16        50299           51804       53309           54814       56319           57824          59329       60834           1505
 17        53130           54720       56310           57900       59490           61080          62670       64260           1590
 18        56200           57861       59522          61183        62844           64505          66166       67827          1661
 19        59211          60954        62697          64440        66183          67926           69669       71412          1743
 20        62309          64120        65931          67742        69553          71364           73175       74986          1811
 21        65650          67546        69442          71338        73234          75130          77026        78922          1896
 22        69170          71152        73134          75116        77098          79080          81062        83044          1982
 23        72868          74937        77006          79075        81144          83213          85282        87351          2069
 24        76834          78975        81116          83257        85398          87539          89680        91821          2141
 25        81080          83316        85552          87788        90024          92260            96732
                                                                                                 94496          2236
§ 2. Subdivision 8 of section 167 of the civil service law, as added by chapter 442 of the laws of 1999, is amended to read as
follows:



                                                        «NY CIV SERV § 167»


8. Notwithstanding any inconsistent provision of law, where and to the extent that an agreement between the state and an employee
organization entered into pursuant to article fourteen of this chapter so provides, the state cost of premium or subscription charges
for eligible employees covered by such agreement may be increased modified pursuant to the terms of such agreement and for a
duration provided by SlJCR agreement and purslJant to TlJles and regulatioflS as may be established by fue president. SlJeh increase in
state eost shall oIll}' apply dlJTing the peri os of eligibilit}, proyides b)' 51:l6h agreemeHt aHd shall flot be applies stlfing retirement.
The president, with the approval of tbe director of the budget, may extend tbe modified state cost of premium or
subscription charges for employees or retirees not subject to an agreement referenced above and shaU promulgate the
necessary rules or regulations to implement this provision.
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                                     •                                                      •
  § 3. Subdivision 2 of section 208 of the civil service law, as amended by section 3 of part A of chapter 10 of the laws of2008, is
  amended to read as follows:



                                                          « NY CN SERV § 208 »


  2. An employee organization certified or recognized pursuant to this article shall be entitled to lUlchallenged representation status
  until seven months prior to the expiration of a written agreement between the public employer and said employee organization
  determining terms and conditions of employment. For the purposes of this subdivision, (a) any such agreement for a term covering
  other than the fiscal year of the public employer shall be deemed to expire with the fiscal year ending immediately prior to the
  termination date of such agreement, (b) any such agreement having a term in excess of three years shall be treated as an agreement
  for a term of three years, provided, however, any such agreement between the state and an employee organization representing
  employees in the executive or judicial branches which commences in the calendar year two thousand 5e¥eft eleven having a term in
 excess of three years shall be treated as an agreement for a term certain specified in such agreement but in no event for a term
 greater than four years, and (c) extensions of any such agreement shall not extend the period of unchallenged representation status ;
 aHa (a) HotwithstaHding aHy provisioR of law to the cOHtrEH')', the iRterest arbitratioR award issued purSI:iaHt to the provisioflS of
 paragraph (e) ofsubaiyisioB fuur ofsectioB two huRdred niRe of this article biBdiBg the e1(ecutive braBch of the state ofNev.' YorlE
 aHd the employee organizatioH which represtmts the collecth'e RegotiatiBg UBit cOHSistiRg of troopers BHd the UBit cOHSisring of
 eofl'lfHissioned and noncommissioRed officers in the division of state police, covering a period commeflciRg April first; nineteeH
 hlffldred mflety mfle, sRall be treated as a wrineR agreemeHt for tRe term specified iH such a'....ard solely fer the representatiofl
 purposes of this sectioH.


 § 4. Paragraph (e) of subdivision 3 of section 130 of the civil service law, as amended by section 4 of part A of chapter 10 of the
 laws of2008, is amended to read as foHows:



                                                         «NY CN SERV § 130»



(e) (i) Prior to April first, two thol:lSaHd tea; aHd HotwithstaRding aRy iHcoflSistem provisiofl ona'...{, officers aAd eH¥lloyees to whom
paragraph a of subdivisioR ORe of this sectioH applies woo, OR or after April first, niReteen hUHdred eighty se,'ea; on their
afl.-uversary dEtte Han Eye or mere }'ears of continuous serviee as cleEned b)' paragraph (c) of this sHBdivision at a Basic aHR1:ia1
salaf)' rate eEj1:ia1 to or iB excess of the JOB rate or ma1amum salaf)' oftheir salaf)' gracle, but below the first 10RgeYity step aru:! whose
performaHce for the most recem rating period ','{as ratee at least "satisfactof)'" or its eEjuiyalern, shall hB\'e their basis aMwl salary
increased to the first longeyity step or shall have their basic aMual salary as otherwise effective iHcreasee by SeyeR hUHdree fifty
dollars, or by eight hunered seveRt}' five dollars on or after April first, p,..,o thousane seYeR; or by OHe thousaRd dollars on or after
April first, FrYO tflousaRd eight; or by one thousand one huRdred tvr'eHty five dollars on or after Aflril first, 1:\..,0 tflousaRd niRe or as
much of that amourn as ,>,,'ill Rot result in the neVi basic allHual salary e)(ceeaing the step 1:\"'0 IORgevity step. N01:\,'ithstanding any
incoRsistem provision onaw, officers ane employees to whom paragraph a ofsubdiyision one of this sectioH apply '",ho, OR or after
April first, nineteen hUHdred eighty seyen, OR their afl.-uyersary eate have ten or more years of coHtinHous seryice as defined by
paragraph (c) oftms subdiyisioR at a basic armual salaf)' rate 6Ef\lal to or in e*C6SS of the job rate or maxiffiHffi salaf)' of their salary
grade, but below tHe second IOHgevit}, step aRd ',..,Hose performaRee for the most recent rating fleriod was rated at least
"satisfactor)'" or its eEjuiyaleRt, sHall haye their basic aflfiUal salary iHcreased to the secoHd longevity step as foUHd iR paragraph a of
subdivision one of this sestion. gush increases to longeyity steps by eligible officers or eH¥lloyees shall Become effectiye on tAe
first day of the payroll perioe ",{hich Rtmt begins fullowing the aHniversaf)' date ",,,hich satisfies the prescribed seryice r6EjHiremeRts,
For the purposes oftms paragraph the term continuous service as defiRed by paragraph (c) of this subdiyision fur employees in the
division of rflilitary aRd nayal affairs unit shall refer to llllimerrupted service iR the civiliaR service ofilie divisioR of rflilitarJ' aAd
naval affairs.
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                                         •                                                •
  (ii) Offioers Where, and to the exte'nt that, an agreement between the state and an employee organization entered into
  pursuant to article fourteen of this chapter on behalf of officers and employees serving in positions in the administrative
 services unit, institutional services unit, operational services unit or military and naval affairs unit so provides officers and
 <:mployees to whom paragraph a of subdivision one of this section applies who, on or after April first, two thousand tell eleven, on
  their anniversary date have five or more years, but less than ten years, of continuous service as defined by paragraph (c) of this
 subdivision at a basic annual salary rate equal to or in excess of the job rate or maximum salary of their salary grade, shall receive a
 lump sum payment in the amount of one thousand two hundred fifty dollars. Gffi.68FS Where, and to the extent that, an agreement
 between the state and an employee organization entered into pursuant to article fourteen of this chapter on behalf of
 fJfficers and employees serving in positions in the administrative services unit, institutional services unit, operational services
 unit or military and naval affairs unit so provides officers and employees to whom paragraph a of subdivision one of this section
 applies who, on or after April first, two thousand tefl eleven, on their anniversary date have ten or more years of continuous service
 as defined by paragraph (c) of this subdivision at a basic annual salary rate equal to or in excess of the job rate or maximum salary
 of their salary grade shall receive a lump sum payment in the amount of two thousand five hundred dollars.



 Such lump sum payment shall be in addition to and not part of the employee's basic annual salary, provided however that any amount
 payable by this paragraph shall be included as compensation for overtime and retirement purposes.



 Such lump sum payment shall be payable in April of each fiscal year, or as soon as practicable thereafter, for those eligible
 employees who have achieved five or more, or ten or more years of continuous service as defined by paragraph (c) of this
 subdivision at a basic annual salary rate equal to or in excess of the job rate or maximum salary of their salary grade during the
 period October first through March thirty-first of the previous fiscal year. Such payment shall be payable in October of each fiscal
 year, or as soon as practicable thereafter, for those el igible employees who have achieved five or more, or ten or more years of
 continuous service as defined by paragraph (c) of this subdivision at a basic annual salary rate equal to or in excess of the job rate
 or maximum salary of their salary grade during the period April first through September thirtieth of that same fiscal year. A:I-J.
 oomptmsatiofl alreae!y ifiOIHe!@e! ifl al'! employ@@'s basic aflllwi salary pllfswnt to sHbparagraph (i) of this paragraph shall r@rmiA
 inell:ldee! in SHOA basic aHffilllI salary.



 § 5. Subdivision 12-d of section 8 of the state finance law, as amended by section 5 of part A of chapter 10 of the laws of2008, is
 amended to read as follows:



                                                        «NY STATE FIN § 8»


I2-d. Notwithstanding any inconsistent provision of the court of claims act, examine, audit and certifY for payment any claim
submitted and approved by the head of a state department or agency, other than a department or agency specified in subdivision
twelve of this section, for personal property of an employee damaged or destroyed in the course of the performance of official
duties without fault on his part by an inmate, patient or client of such department or agency after March thirty-first, two thousand
&&¥aR   eleven and prior to April first, two thousand    ~       sixteen, provided no such claim may be certified for payment to an
officer or employee who is in a collective negotiating unit until the director of employee relations shall deliver to the comptroller a
c@rtificat@ letter that there is in effect with respect to such negotiating unit a written collectively negotiated agreement with the state
pursuant to article fourteen of the civil service law which provides therefor. Payment of any such claim shall not exceed the sum of
three hundred dollars. No person submitting a claim under this subdivision shall have any claim for damages to such personal
property approved pursuant to the provision of subdivision four of section five hundred thirty of the labor law or any other
applicable provision of law.
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 § ,. Scl>d;v;';on 12-< nf
 amended to read as follows:
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                                                       «NY STATE FIN § 8»



 12-e. Notwithstanding any inconsistent provision ofthe court of claims act, where, and to the extent that, an agreement between the
 state and an employee organization entered into pursuant to article fourteen of the civil service law on behalf of officers and
 employees serving in positions in the professional, scientific and technical services unit, administrative services unit, instiMional
 services unit, operational services unit or and mil itary and naval affairs unit so provides, examine, audit and certifY for payment any
 claim submitted and approved by the head of a state department or agency for personal property of an officer or employee damaged
 or destroyed in the actual performance of official duties without fault or negligence of the officer or employee other than a claim
 specified and covered by subdivision twelve or twelve-d of this section after March thirty-first, two thousand       sa¥eH   eleven and
 before April first, two thousand ~ sixteen. Payment of such claim shall not exceed the sum of three hundred fifty dollars.
 Where an agreement between the state and such employee organization entered into pursuant to article fourteen of the civil service
 law provides for payment to be made to officers and employees by a state department or agency, such payments for claims not in
 excess of the amount specified in subdivision three of section one hundred fifteen of this chapter may be made from a petty cash
 account established pursuant to section one hundred fifteen of this chapter and in the manner prescribed therein and pursuant to
 regulations of the comptroller. No person submitting a claim under this subdivision shall ha.... e any claim for damages to such
 personal property approved pursuant to the provisions of subdivision four of section five hundred thirty of the labor law or any
 other applicable provision oflaw.



 § 7. Section 200 ofthe state finance law is amended by adding a new subdivision 5 to read as follows:



                                                     «NY STATE FIN § 200»



5. Notwithstanding any Jaw to the contrary, by agreement between the state and an employee organization entered into
pursuant to article fourteen of the civil service law, or by an interest arbitration award binding the state and an employee
organization pursuant to article fourteen of the civil service law, or by the director of budget for state officers and
employees in the executive branch who are in positions which are not in collective negotiating units, plans may be established
to reduce the basic annual salary, hourly rate or per diem for any employee within the purview of such agreement, interest
arbitration award, or the bUdget director's authority. Any plan or plans established under this section will be implemented
when the budget director notifies the director of the governor's office of employee relations and delivers such plan or plans
to the comptroller, at which point the comptroller will take the necessary actions to reduce, restore, or repay compensation,
provided however, that the comptroller must take such actions wholly within the fiscal year that such plan requires. After
the cessation of such plan, the comptroller shall restore such salary, hourly rate or per diem to the amount in effect
immediately before the commencement of such plan.



§ 8. Subdivision I of section 135 of the civil service law is amended adding a new paragraph (d) to read as follows:



                                                     «NY     eN SERV § 135 »


(d) payments made pursuant to a collective bargaining agreement negotiated pursuant to article fourteen of this chapter or
regulations promulgated by the president pursuant to subdivision three of section one hundred sixty-three of this chapter
pennitting payment to an employee or officer in exchange for the employee's election to withdraw from the health insurance
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  ;mnuaJ salary and shall not be considered compensation for the purposes of overtime calculation or retirement.



  § 9. Compensation for certain state officers and employees in collective negotiating units. 1. The provisions of this section shall
  apply, except as otherwise stated in this section, to all fujI-time officers and employees in the collective negotiating units designated
  as the administrative services unit, the institutional services unit, the operational services unit, or the division of military and naval
  affairs unit established pursuant to article 14 ofthe civil service law.



  2. (a) Effective March 28,2013 for officers and employees on the administrative payroll and effective April 4,2013 for officers
  and employees on the institutional payroll pursuant to article 14 of the civil service law a lump sum payment of$775 shall be made
  to each employee in such units in full-time annual salaried employment status who was (i) active on the date of ratification of the
  agreement between the state and the negotiating unit covering such employee and (ii) in continuous service, as defined by paragraph
  (c) of subdivision 3 of section 130 of the civil service law, from that date until March 28, 2013 for officers and employees on the
  administrative payroll and on April 4, 2013 for officers and employees on the institutional payroll. Such lUJlll sum shall be
  considered salary for final average salary retirement purposes but shall not become part of basic annual salary. Notwithstanding the
  foregoing provisions of this subdivision, officers and employees who would have otherwise been eligible to receive such lump sum
 payment, but who were not on the payroll on such date, shall be eligible for said payment if they return to full-time employment
 status during the fiscal year 2013-2014 without a break in continuous service.



 (b) Effective March 27,2014 for officers and employees on the administrative payroll and effective April 3, 2014 for officers and
 employees on the institutional payroll pursuant to article 14 of the civil service law a Jump sum payment of $225 shall be made to
 each employee in such units in full-time annual salaried employment status who was (i) active on the date of ratification of the
 agreement between the state and the negotiating unit covering such employee and (ii) in continuous service, as defined by paragraph
 (c) of subdivision 3 of section 130 of the civil service law, from that date until March 28,2013 for officers and employees on the
 administrative payroll and April 4, 2013 for officers and employees on the institutional payroll. Such lump sum shall be considered
 salary for final average salary retirement purposes but shall not become part ofbasic annual salary.



 3. Effective March 27,2014 for officers and employees on the administrative payroll and effective April 3,2014 for officers and
 employees on the institutional payroll, the basic annual salary of officers and employees in full-time annual salaried employment
 status on the day before such payroll period shall be increased by two percent adjusted to the nearest whole dollar amount.



 4. Effective March 26,2015 for officers and employees on the administrative payroll and effective April 2, 2015 for officers and
 employees on the institutional payroll, the basic annual salary of officers and employees in full-time annual salaried employment
status on the day before such payroll period shall be increased by two percent adjusted to the nearest whole dollar amount.



5. Notwithstanding the provisions of subdivisions three and four ofthis section, if the basic annual salary of an officer or employee
to whom the provisions of this section apply is identical with the hiring rate, step one, two, three, four, five, six or job rate of the
salary grade of his or her position on the effective dates of the increases provided in these subdivisions, such basic annual salary
shall be increased to the hiring rate, step one, two, three, four, five, six or job rate, respectively, of such salary grade as contained in
the appropriate salary schedules in subparagraphs 2 and 3 of paragraph a of subdivision I of section 130 ofthe civi [ service law, as
added by section one of this act, to take effect on the dates provided in subparagraphs 2 and 3, respectively. The increases in basic
annual salary provided by this subdivision shall be in lieu of any increase in basic annual salary provided for in subdivisions three
and four of this section.



6. Payments pursuant to the provisions of subdivision 6 of section 131 of the civil service law for fuji-time annual salaried officers
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 of an agreement reached pursuant to article 14 of the civil service law between the state and an employee organization representing
 employees subject to the provisions of this section.



 7. If an llilencwnbered position is one which if encwnbered, would be subject to the provisions of this section, the salary of such
 position shall be increased by the salary increase amollilts specified in this section. If a position is created, and filled by the
 appointment of an officer or employee who is subject to the provisions of this section, the salary otherwise provided for such
 position shall be increased in the same manner as though such position had been in existence but llilencumbered.



 8. The increases in salary provided in subdivisions three and four of this section, and also the payments provided in subdivision
 two of this section, shall apply on a prorated basis to officers and employees, otherwise eligible to receive an increase in salary,
-\vhoarep-aTdon-an" hOUrlyorper diem basis, employees serving on a part-time or seasonal basis and employees paid on any basis
other than at an annual salary rate. Notwithstanding the foregoing, the provisions of subdivision six of this section shall not apply to
employees serving on an hourly, per diem, or seasonal basis, except as determined by the director of the budget



9. In order to provide for the officers and employees to whom this section applies who are not allocated to salary grades, but are
paid on an annual basis, increases and payments pursuant to subdivision six of this section in proportion to those provided to
persons to whom this section applies who are allocated to salary grades, the director of the budget is authorized to add appropriate
adjustments and/or payments to the compensation which such officers and employees are otherwise entitled to receive. The director
of the budget shall issue certificates which shall contain schedules of positions and the salaries and/or payments thereof for which
adjustments and/or payments are made pursuant to the provisions of this subdivision, and a copy of each such certificate shall be
filed with the state comptroller, the state department of civil service, the chairman of the senate finance committee and the chairman
of the assembly ways and means committee.



10. Notwithstanding any other provision of this section, the provisions of this section shall not apply to officers or employees paid
on a fee schedule basis.



11. Notwithstanding any other provision of this section, any increase in compensation for any officer or employee appointed to a
lower graded position from a redeployment list pursuant to subdivision 1 of section 79 of the civil service law who continues to
receive his or her former salary pursuant to such subdivision shall be determined on the basis of such lower graded position
provided, however, that the increases in salary provided in this section shall not cause such officer's or employee's salary to exceed
the job rate of such lower graded position.


12. Notwithstanding any of the foregoing provisions of this section or of any law to the contrary, the director of the budget may
reduce the salary of any position which is vacant or which becomes vacant, so long as the position, if encumbered, would be subject
to the provisions of this section. The director of the budget does not need to provide a reason for such reduction.


13. Notwithstanding any of the foregoing provisions of this section or of any law to the contrary, any increase in compensation may
be withheld in whole or in part from any employee to whom the provisions of this section are applicable when, in the opinion of the
director of the budget and the director of employee relations, such increase is not warranted or is not appropriate for any reason.



§ 10. Compensation for certain employees of the contract colleges at Cornell and Alfred universities. 1. During the period April 1,
2011 to March 31, 2016, the basic annual salaries of positions in the nonprofessional service, except those positions in the Cornell
service and maintenance unit which are subject to the terms ofa collective bargaining agreement between Cornell University and the
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 employee organization represent'mplOyeeS in such positions and except those            .ns       in the Alfred service and maintenance
 l.lIlit which are subject to the terms of a collective bargaining agreement between Alfred University and the employee organization
 representing employees in such positions, in institutions tmder the management and control of Cornell and Alfred universities as
 representatives of the board of trustees of the state university may be increased pursuant to plans approved by the state university
 trustees. Such plans may include new salary schedules which shall supersede the salary schedules then in effect applicable to such
 employees. Such increases in basic annual salary rates, exclusive of performance advancement payments or merit recognition
 payments, shall not exceed in the aggregate the payments provided in subdivisions two, three, and four of section nine of this act, for
 incumbents of positions subject to this subdivision. Such plans may provide, within the appropriations available therefor, an amotmt
 for distribution in whole or in part for meritorious service by Cornell and Alfred universities, in their discretion, with the approval
 of the state university trustees to the incumbents of such positions.



 2. For the purposes_of this section, the basic annuatsalary of employees is that salary which is obtained through direct appropriation
 of state moneys for the purpose of paying wages. Nothing in this section shall prevent payment of additional amourtts to incumbents
 of such positions in the nonprofessional service in addition to the basic annual salary; provided, however, that the amolUlts required
 for such additional payment, and the cost of fringe benefits attributable to such payment, as determined by the comptroller, are made
 available to the state in accordance with the procedures established by the state university for such purposes.



 3. Notwithstanding the foregoing provisions of this section, any increase in compensation provided by this section may be withheld.
 in whole or in part from any officer or employee when, in the opinion of the director of the budget, such withholding is necessary to
 reflect the job performance of such officer or employee, or to maintain appropriate salary relationships among officers or
 employees of the state, or to reduce state expenditures to acceptable levels, or when such increase is not warranted or is not
 appropriate for any reason and the salary of such officer or employee is set at the discretion of the appointing authority.



4. Notwithstanding the foregoing provisions of this subdivision or act or any other provision of law, rule or regulation to the
 contrary, the contract colleges at Cornell and Alfred universities are authorized to provide for a procedure for the repayment of
salaries withheld from incumbents of positions subject to this subdivision as described in subdivision one of this section, pursuant
to subdivision 2-a of section 200 of the state finance law in lieu of the lump sum payment authorized by subparagraph 3 of
paragraph (a) of subdivision 2-a of section 200 of the state finance law, subject to the approval of the state university trustees.
Further, Cornell and Alfred universities are authorized to provide that the salary of employees newly hired on or after September I,
1992 shall not be subject to the provisions of subdivision 2-a of section 200 ofthe state finance law.



§ 11. Location compensation for certain state officers and employees in collective negotIanng units. Notwithstanding any
inconsistent provisions of law, full-time annual salaried officers and employees, as well as non-annual salaried seasonal officers
and employees who shall receive the compensation provided for pursuant to this section on a prorated basis, except non-annual
salaried officers and employees who are not seasonal, in the collective negotiating units designated as the administrative services
unit, the institutional services unit, the operational services unit, or the division of military and naval affairs unit established
pursuant to article 14 of the civil service law, whose principal place of employment or, in the case of a field employee, whose
official station as determined in accordance with the regulations of the comptroller is located (1) in the county of Monroe and who
were eligible to receive location pay on March 31, 1985, shall receive location pay at the rate of $200 per year provided they
continue to be otherwise eligible or (2) in the city of New York, or in the courtty of Rockland, Westchester, Nassau or Suffolk shall,
effective April 1, 2011, continue to receive a downstate adjustment at the annual rate of $3,026 (3) in the county of Dutchess,
Putnam or Orange shall, effective April 1,2011, continue to receive a mid-Hudson adjustment at the annual rate of$I,513. Such
location payments shall be in addition to and shall not be a part of an officer's or employee's basic annual salary, and shall not affect
or impair any performance advancements or other rights or benefits to which an officer or employee may be entitled by law,
provided, however, that location payments shall be included as compensation for purposes of computation of overtime pay and for.
retirement purposes. For the sole purpose of continuing eligibility for location pay in Monroe county, an officer or employee
previously eligible to receive location pay on March 31, 1985 who is on an approved leave of absence or participates in an
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 employer program to reduce to      lme       service during summer months shall con.o be eligible for said location pay upon
 return to full-time state service in Monroe county.



 § 12. Continuation of location compensation for certain officers and employees of the Hudson Valley developmental disabilities
 services office. 1. Notwithstanding any law, rule or regulation to the contrary, any officer or employee of the Hudson Valley
 developmental disabilities services office represented in the collective negotiating units designated as the administrative services
 unit, the institutional services unit or the operational services unit, who is receiving location pay pursuant to section 5 of chapter
 174 of the laws of 1993 shall continue to receive such location pay under the conditions and at the rates specified by such section.



 2. Notwithstanding any law, rule or regulation to the contrary, any officer or employee of the Hudson Valley developmental
 disabilities services office represented in the collective negotiating units designated as the administrative services unit, the
 instiMional services negotiating unit or the operational services negotiating unit, who is receiving location pay pursuant to
 subdi vision 2 of section 9 of chapter 315 of the laws of 1995 shall continue to receive such location pay under the conditions and at
 the rates specified by such subdivision.



 3. Notwithstanding section eleven of this act or any other law, rule or regulation to the contrary, any officer or employee of the
 Hudson Valley developmental disabilities services office represented in the collective negotiating units designated as the
 administrative services unit, the institutional services unit or the operational services unit, who is receiving location pay pursuant to
 such section eleven shall continue to be eligible for such location pay ifsuch officer's or employee's principal place ofemployment
 is changed to a location outside of the county of Rockland as the result ofa reduction or redeployment of staff, provided, however,
 that such officer or employee is reassigned to or otherwise appointed or promoted to a different position at another work location
 within the Hudson Valley developmental disabilities services office located outside of the county of Rockland. The rate of such
continued location pay shall not exceed the rates such officer or employee is receiving on the date of such reassignment,
appointment or prorootion



§ 13. Notwithstanding any law, rule or regulation to the contrary, certain full-time employees of the office for people with
developmental disabilities in the collective negotiating unit designated as the institutional services unit who are required to sleep
over at their work site shall continue to receive inconvenience pay pursuant to section 17 of chapter 333 of the laws of 1969 as
amended, in accordance with and subject to the conditions established by the terms of a negotiated agreement between the state and
an employee organization representing such unit and the resolution of a contract grievance bearing identification nWTJber
98-04--448.



§ 14. Additional compensation for certain employees in recognition of pre-shift briefing. 1. In recognition ofthe general requirement
for full-time employees of the state in the coHective negotiating unit designated as the division of military and naval affuirs unit,
established pursuant to article 14 of the civil service law, to assemble for briefing prior to the corrunencement of duties, each such
employee shaH receive additional compensation at the rate of $60 per biweekly payroll period in accordance with the terms of a
collectively negotiated agreement between the state and an employee organization representing such employees pursuant to article
14 of the civil service law. Such additional compensation shall be paid in addition to and shall not be a part of the employee'S basic
annual salary. Notwithstanding the foregoing provisions of this section, or of any other law, such additional compensation as added
by this section shall be in lieu of the continuation of any other additional compensation for such employees paid prior to June 2,
1988, in recognition of pre-shift briefing.



2. Notwithstanding any inconsistent provisions oflaw, effective April!, 2011, where and to the extent that, an agreement between
the state and an employee organization entered into pursuant to article 14 of the civil service Jaw so provides, in recognition of the
general requirement that certain full-time employees of the state in the collective negotiating unit designated as the institutional
services unit, established pursuant to article 14 of the civil service law, in the employ of the office of children and family services,
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  amount of $4.80, or one-quarter hour of their overtime rate, whichever is higher, when they are required to and actually assemble
 for such briefing. Such additional compensation shall be paid in addition to and shall not be a part of the employee's basic annual
 salary.



 § 15. Assigrunent to duty pay. Notwithstanding any inconsistent provisions of law, effective April I, 20 II, where and to the extent
 that, an agreement between the state and an employee organization entered into pursuant to article 14 of the civil service law so
 provides, an assigrunent to duty lump sum shall be paid each year to an employee who is serving in a particular assignment deemed
 qual ified pursuant to such agreement. Such payment shall be in an amount negotiated for those employees assigned to qualifYing
 work assignments and who work such assignments for the minimum periods of time in a year provided in the negotiated agreement.
 Assi grunent to duty pay shall not be paid in any year an employee does not meet the minimum period of time in such qualifying
 assignment required by the agreement or upon cessation of the assignment to duty program on March 30,2016 unless an extension is
 negotiated by the parties. Such lump sum shall be considered salary only for final average salary retirement purposes.



 § 16. Long term seasonal employees. Notwithstanding any inconsistent provisions oflaw, effective April 1,2011, where and to the
 extent that, an agreement between the state and an employee organization entered into pursuant to article 14 of the civil service law
 so provides, a lump sum shall be paid each year to an employee who is serving in a qualifYing long term seasonal position. Such
 payment shall be in an amount negotiated and pursuant to negotiated qualifying criteria and shall be considered salary only for final
 average salary retirement purposes. Such benefit shall be available until March 30,2016.



 § 17. In recognition of the specific requirements for winter maintenance activity for full-time employees of the state department of
 transportation in the collective negotiating unit designated as the operational services unit, established pursuant to article 14 of the
 civil service law, and to the extent the terms of a negotiated agreement between the state and an employee organization representing
 such unit entered into pursuant to article 14 of the civil service law so provides, such employees shall receive payments for winter
 maintenance shifts and call-out responses if otherwise eligible and in accordance with such negotiated agreement.



 § 18. Subdivision 2 of section 17 of chapter 333 of the laws of 1969 amending the civil service law and other laws relating to
 salary increases for certain state officers and employees, as amended by chapter 214 of the laws of 2009, is amended to read as
follows:



2. Any el1)ployee subject to this section who is required to work a tour of duty which includes four or more hours between the hours
of six p.m and six a.m, exclusive of any hours for which he or she receives overtime compensation, shall be entitled to
inconvenience pay for such tour of duty in an amount equal to the daily rate equivalent of four hundred dollars per year, unless a
higher daily rate is authorized under the terms of a collective negotiated agreement between the state and an employee organization
pursuant to article 14 of the civil service law, or is authorized by the director of the budget for employees excluded from negotiating
rights under article 14 of the civil service law, in which case such daily rate may be up to five hundred seventy-five dollars per
year, shall continue effective April 2,   ~   2011. The provisions of this subdivision shall apply on a prorated basis to officers and
employees serving on a seasonal basis in the' collective negotiating units designated as the administrative services unit, the
institutional services unit, the operational services unit, and the division of military and naval affairs unit, and officers and
employees excluded from collective negotiating units establ ished pursuant to article 14 of the civil service law.



§ 19. Notwithstanding any inconsistent provision of law, where and to the extent that any agreement between the state and an
employee organization entered into pursuant to article 14 of the civil service law so provides on behalf of employees in the
collective negotiating units designated as the administrative, institutional, operational services negotiating units or the military and
naval affairs negotiating unit established pursuant to article 14 of the civil service law, the state shall contribute an amount
designated in such agreement and for the period covered by such agreement to the accounts of such employees enrolled for
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 appropriated in this act and shall not be part of basic annual salary for overtime or retirement purposes.



 § 20. Notwithstanding any provision oflaw to the contrary, the appropriations contained in this act shall be available to the state for
 the payment and publication of grievance and arbitration settlements and awards ptD"suant to articles 33 and 34 of the collective
 negotiating agreement between the state and the employee organization representing the collective negotiating units designated as the
 administrative services unit, the institutional services unit, the operational services unit or the division of military and naval affairs
 unit established ptD"suant to article 14 ofthe civil service law.



 § 21. During the period April 2, 2011 through April 1,2016, there shall be a statewide labor-management committee continued and
administered ptD"suant to the tenns of the agreement negotiated between the state and an employee organization representing
employees in the collective negotiating units designated as the administrative services unit, the institutional services unit, the
operational services unit or the division of military and naval affairs unit estabIished pursuant to article 14 of the civil service law
which shall, after April 2, 2011, have the responsibility of studying and making recommendations concerning the major issues of
productivity, the quality of work life and implementing the agreements reached.



§ 22. The salary increases, salary deductions, salary reductions, benefit modifications, and any other modifications to terms and
conditions of employment provided for by this act for state employees in the collective negotiating units designated as the
administrative services unit, the institutional services unit, the operational services unit or the division of military and naval affuirs
unit established pursuant to article 14 of the civil service law shall not be implemented until the director of employee relations shall
have delivered to the director of the budget and the comptroller a letter certifying that there is in effect with respect to such
negotiating units collectively negotiated agreements, ratified by the membership, which provide for such increases, deductions,
reductions and modifications.



§ 23. Use of appropriations. The comptroller is authorized to pay any amounts required dtD"ing the fiscal years commencing April 1,
2011 by the foregoing provisions of this act for any state department or agency from any appropriation or other funds available to
such state department or agency for personal service or for other related employee benefits dtD"ing such fiscal year. To the extent that
such appropriations in any fund are insufficient to accomplish the purposes herein set forth, the director of the budget is authorized
to allocate to the various departments and agencies, from any appropriations available in any fund, the amounts necessary to pay
such amounts.



§ 24. Effect of participation in special aTUluity program No officer or employee participating in a special annuity program ptD"suant
to the provisions of article 8--e of the education law shall, by reason of an increase in compensation ptD"suant to this act, suffer any
reduction of the salary adjustment to which he or she would otherwise be entitled by reason of participation in such program, and
such salary adjustment shall be based upon the salary of such officer or employee without regard to the reduction authorized by such
article.



§ 25. The several amounts as hereinafter set forth, or so much thereofas may be necessary, are hereby appropriated from the fund so
designated for use by any state department or agency for the fiscal year beginning April 1,2011 to supplement appropriations from
each respective fund available for personal service, other than personal service and fringe benefits, and to carry out the provisions
ofthis act. No money shall be available for expenditure from this appropriation until a certificate of approval has been issued by the
director of the budget and a copy of such certificate or any amendment thereto has been filed with the state comptroller, the chair of
the senate finance committee and the chair of the assembly ways and means committee.



                                          ALL STATE DEPARTh1ENTS AND AGENCIES
                                   -.
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                                                         SPECIAL PAY BILLS             •
       General FlUld / State Operations
       State Purposes Account--003


                                               Nonpersonal Service


 Joint committee on health benefits                                                                     1,331,000
 Employee training and development                                                                     10,714,000
 Safety and health maintenance committee                                                                  637,000
 Employment security committee                                                                            525,000
 Family Benefits Committee                                                                              2,582,000
 Discipline                                                                                               381,000
 Employee assistance program                                                                              648,000
 Statewide performance rating committee                                                                    41,000
 Property damage                                                                                           32,000
 Work related clothing (operational services unit)                                                      1,071,000
 Tool allowance (operational services unit)                                                                77,000
 Tool insurance (operational services unit)                                                                26,000
 Uniform allowance (institutional services unit)                                                          430,000
 Work related clothing (institutional services unit)                                                       80,000
 Contract Administration                                                                                  400,000
 § 26. This act shall take effect immediately and shall be deemed to have been in full force and effect on and after April 2, 2011.
Appropriations made by this act shall remain in full force and effect for liabilities incurred through March 31, 20 I2.



                                                               PARTB


                                        SALARIES AND BENEFITS FOR CERTAIN STATE


                                          OFFICERS AND EMPLOYEES EXCLUDED FROM


                                      COLLECTIVE NEGOTIATING UNITS FOR 20 I I-20 16


Section 1. Paragraph d of subdivision 1 of section 130 of the civil service law is REPEALED and a new paragraph d is added to
read as follows:



                                                       «NY CIV SERV § 130»



d. Salary grades for positions in the competitive, noncompetitive and labor classes of the classified selVice of the state of
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 division of military and naval affairs of the executive de partment whose positions are not in, or are excluded from
 representation rights in, any recognized or certified negotiating unit, and those excluded from representation rights under
 article fourteen of this chapter pursuant to rules or regulations of the public employment relations board shall be as foUows
 on the effective dates indicated:



 (1) Effective April first, two thousand eleven:



 GRADE                            HIRING RATE                      JOB RATE
 MlC3                             $22,547                          $28,824
 MlC4                             $23,542                          $30,132
 MlC5                             $24,955                          $31,594
 MlC6                             $26,014                          $33,215
 MlC7                             $27,514                         $35,013
 Mle8                             $29,024                         $36,818
 MlC9                             $30,682                         $38,776
 MlClO                            $32,335                         $40,927
 MlC11                            $34,296                         $43,200
 MlC12                            $36,106                         $45,466
 MlC13                            $38,208                         $47,991
 MlC14                           $40,477                          $50,631
 MlC15                           $42,729                          $53,366
 MlC16                           $45,138                          $56,212
 MlC17                           $47,698                          $59,312
 M/C18                           $47,952                          $59,504
 MlC19                           $50,524                          $62,597
MlC20                            $53,099                          $65,737
M/C21                            $55,963                          $69,132
M/C22                            $58,971                          $72,765
M/C23                            $61,993                          $77,454
Ml                               $66,914                          $84,581
M2                               $74,210                          $93,803
M3                               $82,363                          $104,080
M4                               $91,096                          $114,961
M5                               $101,149                        $127,794
M6                               $111,992                        $140,864
M7                               $123,446                        $152,886
M8                               $104,082+
(2) Effective April first, two thousand fourteen:



GRADE                            HIRING RATE                     JOB RATE
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:WC 3
WC4
~C5
                                1998
                                 $24,013
                                 525,454
                                                      ~29,400

                                                      ~30,735

                                                      $32,226
                                                                 •
MlC6                             $26,534              $33,879

M/C7                             $28,064              $35,713

MlC8                             $29,604              $37,554

MlC9                             $31,296              $39,552

WC 10                            $32,982              $41,746

MlCll                            $34,982              $44,064

MlC12                            $36,828              $46,375

MlC13                            $38,972              $48,951

MlC 14                           $41,287              $51,644

MlC 15                           $43,584              $54,433

MlC 16                           $46,041              $57,336

MlC 17                           548,652              $60,498
MlC 18                           $48,911              $60,694

MlC 19                           $51,534              $63,849

MlC20                            554,161              $67,052

MlC21                            $57,082              $70,515

MlC22                            $60,150              $74,220

MlC23                            $63,233              $79,003

Ml                               $68,252              $86,273

M2                               $75,694              595,679

M3                               $84,010              $106,162

M4                               $92,918              $117,260

M5                               5103,172             $130,350

M6                               5114,232             $143,681

M7                               5125,915             $155,944

M8                               $106,164+
(3) Effective April first, two thousand fifteen:



GRADE                            HIRlNG RATE          JOB RATE

M/C3                             $23,458              $29,988

M/C4                             $24,493              $31,350

M/C5                             525,963              $32,871

MlC6                             $27,065              $34,557

MlC7                             $28,625              $36,427

MlC8                             $30,196              $38,305

MlC9                             $31,922              $40,343

MlC 10                           533,642              $42,581

MlC 11                           535,682              $44,945
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   :vI/Cll
   MlC13
   MlC 14
                                   165
                                   $39,751
                                   $42,113
                                                                      $47,303
                                                                      $49,930
                                                                      $52,677
                                                                                    •
   MlC 15                          $44,456                            $55,522
   MlC 16                          $46,962                            $58,483
  MlC 17                           $49,625                            $61,708
  MlC 18                           $49,889                            $61,908
  MlC 19                           $52,565                            $65,126
  M/C20                            $55,244                            $68,393
  MlC21                            $58,224                            $71,925
  M1C22                            $61,353                            $75,704
  M1C23                            $64,498                            $80,583
  Ml                               $69,617                            $87,998
  M2                               $77,208                            $97,593
  M3                               $85,690                            $108,285
  M4                               $94,776                            $119,605
  M5                               $105,235                           $132,957
  M6                              $116,517                            $146,555
 M7                               $128,433                            $159,063
 M8                               $108,287+
 § 2. Subdivision 1 of section 19 of the correction law is REPEAlED and a new subdivision 1 is added to read as follows:


                                                    «NY CORRECT § 19»


 1. This section shall apply to each superintendent of a correctional facility appointed on or after August ninth, nineteen
 hundred seventy-five and any superintendent heretofore appointed who elects to be covered by the provisions thereof by
 filing such election with the commissioner.


a. The salary schedule for superintendents of a correctional facility with an inmate population capacity of four hundred or
more inmates shall be as follows:



Effective April first, two thousand eleven:



                  Hiring Rate                              Job Rate
                  $105,913                                 $144,535
Effective April first, two thousand fourteen:



                 Hiring Rate                               Job Rate
                 $108,031                                  $147,426
Effective April first, two thousand fifteen:
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                    Hiring Rate
                    $110,192
                                    •                           Job Rate
                                                                $150,375
                                                                                         •
  b. The salary schedule for superintendents of correctional facilities with an inmate population capacity of fewer than four
  hundred inmates shall be as follows:



  Effective April first, two thousand eleven:



                    Hiring Rate                                 Job Rate
                   $82,363                                      $104,081
  Effective April first, two thousand fourteen:



                   Hiring Rate                                 Job Rate
                   $84,010                                      $106,163
 Effective April first, two thousand fifteen:



                   Hiring Rate                                 Job Rate
                   $85,690                                     $108,286
 § 3. Compensation for certain state officers and employees. 1. The provisions of this section shall apply to the following full-time
 state officers and employees:



 (a) officers and employees whose positions are designated managerial or confidential pursuant to article 14 ofthe civil service law;



 (b) civilian state employees of the division of military and naval affairs in the executive department whose positions are not in, or
 are excluded from representation rights in, any recognized or certified negotiating unit;



 (c) officers and employees excluded from representation rights under article 14 of the civil service law pursuant to rules or
 regulations of the public employment relations board; and



(d) officers and employees whose salaries are prescribed by section 19 of the correction law.



2. For such officers and employees the following increases shall apply:



(a) Effective April 1, 2014, the basic annual salary of officers and employees to whom the provisions of this subdivision apply
shall be increased by two percent adjusted to the nearest whole dollar amount.



(b) Effective April 1,2015, the basic annual salary of officers and employees to whom the provisions of this subdivision apply
shall be increased by two percent adjusted to the nearest whole dollar amount.



3. (a) Effective April 1,2013, for officers and employees to whom the provisions of this subdivision apply, a lump sum payment of



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 $7;5 shall be made to each emPI.n such units in full-time employment status          whl    (i) active on the effective date of this act
 and (ii) in continuous service, as defined by paragraph (c) of subdivision 3 of section 130 of the civil service law, from that date
 until April 1,2013. Such lump sum shall be considered salary for final average salary retirement purposes but shall not become part
 of basic annual salary. Notwithstanding the foregoing provisions of this subdivision, officers and employees who would have
 otherwise been el igible to receive such lump sum payment, but who were not on the payroll on said Apri I 1, 2013, shall be eligible
 for said payment if they return to full-time employment status during the fiscal year 2013-2014 without a break in continuous
 service.



(b) Effective April 1,2014, for officers and employees to whom the provisions of this subdivision apply, a lump sum payment of
$225 shall be made to each employee in such units in full-time employment status who was (i) active on the effective date ofthis act
and (ii) in continuous service, as defined by paragraph (c) ofsubdivision 3 of section 130 of the civil service law, from that date
until April 1,2013. Such lump sum shall be considered salary for final average salary retirement purposes but shall not become part
of basic annual salary.



4. If an unencumbered position is one that, if encumbered, would be subject to the provisions of this section, the salary of such
position shall be increased by the salary increase amounts specified in this section. If a position is created and is filled by the
appointment of an officer or employee who is subject to the provisions of this section, the salary otherwise provided for such
position shall be increased in the same manner as though such position had been in existence but unencumbered.



5. The increases in salary and the lump sum paymern payable pursuarn to this section shaH apply on a prorated basis in accordance
with guidelines issued by the director of the budget to officers and employees otherwise eligible to receive an increase in salary or
the lump sum payment pursuant to this act who are paid on an hourly or per diem basis, employees serving on a part-time or
seasonal basis, and employees paid on any basis other than at an annual salary rate.



6. Notwithstanding any of the foregoing provisions of this section, the provisions of this section shall not apply to the following
except as otherwise provided by law:



(a) officers or employees paid on a fee schedule basis;



(b) officers or employees whose salaries are prescribed by section 40,60, or 169 ofthe executive law;


(c) officers or employees in collective negotiating units established pursuant to article 14 ofthe civil service law.


7. Officers and employees to whom the provisions of this section apply who are incumbents of positions that are not allocated to
salary grades specified in paragraph d ofsubdivision 1 of section 130 ofthe civil service law and whose salary is not prescribed in
any other statute shall receive the salary increases and the lump sum payment specified in subdivisions two and three ofthis section.



8. In order to provide for the officers and employees to whom this section applies who are not allocated to salary grades
performance advancements, merit awards, longevity payments and in lieu payments, and special achievemern awards in proportion
to those provided to persons to whom this section applies who are allocated to salary grades, the director of the budget is
authorized to add appropriate adjustments to the compensation that such officers and employees are otherwise entitled to receive.
The director of the budget shall issue certificates that shall contain schedules of positions and the salaries or payments thereof for
which adjustments or payments are made pursuarn to the provisions of this subdivision, and a copy of each such certificate shall be
filed with the state comptroller, the department of civil service, the chairman of the senate finance corrunittee and the chairman of the
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  9. Notwithstanding any of the foregoing provisions of this section, any increase in compensation for any officer or employee
  appointed to a lower graded position from a redeployment list pursuant to subdivision 1 of section 79 of the civil service law who
  continues to receive his or her former salary pursuant to such subdivision shall be determined on the basis of such lower graded
  position provided, however, that the increases in salary provided in subdivision two of this section shall not cause such officer's or
  employee's salary to exceed the job rate of any such lower graded position at salary grade.



  10. Notwithstanding any of the foregoing provisions of this section or of any law to the contrary, the director of the budget may
 reduce the salary of any position which is vacant or which becomes vacant, so long as the position, if encumbered, would be subject
 to the provisions of this section. The director ofthe budget does not need to provide a reason for such reduction.



 § 4. Compensation for certain state officers and employees in the division of state police. 1. The provisions of this section shall
 apply to officers and employees whose salaries are provided for by paragraph (a) of subdivision 1 of section 215 of the executive
 law.



 2. (a) Effective April 1,2014, the basic annual salary of officers and employees to whom the provisions of this subdivision apply
 shall be increased by two percent adj usted to the nearest whole dollar amount.



 (b) Effective April 1, 2015, the basic annual salary of officers and employees to whom the provisions of this subdivision apply
 shall be increased by two percent adj usted to the nearest whole dollar amount.



 3..(a) Effective April I, 2013, for officers and employees to whom the provisions of this subdivision apply, a h.nnp sum payment of
 $775 shall be made to each employee in such units in full-time employment status who was (i) active on the effective date of this act
 and (ii) in continuous service, as defined by paragraph (c) of subdivision 3 of section 130 of the civil service law, from that date
 until April 1, 2013. Such lump stun shall be considered salary for final average salary retirement purposes. Notwithstanding the
 foregoing provisions of this subdivision, officers and employees who woUld have otherwise been eligible to receive such lump stun
 payment, but who were not on the payroJl on said April 1, 2013, shall be eligible for said payment if they return to full-time
 employment status during the fiscal year 2013-2014 without a break in continuous service.



(b) Effective April 1,2014, for officers and employees to whom the provisions of this subdivision apply, a lump sum payment of
$225 shall be made to each employee in such units in full-time employment status who was (i) active on the effective date ofthis act
and (ii) in continuous service, as defined by paragraph (c) of subdivision 3 of section 130 of the civil service law, from that date
until April 1,2013. Such h.nnp sum shall be considered salary for final average salary retirement purposes.



4. The increases in salary and the lump stun payments payable pursuant to this section shall apply on a prorated basis in accordance
with guidelines issued by the director of the budget to officers and employees otherwise eligible to receive an increase in salary or
the lump stun payment pursuant to this act who are paid on an hourly or per diem basis, employees serving on a part-time or
seasonal basis, and employees paid on any basis other than at an annual salary rate.



5. Notwithstanding any of the foregoing provisions of this section, any increase in compensation for any officer or employee
appointed to a lower graded position from a redeployment list pursuant to subdivision 1 of section 79 of the civil service law who
continues to receive his or her former salary pursuant to such subdivision shall be determined on the basis of such lower graded
position provided, however, that the increases in salary provided in subdivision two of this section shall not cause such officer's or
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 § 5. Compensation for certain state employees in the state university and certain employees of contract colleges at Cornell and
 Alfred universities.



 1. Effective April 1,2014 and April 1,2015, the basic annual salary ofincwnbents of positions in the professional service in the
 state university that are designated, stipulated, or excluded from negotiating units as managerial or confidential as defined pursuant
 to article 14 of the civil service law, may be increased pursuant to plans approved by the state university trustees. Such increases in
 basic annual salary rates shall not exceed in the aggregate two percent of the total basic annual salary rates in effect on March 31,
2014 and two percent of the total basic annual salary rates in effect on March 31,2015.



2. Effective April I, 2014 and April I, 2015, the basic annual salary of incwnbents of positions in the institutions under the
management and control of Cornell and Alfred universities as representatives of the board of trustees of the state university that, in
the opinion of the director of employee relations, would be designated managerial or confidential were they subject to article 14 of
the civil service law may be increased pursuant to plans approved by the state university trustees. Such increases in basic annual
salary rates shall not exceed in the aggregate two percent ofthe total basic annual salary rates in effect on March 31, 2014 and two
percent of the total basi c annual salary rates in effect on March 3 I, 20 I 5.



3. (a)(i) Effective April I, 2013, the state university trustees, at their discretion, may provide to incumbents of positions in the
professional service in the state university that are designated, stipulated, or excluded from negotiating units as managerial or
confidential as defined pursuant to article 14 of the civil service law, who was (1) active on the effective date of this act and (II) in
continuous service, as defined by paragraph (c) of subdivision 3 of section 130 of the civi I service law, from that date until April I,
2013, a non-recurring lump swn payment in an amount not to exceed $775.



(ii) Effective April I, 2014, the state university trustees, at their discretion, may provide to incumbents of positions in the
professional service in the state university that are designated, stipulated, or excluded from negotiating units as managerial or
confidential as defined pursuant to article 14 of the civil service law, who was (1) active on the effective date of this act and (II) in
continuous service, as defined by paragraph (c) of subdivision 3 of section 130 of the civil service law, from that date until April I,
2013, a non-recurring lump sum payment in an amount not to exceed $225.



(iii) Payments provided in this subdivision shall be in addition to and shall not be a part of the employee's basic annual salary,
provided, however, that any amounts payable pursuant to this subdivision shall be included as compensation for retirement
purposes.



(b)(i) Effective April 1,2013, Cornell and Alfred universities may provide to incumbents of positions in the institutions under the
management and control of Cornell and Al fred universities as representatives of the board of trustees of the state university that, in
the opinion of the director of employee relations, would be designated managerial or confidential were they subject to article 14 of
the civil service law, who are (1) active on the effective date of this act and (II) in continuous service, as defined by paragraph (c)
of subdivision 3 of section 130 of the civil service law, from that date until April 1,2013, a non-recWTing lump sum payment in an
amount not to exceed $775, for distribution in whole or in part by Cornell and Alfred universities, in their discretion, with the
approval of the state university trustees.



(i i) Effective April I, 20 I 4, Cornell and Alfred universities may provide to incumbents of positions in the institutions under the
management and control of Cornell and Alfred universities as representatives of the board of trustees of the state university that, in
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  [he civil service law, who are (I) active on the effective date of this act and (II) in continuous service, as defined by paragraph (c)
  of subdivision 3 of section 130 of the civil service law, from that date until April 1,2013, a non-recurring Jump sum payment in an
  amount not to exceed $225, for distribution in whole or in part by Cornell and Alfred universities, in their discretion, with the
 approval of the state university trustees.



 (iii) Payments provided in this subdivision shall be in addition to and shall not be a part of the employee's basic annual salary,
 provided, however, that any amounts payable pursuant to this subdivision shall be included as compensation for retirement
 purposes.



 4. During the period April I, 2014 through March 31, 2016, the basic annual salary of incumbents of positions in the
 nOli-prQfessioriarservic-e-th~1n   the opinion of the director of employee relations, would be designated managerial or confidential
 were they subject to article 14 of the civil service law, except those positions in the Cornell service and maintenance unit that are
 subject to the terms of a collective bargaining agreement between Cornell university and the employee organization representing
 employees in such positions and except those positions in the Alfred service and maintenance unit that are subject to the terms ofa
 collective bargaining agreement between Alfred university and the employee-organization representing employees in such positions,
 in instiMions under the management and control of Cornell and Alfred universities as representatives of the board of trustees of the
 state university may be increased pursuant to plans approved by the state university trustees. Such plans may include new sal ary
 schedules which shall supersede the salary schedules then in 'effect applicable to such employees. Such plans shall provide for
 increases in basic annual salaries, which, exclusive of performance advancement payments or merit recognition payments, shall not
 exceed in the aggregate two percent of the total basic annual salary rates in effect on March 31, 2014 and two percent of the total
 basic annual salary rates in effect on March 31, 2015.



 5. For the purposes of this section, the basic annual salary of an employee is that salary that is obtained through direct appropriation
 of state moneys for the purpose of paying wages. Nothing in this part shall prevent increasing amounts paid to incumbents of such
positions in the professional service in addition to the basic annual salary, provided, however, that the amounts required for such
 increase and the cost of fringe benefits attributable to such increase, as determined by the comptroller, are made available to the
state in accordance with the procedures established by the state university, with the approval of the director of the budget, for such
purposes.



§ 6. Location compensation for certain state officers and employees.


1. This section shall apply to all full-time annual salaried state officers and employees and non annual salaried seasonal state
officers and employees except the following:


(a) officers and employees of the legislature and the judiciary, including officers and employees of boards, bodies and commissions
that are deemed to be part of the legislature or judiciary for the purposes of section 49 of the state finance law;



(b) officers and employees whose salaries are prescribed by or determined in accordance with section 40, 60, 169, 215, or 216 of
the executive law;



(c) incumbents of allocated or unallocated positions in the professional service in the state university and in institutions under the
management and control of Cornell and Alfred universities as representatives of the board of trustees ofthe state university;
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 law.



2. Notwithstanding the provisions of section 15 of chapter 333 of the laws of 1969, as amended, officers and employees subject to
this section whose principal place of employment or, in the case of field employees, whose official station as determined in
 accordance with the regulations ofthe comptroller is located:



(a) in the county of Monroe and who were eligible to receive location pay on March 31,1985, shall receive location pay at the rate
of two hundred dollars per year provided they continue to be otherwise eligible.



(b) in the city of New-York, or in the county of Rockland, Westchester, Nassau, or Suffolk shall continue to receive a downstate
adjustment at the rate of three thousand twenty-six dollars effective October 1,2008.



(c) in the county of Dutchess, Orange, or Putnam shall continue to receive a mid-Hudson adjustment at the rate of one thousand five
hundred thirteen dollars effective October!, 2008. Such location payments shall be in addition to and shall not be a part of an
employee's basic annual salary, and shall not affect or impair any advancements or other rights or benefits to which an employee
may be entitled by law, provided, however, that location payments shall be included as compensation for purposes of computation
of overtime pay and for retirement purposes. For the sole purpose of continuing eligibility for location pay in Monroe county, an
employee previously eligible to receive location pay on March 31, 1985 who is on an approved leave of absence or participates in
an employer program to reduce to part-time service during summer months shall continue to be eligible for said location pay upon
return to full-time state service in Monroe county.



§ 7. Continuation of location compensation for certain officers and employees of the Hudson Valley developmental disabilities
services office. 1. Notwithstanding any law, rule or regulation to the contrary, any officer or employee of the Hudson Valley
developmental disabilities services office not represented
                                                   J
                                                           in collective negotiating units established pursuant to article 14 of the
civil service law who is receiving location pay pursuant to section 5 of chapter 174 of the laws of 1993 shall continue to receive
such location pay under the conditions and at the rates specified by such section.



2. Notwithstanding section seven of this act or any other law, rule or regulation to the contrary, any officer or employee of the
Hudson Valley developmental disabilities services office not represented in collective negotiating units established pursuant to
article 14 of the civil service law who is receiving location pay pursuant to said section seven of this act shall continue to be
eligible for such location pay if such officer's or employee's principal place of employment is changed to a location outside of the
county of Rockland as the result of a reduction or redeployment of staff; provided, however, that such officer or employee is
reassigned to or otherwise appointed or promoted to a different position at another work location within such Hudson Valley
developmental disabilities services office located outside of the county of Rockland. The rate of such continued location pay shall
not exceed the rate such officer or employee is receiving on the date of such reassignment, appointment, or promotion.



§ 8. Overtime meal allowance. Notwithstanding any other provision of law to the contrary, individuals in positions in the classified
service of the state of New York designated managerial or confidential pursuant to article 14 of the civil service law, shall continue
to receive, effective April 1,2011, an overtime meal allowance in the amount of$5.50 pursuant to eligibility guidelines developed
by the director of employee relations.



§ 9. Notwithstanding any provision of law to the contrary, the appropriations contained in this act shall be available to the state for
the payment of grievance settlements and awards pursuant to executive order 42, dated October 14, 1970, and title 9, part 560,
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  official compilation of codes, rulld regulations of the state ofNew York.              •



  § 10. Use of appropriations. The comptroller is authorized to pay any ammmts required during the fiscal years commencing April 1,
  2011 by the foregoing provisions of this act for any state department or agency from any appropriation or other fimds available to
  such state department or agency for personal service or for other related employee benefits during such fiscal year. To the extent that
  such appropriations in any fimd are in sufficient to accomplish the purposes herein set forth, the director of the budget is authorized
  to allocate to the various departments and agencies, from any appropriations available in any fimd, the amounts necessary to pay
 such amounts.



  § 11. Effect of participation in special annuity program No officer or employee participating in a special annuity program pursuant
  to the provision of article 8--e of the education law shall, by reason of an increase in compensation pursuant to this act, suffer any
 reduction of the salary adjustment to which that employee would otherwise be entitled by reason of participation in such program,
 and such salary adjustment shall be based upon the salary of such officer or employee without regard to the reduction authorized by
 such article.



 § 12. Date of entitlement to salary increase. Notwithstanding the provisions of this act or of any other law, the increase in salary or
 compensation of any officer or employee provided by this act shall be added to the salary or compensation of such officer or
 employee at the beginning of that payroll period the first day of which is nearest to the effective date of such increase as provided in
 this act, or at the beginning of the earlier of two payroll periods the first days of which are nearest but equally near to the effective
 date of such increase as provided in this act, provided, however, that for the purposes of determining the salary of such officer or
 employee upon reclassification, reallocation, appointment, promotion, transfer, demotion, reinstatement or other change of status,
 such salary increase shall be deemed to be effective on the date thereof as prescribed in this act, and the payment thereof pursuant to
 this section on a date prior thereto, instead of on such effective date, shall not operate to confer any additional salary rights or
 benefits on such officer or employee.



 § 13. 1. Notwithstanding the provisions of any other section of this act or any other provision of law to the contrary, any increase in
 compensation, including any lump sum payment, provided: (a) in this act, or (b) as a result of a promotion, appointment, or
 advancement to a position in a higher salary grade, or (c) pursuant to paragraph (c) of subdivision 6 of section 131 of the civil
 service law, or (d) pursuant to paragraph (b) of subdivision 8 of section 130 of the civil service law, or (e) pursuant to paragraph
 (a) of subdivision 3 of section 13 of chapter 732 of the laws of 1988, as amended, may be withheld in whole or in part from any
 officer or employee when, in the opinion of the director of the budget, such withholding is necessary to reflect the job performance
 of such officer or employee, or to maintain appropriate salary relationships among officers or employees of the      s~te,   or to reduce
state expenditures to acceptable levels or when, in the opinion of the director of the budget, .such increase is not warranted or is not
appropriate.



2. Notwithstanding the provisions of any other section of this act, the salary increases and lump sum payments provided for in this
act shall not be implemented until the director of the budget delivers notice to the comptroller that such amounts may be paid.



3. Notwithstanding the provisions of any other section of this actor any other provisions of law, for state officers and employees in
the executive branch who are in positions which are not in collective negotiating units, the director of the budget shall have the
authority to devise and implement a plan to reduce the basic annual salary, hourly rate or per diem of any such employee for the time
and by the rate established by such plan for the time period specified in such plan. Such plan shall contain salary schedules
appropriate for the plan and such other provisions necessary for the implementation and continued execution of the plan for the
period established by the plan. After the cessation of such plan, the salary, rate or per diem shall be restored to the amount in effect
irmnediately before the commencement of such plan.
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 § 14. The several amOlmts as hereinafter set forth, or so much thereof as may be necessary, are hereby appropriated from the fimd so
 designated for use by any state department or agency for the fiscal year beginning April I, 2011 to supplement appropriations from
 each respective fimd available for personal service, other than personal service and fringe benefits, and to carry out the provisions
ofthis act. No money shall be available for expenditure from this appropriation until a certificate of approval has been issued by the
director ofthe budget and a copy of such certificate or any amendment thereto has been filed with the state comptroller, the chairman
ofthe senate finance committee and the chairman ofthe assembly ways and means committee.



                                             ALL STATE DEPARTIvIENTS AND AGENCIES



                                                           SPECIAL PAY BIllS



       General Fund / State Operations
       State Purposes Account--003


                                                      Nonpersonal Service


 Family benefits                                                                                                     3 I 0,000
Medical flexible spending account                                                                                    500,000
Pre-tax transportation benefit                                                                                       550,000
Management training                                                                                                1,018,000
Uniform allowance                                                                                                    245,000
Tuition reimbursement                                                                                                250,000
M/C share of negotiated programs                                                                                     570,000
§ 15. This act shall take effect immediately and shall be deemed to have been in full force and effect on and after April 1,2011.
Appropriations made by this act shall remain in full force and effect for Iiabi Iities incurred through March 3 I. 20 I2.



§ 2. Severability clause. If any clause, sentence, paragraph, subdivision, section or part contained in any part of this act shall be
adjudged by any court of competent jurisdiction to be invalid, such judgment shall not affect, impair, or invalidate the remainder
thereof, but shall be confined in its operation to the clause, sentence, paragraph, subdivision, section or part contained in any part
thereof directly involved in the controversy which suchjudgrnent shall have been rendered. It is hereby declared to be the intent of
the legislature that this act would have been enacted even if such invalid provisions had not been included herein.


§ 3. This act shall take effect immediately provided, however, that the applicable effective date for Parts A through B of this act
shall be as specificallY set forth in the last section of such Part



NY LEGIS 491 (201 I)



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                                           A          NEW YORK STATE SENATE            •
                                           WTRODUCER'S MEMORANDUM IN SUP
                                            submitted in accordance with Senate Rule VI. Sec 1

       BILL NUMBER: S5846

       SPONSOR: ROBACH


       TITLE OF BILL:

       Anact to amend the civil service law and the state finance law, in
      relation to compensation and other terms and conditions of employment of
      certain state officers and employees, to authorize funding of joint
      labor-management committees, to implement agreements between the state
      and an employee organization; to amend chapter 333 of the laws of 1969
      amending the civil service law and other laws relating to salary
      increases for certain state officers and employees, in relation to rates
      of pay for certain state employees; to repeal certain provisions of the
      civil service law relating thereto; and making an appropriation for the
      purpose of effectuating certain provisions hereof (Part A); to amend the
      civil service law and the correction law, in relation to salaries; to
      repeal certain provisions of such laws relating thereto; and making an
      appropriation for the purpose of effectuating certain provisions hereof
      (Part B)



      PURPOSE OF THE BILL:

      Part A of this bill implements the terms of a collective bargaining
      agreement (the "Agreement") between the executive branch of the State of
      New York and the employee organization representing members of the
      collective negotiating units designated as the Administrative Services
      Unit, the Institutional Services Unit, the Operational Services Unit and
      the Division of Military and Naval Affairs Unit ("the units"), entered
      into pursuant to article 14 of the civil Service Law.

      Part B of this bill provides the State's approximately 12,000 unrepre-
      sented employees who are prohibited from collective negotiations by the
      Taylor Law, inclUding managerial or confidential ("M/C") employees, with
      benefits and increases in compensation at levels that are comparable to
      the benefits and increases in compensation received by employees repres-
      ented by employee organizations.

      This bill would continue comparability of benefits by supplementing
      existing appropriations to provide benefits and other aspects of employ-
      ment that are on a par with those negotiated for represented employees
      by their respective employee organizations. These funds would provide
      for employee benefit and training and development programs, and the M/C
      share of negotiated programs.


      SUMMARY OF        PRO~SIONS:




      PART A OF THE BILL:

      Section 1 of this part repeals and replaces subparagraphs 1, 2, 3 and 4
      of Civil Service Law § 130(1) (a) and adds new subparagraphs 1, 2 and 3
      to provide for the application of new salary schedules for officers and
      employees in the units.

      Section 2 of this part amends Civil Service Law § 167(8) to provide
      authority to modify the employer and employee shares of health premium
      and subscription costs under the New York State Health Insurance Plan.


      Section 3 of this part amends Civil Service Law § 208(2) to provide for
      the period of unchallenged representation status for employee organiza-
      tions for a period of four years with the Executive Branch of the State
      that commence in 2011.

      Section 4 of this part amends Civil Service Law § 130 (3) (el, governing
      longevity payments for employees who attain five and ten years of
      continuous service at the job rate. This section continues longevity
      payments to the extent provided in the collective bargaining agreement.

      Sections 5 and 6 of this part amend state Finance Law §§ 8(12-d) and
      (12-e) to continue payments to employees for personal property damaged

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        ~r destroyed in the course of '.erformance of official duties.

        Section 7 of this part ~mends So    Finance Law § 200 to provide the
        ~uthority for the Comptroller to reduce, restore and/or repay basic
        annual salaries, hourly rates or per diems of employees. Such action(s)
        Nill be effective for employees in collective negotiating units in
        accordance with the terms of a collective bargaining agreement or inter-
        est arbitration award, and for employees not in collective negotiating
                                                                                   •
        units, when the director of budget authorizes a plan for such action(sl.

        Section 8 of this part authorizes the State to make payments to employ-
        ees for withdrawing from the health insurance plan in accordance with
        the terms of the collective bargaining agreements or regulations promul-
        gated by'the Department of Civil Service.

        Section 9 of this part provides for salary increases as follows:

        a) a lump sum payment of $775 in 2013 and $225 in 2014;
        b) a 2 percent basic annual salary increase effective March 27, 2014 for
        officers and employees on the administrative payroll and effective April
        3, 2014 for officers and employees on the institutional payroll; and
        c) a 2 percent basic annual salary increase effective March 26, 2015 for
        officers and employees on the administrative payroll and effective April
        2, 2015 for officers and employees on the institutional payroll.

        Section 10 of this part provides for annual salary increases for posi-
        tions in the nonprofessional service at the contract colleges of Cornell
        and Alfred Universities not to exceed those set forth in Section 9 of
        this part.

        Section 11 of this part continues existing location compensation for
        employees whose principal place of employment is located in New York
        City, or the counties of Westchester, Rockland, Suffolk, Nassau, Dutch-
        ess, Putnam, Orange and Monroe. Employees in the counties of Dutchess,
        Putnam or Orange continue to receive location compensation at the annual
        rate of $1,513. Employees in New York City, or in the counties of Rock-
        land, Westchester, Nassau or Suffolk shall receive location compensation
        at the annual rate of $3,026. For the county of Monroe, only employees
        hired before March 31, 1985 shall be eligible for continued location
        compensation of $200 per year.

       Section 12 of this part continues location compensation for certain
       officers and employees of the Hudson Valley Developmental Disabilities
       Services Office.


       Section 13 of this part continues the provision of inconvenience pay to
       certain full-time employees of the Office for People with Developmental
       Disabilities who are required to sleep over at their work site.

       Section 14 of this part continues pre-shift briefing compensation for
       certain employees of the State in the Division of Military and Naval
       Affairs Unit who are required to assemble for briefing prior to the
       commencement of duties. This section also continues the program for
       pre-shift briefing compensation for certain employees of the State
       employed by the Office of Children and Family Services who are members
       of the Institutional Services Unit.

       Section 15 of this part continues assignment to duty pay in the form of
       an annual lump sum payment to employees in particular assignments
       provided for by the agreement. Such benefit shall be available until
       March 30, 2016, unless an extension is negotiated by the parties to the
       agreement.

       Section 16 of this part provides for the continuation of an annual lump
       sum payment to long-term seasonal employees in an amount specified by,
       and SUbject to, the qualifying criteria established by the agreement.
       Such benefit shall be available until March 30, 2016.

       Section 17 of this part continues winter maintenance shift pay for
       eligible full-time employees of the Department of Transportation in the
       Operational Services negotiating unit, in accordance with the agreement.

       Section 18 of this part continues inconvenience pay for certain employ-
       ees who work in the overnight hours at a rate of $575 per year.

       Section 19 of this part authorizes contributions to employee dependent
       care accounts in amounts and for the time periods specified by the
       agreement.

       Section 20 of this part provides for the payment and publication of
       grievance and arbitration settlements and awards pursuant to the agree-

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           ment.                            •
           Section 21 of this part continu~_   statewide labor-management
           to address issues of productivity and quality of work life in accordance
           with agreement.

           Section 22 of this part requires that, prior to implementation of any
           salary increase, salary deduction, salary reduction, benefit modifica-
           tion, or modification to ~erms and conditions of employment, the Direc-
           tor of Employee Relations submit a letter to the Director of the Budget
           and the State Comptroller certifying that the collectively negotiated
           agreement has been ratified by the membership.

           Section 23 of this part authorizes the State Comptroller to pay any
           amounts required by this bill during the fiscal years commencing April
           1, 2011 for any state department or agency from any appropriation or
           other funds available to such state department or agency for personal
           service or for other related employee benefits during such fiscal year.
           To the extent that such appropriations in any fund are insufficient, the
           Director of the Budget is authorized to allocate to the various depart-
           ments and agencies, from any appropriations available in any fund, the
           amounts necessary to pay such amounts.
           Section 24 of this part provides that employees who participate in a
           special annuity program under article 8-c of the Education Law shall not
           suffer any reduction of the salary adjustment to which they are other-
           wise entitled under the program, as a result of an increase in compen-
           sation provided for in this bill.

           Section 25 of this part appropriates funding for statewide labor-manage-
           ment committees dealing with issues of productivity, the quality of work
           life and other issues in accordance with the collectively negotiated
           agreement.

           Section 26 of this part prOVides for an immediate effective date of this
           part, Which shall be deemed to have been in full force and effect on and
           after April 2, 2011. Appropriations made by this chapter shall remain in
           full force and effect for liabilities incurred through March 31, 2012.


           PART B OF THE BILL:

          Section 1 of this part repeals civil Service Law § 130(1) (d) and
          replaces it with a new paragraph (dl, which includes new salary sched-
          ules for competitive, noncompetitive and labor class employees desig-
          nated M/C, or who are otherwise excluded from representation rights.

          Section 2 of this part repeals Correction Law § 19(1), and replaces it
          with a new subdivision 1 providing new salary schedules for superinten-
          dents of correctional facilities.

          Section 3 of this part authorizes an increase in basic annual salary of
          2 percent effective April 1, 2014 and 2 percent effective April 1, 2015.
          It provides for a lump sum payment of $775 effective April 1, 2013 and a
          lump sum payment of $225 effective April 1, 2014. Additionally, this
          section provides for performance advances, merit awards and longevity
          payments for non-statutorily paid employees.

          Sections 4 and 5 of this part provide salary increases and lump sum
          payments consistent with the salary increases provided in Section 3 of
          this part for certain State officers and employees in the Division of
          State Police, certain State employees in the State University and
          certain employees of the contract colleges at Cornell and Alfred.

          Section 6 of this part continues existing location compensation for
          employees whose principal place of employment is located in New York
          City, or the counties of Westchester, Rockland, Suffolk, Nassau, Dutch-
          ess, Putnam, Orange and Monroe. Employees in the counties of Dutchess,
          Putnam or Orange continue to receive location compensation at the annual
          rate of $1,513. Employees in New York City, or in the counties of Rock-
          land, Westchester, Nassau or Suffolk shall receive location compensation
          at the annual rate of $3,026. For the county of Monroe, only employees
          hired before March 31, 1985 shall be eligible for continued location
          compensation of $200 per year.

         Section 7 of this part continues location compensation for certain offi-
         cers and employees of the Hudson Valley Developmental Disabilities
         Services Office.

         Section 8 of this part provides for the continuation of an overtime meal
         allowance for employees covered by this part.

         Section 9 of this part continues authorization for payment of grievance

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         procedure, which applies to M/r.  oyees.

         Section 10 of this part authorizes the State Comptroller to make
         payments required during the fiscal years commenc~ng April 1, 2011.

        Section 11 of this part provides that employees who participate in a
        special annuity program under article 8-C of the Education Law shall not
        suffer any reduction of the salary adjustment to which they are other-
        wise entitled under the program, as a result of an increase in compen-
        sat ion provided for in this bill.

        Section 12 of this part provides that salary increases, pursuant to this
        bill, shall be effective on the first day of the first pay period near-
        est to the effective date of any such salary Increase.

        Section 13 of this part provides that the Director of the Budget may
        withhold any salary increase in order to: reflect the job performance of
        an officer or of an employee, maintain appropriate salary relationships
        among employees, reduce state expenditures to acceptable levels, or
        whenever such increase is not warranted or appropriate. Additionally,
        this section provides that the Director of the Budget may devise and
        implement a salary reduction plan covering employees covered by this
        part.

        Section 14 of this part appropriates additional funding to supplement
        currently available appropriations to carry out the benefits and train-
        ing and development programs. In addition, funding is included to cover
        the pro rata M/c share of negotiated programs.

        Section 15 of this part provides for an immediate effective date of this
        part, which shall be deemed to have been in full force and effect on and
        after April 1, 2011. Appropriations made by this chapter shall remain in
        full force and effect for liabilities incurred through March 31, 2012.


        STATEMENT IN SUPPORT OF THE BILL:


        PART A OF THE BILL:

        This part of the bill implements the terms of a collective bargaining
        agreement covering members of the Administrative Services Unit, the
        Institutional Services Unit, the Operational Services Unit and the Divi-
        sion of Military and Naval Affairs Unit represented by CSEA.  Approxi-
        mately 59,000 full-time annual employees are covered by the Agreement,
        inclUding keyboard specialists, clerks, cleaners, developmental and
        mental health therapy aides, nurses and highway maintenance workers.

        The prior agreement governing these employees expired on April 1, 2011.
        Under Article 14 of the Civil Service Law, the Agreement is binding on
        all parties to it. This bill incorporates the terms of that Agreement
        relating to salary increases, salary deductions, salary reductions,
        benefit modifications, and modifications to terms and conditions of
        employment and appropriates funds necessary to pay for it, in accordance
        with the State's obligations.


        PART B OF THE BILL:

        This part of the bill establishes terms and conditions of employment for
        M/c and other unrepresented employees.

        This part of the bill provides M/C and other unrepresented employees
        with compensation increases and payments that are comparable to recently
        negotiated increases and payments for certain represented employees.
        Such parity is essential to provide for appropriate salary adminis-
        tration (by maintaining proper salary relationships and mitigating sala-
        ry compression), assure productivity, maintain good morale, and to allow
        for the recruitment and retention of competent staff.


        FISCAL IMPLICATIONS OF THE BILL;

        Part A of the bill would provide appropriations totaling approximately
        $19 million to pay for the cost of the negotiated agreement during the
        period April 2, 2011 to March 31, 2012.

        Part B of the bill would provide appropriations totaling approximately
        $3.5 million to pay its cost during the period April 1, 2011 to March
        31, 2012.


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            EFFECTIVE DATE:
            Part A of the bill takes effec~roactivelY     as of April 2, :011 and
            ~art B of the bill takes effect retroactively as of April 1, 2011.      •




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      TITIE....Relates to c.ompensation and other terms and conditions of TITLE....Relates to compensation and other terms and conditions of
      employment of certam state officers and employees                   ,employment of certain state officers and employees
      Currently on Senate Committee Agenda                                !currentlY on Assembly Committee Agenda
      Senate Standing Committee on Rules                                  Rules (SIbVER)
      Senator Dean G. Skelos, Chair                                       OFF TIlE FLOOR, Thursday, June 23, 2011
      June 22, 2011
      06/22/11      REFERRED TO RULES                                     ADDENDUM
      06/22/11      ORDERED TO TIIIR.D READING CAL.1524                   Currently on Assembly Committee Agenda
      06/22/11      MESSAGE OF NECESSITY                                  Ways and Means (FARRELL)
      06/22/11      PASSED SENATE                                         OFF TIlE FLOOR, Thursday, June 23, 2011
      06/22/11      DELIVERED TO ASSEMBLY                                 06/22/11         referred to ways and means
      06/23/11      referred to ways and means
                                                                          06/23/11        reported referred to rules
      06/23/11      substituted for a8513
                                                                          06/23/11        reported
      06/23/11      ordered to third reading rules cal.605
                                                                          06/23/11        rules report cal.605
      06/23/11      message of necessity - 3 day mes$age
      06/23/11      passed assembly                                       06/23/11        substituted by s5846
      06/23/11      returned to senate                                       S05846         ROBACH
      08/05/11      DELIVERED TO GOVERNOR                                  06/22/11       REFERRED      TO RULES
      08/17/11      SIGNED CHAP.491                                        06/22/11       ORDERED TO 1HIRD READING CAL.l524
                                                                           06/22/11       MESSAGE OF NECESSI'TY
                                                                           06/22/11       PASSED SENAIE
                                                                           06/22/11       DELIVERED TO ASSEMBLY
                                                                           06/23/11       referred to ways and means
                                                                           06/23/11       substituted for a8513
                                                                           06/23/11       ordered to third reading rules cal.605
                                                                          06/23/11        message of necessity - 3 day message
                                                                          06/23/11        passed assembly
                                                                          06/23/11        returned to senate
                                                                          08/05/11        DELIVERED TO GOVERNOR
                                                                          08/17111        SIGNED CHAP.491


       06/23/11          S5846      Assembly Vote               Yes: 136          No: 1
       06/22/11          S5846      Senate Vote                 Aye: 62           Nay: 0

      Go to Top ofPage

      Floor Votes:

     06/23/11 85846 Assembly Vote Yes: 136 No: 1
     Yes Abbate         Yes Abinanti        Yes           Amedore         ER Arroyo
     Yes Aubry          Yes Barclay         Yes           Barron          Yes Benedetto
     Yes Bing           Yes Blankenbush     ER            Boyland         Yes Boyle
     Yes Braunstein     Yes Brennan         Yes           Bronson         Yes Brook-Krasny
     Yes Burling        Yes Butler          Yes          .Cahill          Yes Calhoun
     Yes Camara         Yes Canestrari      Yes           Castelli        Yes Castro
     Yes Ceretto        Yes Clark           Yes           Colton          Yes Conte
     Yes Cook           Yes Corwin          ER            Crespo          ER Crouch
     Yes Curran         Yes Cusick          Yes           Cymbrowitz      Yes DenDekker
     Yes Dinowitz       Yes Duprey          Yes           Englebright     Yes Farrell
     Yes Finch          Yes Fitzpatrick     Yes           Friend          Yes Gabryszak
     Yes Galef          Yes Gantt           ER            Gibson          Yes Giglio
     Yes Glick          Yes Goodell         Yes           Gottfried       Yes Graf
     Yes Gunther A      Yes Hanna           ER           Hawley           Yes Hayes
     Yes Heastie        Yes Hevesi          Yes          Hikind           Yes Hooper
     Yes Hoyt           Yes Jacobs          Yes           Jaffee          Yes Jeffries

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--c. 1l:\..l.C V.c. DiLL
                            Case 1:12-cv-00046-MAD-CFH Document 10-3 Filed 03/01/12       Page 106 of 236
                                                                                  11U!-'.1I UY::iU ::i.::iWU::.UY. LJ::i/l'l I.::lL01J\....1IU::illi11lt:.Cg


       Yes Johns
       Yes Kellner
       Yes Latimer
       Yes Linares
       Yes Lupardo
                                                  Yes
                                                 ER
                                                 Yes
                                                 Yes
                                                 No
                                                        Jordan.
                                                        Kirwan
                                                        Lavine
                                                        LopezP
                                                        Magee
                                                                     Yes
                                                                     Yes
                                                                     Yes
                                                                         Katz
                                                                         Kolb
                                                                         Lentol
                                                                     ER Lopez V
                                                                     Yes Magnarelli
                                                                                           Yes Kavanagh
                                                                                          Yes Lancman
                                                                                          Yes Lifton
                                                                                          Yes Losquadro
                                                                                          Yes Maisel
                                                                                                            •
       Yes Malliotakis                           Yes    Markey       Yes McDonough        Yes McEneny
       Yes McKevitt                              Yes    McLaughlin   Yes Meng             Yes J\tiller D
       Yes Miller J                              Yes    MillerM      Yes Millman          Yes Molinaro
       Yes Montesano                             Yes    Morelle      Yes Moya             Yes Murray
       Yes Nolan                                 Yes    Oaks         Yes ODonnell         Yes Ortiz
       Yes Palrnesano                            Yes    Paulin       Yes Peoples-Stokes   Yes Perry
       Yes Pretlow                               Yes    Ra           Yes Rabbitt          Yes Raia
       Yes Ramos                                 Yes    Reilich      Yes Reilly           Yes Rivera J
       Yes Rivera N                              Yes    RiveraP      Yes Roberts          ER Robinson
       Yes Rodriguez                             Yes Rosenthal       Yes Russell          Yes Saladino
       Yes Sayward                               Yes Scarborough     Yes Schimel          Yes Schirnminger
       Yes Schroeder                             Yes Simotas         Yes Smardz           Yes Spano
       Yes Stevenson                             Yes Sweeney         Yes Tedisco          Yes Tenney
       Yes Thiele                                Yes Titone          Yes Titus            Yes Tobacco
       Yes Weinstein                             Yes Weisenberg      Yes Weprin           Yes Wright
       Yes ZebrowskiK                            Yes "Mr. Speaker
                .............. ....._' .......
                              '




       Go to Top of Page

       Floor Votes:

       06/22/11 S5846 Senate Vote Aye: 62 Nay: 0
       Aye      Adams                            Aye    Addabbo      Aye Alesi            Aye   Avella
       Aye      Ball                             Aye    Bonacic      Aye Breslin          Aye   Carlucci
       Aye      DeFrancisco                      Aye    Diaz         Aye Dilan            Aye   Duane
       Aye      Espaillat                        Aye    Farley       Aye Flanagan         Aye   Fuschillo
       Aye      Gallivan                         Aye    Gianaris     Aye Golden           Aye   Griffo
                                                                     A    Hassell-
       Aye      Grisanti                         Aye    Hannon        yeThompson          Aye   Huntley

       Aye      Johnson                          Aye Kennedy         Aye Klein            Aye   Krueger
       Aye      Kruger                           Aye Lanza           Aye Larkin           Aye   LaValle
       Aye      Libous                           Aye Little          Aye Marcellino       Aye   Martins
       Aye      Maziarz                          Aye McDonald        Aye Montgomery       Aye   Noz:zolio
       Aye      OMara                            Aye Oppenheimer     Aye Parker           Aye   Peralta
       Aye      Perkins                          Aye Ranzenhofer     Aye Ritchie          Aye   Rivera
       Aye      Robach                           Aye Saland          Aye Sampson          Aye   Savino
       Aye      Serrano                          Aye Seward          Aye Skelos           Aye   Smith
                                                                     A     Stewart-
       Aye      Squadron                         Aye    Stavisky       ye Cousins         Aye   Valesky

       Aye      Young                            Aye    Zeldin




                                                                                                                                      "/"1n/"1n11   1.11   n\.~
        Case 1:12-cv-00046-MAD-CFH Document 10-3 Filed 03/01/12 Page 107 of 236
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                                EXHIBITE
        Case 1:12-cv-00046-MAD-CFH Document 10-3 Filed 03/01/12 Page 108 of 236



                                                                                                                 August 2011


      NYSHIP Rate Changes
                                                                                      Effective October 1, 2011
      For Retirees and Vestees of New York State Government and their Enrolled Dependents


      Special Option Transfer Period                                       Choices and The Empire Plan Special Report
      (September 1 through September 30,2011)                              Explain Your Current Plan and Other
      The terms ofa collective bargaining agreement have                   Available Plans
      been administratively extended to Retirees and Vestees                If you are considering changing your health
      ofNew York State Government and their enrolled                       insurance plan or wish to review your current
      dependents. This will result in a NYSHIP rate change                 p~an, refer to the Choices for 2011 booklet that
      effective October 1; the new rates included in this                  was mailed to your home last fall (also available
      publication will be in effect through the end of2011.                from the Employee Benefits Division). You can
      As a result ofthese rate changes, there will be a Special            also visit our web site at https://www.cs.ny.gov
      Option Transfer Period during the month ofSeptember.                 for this information. Click on Benefit Programs,
      The annual rate change for 2012 will occur on the first              then NYSHIP Online. Select your group if prompted,
      of this year, as usual.
                                                                           and then click on Health Benefits & Option Transfer.
      How will the Special Option Transfer                                 Choose Rates and Health Plan Choices for the most
      Period work?                                                         up-to-date option transfer information.
      As a result of the rate changes, there will be a                     Also, please reference the August 2011    ~rn:,i"p Olnn
    . Special Option Transfer Period, September 1                         Special Revort with the ~mvire p{(1n D::PI,pntivp _Care
      through September 30,2011. You may select                           CO'leriige cnart tor Empire Plan benefit changes,
      The Empire Plan or a NYSHIP-approved Health                         including preventive care services required by the
      Maintenance Organization (HMO) serving your area.                   federal Patient Protection and Affordable Care Act
     No action is required if you wish to keep your                       (PPACA). You should have received this Report in
     current health insurance option.                                     the mail separately. You can also access this Report
                                                                          on our web site at https://www.cs.ny.gov.C1.ick on
     PLEASE NOTE: Achange during this Special Option
     Transfer Period will not be counted as an option                     Benefits and Publications.
    change for the purpose ofthe once in a 12-month          If you have questions about The Empire Plan, call
    period Iimitfor retirees. In addition, health insurance toll free at 1-877-7-NYSHIP (1-877-769-7447). Select
    rates and benefit plan information for the 2012 plan    the Medical Program and th~n the appropriate
    year will be available atthe end of the 2011 calendar   prompt for Option Transfer ben~fit questions.
    year as they normally are and you will have the         If you have questions about NYSHIP HMOs, call
_.-DppDI1unity_tsueyiew l!:li.~materia[jlnd~b~!l9.~__.__.__ :th.~f:!MOs directly. (See the r<!te listing in~ide for
    options again at that time if you wish to do 50.        telephone numbers.) Be sure you understand how
                                                            your benefits will be affected if you change plans.

                                                                                                                Continued on page 7




                                 New York State Department of Civil Service, Employee Benefits Division
                                 Alfred E. Smith State Office Building, Albany, New York 12239
                                 https:l/www.cs.ny.gav
                                                                                                                 --
                              Case 1:12-cv-00046-MAD-CFH Document 10-3 Filed 03/01/12 Page 109 of 236



                                               New York St~ Health Insurance Program 2011 Rates
                                               Check your plan - this is your only notice of a rate change.
                                                                                                                                                                                                                                                                                                •
                                               Plan and Service Area

                                               The Empire Plan (available to enrollees and their eligible dependents worldwide) 1-877-7-NYSHIP (1-877-769-74
                                               Medical/Surgical Program: UnitedHealthcare, PO Box 1600, Kingston, NY 12402-1600 (TTY: 1-888-697-9054)
                                               Hospital Program: Empire BlueCross BlueShield, NYS Service Center, PO Box 1407, Church Street Station, New Yor
                                               Mental Health/Substance Abuse Program: UnitedHealthcare/OptumHealth, PO Box 5190, Kingston, NY 12402-51 ~
                                               Prescription Drug Program: UnitedHealthcare/Medco Health Solutions, PO Box 5900, Kingston, NY 12402-5900 (T

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      ;j'~~3UO!~~;                            Capital District Physicians' Health Plan (CDPHP) (Central)t 500 Patroon Creek Blvd., Albany, NY 12206-105751
                                              Serving Broome, Chenango, Delaware, Essex, Hamilton, Herkimer, Madison, Oneida, Otsego and Tioga counties



     :~i~9;g~i~' Community Blue*t PO Box 80,                                                                                                            Buffalo, NY 14240-0080716-887-8840 or 1-877-576-6440 (TTY: 1-888-249-2583) w·

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                                              Empire BlueCross BlueShield HMO (Downstate) 11 Corporate Woods Blvd., PO Box 11800, Albany, NY 12211-0[:
                                              Serving Bronx, Kings, Nassau, New York, Queens, Richmond, Rockland, Suffolk and Westchester counties



                                              GHI HMO 789 Grant Ave., Lake Katrine, I\JY 12449 or PO Box 4181, Kingston, NY 12401 1-877-244-4466 (TrY: 1-877-2(

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                                              HIP Health Plan of New Yorkt 55 Water St., New York, NY 10041 1-877-861-0175 (TrY: 1-888-447-4833) hipusa.cc
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                                              HMOBlue Excellus BlueCross BlueShield (Utica Region) 12 Rhoads Dr., Utica, NY 13502 1-800-722-7884 (TTY: 1-
                                              Serving Chenango, Clinton, Delaware, Essex, Franklin, Fulton, Herkimer, Jefferson, Lewis, Madison, Montgomery, C
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                                           Serving Genesee, Livingston, Monroe, Ontario, Orleans, Seneca, Steuben, Wayne, Wyoming and Yates counties

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2                2011 NYSHIP Rate Changes NY Retiree
                                           Case 1:12-cv-00046-MAD-CFH Document 10-3 Filed 03/01/12 Page 110 of 236


                          Plea,e ,ead thl, ,ate ,heet w l y to find the rate that applies to you. Tht.re dlffe,ent rates for different groups
                          as a result of legislation and administrative agreements.




  ;://www.cs.ny.gov

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  1-800-855-2881 )
  )-759-1089)




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) www.ghi.com Serving Albany, Columbia, Delaware, Greene, Rensselaer, Saratoga, Schenectady, Warren and Washington counties
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77) (TIY: 1-800-662-1220) www.joinmvp.com




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                                                                                                                                       •    ~- c'                                                          -.                          ~                  •                         •




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                                                                                                                                                                                                                                                                                                                                                                         2011 NYSHIP Rate Changes NY Retiree      3
         Case 1:12-cv-00046-MAD-CFH Document 10-3 Filed 03/01/12 Page 111 of 236

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        Monthly Rates: Rates for I iiees:do not reflect sick;' ",.
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                                                                                                                                                                                    EAllee contributions
        leave credit. (See page 8for"more information ori;~'                                                                                                                        for Retirees and Vestees
          how sick-,.._"leave credit imp'actsyour
                           '. - .....-'<,..., ,. ".'- ..... ,.- .'.'
                                                                      p~¢"mium.) . '~'.
                                                                     . ..,,;",...: ..'' -                                                                                           To enroll in an HMO orto remain enrolled
                                                                                                                                                                                    in your current HMO, you must live or work:l:
                                                                       B                                                                                                            in the HMO's NYSHIP service area.
                                                          Ind               Fam

                                                       69.72               278.26




      0.00         311.29                             66.11            395.64
·"";i'r1'4.48':;.'~L567~::i(f;;?~~ 183.24                              652.75
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                                                                                                                                                                            'J'.




                                                                                                                                                                                   * These two HMOs will provide nongrandfathered
                                                                                                                                                                                     benefits, including preventive care services
                                                                                                                                                                                     required by the federal Patient Protection and
                                                                                                                                                                                     Affordable Care Act (PPACA). Contact the HMO
                                                                                                                                                                                     directly for specific information.


                                                                                                                                                                                   t Medicare-primary enrollees will be enrolled in
                                                                                                                                                                                     this plan's Medicare Advantage Plan. As a rule,
                                                                                                                                                                                     the Centers of Medicare & Medicaid Services (CMS)
                                                                                                                                                                                    states that, except under certain circumstances,
                                                                                                                                                                                    if an enrollee's temporary residence is out of the
                                                                                                                                                                                    HMO's Medicare Advantage Plan service area for
                                                                                                                                                                                    more than six consecutive months, the enrollee
                                                                                                                                                                                    will be disenrolled from that HMO Medicare
                                                                                                                                                                                    Advantage Plan.


                                                                                                                                                                                   :I: If Medicare-primary, check with the plan.




                                                                                                                                                                                                   207 7NYSHIP Rate Changes NY Retiree   4
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 If You Are ChanA Your Health Insuranc.tion
 I.   Com pi ete the NYSHIPOption Transfer Request form on page 6. En roll ee sig natu re is req uired.


 12. Send the completed form to the Employee Benefits Division atthe address provided by September 30,12011.


 13. If you are emolli ng in Dr transferri ngout of one of the followi ng Medica re Adva ntag e PI ans••.
      Option 210       Aetna                               Option 050       HIP Health Plan of New York
      Option 066       Blue Choice                         Option 059       Independent Health
      Option 063       CDPHP                               Option 058       MVP Health Care (Rochester)
      Option 300     -CDPHP                                Option 060---- MVP HeaJth-Care-+East)---
      Option 310      CDPHP                                Option 330       MVP Health Care (Central)
      Option 067      Community Blue                       Option 340       MVP Health Care (Mid-Hudson)


 ...the Social Security number, Medicare identification number and signature of each Medicare-primary
 dependent are also required.


 If you are Medicare-primary and plan to change options into or out of one of the Medicare Advantage HMOs listed
 above, Medicare works with NYSHIP to coordinate enrollment within the NYSHIP rules. The effective date of your
 requested change is dependent upon the date it is received and processed by the Employee Benefits Division and
 the date the HMO has completed the Medicare-required enrollment process. Therefore, if you are requesting a
 change involving a Medicare Advantage HMO, submit your request as soon as possible.




L------------                                                                           2~O~I~1N'!"-Y~SH~I~PR~a~teChanges   NY Reriree   5
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                                         .SHIP Option Transfer P"'est
                             No action IS required if you wish to keep your curre~ealthinsurance.
                                 Please fill in this form and return it by September 30, 2011 to:
                            NYS Department of Civil Service EmployeeBenefits Division, Operations Unit
                                  Alfred E. Smith State Office Building, Albany, New York 12239
                       Call us at 518-457-5754 or 1-800-833-4344 (U.S., Canada, Puerto Rico, Virgin Islands)
                                            if you have any questions about this form.



    Enrollee Name                                                                                                                     _
    Social Security Number (SSN)                                                                        ~                             _
    Address                                                ~                                                                      _


    County*                                             City or Post Office                                                       _
    State                             ZIP Code _ _ Telephone Number L-J                                                           _
    Is this a new address?       0 Yes 0 No               Date of New Address:                                                    _


    Medicare 0 Yes 0 No         If Yes: Part A Effective Date:                    Part B Effective Date:                  _
    Dependent Medicare          0 Yes 0 No
    If Yes: Part A Effective Date                         Part B Effective Date                        _
    Are you or your dependent reimbursed from another source for Part B coverage?                    0 Yes   0 l'Jo
    If Yes, by whom?                                                          Amount $                                        _


    Effective October', 20", please change my health insurance option.
    From: Current Option Code Number                    Current Plan Name
    To: New Option Code Number                          New Plan Name                                                                 _
    Date                                                Enrollee Signature (required)                                         _

    If you have Family coverage, please complete the following for each dependent enrolled in Medicare
(attach a separate sheet ofpaper ifnecessary):
Dependent Name                                                                                        SSN
Medicare 10 # (on his or her Medicare card)                                                                                   _
Date                                         Dependent Signature (required)                  -                                _

Dependent Name                                                                                   _    SSN
Medicare 10 # (on his or her Medicare card)                                                                           -       _
Date                                         Dependent Signature (required)                                                   _

o I have no Medicare-eligible dependents

;; If you are enrolling in an HMO, please double check the enclosed rate chart or the HMO's page in Choices.
   Is the HMO approved by NYSHIP to serve your county?

                                             USE THIS FORM FOR OPTION CHANGE ONLY



6      2071 NYSHIP Rate Changes NY Retiree
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                                                Choices uP/air.current Plan, continued from page 1

                                                Changing plans may result in substantially different
                                                coverage. If you decide to change plans, complete the
                                                Option Transfer Request form on page 6 (see
                                                instructions on page 5) and mail it to the Employee
                                                Benefits Division by September 30, 2011 at the address
                                                provided.

                                                To Contact the Employee Benefits Division
                                                You may call the Employee Benefits Division at
                                                518-457-5754 or 1-800-833-4344 (U.s., Canada, Puerto
                                                Rico, Virgin Islands). Please call Monday through Friday
                                                between 9 a.m. and 3 p.m. Eastern time to speak to
                                                a representative, or any time to use our automated
                                                telephone service.

                                                Your Retirement Check and
                                                                        lf
                                                "Notice of Change Document
                                                Your deductions will change to reflect the changes
                                                to the 201'/ health insurance rates of your 2011
                                                health insurance plan. The 2011 monthly Medicare
                                                reimbursement for the Medicare Part B premium will
                                                not change.
                                               If you receive your pension by direct deposit, your
                                               retirement system will notify you of any deduction
                                               changes. The sample check stub and "Notice of Change"
                                               document (for the direct deposit enrollee) shown to the
                                               left are from the New York State and Local Employees'
                                               Retirement System. Note: If you receive your pension
                                               from another retirement program, your check stub
                                               and "Notice of Change" document will be different.

                                               Enrollees Who Pay the Employee Benefits
                                               Division Directly
                                               If you remain in your current plan, the October 2011
                                               rate change will be reflected in your bill due September
                                               30, which bills for your October coverage.
                                               If you change plans, the October 2011 rate change for
                                               your new health insurance plan will be reflected in your
                                               October 31 bill with any retroactive adjustments.

                                               Keep Your Health Insurance Up to Date
                                               You must write to the Employee Benefits Division at the
                                               New York State Department of Civil Service, Alfred E. Smith
                                               State Office Building, Albany, New York 12239, when
                                               changes in your family or marital status affect your
                                               coverage or if your address changes. Be sure to sign
                                               your letter and include your Social Security number,
                                               telephone number and address in your letter. Act
                                               Promptly. Deadlines may apply. See your NYSHIP
                                               General Information Book for details.
                                                                                     Continued on back cover


1   2011 NYSH/P Rate Changes NY Retiree
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     New York State
     Department of Civil Service
     Employee Benefits Division
     P.O. Box 1068
                                 •




     Schenectady, New York 12301-1068
                                                            NflSHfp
                                                            ;'''w Yom SIlIIl! lleallh [nsur.lI1CI! Progrnm
                                                                                                             •
                                                            Important Health Insurance Information
     https://www.cs.ny.gov                                  for the Enrollee, Enrolled Spouse/Domestic Partner
  Address Service Requested                                 and Other Enrolled Dependents
  Time-Sensitive Materials
  Your Only Notice of Health Insurance                      NYSHIP Rate Changes for NY Retirees - August 2011
  Rate Changes for October 1,2011




       Please do not send mail or

 I
 •
  "    correspondence to the return
       address listed above. See
       page 1 for address.




 It is the policy of the New York State Department of Civil Service to provide reasonable accommodation to ensure effective communication of
 information in benefits publications to individuals with disabilities. These publications are also available on the Department of Civil Service web site
 (https:llwww.cs.ny.gov).C1ick on Benefit Programs then NYSHIP Online for timely information that meets universal accessibility standards adopted
 by New York State for NYS agency web sites. If you need an auxiliary aid or service to make benefits information available to you, please contact your
 agency Health Benefits Administrator. COBRA Enrollees: Contact the Employee Benefits Division at 518-457-5754 or 1-800-833-4344 (U.S., Canada,
 Puerto Rico, Virgin Islands).

                                                                                                             2011 NYSHIP Rate Changes for NY Retirees 08/11
 Q NYSHIP Rate Changes was printed on paper containing recycled fiber using environmentally sensitive inks.                              c:::::>   AL1100


Continued from page 7

Lifetime Sick Leave Credit
 When you retired, you may have been entitled to
 convert your unused sick leave into a lifetime monthly
 credit that reduces your cost for health insurance for as
 long as you remain enrolled in NYSHIP. Your monthly
credit remains the same throughout your lifetime.
However, the balance you pay for your health insurance
premium is likely to change. When the premium or your
contribution rate rises, the balance you must pay may
also rise. To calculate the balance you will pay for the
remainder of 2011, subtract your monthly sick leave
credit from your new monthly premium.
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 ".




                                       August 2011
                                       New York State Health Insurance Program (NYSHIP)
                                       for New York State Retirees, Vestees, Dependent Survivors,
                                       their enrolled Dependents, COBRA Enrollees with their Empire Plan
                                       Benefits and Young Adult Option Enrollees




                    Changes Effective October 1, 2011
                    This Report describes changes affecting your NYSHIP coverage that will take effect
                    on October 1,2011. These changes are the result of collective bargaining, which have
                    been administratively extended to NY retirees. They include:
                    NYSHIP Changes
                    • A change in the NYSH IP premium cost sharing between the State and its retirees

                    Special Option Transfer Period in September
                    As a result of these changes, there will be an October 1 rate change and a Special
                    Option Transfer Period during the month of September. You will have the opportunity
                    to change your NYSHIP option for October 2011. A change during this Special Option
                    Transfer Period will not be counted as an option change for the purpose of the once
                    per 12-month limit for retirees.
                    Your cost of coverage under a NYSHIP HMO or The Empire Plan for
                    October throughthe end of 2011 will be posted on the Department web site,
                    https://www.cs.ny.gov, no later than August 31, 2011. A rate flyer also will be
                    mailed to your home on or before that date. The web site and the rate flyer will
                    provide details of the Special Option Transfer Period.   -

                    Option Transfer Period for 2012
                    The annual option transfer will be held, as usual, at the end of the year with changes
                    effective for the 2"012 plan year. There also will be NYSHIP rate changes for 2012.
                    You will receive the Option Transfer publication, Choices for 2012, along with Rates
                    and Information for 2012 in a package in the mail later this fall. Rates for 2012 will be
                    posted online and Option Transfer information will be mailed to you as soon as they
                    are approved.
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       NYSHIP Chan.
       Your Monthly Premium Contribution Rate                                                               •
       ~,jew York State helps pay for your health insurance coverage in retirement. After the State's contribution, you
       are responsible for paying the balance of your premium through monthly deductions from your pension check
       or direct billings.
       Effective October 1,2011, your share of the cost is based upon your retirement date as shown below.

            Retirement Date                                   Individual Coverage                                               Dependent Coverage
                                                      State Share*              Employee Share                   State Share*                           Employee Share
            Prior to January 1, 1983                      100%                           0%                             75%                                  25%
           On or after January 1, 1983                     88%                           12%                            73%                                  27%
           and before January 1, 201 2

      * The State's contribution to the cost of HMO coverage is capped based on the cost of The Empire Plan.
        If the dollar amount the State contributes for the hospital, medical and mental health/substance abuse
        components of The Empire Plan are lower than the employer contribution for the same components of
        an HMO, you are responsible for the full amount of the difference.
      Note: This information does not apply to COBRA enrollees or Young Adult Option enrollees. These enrollees
      will have a rate change, however, as a result of the October 1 benefit changes.




     It is the policy of the New York State Department of Civil Service
     to provide reasonable accommodation to ensure effective
     communication of information in benefits publications to individuals
                                                                                    I~
                                                                                     ~m~Ublished
                                                                                                NYSHIP Health Maintenance Organization Special Report
                                                                                                         by the Employee Benefits Division of the New York
                                                                                         , State Department of Civil Service. The Employee Benefits Division
     with disabilities. These publications are also available on the                       administers the New York State Health Insurance Program (NYSHI P)'
     Department of Civil Service web site (https://www.cs.ny.gov).Click                    NYSHIEprovides your.beaJtb.lnsur.ance...beoefits__ ._
     on Benefit Programs, then NYSH IP Online for timely information
     that meets universal accessibility standards adopted by New York
     State for NYS agency web sites. If you need an auxiliary aid or
     service to make benefits information available to you, please
     contact your agency Health Benefits Administrator, New York
     State and Participating Employer Retirees and COBRA Enrollees:
                                                                                                             NIISH-tP
                                                                                                             N~ York Sialf HealIh Insuranre /'rogr.Im

                                                                                         New York State Department of Civil Service
     Contact the Employee Benefits Division at 518-457-5754 or                           Employee Benefits Division, Albany, New York 12239
     1-800-833-4344 (U.S.; Canada, Puerto Rico, Virgin Islands).                         518-457-5754 or 1-800-833-4344 (U.S., Canada, Puerto RiC:..J0
                                                                                         Virgin Islands) httpsJ/www.cs.ny.gov



.c~ This   Report was printed using recycled paper and environmentally sensitive inks.        AL1101                         .~                 HMO Special Report: Retiree 2011
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                     •                                     •
                                                                         August 23,2011

Mr. Alphonso David
Deputy Secretary to the Governor
Executive Chamber
Capitol - Room 242
Albany, NY 12224

Dear Deputy Secretary David:

       We appreciate the time you and Director Johnson spent at our meeting on
August 11, 2011. The Retired Public Employee's Association (RPEA) is ready to
continue our dialog and provide our support and assistance to you and the State of New
York. RPEA is the only organization solely representing State and local retirees. As
you requested, we have identified some of the policy issues, problems and solutions
facing public service retirees in New York State:

   1. There should be no increase in the rate of contribution for health insurance
      coverage for current State retirees. New York State retirees enrolled in the
      New York State Health Insurance Plan (NYSHIP), except for those who retired
      before January 1, 1983, contribute 10 percent of the cost of premiums for
      individual coverage - slightly less than the national average - and 25 percent
      of the premiums for family coverage.

   2. All local governments should provide their employees and retirees with
      health insurance. Given the fact that New York has 3,175 local governments,
      including counties, cities, towns, villages and school and special districts, the
      State should enhance the ability of municipalities to cooperatively proVide and
      manage employee benefits in a manner that reduces the cost of providing such
      benefits, but which gives such municipal employees choices in the benefits
      provided. By cooperatively administering the provision of such employee
      benefits through the establishment of Municipal Cooperative Health Insurance
      Plans, perhaps, some of the functions of participating municipalities can be
      consolidated to further reduce overhead costs.

  3. There should be a 90 day notification to retirees before a local government
     can change coverage or contribution rates for their retirees. RPEA has
     legislation introduced in the Assembly (A. 7872, Abinanti) to effectuate this
     proposal and will have a Senate sponsor for the bill before the start of the 2012
     Legislative Session.
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                     •                                       •
    4. There should be a requirement that there be a minimum number of
       employees and retirees for a municipality or a group of them to self-insure.
       At present there is virtually no regulatory oversight of government self-insured
       plans of the reserves and solvency. Oversight should require minimum size of
       self insured plans so that they are actl,Jarially sound to insure continued viability
       of the plans.

    5. Retirees and/or dependents that live in areas not well served by the Empire
       Plan under NYSHIP should be provided the employer share of premiums on
       proof of enrollment in an accepted health insurance plan. This will help out-
       of-state retirees not well served by the United Health Care network.

    6. Otherwise eligible retirees who opt out of health insurance coverage at
       retirement (in order to be covered under another plan) should be able to
       rejoin when the other coverage ceases. This would result in savings to the
       State and local governments.

       To supplement our comments made during our meeting on August 11,2011
regarding maintaining the status quo with respect to the ratio of the employer/employee
contribution rate for health insurance in place at the time of a State employee's
retirement, there is a long-standing practice of continuing the specific ratio, if any, then
in place for such retirees. When a different ratio has been implemented, the law has
been amended to "hold harmless" existing retirees.

       For example, Civil Service Law, §167, in pertinent part, provides:

       "§ 167. Contributions. 1.(a) The full cost of premium or subscription charges for
      the coverage of retired state employees who are enrolled in the statewide and
      the supplementary health benefit plans established pursuant to this article and
      who retired prior to January first, nineteen hundred eighty-three shall be paid by
      the state."

       This statute, reflecting a change in the employer/employee ratio to be paid by
State employees and State retirees participating in NYSHIP after December 31, 1982,
then continues:

       "Nine-tenths of the cost of premium or subscription charges for the coverage of
      state employees and retired state employees retiring on or after January first,
      nineteen hundred eighty-three who are enrolled in the statewide and
      supplementary health benefit plans shall be paid by the state. Three-quarters of
      the cost oJ premium or SUbscription charges for the coverage of dependents of
      such state employees and retired state employees shall be paid by the state."
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                      •                                         •
         In other words, pre-January 1, 1983 retirees were 'held harmless" and continued
 participating in NYSHIP at the "old ratio" - i.e., the State's continuing to pay the full cost
 of such premiums for both individual and individual and dependent coverage --
  notwithstanding the change in the State's NYSHIP employer/employee ratio for such
 premiums effective January 1, 1983 whereby active State employees and those State
 employees retiring on or after January 1, 1983 would pay 10 percent of NYSHIP
 premiums for individual coverage and 25 percent of NYSHIP premiums for dependent
 coverage.

       This, in our view, recognizes the implied contractual nature of the
 employer/employee contribution ratio for NYSHIP premiums with respect to those
 already retired in contrast to those not yet retired.

       On behalf of the Retired Public Employees Association, we thank you for
providing a means to have retirees' interests and concerns on health insurance and
pension issues heard by the State administration. We look forward to working with
Governor Cuomo and you in shaping a fair, appropriate and sustainable system for
health insurance for those who have devoted their careers to serving the people of the
State of New York.

                                                   Sincerely,



                                                   Stanley Winter
                                                   President

cc: Director Gary Johnson
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          Retir! Public EmPlOye!Association, Inc.
          435 NEW KARNER ROAD • ALBANY, NY 12205 • (518) 869·2542 • FAX (518) 869-0631 e-mail: mail@rpea.org
          Stanley Winter, President                                   Michael B. Fitzgerald, Executive Director




                                                           September 14, 2011

   The Honorable Patric'ia- Hite
   Acting NYS Department of Civil
    Service Commission President
   NYS Department of Civil Service
   Alfred E. Smith State Office Building
   Albany, NY 12239

   CERTIFIED MAIL-RETURN RECEIPT REQUESTED

   Dear President Hite:

   I am writing on behalf of all members of the New York State Employees'
   Retirement System, the New York State Teachers' Retirement System and, or,
   an Optional Retirement Plan established pursuant to the Education Law currently
   receiving a retirement allowance or benefit now participating in the Statewide
   Health Insurance Plan, or an optional benefits plan thereof [hereinafter
   collectively "NYSHIP"].
  The New York State Department of Civil Service has indicated that certain terms
  of recently negotiated collective bargaining agreements resulting in an increase
  in the percentage or ratios of employee contributions for I\lYSHIP premiums will
  be imposed on retirees effective October 1, 2011. This unilateral action
  presumably will affect individuals who retired on or after January 1, 1983 enrolled
  in NYSHIP.
  Significantly, retired employees are not in a collective bargaining unit within the
  meaning of Article 14 of the Civil Service Law. Accordingly, employee
  organizations may only negotiate with respect to health insurance benefits upon
  retirement on behalf of individuals in the collective bargaining unit then active
  employees.
  Thus there is no authority in law or contract justifying the Department of Civil
  Service applying, or extending, a term or condition of employment negotiated on
  behalf of active employees by an employee organization to an individual then
  retired.
  The Retired Public Employees Association (RPEA) maintains that there is
  significant legal and historical precedent barring any change in the percentages
  or ratios of the State's "employer contributions" for NYSHIP premiums for
  individuals already receiving a retirement allowance or benefit.
  These legal and historical precedents indicate that whenever there is a change in
  the percentages or ratios of "employer contributions" for NYSHIP premiums that
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                     ·,                                      •
   would adversely affect a retiree, the then existing "ernployer contribution"
   percentages or ratios are continued without change for individuals who retired
   before the effective date of any such change in the percentages or ratios of
   "employer contributions." In other words, such retirees are "grandfathered in" with
   respect to continuation of the ratios or percentages of "employer contributions"
   for NYSHIP at the level set by law, rule or regulation in effect prior to the effective
   date of any change in the ratios or percentages of "employer contributions" on
   behalf of individuals retiring prior to the effective date of the change to avoid such
   an adverse impact.
   RPEA has therefore taken the liberty of attaching a proposed amendment to the
   President's Regulations set out in 4 NYCRR 73.3, such amendment to be
   adopted by the President pursuant to the authority set out in Civil Service Law
   § 167.8, as amended. In summary, it provides for the reduction of the ratios or
   percentages of "employer contributions" with respect to those retiring on or after
   October 1,2011 while fixing the existing 90% "employer contribution" for a
   retiree's individual coverage and the existing 75% "employer contribution" for
   dependent coverage for individuals who retired on or before September 30,
   2011.
  This proposed amendment to the President's Regulations tracks the legislative
  intent in its various amendments of Civil Service Law § 167.1, formerly § 127 of
  the Civil Service Law added by Chapter 641 of the Laws of 1956. See, for
  example, Chapter 14, § 1 of the Laws of 1983 with respect to changes in the
  ratios or percentages of employer contributions to be made on behalf of
  employees with respect to employees and individuals retiring on or after January
  1, 1983 while insulating individuals who retired prior to January 1, 1983 from
  such changes.
  Of course, as earlier noted, RPEA believes that the ratios or percentages of
  "employer contributions" to be made on behalf of public employees retiring on or
  after October 1, 2011, the effective date of such changes set out in the relevant
  recent collective bargaining agreements, may be increased by administrative
  action.
  We respectfully request that this proposed amendment to the President's
  Regulations be promulgated immediately.
  Thank you for your prompt attention to this matter. We are available to meet with
  you at your convenience to discuss this matter further.


                                                    Sincerely,



                                                    Alan Dorn
                                                    Executive Director
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                Retir! Public EmPlOyee'A ssociation, Inc.
               435 NEW KARNER ROAD· ALBANY, NY 12205 • (518) 869·2542 • FAX (518) 869·0631 e-mail: mai1@rpea.org
               Stanley Winter, President                                  Michael B. Fitzgerald, Executive Director




 Proposed Rule amendment in 4 NYCRR 73.3 with respect to state officers and employees
 retiring on or after October 1, 2011 and state officers and employees retiring on or before
 September 30, 2011, as follows:

 1. Except as otherwise provided by a collective bargaining agreement between the state and
 an employee organization negotiated pursuant to Article 14 of the Civil Service Law, eighty-
 eight percent of the cost of premium or subscription charges for the coverage of state
 employees retiring on or after October first, two thousand eleven who are enrolled in the
 statewide and supplementary health insurance plans shall be paid by the state. Seventy-three
 percent of the cost of premium or SUbscription charges for the coverage of dependents of such
 state employees retiring on or after October first, two thousand eleven shall be paid by the
 state. The state shall contribute toward the premium or subscription charges for the coverage-
 of each state employee retiring on or after October first, two thousand eleven who is enrolled in
 an optional benefit plan and for the dependents of such state employee or retired state
 employee the same dollar amount which would be paid by the state for the premium or
subscription charges for the coverage of such state employee or retired state employee and
his or her dependents if he or she were enrolled in the statewide and the s-upplementary health
insurance plans, but not in excess of the premium or SUbscription charges for the coverage.of
such retired state employee and his or her dependents under such optional benefit plan. For
the purposes of this subdivision, employees of the state colleges of agriculture, home
economics, industrial labor relations, and veterinary medicine, the state agricultural experiment
station at Geneva, and any other institution or agency under the management and control of
Cornell university as the representative of the board of trustees of the state university of New
York, and employees of the state college of ceramics under the management and control of
Alfred university as the representative of the board of trustees of the state university of New
York, shall be deemed to be state employees whose salaries or compensation are paid directly
by the state.

 2. Except as otherwise provided by a collective bargaining agreement between the state and
 an employee organization negotiated pursuant to Article 14 of the Civil Service Law, nine-
 tenths of the cost of premium or subscription charges for the coverage of state employees
 retiring on or before September thirtieth, two thousand eleven who are enrolled in the
 statewide and supplementary health insurance plans shall be paid by the state. Three-quarters
 of the cost of premium or subscription charges for the coverage of dependents of such state
 employees retiring on or before September thirtieth, two thousand eleven shall be paid by the
state. The state shall contribute toward the premium or subscription charges for the cove~age
of each state employee retiring on or after October first, two thousand eleven who is enrolled in
an optional benefit plan and for the dependents of such state employee or retired state
employee the same dollar amount which would be paid by the state for the premium or
subscription charges for the coverage of such state employee or retired state employee and
his or her dependents if he ·or she were enrolled in the statewide and the supplementary health
insurance plans, but not in excess of the premium or subscription charges for the coverage of
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                        •                                     •
such retired state employee and his or her dependents under such optional benefit plan. For
the purposes of this subdivision, employees of the state colleges of agriculture, home
economics, industrial labor relations, and veterinary medicine, the state agricultural experiment
station at Geneva, and any other institution or agency under the management and control of
Cornell university as the representative of the board of trustees of the state university of New
York, and employees of the state college of ceramics under the management and control of
Alfred university as the representative of the board of trustees of the state university of New
York, shall be deemed to be state employees whose salaries or compensation are paid directly
by the state.
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                        EXHIBIT I
Case 1:12-cv-00046-MAD-CFH Document 10-3 Filed 03/01/12 Page 129 of 236



                      •                            ••
          Retired Public Employees Association, Inc.
          435 NEW KARNER ROAD· ALBANY, NY 12205 • (518) 869·2542 • FAX (518) 869·0631 e-mail: mail@rpea.org
          Stanley Wmter, President                                   Michael B. Fitzgerald, Executive Director




                                                                  September 14, 2011

   The Honorable Thomas DiNapoli
   NYS Comptroller
   Office af the State Comptroller
   110 State Street
   Albany, NY 12236

   CERTIFIED MAIL-RETURN RECEIPT REQUESTED

   Dear Comptroller DiNapoli:

   The Retired Public Employee Association [RPEA] notes that the New York State
   Department of Civil Service has indicated that certain terms of recently
   negotiated collective bargaining agreements providing for an increase in the
   percentage or ratios of employee contributions for the statewide and the
   supplementary health benefit plans, [l1ereinafter "NYSHIP"] will be imposed on
   retirees effective October 1, 2011. This unilateral action presumably will affect
   individuals who retired on or after January 1, 1983 enrolled in NYSHIP.

  In view of the absence of any law, rule or regulations providing for any change in
  the ratios or percentages of "employer contributions" for NYSHIP premiums
  made on behalf of individuals who retired on or after January 1, 1983, RPEA
  believes that the decision of the Department of Civil Service in this regard
  constitutes an ultra vires action by the Department and thus a legal nUllity.

  In support of RPEA's view in this regard, it notes that Civil Service Law
  §167.1.(a), "Contributions," provides, in pertinent part, as follows:

  "The full cost of premium or subscription charges for the coverage of retired state
  employees who are enrolled in the statewide and the supplementary health
  benefit plans established pursuant to this article and who retired prior to January
  first, nineteen hundred eighty-three shall be paid by the state. Nine-tenths of the
  cost of premium or subscription charges for the coverage of state employees and
  retired state employees retiring on or after January first, nineteen hundred eighty-
  three who are enrolled in the statewide and supplementary health benefit plans
  shall be paid by the state. Three-quarters of the cost of premium or subscription
  charges for the coverage of dependents of such state employees and retired
  state employees shall be paid by the state...."

  RPEA also notes that Civil Service Law §167.1.(b), in pertinent part, provides as
  follows:
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                    •                                     •
    "Effective January first, nineteen hundred eighty-nine, notwithstanding any other
   law, rule or regulation, and where, and to the extent that, an agreement between
  the state and an employee organization entered into pursuant to article fourteen
  of this chapter so provides or Where and to the extent the employee health
  insurance council so directs with respect to any other state employees and for
  retired state employees retiring on or after January first, nineteen hundred eighty-
  three, the state shall contribute nine-tenths of the cost of premiums or
  subscription charges for coverage of each such state employee or retired state
  employee who is enrolled in an optional benefit plan and three-fourths of such
  premium or subscription charges fo(dependerits of suctf state employees or
  retired state employees enrolled in such optional benefit plan ...."

 Suffice it to note that the terms and conditions of employment set out in a
 collective bargaining agreement negotiated pursuant to Article 14 of the Civil
 Service Law, the Taylor Law, control only with respect to active employee in the
 negotiating unit and any provisions addressing benefits upon retirement apply
 only to a then active employee upon his or her retirement during the life of that
 agreement.

 Further, 4 NYCRR 73.3 essentially tracks the provisions of Civil Service Law
 §167.1(a) and (b).

 In addition, attached is a copy of our letter to the Acting President of the NYS
 Civil Service Commission informing her of our position with respect to the proper
 "employer contribution" rates allowed by law and suggesting an appropriate Rule
 to be promulgated with respect to "employer contribution" rates for current
 retirees under Civil Service Law, §167.

 Accordingly, RPEA respectfully requests that you continue deducting the
 "employee contributions" for retirees, or their survivors, participating in NYSH~P
 at the ratios or percentages of "employee contributions" now authorized by law
 pursuant to the authority vested in you by Civil Service Law §167.3 with respect
 to such deductions from the retirement allowance of a retiree or a duly filed
 written request of a survivor of a retiree.

                                                        Sincerely,


                                                        Alan Dorn
                                                        Executive Director

 Attachments
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                              •                                           •
 "




                  Retired Public Employees Association, Inc.
                  435 NEW KARNER ROAD· ALBANY, NY 12205 • (518) 869·2542 • FAX (518) 869-0631 e-mail: mail@rpea.org
                  Stanley Wmter, President                                   Michael B. Fitzgerald, Executive Director
            ,~
     Proposed Rule amendment to 4 I\JYCRR 73.3 with respect to state officers and employees
     retiring on or after October 1, 2011 and state officers and employees retiring on or before
     September 30,2011, as follows:

  1. Except as otherwise provided by a collective bargaining agreement between the state and
 an employee organization negotiated pursuant to Article 14 of the Civil Service Law, eighty-
 eight percent of the cost of premium or subscription charges for the coverage of state
 employees retiring on or after October 'first, two thousand eleven who are enrolled in the
 statewide and supplementary health insurance plans shall be paid by the state. Seventy-three
 percent of the cost of premium or subscription charges for the coverage of dependents of such
 state employees retiring on or after October first, two thousand eleven shall be paid by the
 state. The state shall contribute toward the premium or subscription charges for the coverage
 of each state employee retiring on or after October first, two thousand eleven who is enrolled in
 an optional benefit plan and for the dependents of such state employee or retired state
 employee the same dollar amount which would be paid by the state for the premium or
 subscription charges for the coverage of such state employee or retired state employee and
 his or her dependents if he or she were enrolled in the statewide and the supplementary health
insurance plans, but not in excess of the premium or subscription charges for the coverage of
such retired state employee and his or her dependents under such optional benefit plan. For
the purposes of this subdivision, employees of the state colleges of agriculture, home
economics, industrial labor relations, and veterinary medicine, the state agricultural experiment
station at Geneva, and any other institution or agency under the management and control of
Cornell university as the representative of the board of trustees of the state university of New
York, and employees of the state college of ceramics under the management and control of
Alfred university as the representative of the board of trustees of the state university of New
York, shall be deemed to be state employees whose salaries or compensation are paid directly
by the state.

 2. Except as otherwise provided by a collective bargaining agreement between the state and
 an employee organization negotiated pursuant to Article 14 of the Civil Service Law, nine-
 tenths of the cost of premium or subscription charges for the coverage of state employees
 retiring on or before September thirtieth, two thousand eleven who are enrolled in the
 statewide and supplementary health [nsurance plans shall be paid by the state. Three-quarters
 of the cost of premium or subscription charges for the coverage of dependents of such state
 employees retiring on or before September thirtieth, two thousand eleven shall be paid by the
state. The state shall contribute toward the premium or subscription charges for the coverage
of each state employee retiring on or after October first, two thousand eleven who is enrolled in
an optional benefit plan and for the dependents of such state employee or retired state
employee the same dollar amount which would be paid by the state for the premium or
subscription charges for the coverageof such state employee or retired state employee and
his or her dependents if he or she were enrolled in the statewide and the supplementary health
insurance plans, but not in excess of the premium or SUbscription charges for the coverage of
such retired state employee and his or her dependents under such optional bene'nt plan. For
    Case 1:12-cv-00046-MAD-CFH Document 10-3 Filed 03/01/12 Page 132 of 236




                        •                                     •
the purposes of this subdivision, employees of the state colleges of agriculture, home
economics, industrial labor relations, and veterinary medicine, the state agricultural experiment
station at Geneva, and any other institution or agency under the management and control of
Cornell university as the representative of the board of trustees of the state university of New
York, and employees of the state college of ceramics under the management and control of
Alfred university as the representative of the board of trustees of the state university of New
York, shall be deemed to be state employees whose salaries or compensation are paid directly
by the state.
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                       •
           Retired Public Employees Association, Inc.             •
           435 NEW KARNER ROAD· ALBANY, NY 12205· (518) 869-2542 • FAX (518) 869-0631 e-mail: mail@rpea.org
           Stanley Wmter, President                                  Michael B. Fitzgerald, Executive Director




                                                           September 15, 2011

    The Honorable Patricia Hite
    Acting NYS Department of Civil
     Service Commission President
    NYS Department of Civil Service
    Alfred E. Smith State Office Building
    Albany, NY 12239

    CERTIFIED MAIL-RETURN RECEIPT REQUESTED

    Dear President Hite:

   I am writing on behalf of all members of the New York State Employees'
   Retirement System, the New York State Teachers' Retirement System and, or,
   an Optional Retirement Plan established pursuant to the Education Law currently
   receiving a retirement allowance or benefit now participating in the Statewide
   Health Insurance Plan, or an optional benefits plan thereof [hereinafter
   collectively "NYSHIP"].
   The New York State Department of Civil Service has indicated that certain terms
   of recently negotiated collective bargaining agreements resulting in an increase
   in the percentage or ratios of employee contributions for NYSHIP premiums will
   be imposed on retirees effective October 1, 2011. This unilateral action
   presumably will affect individuals who retired on or after January 1, 1983 enrolled
   in NYSHIP.
   Significantly, retired employees are not in a collective bargaining unit within the
   meaning of Article 14 of the Civil Service Law. Accordingly, employee
   organizations may only negotiate with respect to health insurance benefits upon
   retirement on behalf of individuals in the collective bargaining unit then active
   employees.
  Thus there is no authority in law or contract justifying the Department of Civil
  Service applying, or extending, a term or condition of empfoyment negotiated on
  behalf of active employees by an employee organization to an individual then
  retired.
  The Retired Public Employees Association (RPEA) maintains that there is
  significant legal and historical precedent barring any change in the percentages
  or ratios of the State's "employer contributions" for NYSHIP premiums for
  individuals already r~ceiving a retirement allowance or benefit.
  These legal and historical precedents indicate that whenever there is a change in
  the percentages or ratios of "employer contributions" for NY~HIP premtums that
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                    •                                       •
  would adversely affect a retiree, the then existing "employer contribution"
  percentages or ratios are continued without change for individuals. who retired
  before the effective date of any such change in the percentages or ratios of
  "employer contributions." In other words, such retirees are "grandfathered in" with
  respect to continuation of the ratios or percentages of "employer contributions"
  for NYSHIP at the level set by law, ruleor regulation in effect prior to the effective
  date of any change in the ratios or percentages' of "employer contributions" on
  behalf of individuals retiring prior to the effective date of the change to avoid .such
  an adverse impact.
 RPEA has therefore taken the liberty of attaching a proposed amendment to the
 President's Regulations set out in 4 NYCRR 73.3, such amendment to be
 adopted by the President pursuant to the authority set out in Civil Service Law
 §167.8, as amended. In summary, it provides for the reduction of the ratios or
 percentages of "employer contributions" with respect to those retiringon or after
 October 1, 2011 while fixing the' existing 90% "employer contribution" for a
 retiree's individual coverage and the existing 75% "employer contribution" for
 dependent coverage for individuals who retired on or before September 3D,
 2011.
 This proposed amendment to the President's Regulations tracks the legislative
 intent in its various amendments of Civil Service Law §167.1, formerly §127 of
 the Civil Service Law added by Chapter 641 of the Laws of 1956. See, for
 example, Chapter 14, §1 of the Laws of 1983 with respect to changes in the
 ratios or percentages of employer contributions to be made on behalf of
 employees with respect to employees and individuals retiring on or after January
 1, 1983 while insulating individuals who retired prior to January 1, 1983 from
 such changes.
 Of course, as earlier noted, RPEA believes that the ratios or percentages of
 "employer contributions" to be made on behalf of public employees retiring on or
 after October 1, 2011, the effective date of such changes set out in the relevant
 recent collective bargaining agreements, may be increased by administrative
 action.
 We respectfully request that this proposed amendment to the President's
 Regulations be promulgated immediately.
 Thank you for your prompt attention to this matter. We are available to meet with
 you at your convenience to discuss this matter further.


                                                  Sincerely,



                                                  Alan Oorn
                                                  Executive Director
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                 •                               •




                        EXHIBITJ
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                                         •                                                         •
                              RULE MAKING
                               ACTIVITIES
Each rule making is identified by an 1.0. No., which consists                    other unrepresented employees with compensation increases, payments.
                                                                                 and benefits comparable to negotiated increases and benefits for repre-
of 13 characters. For example, the I.D. No,                                      sented employees. This emergency rule ensures that upon approval by the
AAM-OI-96-0000l-E indicates the following:                                       Director of the Budget, the President implements these essential benefits
                                                                                 and provisions in a timely fashion for MlC and other unrepresented em-
AAM        -the abbreviation to identify the adopting agency                     plo}'ees and retirees in the manner required by Chapter and in accordance
oI         -the State Register issue number                                      with the State's obligations. Accordingly, these amendments must be
                                                                                 adopted as emergency rules in accordance with Section 202(6) of the State
96         -the year                                                             Administrative Procedure Act.
00001      -the Department of State number, assigned upon                        Subject: Provision of the health benefit plan for active and retired New
            receipt of notice.                                                   York State employees.
E          -Emergency Rule Making-permanent action                               Purpose: To conform 4 NYCRR 73.12 with Chapter 491 of the Laws of
            not intended (This character could also be: A                        2011.
                                                                                 Text ofemergency rule: RESOLVED, That the first paragraph ofsubdivi-
            for Adoption; P for Proposed Rule Making; RP                         sion (b) of section 73.3 of Title 4 NYCRR is hereby amended to read as
            for Revised Rule Making; EP for a combined                           follows:
            Emergency and Proposed Rule Making; EA for                              73 .3(b) Rate of contribution
                                                                                    The rate of contribution of New York State on account of the coverage
            an Emergency Rule Making that is permanent                           of its employees, post retirees and their dependents shall be 100 percent of
            and does not expire 90 days after filing.)                          the charge on account of individual coverage and 75 percent of the charge
                                                                                on account of dependent coverage, except that for the [optional benefit
Italics contained in text denote new material. Brackets                         plans] Health Maintenance Organization options the State's contribution
indicate material to be deleted.                                                shall not exceed the same dollar amount as is paid by the Slate under the
                                                                                basic benefit plan. Effective October 1, 2011, for those employees
                                                                                employed in a title allocated or equated to salary grade 9 or below, the
                                                                                State '.I rate of contribution for such employees and their dependents
                                                                                enrolled in the Empire Plan or a Health Maintenance Organization shall
                                                                                be 88 percent of the charge on account of individual coverage and 73
          Department of Civil Service                                           percent of the charge on account of dependent coverage; provided.
                                                                                however, that for hospital/medical/mental health and substance abuse
                                                                                coverage provided under a Health Maintenance Organization, the State's
                            EMERGENCY                                           rate ofcontribution shall not tAceed 1DO percent ofits dollar contribution
                                                                               for such coverage under the Empire Plan. For employees employed in a
                           RULE MAKING                                          title allocated or equated to salary grade 10 or above. the State 's rate of
                                                                                contriblltion for such employees and their dependents enrolled in the
Provision of tbe Healtb Benefit Plan for Active and Retired New                 Empire Plan or a Health Maintenance Organization shall be 84 percent of
York State Employees                                                            the charge on account ofindividual coverage and 69 percent ofthe charge
                                                                               on account ofdependent coverage. provided. however. that for hospita/l
I.D. No. CVS-4I-II-00007-E                                                     medical/mental health and substance abuse coverage provided under a
FUlng No. 854                                                                  Health Maintenance Organization. the State '.I rate of contribution shall
Filing Date: 2011-09-27                                                        not exceed 100 percent ofits dollar contribution for such coverage under
                                                                               the Empire Plan. Effective October 1. 2011, the rate ofcontribution on ac-
Effective Date: 2011-09-27                                                     count ofthe coverage ofpost retirees shall be as follows:
                                                                                       (i) for retirees who retired on or after January 1, 1983, and employ-
PURSUANT TO THE PROVISIONS OF THE State Administrative Pro-                    ees retiring prior to January 1. 2012. New York State shall contribute 88
cedure Act, NOTICE is hereby given of the following action:                   percent ofthe charge on account ofindividual coverage and 73 percent of
Action taken: Amendment of sections 73.3(b) and 73.12 of Title 4               the charge on account ofdependent coverage, provided, however, that for
NYCRR                                                                          hospital/medical/mental health and substance abuse coverage provided
                                                                               under a Health Maintenance Organization, the State '.I rate of contribu-
Statutory authority: Civil Service Law, sections 160(1), 161-a and 167(8)      tion shall not exceed 100 percent ofits dollar contribution for such cover-
Finding ofnecessityfor emergency rule: Preservation of general welfare.        age under the Empire Plan;
Specific reasons underlying the finding ofnecessity: These amendments                  (ii) for employees retiring on or after January I. 201Z.jrom a title
are adopted as an emergency measure because time is of the essence. The        allocated or equated to salary grade 9 or below, New York State shall
amendment conforms Sections 73.3(b) and 73.12 of Title 4 NYCRR with            contribute 88 percent ofthe charge on account ofindividual coverage and
Chapter 491 of the Laws of201l, which implements the terms oEa coUec-          73 percent ofthe charge on account ofdependent coverage, provided.
ti ve bargaining agreement covering members of the Administrative Ser-         however, that for hospital/medical/mental health and substance abuse
vices Unit, the Institutional Services Unit, and Operational Services Unit,    coverage provided under a Health Maintenance Organization. the State '.I
and the Division of Military and Naval Affairs Unit represented by the        rate ofcontribution shall not exceed 1DO percent ofits dollar contribution
Civil Service Employees Association (CSEA). The Chapter also estab-           for such coverage under the Empire Plan;
lishes terms and conditions of employment for employees designated as                 (iii) for employees retiring on or after January 1, 2012.jrom a title
Management / Confidential (M/C) and other unrepresented employees.            allocated or equated to salary grade 10 or above, New York State shall
The Chapter provides that modified state cost of premium or subscription      contribute 84 percent ofthe charge on account ofindividual coverage and
charges for health insurance coverage may be extended to MlC and other        69 percent ofthe charge on account ofdependent coverage, provided.
unrepresented employees and retirees. The Chapter also provides MlC and       however, that for hospital/medical/mental health and substance abuse

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    Rule Making Activities
                                           •
   coverage provided under a Health Maintenance 01JJanization. the State's
   rate ofcontribution shall not-exceedlOOpercent 01its dollar contribution
  for such coverage under the Empire Plan.
                                                                                                      •        NYS Register/October 12, 2011
                                                                                    terms of a collective bargaining agreement covering members of the
                                                                                    Administrative Services Unit, the Institutional Services Unit. and
                                                                                    Operational Services Unit, and the Division of Military and Naval Affairs
       The rate of contribution of a participating employer on account of the       Unit represented by the Civil Service Employees Association (CSEA).
   coverage of its employees, post retirees and their dependents shall be not       The Chapter also establishes tenos and conditions of employment for em-
   less than 50 percent of the charge on account of individual coverage and         ployees designated as Management! Confidential (M/C) and other
   35 percent of the charge on account of dependent coverage. A participat-         unrepresented employees. The Chapter provides that modified state cost
   ing employer may elect to pay higher rates of contribution for the cover-        of premium or subscription charges for health insurance covera~e may be
   age of its employees, retired employees and their dependents; provided,          extended to M/C and other unrepresented employees and rellrees. The
   however, that if a participating employer so elects to pay a higher or lower     Chapter also provides M/C and other unrepresented employees with
   rate of contribution for its retired employees or their dependents. or both,     compensation lDcreases, payments, and benefits comparable to negotiated
   than that paid by the State for its retired employees or their dependents, or    increases and benefits for represented employees. This emergency rule
  both, amounts withheld from the retirement allowances of its retired em-          cnsures that the President implements these essential benefits and provi-
     I      ~   h' h        f'                 b"        h        'f     h 11 'f    sions in a timely fashion for M/C and other unrepresented employees and
  p oyees or t en s are 0 premIUm or su scnption c arges, I any, sa, I              retirees in the manner required by the Chapter and in accordance with the
   the president so requires. be paid to such participating employer which
  shall pay into the health insurance fund the full cost of premium or               State's obligations.
  subscription charges for the coverage of such retired employees and their              4. Costs:
  dependents; and provided that notice of such election shall be furnished to            a. Cost to regulated parties for the implementation of and continuing
  the Departliterifof CivirServlcenot ress than 60 days prior to the date on         compliance with the rule: This rule conforms the Regulations of the
  which it is proposed to make such higher rate of contribution effective.           Department of Civil Service with Chapter 491 of the Laws of2011 and
  The contributions payable by a prior retiree shall be equal to the contribu-       relevant provisions of such law will be implemented through ministerial
  tions payable by active employees and post retirees having similar cover-          acts performed by the New York State Department of Civil Service as
  ages; the employer's contributions shall be the difference between the             administrator of the New York State Health Insurance Program. There are
  contributions of the prior retiree and the total charges on account of cover-      no specific costs associated with implementation of and continuing
  age for such prior retiree. Notwithstanding the foregoing provisions:              compliance with this rule.
       FURTHER, Section 73.12 of Title 4 NYCRR is hereby amended to                     b. Costs to the agency, the State and local governments for the
 read as follows:                                                                    implementation and continuation of the rule: This rule conforms the
       The provisions of this Chapter, insofar as they apply to employees in         Regulations of the Department of Civil Service with Chapter 491 of the
  the negotiating units established pursuant to article 14 of the Civil Service      Laws of 20 II and will be implemented through ministerial acts performed
 law and their dependents, shall be continued; provided. however, that dur-          by the New York State Department of Civil Service as administrator of the
 ing periods of time when there is in effect an agreement between the State         New York State Health Insurance Program. There are no specific costs to
 and an employee organization reached pursuant to the provision of said             New York State associated with implementation and continuation of this
 article 14, the provisions of such agreement and the provisions of this            rule and, as the proposal applies only to certain State employees and
 Chapter shall both be applicable. In the event the provisions of the agree-         retirees. it will not impose any costs upon local governments.
 ment are different from the provisions of this Chapter, the provisions of              c. The information, including the source(s) of such information, and
 the agreement shall be controlling. The president may, upon [certification]        methodology upon which the cost analysis is based: Preliminary estimates
 approval by the Director of [Employee Relations] the Budget, provide for           regarding administrative costs associated with providing the subject
 the [supplementation of benefits] extension ofthe negotiated provisions of         benefits to M/C and other unrepresented employees and retirees have been
 such agreement. in whole or in part. [provided hereinabove for] to officers        evaluated by the Department of Civil Service.
 and employees not in a negotiating unit within the meaning of article J4 of            5. Local government mandates: The proposal applies only to certain
 the Civil Service Law and may extend provisions regarding the modified             State Classified Service employees and retirees and will not impose any
 state cost of premium or subscription charges to such employees or                 mandates upon local governments.
 retirees.                                                                             6. Paperwork: The proposal will not require any new or additional ap-
                                                                                    plication or reporting forms.
   This notice is intended to serve only as a notice of emergency adoption.            7. Duplication: The proposal does not duplicate or conflict with any
  This agency intends to adopt this emergency rule as a penoanent rule and          State or federal requirements.
  will publish a notice of proposed rule making in the State Register at some          8. Alternatives: This rule reflects the only appropriate method of
  future date. The emergency rule will expire December 25, 2011.                    implementing the provisions of Chapter 491 of the Laws of201l with re-
  Text ofrule and any required statements and analyses may be obtained              spect to providing WC and other unrepresented employees and retirees
 from: Shirley LaPlante, NYS Department of Civil Service, AESSOB,                   with the health plan benefits in the manner required by the Chapter timely
  Albany, NY 12239, (518) 473-6598, email: shirley.laplante@cs.state.ny.us         and in accordance with the State's obligations.
 Regulatory Impact Statement                                                           9. Federal standards: This proposal does not exceed any minimum stan-
      1. Statutory authority: Section 160 (1) of the Civil Service Law             dards of the federal government for the same or similar subject areas.
 authorizes the President of the State Civil Service Commission to estab-               10. Compliance schedule: Compliance will commence automatically
  lish regulations concerning the eligibility of active and retired employees      upon the effective date of this proposal.
 to participate in the health benefIt plan authorized by Article XI of the         Regulatory Flexibility Analysis
 Civil Service Law. Section 16I-a of the Civil Service Law authorizes the          Since this emergency rule serves only to provide for essential health plan
 President of the State Civil Service Commission to implement those pro-           benefits for certain WC and other unrepresented employees and retirees,
 visions of a collective bargaining agreement between the state and an em-         it has no economic impact and places no reporting, recordkeeping or other
 ployee organization which provide for health benefits in a manner consis-         compliance requirements upon small businesses, as defined by Section
 tent with the terms thereof, and to extend such benefits in whole or in part      102(8) of the State Administrative Procedure Act, or any local government.
 to employees not subject to the provisions of such agreement. Section             Therefore, a Regulatory Flexibility Analysis (RFA) is not required by
 167(8) of the Civil Service Law provides that notwithstanding any incon-          Section 202-b of such Act.
sistent provision oflaw, where and to the extent that a collective bargain-
ing agreement between the State: and an employee organization provides        Rural Area Flexibility Analysis
that the cost of premium or subscription charges for eligible employees       Since this emergency rule serves only to provide for essential health plan
covered by such agreement may-be modified pursuant to the tennsof-such--.._-- benefits for certain WC and-other unrepresented employees and retirees,
agreement, the President of the State Civil Service Commission, upon ap-      without regard to the geographic distribution of personal residences or
proval of the Director of the Budget, may extend the modified State cost      work locations of such employees and retirees, this emergency rule will
~f premiuI?~ or subscription char~es for employees not subject to a collec-   not impose any adverse economic impact or create reporting, recordkeep-
live bargammg.agree~ent and retm;es and.s~all promulgate the necessary        ing or other compliance requirements for public and private entities in ru-
rules or r~gul~lIons.to l;ffiplement this. provIsion.       . ,.              ral areas, as define:d in Section 102(10) of State Administrative Procedure
     2. Leglslalive obJectIVes: The PreSident of the State CIVil Service Com- Act Therefore a Rural Area Flexibility Analysis (RAFA) is not required
!TIission has ~~en g~anted broad authority to prescribe re~ulations c~ncern-  by Section 202~bb of such Act.
mg the admlmstrallon of the health benefit plan authonzed by Article XI
of the Civil Service Law. Consistent with such authority, the President is    Job Imp'ac~ Stat~ment                   .            .
amending the Rules and Regulations of the Department of Civil Service         By modi,fying Title 4 NYCRR to prOVIde for essenllal heal.th plan ~enefits
with respect to the extension of health plan benefits provided to active and  for certam M/C and other unrepresented employees and rellrees, thiS emer-
retired employees not subject to collective bargaining.                       gency rule will positively impact jobs or employment opportunities for
     3. Needs and benefits: Chapter 491 of the Laws of2011 implements the     covered employees, as set forth in Section 201-a(2)(a) of the State

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  Italics contained in text denote new material. Brackets
  indicate material to be deleted.
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  Department of Civil Service
  EMERGENCY
  RULE MAKING
   Provision of the Health Benefit Plan for Active and Retired New
   York State Employees
   I.D. No. CVS-41-11-00007-E
   Filing No. 854
   Filing Date: 2011-09-27
   Effective Date: 2011-09-27
   PURSUANT TO THE PROVISIONS OF THE State Administrative Procedure
  Act, NOTICE is hereby given of the following action:
  Action taken: Amendment of sections 73.3(b) and 73.12 of Title 4
   NYCRR.
  Statutory authority: Civil Service Law, sections 160(1), 161-a and 167(8)
  Finding of necessity for emergency rule: Preservation of general welfare.
  Specific reasons underlying the finding of necessity: These amendments
  are adopted as an emergency measure because time is of the essence. The
  amendment conforms Sections 73.3(b) and 73.12 of Title 4 NYCRR with
  Chapter 491 of the Laws of 2011, which implements the terms of a collective
  bargaining agreement covering members of the Administrative Services      -
  Unit, the Institutional Services Unit, and Operational Services Unit,
  and the Division of Military and Naval Affairs Unit represented by the
  Civil Service Employees Association (CSEA). The Chapter also establishes
  terms and conditions of employment for employees designated as
  Management I Confidential (M/C) and other unrepresented employees.
  The Chapter provides that modi'ned state cost of premium or subscription
  charges for health insurance coverage may be extended to MIC and other
  unrepresented employees and retirees. The Chapter also provides MIC and
  other unrepresented employees with compensation increases, payments,
  and benefits comparable to negotiated increases and benefits for represented
  employees. This emergency rule ensures that upon approval by the
  Director of the BUdget, the President implements these essential benefits
  and provisions in a timely fashion for MIC and other unrepresented employees
 and retirees in the manner required by Chapter and in accordance
 with the State's obligations. Accordingly, these amendments must be
 adopted as emergency rules in accordance with Section 202(6) of the State
 Administrative Procedure Act.
 Subject: Provision of the health benefit plan for active and retired New
 York State employees.
 Purpose: To conform 4 NYCRR 73.12 with Chapter 491 of the Laws of
 2011.
 Text of emergency rule: RESOLVED, That the first paragraph of subdivision
 (b) of section 73.3 of Title 4 NYCRR is hereby amended to read as
 follows:
 73.3(b) Rate of contribution
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                    •                                       •
  The rate of contribution of New York State on account of the coverage
  of its employees, post retirees and their dependents shall be 100 percent of
  the charge on account of individual coverage and 75 percent of the charge
  on account of dependent coverage, except that for the [optional benefit
  plans] Health Maintenance Organization options the State's contribution
  shall not exceed the same dollar amount as is paid by the State under the
  basic benefit plan. Effective October 1, 2011, for those employees
  employed in a title allocated or equated to salary grade 9 or below, the
  State's rate of contribution for such employees and their dependents
   enrolled in the Empire.Plan or a Health Maintenance Organization shall
   be 88 percent of the charge on account of individual coverage and 73
   percent of the charge on account of dependent coverage; provided, .
   however, that for hospital/medical/mental health and substance abuse
   coverage provided under a Health Maintenance Organization, the State's
   rate of contribution shall not exceed 100 percent of its dollar contribution
   for such coverage under the Empire Plan. For employees employed in a
   title allocated or equated to salary grade 10 or above, the State's rate of
   contribution for such employees and their dependents enrolled in the
   Empire Plan or a Health Maintenance Organization shall be 84 percent of
  the charge on account of individual coverage and 69 percent of the charge
  on account of dependent coverage, provided, however, that for hospital/
  medical/mental health and substance abuse coverage provided under a
  Health Maintenance Organization, the State's rate of contribution shall
  not exceed 100 percent of its dollar contribution for such coverage under
  the Empire Plan. Effective October 1, 2011, the rate of contribution on account
  of the coverage of post retirees shall be as follows:
  0) for retirees who retired on or after January 1, 1983, and employees
  retiring prior to January 1, 2012, New York State shall contribute 88
  percent of the charge on account of individual coverage and 73 percent of
  the charge on account of dependent coverage, provided, however, that for
  hospital/medical/mental health and substance abuse coverage provided
  under a Health Maintenance Organization, the State's rate of contribution
  shall not exceed 100 percent of its dollar contribution for such coverage
  under the Empire Plan;
   (ii) for employees retiring on or after January 1, 2012, from a title
 allocated or equated to salary grade 9 or below, New York State shall
 contribute 88 percent of the charge on account of individual coverage and
 73 percent of the charge on account of dependent coverage, provided,
 however, that for hospital/medical/mental health and substance abuse
 coverage provided under a Health Maintenance Organization, the State's
 rate of contribution shall not exceed 100 percent of its dollar contribution
 for such coverage under the Empire Plan;
 (iii) for employees retiring on or after January 1, 2012, from a title
 allocated or equated to salary grade 10 or above, New York State shall
 contribute 84 percent of the charge on account of individual coverage and
 69 percent of the charge on account of dependent coverage, provided,
 however, that for hospital/medical/mental health and substance abuse
 applicable. In the event the provisions of the agreement
 are different from the provisions of this Chapter, the provisions of
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                   •                                      •
 the agreement shall be controlling. The president may, upon [certification]
 approval by the Director of [Employee Relations] the Budget, provide for
 the [supplementation of benefits] extension of the negotiated provisions of
 such agreement, in whole or in part, [provided hereinabove for] to officers
 and employees not in a negotiating unit within the meaning of article 14 of
 the Civil Service Law and may extend provisions regarding the modified
 state cost of premium or subscription charges to such employees or
 retirees.

  This notice is intended to serve only as a notice of emergency adoption.
  This agency intends to adopt this emergency rule as a permanent rule and
  will pUblish a notice of proposed rule making in the State Register at some
  future date. The emergency rule will expire December 25, 2011.
  Text of rule and any required statements and analyses may be obtained
  from: Shirley LaPlante, NYS Department of Civil Service, AESSOB,
 Albany, NY 12239, (518) 473-6598, email: shirley.laplante@cs.state.ny.us
  Regulatory Impact Statement
  1. Statutory authority: Section 160 (1) of the Civil Service Law
  authorizes the President of the State Civil Service Commission to establish
  regulations concerning the eligibility of active and retired employees
  to participate in the health benefit plan authorized by Article XI of the
  Civil Service Law. Section 161-a of the Civil Service Law authorizes the
  President of the State Civil Service Commission to implement those provisions
  of a collective bargaining agreement between the state and an employee
  organization which provide for health benefits in a manner consistent
 with the terms thereof, and to extend such benefits in whole or in part
 to employees not subject to the provisions of such agreement. Section
  167(8) of the Civil Service Law provides that notwithstanding any inconsistent
 provision of law, where and to the extent that a collective bargaining
 agreement between the State and an employee organization provides
 that the cost of premium or subscription charges for eligible employees
 covered by such agreement may be modified pursuant to the terms of such
 agreement, the President of the State Civil Service Commission, upon approval
 of the Director of the Budget, may extend the modified State cost
 of premiums or subscription charges for employees not sUbject to a collective
 bargaining agreement and retirees and shall promulgate the necessary
 rules or regulations to implement this provision.
 2. Legislative objectives: The President of the State Civil Service Commission
 has been granted broad authority to prescribe regulations concerning
 the administration of the health benefit plan authorized by Article XI
 of the Civil Service Law. Consistent with such authority, the President is
 amending the Rules and Regulations of the Department of Civil Service
 with respect to the extension of health plan benefits provided to active and
 retired employees not subject to collective bargaining.
 3. Needs and benefits: Chapter 491 of the Laws of 2011 implements the
 terms of a collective bargaining agreement covering members of the
 Administrative Services Unit, the Institutional Services Unit, and
 Operational Services Unit, and the Division of Military and Naval Affairs
 Unit represented by the Civil Service Employees Association (CSEA).
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                    •                                    •
    The Chapter also establishes terms and conditions of employment for employees
    designated as Management! Confidential (M/C) and other
    unrepresented ernployees. The Chapter provides that modified state cost
    of premium or subscription charges for health insurance coverage may be
    extended to MIC and other unrepresented employees and retirees. The
    Chapter also provides MIC and other unrepresented employees with
    compensation increases, payments, and benefits comparable to negotiated
    increases and benefits for represented employees. This emergency rule
   ensures that the President implements these essential benefits and provisions
    in a timely fashion for MIC and other unrepresented employees and
   retirees in the manner required by the Chapter and in accordance with the
   State's obligations.
   4. Costs:
   a. Cost to regulated parties for the implementation of and continuing
   compliance with the rule: This rule conforms the Regulations of the
   Department of Civil Service with Chapter 491 of the Laws of 2011 and
   relevant provisions of such law will be implemented through ministerial
   acts performed by the New York State Department of Civil Service as
   administrator of the New York State Health Insurance Program. There are
   no specific costs associated with implementation of and continuing
   compliance with this rule.
   b. Costs to the agency, the State and local governments for the
   implementation and continuation of the rule: This rule conforms the
   Regulations of the Department of Civil Service with Chapter 491 of the
   Laws of 2011 and will be implemented through ministerial acts performed
   by the New York State Department of Civil Service as administrator of the
   New York State Health Insurance Program. There are no specific costs to
   New York State associated with implementation and continuation of this
   rule and, as the proposal applies only to certain State employees and
   retirees, it will not impose any costs upon local governments.
   c. The information, including the source(s) of such information, and
   methodology upon which the cost analysis is based: Preliminary estimates
   regarding administrative costs associated with providing the subject
   benefits to M/C and other unrepresented employees and retirees have been
  evaluated by the Department of Civil Service.
   5. Local government mandates: The proposal applies only to certain
   State Classified Service employees and retirees and will not impose any
  mandates upon local governments.
  6. Paperwork: The proposal will not require any new or additional application
  or reporting forms.
  7. Duplication: The proposal does not duplicate or conflict with any
  State or federal requirements.
  8. Alternatives: This rule reflects the only appropriate method of
  implementing the provisions of Chapter 491 of the Laws of 2011 with respect
  to providing MIC and other unrepresented employees and retirees
  with the health plan benefits in the manner required by the Chapter timely
  and in accordance with the State's obligations.
  9. Federal standards: This proposal does not exceed any minimum standards
  of the federal government for the same or similar subject areas.
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  10. Compliance schedule: Compliance will commence automatically
  upon the effective date of this proposal.
  Regulatory Flexibility Analysis
  Since this emergency rule serves only to provide for essential health plan
  benefits for certain M/C and other unrepresented employees and retirees,
  it has no economic impact and places no reporting, recordkeeping or other
  compliance requirements upon small businesses, as defined by Section
  102(8) of the State Administrative Procedure Act, or any local government.
 Therefore, a Regulatory Flexibility Analysis (RFA) is not required by
 Section 202-b of such Act.
  Rural Area Flexibility Analysis
 Since this emergency rule serves only to provide for essential health plan
 benefits for certain M/C and other unrepresented employees and retirees,
 without regard to the geographic distribution of personal residences or
 work locations of such employees and retirees, this emergency rule will
 not impose any adverse economic impact or create reporting, recordkeeping
 or other compliance requirements for public and private entities in rural
 areas, as defined in Section 102(10) of State Administrative Procedure
 Act. Therefore, a Rural Area Flexibility Analysis (RAFA) is not required
 by Section 202-bb of such Act.
 Job Impact Statement
 By modifying Title 4 NYCRR to provide for essential health plan benefits
 for certain M/C and other unrepresented employees and retirees, this emergency
 rule will positively impact jobs or employment opportunities for
 covered employees, as set forth in Section 201-a(2)(a) of the State
 Rule Making Activities NYS Register/October 12,2011
 2
 Administrative Procedure Act (SAPA). Therefore, a Job Impact Statement
 (..liS) is not reqLlired by Section 201-a of such Act.
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                        EXHIBITK
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                               •
                     Retired Public                       EmploYE~es Association,•                                   Inc.
                     4315 NEW KAR..l\'ER ROAD' ALBANY, NY U205 • (518) 8651.2542 • FAX (518) 81i9-41631 e·mail: maU@rpeLorg
                     Stanley Winter, Preeident                                       Michael B ntlllerald, ExecutIve DlJ'ector




                                                                                October 20, 2011

              The Honorable Patricia Hite
              Acting NYS Department of Civil
               Service Commission President
              NYS Department of Civil Service
              Alfre{1 E. Smith State Office Building
              Albany, NY 12239

              CERTIFIED MAIL - RETURN RECEIPT REQUESTED

              Deal" President Hita:

              The Retired Public Employees AssocIation, Inc. (RPI::A) notes the D3partment of
              Civil Service's posting of an Emergency Rule that 'would affect the Health Benefit
              Plan for Active and Retired New York State Employees, I.D. No. CV:3-41-11-
              OOOCI7-E, Filing No..854, flied on September 27,201-1 and to take ef1ect on that
              date, in the State Register, dated October 12, 2011.

             With respect to such "Emergency Rule" providing, in pertinent part, t,at

                    Effective October 1, 2011, the rafe of contribution .. .shall be           tiS   follows:

                             (i) for retirees who retired on or after January 1, 1983, and
                    employees retiring prior to January 1, 2012, New York State ~hall
                    contribute 88 percent of the charge on account of individual c1)verage and
                    73 percent of the charge on account of dependent coverage ..., and
                           (ii) for employees retiring on or after January 1, 2012, from a titla
                    allocated or equated to salary grade 9 or below, New York State shall
                    contribute 88 percent of the charge on account of individual c1")verage and
                    73 percent of the charge on account of dependent coverage, ...and
                           (iii) for employees retiring on or after Jelnuary 1, 2012, Tom a title
                    allocated or equated to salary grade 10 or above, New York ,E,:tate shall
                    contribute 84 percent of the charge on account of individual c1)Vsrage and
                    69 percent of the charge on account of dependent coverage ....
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                       •                                           •
     RPEA, on behalf of retirees of the State as an employer and their dependents in
     general and its members who are retlrees of the Statl3 as an employE,r and their
     dependents in particular, objects to the adoption of such provisions for the
     following reasons:

                                             POINT I

     Except as otherwise provided by an agreement betwl3en the State arid an
     employee organization entered into pursuant to Article fourteen of thu Civil
     Service Law, Section 167.1 (a) requires the State to contribute nine-tElnths of the
     cost of premiums or subscription charges for health insurance covemge of each
     such State employee or retired State employee and three-quarters 0': the cost of
     premium or SUbscription charges for the coverage of dependents of fiuch State
     employees and retired State employee except as otherwise provided by Section
     167.1 (a).

     Suffice it to note that "It is well-settled that a State re!~ulation should>e upheld if
     it ha~l a rational basis and is not unreasonable, arbitr:3ry, capricious Clr contrary
     to the statute under which it was promulgated" (siee Kuppersmitfl v Dowling,
     93 NY2d 90,96) [emphasis supplied].

     Clearly the Emergency Rule CVS-41-11-00007-E and, presumably, n final rule
     that would track Emergency Rule CVS-41-11-00007·-E "is contrary tc the statute
     undm which it was promulgated" with insofar as it requires a retiree of the state
     as the employer to pay more than (1) 10% of the heellth insurance premium for
     individual health insurance coverage and (2) 25% of the health insur:mce
     premium for dependent health insurance coverage.

                                            POINT II

     Assliming, but not conceding, that Civil Service Law §167.8 as relieel upon by the
     President as authority for promulgating the changes set out in CVS-oI~1-11-00007­
     E is viable, nothing in the "memorandum in support" of Senate 5486 which was
    sign/3d into law as Chapter 491 of the Laws of 2011, and which, in pl~rtinent part,
    amended Section 167.8, suggests that this amendment was to apply to a retiree
    of the State as the employer.
    Indeed, the consistent theme, as demonstrate in the Sponsors Merrorandum's
    reference the amendment of CSL §167.8, is that the provision would apply with
    respect to "employer and employee" shares of the cost of health insurance and
    comipicuous by its absence is any reference to "retirees." The Spon:;or's
    Memorandum states:




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                                   •                                     •
              "Section 2 of Part A of this law amends Civil Service Law § 167(8) to provide
              autllority to modify the employer and employee shares of health premium
              and sUbscription costs under the New York State Health Insurar.ce Plan."
              (emphasis supplied)

              As t~le Sponsor's Memorandum further explains, the bill is intended tl) apply as
              follows:
                      ·Part B of this bill provides the State's approxirnately 12,000
                      unrepresented employees who are prohibited from collectivEI
                      negotiations by the Taylor Law, Including managerial or confidential
                     ("M/e") employees, with benefits and Increases in compensation at levels
                     that are comparable to the benefits and increases in compensation
                      received by employees represented by emplo~(ee organizations."
                     [emphasis supplied]

              Again, the phrasing of the Sponsor's Memorandum - ·provldes the ~tate's
              approximately 12,000 unrepresented employees" - clearly neither cc ntemplates
             nor implies that retirees of the State as the employer are to be subjei:ted to the
             extension oftl1e terms negotiated in the course of collective bargaini 19 pursuant
             to Article 14 of the Civil Service Law with respect to any ratio of healih insurance
             contributions by the State and its employees in such collective bargaining unit in
             contrast to the President, with the approval of the Director of the Bue get, electing
             to promulgate a rule, regulation or policy under color of §167.8 extending such
             prOVisions to managerial or confidential employees and unrepresentod
             employees.

                                                       POINT III

             Assuming, arguendo, that in some way §167.S is deomed applicable to retirees
             of the State as an employer, such application would be prospective only,
             applying to those employees of the State retiring on 1)( after the claimed effective
             date, September 27, 2011, of the emergency rule as was the case \0\1 hen
             §16i'.1(a) was amended in 1983.
                                                   U
            The "prospective application of changes in retiree contributions for tlealth
            insul'ance is reflected in both the Bill Jacket concerning the measure that was
            sign(3d into law as Chapter 14 of the Laws of 1983. a, "Governor's Pngram 8i11,·
            enacting the amendment to Civil Service Law, Seeticln 167.1 (a) charlging the
            ratio of employer and employee contributions for heEllth insurance prospectively
            as of January 1, 1983 with respect to employees of the State as the employer
            retiring on or after January 1, 1983 and continUing in place the supel'jor
            contribution ratios for those retirees of the State as the employer retiring on or
            before December 31, 1982,




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                       '.                                    •
     In a letter to you dated, September 14, 2011, RPEA offered a proposed
     ame/ldment to the President's Rules which should hElve been promu gated
     instead of the above Emergency Rule. For the abovE3 reasons, and tJr the
     reasons stated in our letter of September 14, 2011, FlPEArespectfully requests
     an immediate withdrawal of the Emergency Rule and promulgation of our
     suggested proposed amendment which would be consistent with legi31 and
     historical precedent as we have painstakingly demonstrated.

                                                   Since/rely,



                                                   Alan Oorn
                                                   Executive Director

     GC;   Comptroller DiNapoli




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        RANDALL AFFIDAVIT
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                   •                                 •
STATE OF NEW YORK
SUPREME COURT: COUNTY OF ALBANY
                                                     AFFIDAVIT OF
                                                     HARVEY RANDALL

Retired         Public           Employees
Association, Inc.; Stanley Winter,
as an individual and President,                      A,LBANYCOUNTY
Retired-------- Publ ic------ -····Emp-.loyees-- .   INDEX-NO:--- -
Association, Inc.; Alan Dorn, as an
individual and Execu tive Director,                  RJI NO.
Retired         Public          Employees
Association, Inc.; Bon.. Jules L.
Spodek;   Bon.   David R.       Townsend;
Belen M. Bulson; Victor L. Costello;                 BON.
Joy Godin; Francis Hamblin; A. Joanne
Lantz; William C. MOore; John H.
Neary; David B. Smingler; Kathleen
Stal~er; and Frosine Stolis,


            Plaintiff-Petitipners,

      -Against-

Hon. Andrew Cuomo, Governor, State
of   New   York;   New    York   State
Department of Civil Service; New
York     state      Civil      Service
Commission; Patricia Bite, Acting
President;   New York State Civil
Service Commission; New York State
Health   Insurance   Program;    State
Director of the Budget;·- Di.rector of
Employee     Relations,     Governors
Office of Employee Relations; and
New York State Comptroller, as a
necessary party,

            Defendant-Respondents.




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                        •                                          •
Harvey Randall, being duly sworn, deposes and says that the following statements are true and

correct under the penalties of perjury:



I.    I hold a Bachelor ofArts degree from City College ofNew York, a Master of Public

Administration degree from The Maxwell Graduate School of Public Affairs, Syracuse

University and a Juris Doctor degree from Albany Law School. I was admitted to practice before

New York State courts of record and the United States District Court, Northern District ofNew

York, in 1969.


2.    I began service as an employee of the State of New York in July 1954 as a Public

Administration Intern and subsequently served in various positions with the New York State

Department of Civil Service during the period September I, 1954 through July 14, 1960. I then

served in various capacities with the Central Administration of the State University of New York,

including serving as Director of State University Personnel for the State University of New York

System, from September 21, 1960 until I accepted an appointment as Director of Research,

Office of Employee Relations [now known as the Governor's Office of Employee Relations],

effective October 21, 1971. I served in that capacity until March 3, 1976, whereupon I returned

to the New York State Department of Civil Service to serve in various capacities with the

Department's Office of Counsel, ultimately retiring from the position of Principal Attorney, New

York State Department of Civil Service, effective July 10, 1987.




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3.
                          •                                        •
        Since retiring in 1987 I have published New York Public Personnel Law, a "LawBlog"

focusing on New York Public Personnel Law [http://publicpersonnellaw.blogspot.com]. I have

also authored several books and have served as an expert witness and consultant concerning

matters involving the New York State civil service law and related laws. The books I have co-

authored include The Discipline Book, a Concise Guide to Discipline in the New York State

Public Service, 2009; Layoff, Preferred Lists, and Reinstatement, 2011; and The General

Municipal Law Section 207-a and 207-c Case Book, 2011. I have written a number of articles

addressing New York State civil service law matters that have been published in Municipal

Lawyer, a joint publication of the Municipal Law Section of the New York State Bar Association

and the Edwin G. Michaelian Municipal Law Resource Center of Pace University: Leaves of

Absences for Disability Pursuant to Civil Service Law Sections 71 and 72 [Vol. 25, #2 (Spring

2011)]; Appointment to Positions in New York State's Civil Service [Vol. 24, No.4 (Fall 2010)];

and The Anatomy ofa Layoff [Vol. 21, No.3 (Summer 2009)].


4.      I am familiar with the laws, rules and regulations providing for and controlling the State of

New York's health insurance plan for employees and retirees of the State ofNew York as an

employer.


5.     Article 14 of the Civil Service Law, typically referred to as the Taylor Law, was enacted

during the administration of Governor Nelson A. Rockefeller and took effect September 1, 1967,

which statute, for the fIrst time, provided for collective bargaining between the State ofNew

York as an employer and duly recognized or certifIed employee organizations representing State

employees in designated collective bargaining units. I recall that while I was serving as Director


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 of Research of the Office of Employee Relations, now the Governor's Office of Employee

Relations [GOER], negotiations were conducted between the State of New York and the several

employee organizations representing employees in the several collective bargaining units

established pursuant to the Taylor Law.


6.    The Office of Employee Relations, where I served as Director of Research, was responsible

for negotiating collective bargaining agreements with the employee organizations representing

employees in such negotiating units.


7.    I recall that in the course of these initial collective negotiations there were discussions with

key officials of the Executive Chamber, the Division of the Budget and the Department of Civil

Service concerning the fact that the officers and employees of the State designated as managerial

or confidential within the meaning of the Taylor Law were excluded from representation for the

purpose of collective bargaining. Thus, management or confidential employees would not be

eligible to receive the benefit of negotiated terms and conditions of employment as a matter of a

negotiated collective bargaining agreement.


8.    I recall that in response to these concerns ajoint statement or memorandum was signed by

then Secretary to the Governor AI Marshall, Budget Director T. Norman Hurd and Civil Service

Commission President Ersa Poston, [frequently then referred to as Governor's Negotiating

Committee] and endorsed by the then Director of the [Governor's] Office of Employee

Relations, Abe Lavine, stating that such managerial and confidential employees would be

provided for in a manner similar to employees in collective bargaining units of the State with



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                         •                                         •
respect to the terms and conditions of their employment as officers and employees of the State.

On information and belief, this statement or memorandum was published and the Office of

Employee Relations distributed it to personnel directors or directors of employee relations in the

various State departments and agencies, which officials were then to provide a copy to State

officers and employees designated managerial or confidential and officers and employees in an

unrepresented status within the meaning of the Taylor Law employed their respective

organizations.


9.     I believe that this intent was reflected in Civil Service Law 161-a(1). "Implementation of

negotiated agreements", wherein it is provided as follows:


"Where, and to the extent that, an agreement between the state and an employee organization
entered into pursuant to article fourteen of this chapter provides for health benefits, the president,
after receipt of written directions from the director of employee relations, shall implement the
provisions of such agreement consistent with the terms thereof and to the extent necessary shall
adopt regulations providing for the benefits to be thereunder provided. The president, with the
approval of the director of the budget, may extend such benefits, in whole or in part, to
employees not subject to the provisions of such agreement." [Emphasis supplied.]



10. Insofar as Subdivision 8 of Section 167 of the Civil Service Law prior to its amendment by

Chapter 491 of the Laws of2011 addressed the extension of such benefits to retirees of the State

as the employer, it is significant to note that Section 167.8 provided:


"Notwithstanding any inconsistent provision of law, where and to the extent that an agreement
between the state and an employee organization entered into pursuant to article fourteen of this
chapter so provides, the state cost of premium or subscription charges for eligible employees
covered by such agreement may be increased pursuant to the terms of such agreement and for a
duration provided by such agreement and pursuant to rules and regulations as may be established



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by the president. Such increase in state cost shall only apply during the period if eligibility
provided by such agreement and shall not be applied during retirement. [Emphasis supplied.]

   11. Civil Service Law 167.1(a), entitled "Contributions", governs the ratio of the

       contributions, if any, which must be made by retirees and by the State on behalf of its

       retirees for their health insurance premiums.. Civil Service Law 167.1(a) provides that

       State employees who retired prior to January I, 1983 do not contribute payment for their

       "individual" health insurance premiums and the State pays the full cost of health

       insurance premiums for individual coverage for employees who retired prior to January

       1, 1983. Section 167.1 (a) further provides that the State shall pay 90% of the retiree's

       health insurance premium for individual coverage on behalf of State employees who

       retired on or after January 1, 1983 while the retiree is to contribute 10% of the cost of

       their health insurance premiums for individual coverage. Insofar as the ratio of retiree-

       employer contributions for dependent health insurance premiums with respect to

       employees of the State retiring on or after January 1, 1983 is concerned, Section 167.1 (a)
                                                                                "




      requires the State to pay 75% and the retiree to pay 25% of the premium for such

      dependent coverage.


       12. The percentage of contributions paid by State retirees who retired on or after January

       1, 1983 for health insurance premiums has remained governed by Section 167.1 (a) from

      January 1, 1983 to the present.


      13. Pursuant to a Message of Necessity dated June 22, 2011, and prior to the ratification

      of new collective bargaining agreements between the State and two of its largest unions,



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        the Civil Service Employees Association and the Public Employees Federation by its

        members on August 16,2011 and November 3, 2011 respectively, on June 22 the Senate

        and on June 23 the Assembly passed Senate 5846 [Assembly A8513) amending the

        provisions of Section 167.8 of the Civil Service Law, which measure was thereafter

        signed into law by the Governor as Chapter 491 of the Laws of 20 lIon August 17, 2011,

        and reads as follows, [deleted provisions in brackets and struck thfOHgh; new material

        underlined] :


           8. Notwithstanding any inconsistent provision of law, where and to the extent that an
agreement between the state and an employee organization entered into pursuant to article
fourteen of this chapter so provides, the state cost of premium or subscription charges for
eligible employees covered by such agreement may be [increased] modified pursuant to the
terms of such agreement [and for a dl:lfation provided By SHeft agreement and pl:lfsuant to FI:lles
and regulations as may Be estalJlished By the president. Such increase in state cost shall oB:ly
apply durJlg the period of eligibility provided By sHeh agreement a:ad shall not be applied
dl:l:fing retirement]. The president, with the approval of the director of the budget, may extend
the modified state cost of premium or subscription charges for employees or retirees not
subject to an agreement referenced above and shall promulgate the necessary rules or
regulations to implement this provision.




14. The Sponsor's Memorandum in support of both Senate 5846 and Assembly 8513 amending

Section 167.8 as recited herein above clearly explains that the amendment was intended to apply

to officers and employees of the State as the employer not subject to the tenns of a negotiated

agreement, but does not refer to "retiree" therein, directly or indirectly.


In the words of the Sponsor's Memorandum:

"Section 2 of this part amends Civil Service Law §167(8) to provide authority to modify the
employer and employee shares of health premium and subscription costs under the New York
State Health Insurance Plan." [Emphasis supplied.]


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                        •                                         •
Referring to "Part B" of the bill, the Sponsor's Memorandum continues:

PART B OF THE BILL:

"This part of the bill establishes terms and conditions of employment for   Mle and other
unrepresented employees." [Emphasis supplied.]

The term "M/C" is typically used when referring to "managerial and confidential employees"

within the meaning of the Taylor Law.


15. The State Legislature, which is presumed to be aware of its mandates with respect to retirees

of the State and their dependents as set out in Section 167.1 (a) of the Civil Service Law, did not

amend 167.1 (a) of the Civil Service Law in 2011. While the 2011 amendment to section 167.8

includes the word "retirees" within the ambit of the subdivision, considering the legislative

history of 167.8 insofar as retirees of the State as an employer are concerned, I conclude that the

only way to harmonize and give full force and effect to Civil Service Law Sections 161-a,

167.1(a) and 167.8 insofar as persons retired or retiring from the State as an employer are

concerned is that the legislative intent in amending Section 167.8 was to limit the authority ofthe

President of the Civil Service Commission to electing to extend the modified state cost of such

premium. or subscription charges to employees or retirees not subject to the terms of a

bargaining agreement negotiated in 2011 [1] to employees in the relevant negotiating unit

retiring during the term of the controlling collective bargaining agreement and [2] to those State

officers and employees not subject to the terms and conditions of employment set out in a

collective bargaining agreement retiring during the term of the relevant collective bargaining

agreement.




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                       •                                              •
16. In my opinion nothing in the history of either Civil Service Law section 161-a or section

167.8 remotely suggests that provisions set out in a collective bargaining agreement negotiated in

2011 were intended to result in a diminution or reduction of the ratio of the State's contribution

for health insurance premiums set out in §167.1(a) for individuals and their dependents already

retired from State as an employer but clearly indicates that the terms and conditions of such

agreements would be controlling only with respect to individuals in the several relevant

collective negotiating units retiring on or after the effective date of the collective bargaining

agreement and could be extended, at the discretion of the President of the Civil Service

Commission with the approval of the Director of the Budget, to officers and employees of the

State excluded from collective bargaining within the meaning of the Taylor Law retiring on or

after the effective date of the relevant collective bargaining agreement. In other words, it was not

the Legislature's intent to have the President of the Civil Service Commission, by rule or

regulation or policy, extend the terms of a collective bargaining agreement negotiated in 2011

retroactively to persons who retired on or after January 1, 1983 and prior to October 1, 2011 but

only prospectively, Le., to those employees retiring on or after October 1,2011.


DATED:    ~bany, New York
          December 7, 2011




Sworn to before me this                                                ffInciII A. FIIftCh
7~ day of December, 2011                                        NI;IIarY NIIIc.   sa. of New Vcn
                                                                    Reg. No. 01fR4163486


~q.~
                                                                 QuaIItIed-J' SInIIDP County
                                                            My COim*slan 6p1r1S0Ct0bIr 17. 201..   cj
NOTARY PUBLIC


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                          •                                  •
                                                             ..
                                                                  ~/
                                                                       :


                                          VERIFICATION

STATE OF NEW YORK                     )
                                      ) SS.:
COUNTY OF       ALM"Y_,__             )

      STANLEY WINTER, being duly sworn,                  deposes and says that the
following statements are true:

      Deponent is a plaintiff-petitioner in the annexed complaint                w


petition;   deponent has   read the    foregoing complaint-petition
seeking to declare that the administrative implementation of an
increase in the percentage of contribution for heal th insurance
coverage payable by current New York State retirees enrolled in the
New York State Health Insurance Plan (NYSHIP) allegedly effective
on October 1, 2011 is invalid and null and void, and declaring that
the emergency regulation published on October 12, 2011 by the New
York State Department of Civil Service purportedly implementing the
increase in the percentage of contribution for health insurance
coverage payable by current New York State retirees enrolled in
NYSHIP, and any regulations with similar import which may be
promulgated, are invalid and null and void; the same is true to my
own knowledge, except as to matters alleged upon information and
belief, and as to these matters, deponent believes them to be true;
the grounds of my knowledge and information and belief are based on
the notification received from the Department of Civil Service, the
publication of the emergency regulation in the state Register, the
documents attached to the complaint-petition, conversations I have
had with others, and my knowledge and experience.


                                                      ST~~
Sworn to before me this
 2/:)'#-1- day 0 f ,J~ "EJ1 Br;t...            2011
                   ---.....;.~=--=------




       ANTHONY S. CANTORE
   Notary Public. State of New York
     Residing in Albany County
My Commission Expires Sept. 30. ~
    Registration #02CA4t;OB184      '
  Case 1:12-cv-00046-MAD-CFH Document 10-3 Filed 03/01/12 Page 160 of 236



                         •                                        ."
                                                                   t




                                        VERIFICATION

STATE OF NEW YORK                  }
                                   } SS.:
COUNTY    OF    !1LSAri Y          }



          ALAN DORN, being duly sworn,                     deposes and says that the
following statements are true:

      Deponent is a plaintiff-petitioner in the annexed complaint-
petition;   deponent  has  read the foregoing     complaint-petition
seeking to declare that the administrative implementation of an
increase in the percentage of contribution for health insurance
coverage payable by current New York State retirees enrolled in the
New York State Health Insurance Plan (NYSHIP) allegedly effective
on October 1, 2011 is invalid and null and void, and declaring that
the emergency regulation published on October 12, 2011 by the New
York State Department of Civil Service purportedly implementing the
increase in the percentage of contribution for heal th insurance
coverage payable by current New York state retirees enrolled in
NYSHIP, and any regulations with similar import which may be
promulgated, are invalid and null and void; the same is true to my
own knowledge, except as to matters alleged upon information and
belief, and as to these matters, deponent believes them to be true;
the grounds of my knowledge and information and belief are based on
the notification received from the Department of Civil Service, the
publication of the emergency regulation in the State Register, the
documents attached to the complaint-petition, conversations I have
had with others, and my knowledge and ~ ~                     _


                                                   )"lAN   DORN


Sworn to before me this
 30""'" day of 1'h"91~€~                    2011




       AN"rHONY S. CANTORE
   Notary Public, State of New York
     Residing in Albany County
My Commission Expires Sept. 30 ,lD 13
    Registration #02CA4508184--
  Case 1:12-cv-00046-MAD-CFH Document 10-3 Filed 03/01/12 Page 161 of 236


                          •-'   '
                                                                .'
                                           VERIFICATION

STATE OF NEW YORK                      )
                                       ) SS.:
COUNTY OF       AU3llnt__              )



          VICTOR L. COSTELLO, being duly sworn,                       deposes and says
that the following statements are true:

      Deponent is a plaintiff-petitioner in the annexed complaint-
petition;   deponent has read the     foregoing complaint-petition
seeking to declare that the administrative implementation of an
increase in the percentage of contribution for health insurance
coverage payable by current New York State retirees enrolled in the
New York State Health Insurance Plan (NYSHIP) allegedly effective
on October 1, 2011 is invalid and null and void, and declaring that
the emergency regulation published on October 12, 2011 by the New
York State Department of civil Service purportedly implementing the
increase in the percentage of contribution for health insurance
coverage payable by current New York State retirees enrolled in
NYSHIP, and any regulations with similar import which may be
~romulgated, are invalid and null and void; the same is true to my
own knowledge, except as to matters alleged upon information and
belief, and as to these matters, deponent believes them to be true;
the grounds of my knowledge and information and belief are based on
the notification received from the Department of Civil Service, the
publication of the emergency regulation in the State Register, the
documents attached to the complaint-petition, conversations I have
had with others, and my knowledge and ~ t : ~


                                                       VICTOR L. COSTELLO


Sworn to before me this
 .:30 ~ day of NOlfpt 8~                        2011




       ANTHONY S. CANTORE
   Notary. PUbli~. State of New York
     Aes!dl':"9 In Albany County
My Com":llssl~n Expires Sept. 30. ~ 6/.1
     Registration #02CA450S184-
  Case 1:12-cv-00046-MAD-CFH Document 10-3 Filed 03/01/12 Page 162 of 236



                          •                          •
                                      VERIFICATION

STATE OF NEW YORK                )
                                 ) SS.:
COUNTY OF     AUAtlt/            )
                      I
           FROSINE STOLIS, being duly sworn,         deposes and says that
the following statements are true:

      Deponent is a plaintiff-petitioner in the annexed complaint-
petition;   deponent  has  read the    foregoing complaint-petition
seeking to declare that the administrative implementation of an
increase in the percentage of contribution for health insurance
coverage payable by current New York State retirees enrolled in the
New York State Health Insurance Plan (NYSHIP) allegedly effective
on October 1, 2011 is invalid and null and void, and declaring that
the emergency regulation published on October 12, 2011 by the New
York State Department of Civil Service purportedly implementing the
increase in the percentage of contribution for health insurance
coverage payable by current New York State retirees enrolled in
NYSHIP, and any regulations with similar import which may be
promulgated, are invalid and null and void; the same is true to my
own knowledge, except as to matters alleged upon information and
belief, and as to these matters, deponent believes them to be true;
the grounds of my knowledge and information and belief are based on
the notification received from the Department of civil Service, the
publication of the emergency regulation in the State Register, the
documents attached to the complaint-petition, conversations I have
had with others, and my knowledge and experience.




Sworn to before me this
3"~ day of     ~.It.", /5'EL.             2011




      NOT      PUBLIC

      ANTHONY S. CANTORE
   Notary Public, State of New York
     Residing in Albany County
My Commission Expires Sept. 30, ~
    Registration #02CA4508184
     Case 1:12-cv-00046-MAD-CFH Document 10-3 Filed 03/01/12 Page 163 of 236



                                                                    '.
                                         VERIFICATION


STATE OF NEW YORK)
                   ) SS::
COUNTY OF._ ~I..~~ )


         LEWIS B.          OLIVER,    JR.,    ESQ.,     an attorney duly admitted to
the practice of law in the courts of New York State, with law
offices at 156 Madison Avenue,                        Albany,     New York affirms         under
the penalties of perjury that the following statements are true:
         1.        I am an attorney duly admitted to the practice of law
in the courts of New York State,                           and am the attorney for the
Plaintiffs-Petitioners,                 Retired       Public       Employees       Association,
Inc.,         et    al.,    herein.       I    have     read      the     foregoing     Verified
Petition dated November 30,                    2011 concerning the implementation
of an increase in the percentages of the contributions payable
by retirees of the State of New York who retired on or after
January 1, 1983 and prior to October 1, 2011; the same is true
to      my     own     knowledge,       except        as     to    matters       alleged    upon
information and belief, and as to those matters, I believe them
to     be     true;    the    grounds    of my        knowledge and information              and
belief        are     the    exhibits        attached       to    the    complaint-petition,
documents obtained from plaintiff-petitioners,                                and documents in
my legal files pertaining to this matter.                               This verification is
made by affirrnant because the plaintiff-petitioners Hon.                                  Jules
L.     Spodek, Hon. David R. Townsend, Helen M. Bulson,                             Joy Godin,
Francis        Hamblin,      A.   Joanne       Lantz,      William       C.    Moore,   John H.
Neary, David B. Smingler, and Kathleen Stallmer are not located
in Albany County where affirmant has his law office.

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                 •                              ••
DATED:    Albany, New York
          December 7, 2011


                                  LEWIS B. OLIVER, JR., ES •
                                  Oliver Law Office
                                  Attorney for Plaintiff-Petitioners
                                  156 Madison Avenue
                                  Albany, New York 12202
                                  518-463-7962




                                  -2-
Case 1:12-cv-00046-MAD-CFH Document 10-3 Filed 03/01/12 Page 165 of 236
                             Co         t, County of                                                   Year


STATE OF NEW YORK
SUPREME COURT: COUNTY OF ALBANY
Retired public Employees Association. Inc.; Stanley Winter. as an individual and President.
Retired Public Employees   Association. Inc.; Alan Dom. as an individual and Executive
Director. Retired Public Employees Association. Inc.; Hon. Jules L. Spodek; Hon. David R.
Townsend; Helen M. Bulson; victor L. Costello; Joy Godin; Francis Hamblin; A. Joanne Lantz;
William C. Moore; John H. Neary; David B. Smingler; Kathleen Stallmer; and Frosine Stolis.

                 Plaintiff-Petitioners.

        -Against-

Hon. Andrew Cuomo. Governor. State of New York; New York State Department of Civil Service;
New York State Civil Service Commission; Patricia Hite. Acting President. New York State
Civil Service Commission; New York State Health Insurance Program; State Director of the
Budget; Director of Employee Relations. Governor' s Office of Employee Relations; and New
York State Comptroller as a necessary party.




   NOTICE OF PETITION, SUMMONS, AND VERIFIED COMPLAINT-PETITION




                                               LEWIS B. OLIVER, JR., ESQ.
                                               Attorney for Plaintiff-Petitioners
                                               office and Post Office Addreu

                                               156 Madison Avenue
                                               Albany, New York   12202
                                                l:;1A_4fi":\-7qfi2
                              a
   Due and timely service of copy of the within                                                      is hereby admitted.
   Dated,
   Attorney(s) for

   (NOTICI! OF ENTRY)
   Sir: -Please tak,e notice that the within is a true copy of a

   duly entered in the office of the clerk of the within named court on
   (NOTICE OP SETT\.EMINT)
   Sir:-Please take notice that an order of which the within is a true copy will be presented for settlement to the
   Hon.                                                             one of the judges of the within named Court,
   at
   on the          day of                                                 at              M.
   Dated,                             Yours, etc.


   To

   Attomey(s) for                                                              Office and Post Office Address
          Case 1:12-cv-00046-MAD-CFH Document 10-3 Filed 03/01/12 Page 166 of 236




        STATE OF NEW YORK
        SUPREME COURT: COUNTY OF ALBANY


        Retired Public Employees Association, Inc.; Stanley Winter, as an individual and
        President, Retired Public Employees Association, Inc.; Alan Dorn, as an individual and
        Executive Director, Retired Public Employees Association, Inc.; Hon. Jules L. Spodek;
        Hon. David R. Townsend; Helen M. Bulson; Victor L. Costello; Joy Godin; Francis
        Hamblin; A. Joanne Lantz; William C. Moore; John H. Neary; David B. Smingler;
        Kathleen StaHmer; and Frosine Stolis,

                                                      Plaintiff-Petitioners,

              -Against-

        Hon. Andrew Cuomo, Governor, State of New York; New York State Department of Civil
        Service; New York State Civil Service Commission; Patricia Hite, Acting President, New
        York State Civil Service Commission; New York State Health Insurance Program; State
        Director of the Budget; Director of Employee Relations, Governor's Office of Employee
        Relations; and New York State Comptroller as a necessary party,

                                                      Defendant-Respondents.




                               ALBANY COUNTY INDEX NO. 7586-11


         PLAINTIFF-PETITIONER'S MEMORANDUM OF LAW



                                               LEWIS B. OLIVER, JR., ESQ.
                                               Oliver Lalt Office
                                               Attorneys tor Plaintiffs-Petitioners
:   '                                          156 Madis~n Avenue
                                               Albany, New York 12202
                                               518-463-7962
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                             PRELIMINARY STATEMENT

       This is a memorandum of law in behalf of the plaintiff-petitioners in this combined

Article 78 proceeding and action for a declaratory judgment which is returnable in Special

Term, Supreme Court, Albany County, located at the Albany County Courthouse, 16 Eagle

Street, Albany, New York at 9:30 AM on February 17,2012.

       This is a combined declaratory judgment action pursuant to CPLR 3001 and CPLR

Article 78 proceeding to declare that implementation of an increase in the percentages of

the contributions payable by retirees of the State of New York who retired on or after

January 1, 1983 and prior to October 1,2011 (hereafter "retirees") and are participating in

the New York State Health Insurance Plan (hereafter NYSHIP), from 10% of the cost of

premiums for individual medical coverage to 12%, and from 25% of the cost of premiums

for dependent coverage to 27%, violates Civil Service Law 167(1)(a) and the Due Process

Clause of the United States and New York State Constitution and other statutory and

constitutional provisions.

       The relief requested herein is a final judgment and order pursuant to CPLR 3001

and CPLR Article 78 containing the following relief:

       (a)    Declaring that the administrative implementation of an increase in the
              percentages of the contributions for medical benefits under NYSHIP payable
              by State retirees and/or their dependents participating in NYSHIP in excess
              of that set forth in Civil Service Law 167(l)(a) allegedly effective on October
              1,2011 is invalid and null and void; and

       (b)    Declaring that the emergency regulation filed on September 27, 2011, and to
              take effect on October 1, 2011, and published in the State Register in an issue
              dated October 12,2011 promulgated by the New York State Department of
              Civil Service purportedly implementing the increase in the percentages of
              contributions for NYSHIP by retirees participating in NYSHIP is invalid and
              null and void; and

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       (c)    Granting a preliminary and permanent injunction prohibiting the
              defendant-respondents or any of the their officers, agents, or employees from
              implementing the October 1, 2011 increases in the percentages of the
              contributions for health insurance benefits under NYSHIP by retirees
              participating in NYSHIP and enjoining the said defendant-respondents from
              implementing the proposed amended regulations published in the State
              Register on December 14, 2011; and

       (d)    Directing that any increases for NYSHIP paid by State retirees since October
              1, 2011 under color of the notification and/or said emergency regulation be
              refunded; and

      (e)     For the costs and disbursements of this action; and

      (f)     For such other and further relief as the Court may deem just and proper.


                                 STATEMENT OF FACTS

      New York State Civil Service Law Article 11 governs health insurance for civil

service employees and retirees in New York State.

      Civil Service Law 165, entitled "Termination of active employment", provides that

the health benefit coverage of any employee and his or her dependants shall cease upon the

discontinuance of his or her term of office or employment, subject to regulations which

may be promulgated or prescribed by the President of the Civil Service Commission.

       Civil Service Law 163(3), in pertinent part, provides that:

      "The President shall adopt regulations prescribing the conditions under
      which an employee or retired employee may elect to participate in or
      withdraw from the plan ... [upon] from a retirement or pension plan or
      system administered and operated by the State of New York, or a civil
      division thereof, including the New York State Teachers' Retirement system
      and the optional retirement programs established under Article 3 Part V,
      and Article 8-b of the Education Law."

      Civil Service Law 167(1)(a), entitled "Contributions", governs contributions, if any,


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which must be made by retirees for their health insurance benefits. Civil service Law

167(1)(a) provides, in pertinent part, as follows:

       "The full cost of premium or subscription charges for the coverage of retired
       state employees who are enrolled in the statewide and the supplementary
       health benefit plans established pursuant to this article and who retired prior
       to January first, nineteen hundred eighty-three shall be paid by the state.
       Nine-tenths of the cost of the premium or subscription charges for the
       coverage of state employees and retired state employees retiring on or after
       January first, nine-teen hundred eighty-three who are enrolled in the
       statewide and supplementary health benefit plans shall be paid by the state.
       Three-quarters of the cost of premium or subscription charges for the
       coverage of dependents of such state employees and retired state employees
       shall be paid by the state."

       A copy of the pertinent parts of the Bill Jacket for Laws of 1983 Chapter 14, which

enacted Civil Service Law 167(a)(I) with the current percentage contribution scheme for

medical benefits for retirees, is attached to the complaint-petition as Exhibit A.       The

provisions of Civil Service Law 167(1)(a) have been implemented in the regulations of the

Civil Service Commission at 4 NYCRR Part 73, which has language parallel to the statute.

       Under the statute, retired State employees who retired prior to January 1, 1983 do

not contribute payment for their health insurance coverage as an individual, and the State

pays the full cost of health insurance benefits for employees who retired prior to January 1,

1983. The statute also provides that State employees who retired on or after January 1,

1983 contribute 10% of the cost of their health insurance premiums for individual

coverage, and 25% of the cost for dependent coverage; the State pays the remaining 90%

for individual coverage and 75% for dependent coverage.

       The plaintiff-petitioners herein, Stanley Winter, Alan Dorn, Hon. Jules L. Spodek,

Hon. David R. Townsend, Helen M. Bulson, Victor L. Costello, Joy Godin, Francis


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Hamblin, A. Joanne Lantz, William C. Moore, John H. Neary, David B. Smingler,

Kathleen Stallmer, and Frosine Stolis are all retirees who were retired from State service

after December 31, 1982 but prior to October 1, 2011, and since their retirements, pursuant

to the mandates of Civil Service Law 167(1)(a), the contribution percentages of all said

plaintiff-petitioners for their NYSHIP coverage has been at the statutory rate of 10% for

individual coverage and, where appropriate, 25% for dependent coverage.

       Civil service Law 161-a entitled "Implementation of Negotiated Agreements"

provides that, should an agreement between the State and an employee organization

provide for health benefits, the President of the Civil Service Commission, after receipt of

written directions from the Director of Employee Relations, shall implement the provisions

of the contract by the adopting regulations and, with the approval of the Director of the

Budget, the President may extend such benefits to employees not subject to the agreement

[emphasis supplied]. Civil Service Law 161-a provides as follows:

       "Where, and to the extent that, an agreement between the state and an
       employee organization entered into pursuant to article fourteen of this
       chapter provides for health benefits, the president, after receipt of written
       directions from the director of employee relations shall implement the
       provisions of such agreement consistent with the terms thereof and to the
       extent necessary shall adopt regulations providing for the benefits to be
       thereunder provided. The president, with the approval of the director of the
       budget, may extend such benefits, in whole or in part, to employees not
       subject to the provisions of such agreement.

      2. Insofar as the provisions of this section are inconsistent with any other act,
      general or special, or any rule or regulation adopted thereunder, the
      provisions of this section shall be controlling and insofar as the regulations
      promulgated by the president pursuant to subdivision one of this section are
      inconsistent with any rule or regulation, the provisions of such regulations
      shall be controlling.

      3. There is hereby created a council on employee health insurance to

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       supervise the administration of changes to the health benefit plan negotiated
       in collective negotiations and to provide continuing policy direction to
       insurance plans administered by the state the provisions of any other law to
       the contrary notwithstanding. The council shall consist of the president, the
       director of the division of the budget, and the director of employee relations."

       (Added L.1979, c. 307, §19. Amended L.1985, c. 302, §7; L.2010, c. 56, pt. T,
       §10, eff. June 22, 2010, deemed eff. April 1, 2010.)

       Upon information and belief, during May and June 2011 the State of New York and

the Civil Service Employee Association (CSEA), on behalf of individuals in certain

collective bargaining units, entered into collective bargaining agreements (contracts)

pursuant to Article 14 of the Civil Service Law that provided for an increase in the

percentage of contribution for health care coverage to be paid by employees in the relevant

collective bargaining units represented by CSEA. A copy of the press release by Governor

Cuomo dated June 22, 2011 describing the terms of the CSEA contract is attached to the

complaint-petition as Exhibit B.

       The terms and conditions of the relevant collective bargaining agreements entered

into between the State and CSEA did not apply to (a) State employees in collective

bargaining units represented by other certified or recognized employee organizations (such

as the Public Employees Federation [PEF], the second largest collective bargaining unit)

for the purposes of Article 14 of the Civil Service Law, nor did the terms and conditions of

the collective bargaining agreements entered into between the State and CSEA apply with

respect to (b) employees designated managerial or confidential within the meaning of the

Taylor Law, (c) unrepresented employees, or (d) retirees.

       Laws of 2011 Chapter 491 entitled "State officers and employees-collective-

bargaining-compensation and salaries" went into effect on August 17, 2011. These Laws

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contained provisions implementing the terms of the CSEA contracts negotiated by CSEA

and the State of New York. A copy of Laws of 2011 Chapter 491 is attached the complaint-

petition as Exhibit C, and a copy of the Memorandum in Support for Senate 5856, the bill

which became Chapter 491, is attached to the complaint-petition as Exhibit D.

       Laws of 2011 Chapter 491 did not amend the provisions of Civil Service Law

167(1)(a) which specifically provides that the State will pay 90% of the cost of the premium

for health care coverage for retired State employees who retired after January 1, 1983 and

are enrolled in the State health care benefit plan, and 75% of the cost of the premium for

retired State employees with coverage for dependents.

       Nor did the Laws of 2011 Chapter 491 did not amend the provisions of Civil Service

Law 161-a, which provides that the President of the Civil Service Commission shall

promulgate regulations to implement a collective bargaining agreement only with respect

to "employees" not subject to the provisions of such agreement, and that the regul!l_ti(ms

promulgated by the President shall be controlling insofar as they are inconsistent with any

rule or regulation.

       During the last week in August 2011, the New York State Department of Civil

Service, Employee Benefits Division, issued a notification concerning changes in the

percentage of the contributions that retirees would be required to pay for NYSHIP which

was entitled "NYSIDP Rate Changes Effective October 1, 2011". This notification was

received by each of the plaintiff-petitioners herein during the last week in August 2011,

and, on information and belief, was sent to all retirees of the State of New York as the




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employer and to all vestees [as defined in 4 NYCRR 73.1(g)*] affected by such changes

during the last week in August 2011. A copy of the notification entitled "NYSIDP Rate

Changes Effective October 1, 2011" dated August 2011 [hereafter referred to as

"notification"] is attached to the complaint-petition as Exhibit E.

        Under the notification, the Department of Civil Senrice notified the retirees that the

Department of Civil Senrice was administratively changing the percentages of their

contributions for NYSIDP based solely on the collective bargaining agreements entered

into by the State and CSEA, wherein it was stated: "The terms of a collective bargaining

agreement have been administratively extended to Retirees and Vestees of New York State

Government and their enrolled dependents." See Exhibit E, p. 1.                      The notification

informed the retirees that the administrative change would result in a change in the

percentages of retirees contribution to payment for NYSHIP that would be effective on

October 1, 2011, wherein it was stated: "This will result in a l'rvSHIP rate change effective

October 1; the new rates included in this publication will be in effect through the end of

2011." See Exhibit E, p. 1.

        The notification also informed the retirees that as a result of the changes in the

percentages of their contribution for NYSHIP, such individuals would have a special option

transfer during September 2011 within which to choose a new health insurance program,

and that no action was required if such an individual wished to keep his or her current

health insurance option, wherein it was stated: "As a result of these rate changes, there will

be a Special Option Transfer Period, September 1 through September 30, 2011. You may

• Although both retirees and other vestees were affected by the change and received the notification, all
individuals affected by the change will hereafter be referred to as "retirees".

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select the Empire Plan or a NYSHIP-approved Health Maintenance Organization (HMO)

serving your area. No action is required if you wish to keep your current health insurance

option." See Exhibit E, p. 1. The notification went on to inform the retirees of the various

health insurance coverage options from among which they might choose, and the monthly

premium payments for each available to such individuals. See Exhibit E, pp. 2-3, Rate

Sheet. The notification also informed the retirees that this was the only notice they would

receive of a rate change in medical benefit programs wherein it was stated: "Check your

plan - this is the only notice of a rate change." See Exhibit E, pp. 2-3, Rate Sheet. The

notification informed retirees that in order to choose a different health care plan option

they must submit a "NYSHIP Option Transfer Request" form to the Department of Civil

Service Employee Benefits Division no later than September 30, 2011. See Exhibit E, pp. 5-

6, "If You Are Changing Your Health Insurance Option" and "NYSHIP Option Transfer

Request".

       The notification did not inform retirees that there would be a percentage increase in

contributions that retirees would be paying for their NYSHIP participation, but the

notification did provide a chart showing th.e dollar amount that retirees would be required

to contribute for each of the health insurance programs from among which they might

select the one in which they elected to participate. See Exhibit E, p.4, "Enrollee

Contributions for Retirees and Vestees". The chart in the notification contained dollar

amounts for NYSHIP which had calculated built-in increases in payments by retirees of

2% for each health insurance program. Thus, according to the figures in the chart, where

retirees had formerly contributed 10% for individual health care insurance premiums,


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retirees with individual coverage would pay 12% commencing on October 1; and retirees

who had formerly contributed 25% for dependent health insurance premiums would pay

27%. See Exhibit E, p. 4, "Enrollee Contributions for Retirees and Vestees".

       Furthermore, the notification informed retirees that deductions from their monthly

retirement pension checks or direct deposit would be made automatically at the new

percentage of contribution for health insurance premiums commencing on October 1, 2011,

and might be reflected in their September 30 pension check. See Exhibit E, p. 7, "Sample

Pension Check Stub".

       During the last week in August 2011, the New York State Department of Civil

Service, Employee Benefits Division, also issued a Special Report concerning changes in the

percentage of contributions that retirees would be required to pay for NYSHIP which was

entitled "NYSIDP HMO SPECIAL REPORT." This two page Special Report contains a

summary of the changes effective October 1, 2011 contained in the notification. This

Special Report was received by each of the plaintiff-petitioners herein during the last week

in August 2011, and, upon information and belief, was sent to all State retirees and vestees

affected by such changes during the last week in August 2011. A copy of the Special Report

entitled "NYSmp HMO SPECIAL REPORT" dated August 2011 [hereafter referred to as

"special report"] is attached to the complaint-petition as Exhibit F.

       This increase of the percentage of retiree contributions for NYSHIP was

administratively imposed on retirees notwithstanding the fact that the State Legislature did

not amend Civil Service Law 167(l)(a), nor otherwise provide any authorization for an

increase in the percentage of a retiree's contribution for NYSHIP. See Affidavit of Harvey


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Randall attached to the complaint-petition.

       On August 23, 2011 Stanley Winter, President of RPEA, wrote a letter to Mr.

Alphonso David, Deputy Secretary to Governor Cuomo, with a copy to Gary Johnson,

Director of the Governor's Office of Employee Relations, requesting the that the Civil

Service Commission and Governor Cuomo not increase the percentages of the

contributions for NYSmp for retirees. The letter recounted a conversation plaintiff-

petitioner Winter had at a meeting with the Deputy Secretary to the Governor and

Commissioner Gary Johnson on August 11,2011, and at the meeting RPEA had advocated

that there be no increase in the percentages of contributions for NYSHIP for current

retirees. A copy of the letter from President Winter to the Deputy Secretary to the

Governor and Director Gary Johnson dated August 23, 2011 is attached to the complaint.

petition as Exhibit G.

       On September 14, 2011 Alan Dorn, Executive Director of RPEA, wrote a letter to

Patricia Hite, Acting President of the New York State Civil Service Commission, objecting

to the extension of the terms of a collective bargaining agreement concerning increased

percentages of contributions for NYSHIP to current retirees, since retirees are neither

employees within the meaning of the Taylor Law nor subject to the terms and conditions of

a collective bargaining agreement negotiated by the State and an employee organization

pursuant to the Taylor Law. The letter stated that retired employees are not in a collective

bargaining unit within the meaning of Article 14 of the Civil Service Law, and that

employee organizations negotiating for health insurance benefits do not and may not

represent retirees, and therefore there was no authority for the Department of Civil Service


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to extend the terms of a collective bargaining agreement to persons who have already

retired. The letter requested that the percentages of the contributions being paid by

retirees not be increased, and that any proposed regulations should not include any

increases in the percentages of contributions for NYSHIP to be paid by retirees who had

retired prior to October 1,2011. A copy of the letter from Executive Director Alan Dorn to

Patricia Hite, Acting New York State Department of Civil Service Commission President,

dated September 14, 2011 is attached to the complaint-petition as Exhibit H, and a copy of

a similar letter by Executive Director Dorn to Thomas DiNapoli, New York State

Comptroller, also dated September 14, 2011, requesting the Comptroller not to deduct the

increased percentages of contributions for NYSIDP from a retiree's retirement allowance,

is attached to the complaint-petition as Exhibit I.

       More than 60 days have elapsed since RPEA requested the Department of Civil

Service not to increase the percentages of contributions for NYSHIP for retirees, and

RPEA has not received any acknowledgement of its request, and has not been advised of

any action taken in response to its letter.

       On October 12, 2011 the Department of Civil Service caused an emergency

rulemaking notification to be published in the New York State Register under Rulemaking

Activities, and this emergency rulemaking was entitled "Provision of the Health Benefit

Plan for Active and Retired New York State Employees" (I.D. No. CVS-41-11-00007-E).

A complete copy of the emergency rulemaking notification published by the Department of

Civil Service on October 12, 2011 [hereafter referred to as "emergency rule"] is attached to

the complaint-peition as Exhibit J. The emergency rule purports to extend the increases in


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the percentages of contributions for NYSIDP agreed to by CSEA on behalf of employees of

the State in collective bargaining units represented by CSEA and to unilaterally impose

such changes in the percentages of the contributions for NYSIDP set out in the collective

bargaining agreements between the State and CSEA to retirees including the plaintiff-

petitioners.

       On October 20, 2011 Alan Dorn, Executive Director of RPEA, wrote a letter to

Patricia Hite, Acting President of the New York State Civil Service Commission, objecting

to the emergency rule published in the State Register on October 12, 2011. The letter also

pointed out that the introducer's Memorandum in support of S5486, which was enacted as

Laws of 2011 Chapter 491 and in pertinent part amended Civil Service Law 167(8), stated

that the amendment applied to "employers and employees" share of health premium costs

under NYSIDP, not retirees. A copy of the letter from Executive Director Alan Dorn to

Patricia Hite, Acting New York State Civil Service Commission President, dated October

20,2011 is attached to the complaint-petition as Exhibit K.

       On December 14, 2011 the Department of Civil Service caused a Notice of Proposed

Action to be published in the New York State Register, and this proposed amendment to

the regulations at 4 NYCRR Part 73 was entitled "Provision of the Health Benefit Plan for

Active or Retired New York State Employees (P)" (ID no. CV8-50-11-o0005-P). A

complete copy of the Notice of Proposed Action published by the permissible service on

December 14, 2011 [hereafter referred to as "notice of the amended regulation"] is

attached hereto as Exhibit L. The notice of amended regulation purports to amend 4

NYCRR Part 73.3 and 73.12 to conform with any increases in the percentage of


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contributions for NYSmp agreed to by the CSEA collective bargaining units and set forth

in laws of 2011 Chapter 491 to retirees including plaintiff-petitioners.      The notice of

proposed action states that the proposed regulation will adopt the terms of the emergency

rule "which is now proposed for permanent adoption." See Exhibit L, Section 10. [Since

the proposed emergency rule expires on December 31, 2011, the emergency rule is not

extended by the notice, and there is a 45 day public comment period on the notice of

amended regulation, it appears that the notice is not in compliance with the requirements

of the State Administrative Procedure Act because there is a conflict between the

expiration of the urgency rule and the effective date of the amended regulation].

       On December 27, 2011 Allen Board, Executive Director of RICO, wrote a letter to

Patricia Wright, acting President of the United States Service Commission objecting to the

Notice of Amended Regulation published in the State Register on December 14, 2011. The

letter objected to the increase in the percentage of contribution by retirees for health care

insurance in direct violation of Civil Service Law 167(1)(a), and to the extension of the

terms of a collective bargaining agreement concerning the percentage of contribution for

health insurance with CSEA to retirees who are not represented by any collective

bargaining unit. A copy of the letter from Executive Director Allen Board to Patricia

Wright, acting New York State Civil Service Commission President, dated December 27,

2011 is attached hereto as Exhibit M.




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                                        POINT I

       CIVIL SERVICE LAW 167(1)(a) PROVIDES THAT THE STATE WILL
       PAY FOR HEALTH BENEFITS OF RETIREES AT THE RATE OF 90%
       OF THE COST OF PREMIUMS FOR RETIRED STATE EMPLOYEES
       WITH INDIVIDUAL COVERAGE, AND 75% OF THE COST OF
       PREMIUMS FOR RETIRED EMPLOYEES WITH DEPENDENT
       COVERAGE, AND THE PLAIN AND UNAMBIGUOUS LANGUAGE OF
       THE STATUTE PRECLUDES THE INTERPRETATION BY THE
       COMMISSIONER OF CIVIL SERVICE TO DECREASE THE RATE OF
       PAYMENT BY THE STATE TO 88% FOR INDIVIDUAL COVERAGE
       AND 73% FOR DEPENDENT COVERAGE, THUS INCREASING THE
       RATE OF PAYMENT BY RETIREES BY 2% ACROSS-THE-BOARD

       Civil service Law 167(1)(a) clearly and unambiguously provides that the State will

pay 90% of the cost of premiums for retired State employees with individual coverage, and

75% of the course for retired employees with family or dependent coverage. This statute

fixes the maximum rate of contribution retirees would have to pay for health care benefits

at 10% of the cost of premiums for individual coverage, and 25% for dependent coverage.

       The emergency rule implemented by the Commissioner of Civil Service effective on

October 12, 2011, and the notice of proposed rule making published in the State Register

on December 14, 2011, makes a 2% across-the-board increase in the rate of contribution by

retirees. Under the administrative increase, retirees percentage rate of contribution for

individual coverage will rise to 12% of the cost of premiums, and to 27% for dependent

coverage.

       This administrative increase contradicts the clear language of the statute in Civil

Service Law 167(1)(a). Instead of the State paying 90% of individual coverage and 75% of

dependent coverage, the State will pay only 88% of individual coverage and 73% of




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dependent coverage.·

        An administrative agency can not adopt regulations that contradict the text of

legislation governing the subject matter of its action. Matter of General Electric Capital

Corporation v. New York State Division of Tax Appeals, 2 NY3d 249, 254 (2004); Goodwin

v. Perales, 88 NY2d 383, 395 (1996); Rent Stabilization Association of N.Y. City v. Higgins,

83 NY2d 156, 169 (1993), cert. denied 512 US 1213 (1994); State Division of Human Rights

v. Genesee Hospital, 50 NY2d 113 (1980); Finger Lakes Racing Association v. New York

State Racing and Wagering Board, 45 NY2d 471 (1978); Matter of Nicholas v. Kahn, 47

NY2d 24, 31 (1979); Matter of Humphreys v. State Insurance Fund, 298 NY 327 (1949);

Rotunno v. City of Rochester, 124 Misc 2d 448, 451 (Sup. Ct. Monroe County 1984).

        An agency may adopt a rule or regulation that interprets or fills in the gaps in

legislation so long as it is consistent with and in harmony with the statute's purpose, but a

regulation adopted by an agency that is inconsistent with its enabling legislation is lacking

in reason and essentially arbitrary. Matter of General Electric Capital Corporation v. New

York State Division of Tax Appeals, 2 NY3d 249, 254 (2004); Matter of Bernstein v. Toia,

43 NY2d 437, 448 (1977); Matter of Marburg v. Cole, 286 NY 202, 212 (1941);

        It is fundamental that the Court, in interpreting a statute, should effectuate the

intent of the Legislature, and that where the statutory language is clear and unambiguous,

the Court should construe the statute so as to give effect to the plain meaning of the words

used in the statute. Patrolman's Benevolent Association v. City of New York, 41 NY2d 205,

• Since Civil Service Law provides that State retirees' contribution to payment of their health care benefits
will be deducted from their pension checks or direct deposits, the Commissioner has unilaterally
implemented this rate increase through purely administrative means.


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208 (1976); T.D. v. New York State Office of Mental Health, supra, 228 AD2d 95, 105-106;

Statutes, sections 92, 95.

       In seeking to interpret a statute, the intent of the Legislature is to be sought first

from the language of the act itself, and the statute is to be construed according to its most

natural and obvious sense. Matter of Zalensky v. Crucible Steel, 91 AD2d 807 (3rd Dept.

1982); Civil Service Police Association v. County of Oneida, 78 AD2d 1004 (4 th Dept. 1980),

motion for appeal denied 53 NY2d 603 (1981).

       The plain language of Civil Service Law 167(l)(a) could not be more clearly stated.

       "1. (a) The full cost of premium or subscription charges for the coverage of
       retired state employees who are enrolled in the statewide and the
       supplementary health insurance plans established pursuant to this article
       and who retired prior to January first, nineteen hundred eighty-three
       shall be paid by the state. Nine-tenths of the cost of premium or
       subscription charges for the coverage of state employees and retired state
       employees retiring on or after January first, nineteen hundred eighty-
       three who are enrolled in the statewide and supplementary health insurance
       plans shall be paid by the state. Three-quarters of the cost of premium
       or subscription charges for the coverage of dependents of such state
       employees and retired state employees shall be paid by the state."
       [emphasis added]

       No language could be clearer that the percentage of health care premiums the State

must pay for retirees is 90% for those with individual coverage and 75% for those with

dependant coverage.

       A Court should construe a statute in order to effect the intent of the Legislature.

The intent of the Legislature with which a statute is enacted should be determined from the

context, from the occasion or necessity of the law, from the relief sought to be corrected,

and from the objects and remedy in view. Statutes, section 95.

       There is nothing to indicate that the Legislature intended to change or repeal the

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clear and explicit language in Civil Service Law 167(1)(a) that the State will pay 90% of the

premiums for health care coverage of retirees with individual coverage and 75% with

dependent coverage. It is axiomatic that an administrative agency may not by its

regulations expand the grant of authority by the Legislature in a statute, and the rules and

regulations of the agency must function within this statutory mandate. Kuppersmith v.

Dowling, 93 NY2d 90, 96 (1999); Freitas v. Geddes Savings and Loan Assn., 63 NY2d 254,

264 (1984); Matter of Jones v. Berman, 37 NY2d 42, 53 (1975).

       The interpretation of Civil Service Law 167(1)(a) and Laws 2011 Chapter 431 by the

President of the Civil Service Commission--that section 167(1) gives the Commissioner

authority to increase the percentage of contribution by State retirees--is clearly wrong.

The emergency rule and the proposed amended regulations cite Section 167(1) as its

apparent authority to increase the percentage of contribution by retirees for their health

care coverage [see Exhibit J, emergency rule; Exhibit L, proposed amended regulations].

       The interpretation of Civil Service Law Section 167(1)(a) by the Commissioner is

clearly contrary to the plain language of the statute and the statute is not entitled to any

deference by the courts.

       Courts should scrutinize administrative rules and regulations for reasonableness

and rationality in conformity to the statutory foundation for the agency action.

Kuppersmith v. Dowling, 93 NY2d 90, 96 (1999).

       An agency has no authority to promulgate rules and regulations without statutory

authority either express or implied, because such a rule or regulation would be by

definition irrational and tantamount to legislation by administrative fiat. Kuppersmith v.


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Dowling, supra, 93 NY2d at 96; State Division of Human Rights v. Genesee Hospistal, 50

NY2d 113 (1980); Matter of Harbolic v. Berger, 43 NY2d 102, 109 (1977); Matter of Jones

v. Berman, 37 NY2d 42, 53 (1975). This is precisely what the President of the Civil Service

Commission has done in this case, decreed without any legislative basis that the percentage

of contributions by current retiree for their health care benefits must be increased.

       What the defendant-respondents may argue is that Laws of 2011 Chapter 491

repeals the provisions of Section 167(1)(a) which mandates the State to pay for health care

benefits for State retirees at the rate of 90% for individual coverage and 75% for

dependent coverage. Laws of 2011 Chapter 491 does not expressly repeal the language in

Section 167(1)(a) which mandates the State to pay 90% and 75% of health care coverage

for retirees respectively, and therefore the defendant respondents may argue only that

Laws of 2011 Chapter 491 repeals section 167(1)(a) by implication.

       If the Legislation has enacted a statute and intends to repeal it, the Legislation

generally enacts a new statute that specifically repeals the former law. It is well established

that repeal of a statute by implication is not favored. Matter of Consolidated Edison Co. of

New York v. Department of Environmental Conservation, 71 NY2d 186, 195 (1988); Alweis

v. Evans, 69 NY2d 199, 204 (1987); People v. Newman, 32 NY2d 379, 390 (1973), cert.

denied 414 US 1163 (1974);. T.D. v. New York State Office of Mental Health, supra, 228

AD2d at 108. Unless there is clear evidence of an intent by the Legislature to repeal an

earlier piece of legislation in a later statute, the courts "must, if at all possible, give full

effect to both statutes". People v. Newman, supra, 32 NY2d at 389. It is only when the

later statute is "in such conflict [with the earlier statute] that both cannot be given effect"


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that a repeal of a statute by implication may be found. Matter of Board of Education v.

Allen, 6 NY2d 127, 142 (1959); T.D. v. New York State Office of Mental Health, supra, 228

AD2d at 109;

          Where two statutes relate to the same subject matter they should be read

harmoniously and consistently and should both be given effect if possible. Alweis v. Evans,

69 NY2d 199,204 (1987); T.D. v. New York State Office of Mental Health, supra, 228 AD2d

at 106.

          In Chapter 491 the Legislature amended only Civil Service Law 167(8), it did not

amend section 167(a)(I). The 90%-75% formula for the percentage of retirees' health care

benefits to be paid by the State was not changed. The Legislature did not express any

intent to repeal or modify the States percentages of contribution to health care benefits of

retirees in section 167(a)(I).

          When it enacted Laws 2011 Chapter 491, the Legislature is presumed to have

known that Civil Service Law 167(1)(a) provides that the State will pay 90% of health care

coverage for State retirees with individual coverage, and 75% for retirees with dependent

coverage. The grant of authority to the President of the Civil Service Commission in

Chapter 491 to modify the percentage of health care payments for currently active State

employees was very explicit and detailed, but retirees are hardly mentioned. The President

of the Civil Service Commission may have authority to modify health care benefits for

employees in different collective bargaining units differently, but that does not grant the

President authority to repeal or amend Section 167(a)(I) by changing the percentage of

contribution for retirees who retired before October 1, 2011.


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          The notification, emergency     rule, and the proposed       amended     regulation

promulgated by the President of the Civil Service Commission in this case, increasing the

percentage of contribution for medical coverage for retired persons in NYSIDP,

contradicts the explicit language in Civil Service Law 167(1)(a) which provides that the

State will pay 90% of their individual coverage and 75% of dependent coverage. The

President of the Civil Service Commission may believe that the State's current financial

condition makes it desirable that retirees should pay a greater percentage of their medical

coverage, however Civil Service has no authority to overrule or alter or contradict the

explicit language of the statute enacted by the Legislature.

          If the Legislature wished to increase the percentage of payment by retired persons,

it would know how to draft language repealing or amending the language containing the

90%-75% formula section 167(1)(a), but the Legislature has not deemed it necessary to

impose such an increase on retirees. The President of the Civil Service Commission does

not have authority to promulgate rules or regulations that contradict the Legislature:

          "Laws are made by the law-making power and not by the administrative
          officers acting solely on their own ideas of sound public policy, however
          excellent such ideas may be."

Matter of Picone v. Commissioner of Licenses of the City of New York, 241 N.Y. 157, 162

(1925).

          The Legislature has not deemed it necessary to impose an increase in the percentage

of payment for health care coverage by State retirees, and the administrative increase in

the percentage of contribution for health care benefits by retirees implemented by the

President of the Civil Service Commission should be declared invalid and null and void.


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                                         *******
       Reading Civil Service Law section 167(1)(a) and Laws of 2011 Chapter 491 together

and attempting to interpret them harmoniously in order to give both effect, could result in

an interpretation which would give the President authority to modify the percentage of

health insurance premiums paid for retirees prospectively only. In other words, the

percentage the State would pay for persons who retired after 1983 but before October 1,

2011 would remain at 90% for individuals and 75% for dependent coverage, but the

percentage that the State would pay for persons who retire after October 1, 2011 could be

modified by an across-the-board increase in the percentages employees who retire after

October 1, 2011 would pay for their health coverage to 12% and 27% respectively, thus

decreasing the percentage paid by the State for persons who retire after October 1, 2011 to

be consistent with the new CSEA contract. Reading section 167(1)(a) and Chapter 491 in

para material to apply prospectively only to persons who retire after October 1, 2011

would give meaning and effect to both statutes. Reading Section 167(1)(a) and Chapter 491

together to apply prospectively only is also consistent with past practices of the Legislature

in enacting laws that pertain to payment of health care benefits for State retirees. There is

a long history over the last 30 years of the Legislature making changes in the percentage of

health care premiums for retirees prospective only.

       Civil Service Law 167(1)(a) and Laws of 2011 Chapter 491 arguably both relate to

the percentage of health insurance premiums for State retirees to be paid by the State.

However both statutes could be interpreted consistently. Section 167 (1)(a) requires the

State to pay 90% of the health insurance premiums for persons who retired after 1983, and


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Chapter 491 which is effective October 1, 2011 could be read to allow the President of the

Commission to modify the percentage of health insurance premiums for persons who

retired after the effective date of the statute.   In other words, Chapter 491 could be

interpreted to give the President authority to modify the percentage of health insurance

premiums paid for persons who retire after October 1, 2011 only.

       While an interpretation of the statutes at section 167(1)(a) and Laws of 3011

Chapter 491, Section 2, that the Legislature intended to authorize Commissioner to make

changes in the percentage of contribution by the State for retirees may seem more plausible

than the much broader power asserted by the President of the Civil Service Commission,

such an interpretation flies in the fact of the principles that the Legislature is presumed to

know what the law provides, that implied repeal of a statutes is disfavored, and that a

regulation can not contradict a statute. If the Legislature had intended to grant authority

to the President to alter the clear and explicit language in Civil Service Law 167(1)(a), the

Legislature would have said so but it did not.

                                         POINT II

       THE ADMINISTRATIVE INCREASE IN THE PERCENTAGE OF
       CONTRIBUTION TO BE PAID BY RETIREES FOR NYSffiP FROM 10%
       OF PREMIUMS FOR INDIVIDUAL COVERAGE TO 12%, AND FROM
       25% FOR DEPENDENT COVERAGE TO 27%, VIOLATES THE
       CONTRACT CLAUSE IN ARTICLE I, SECTION 10 (1) OF THE UNITED
       STATES CONSTITUTION AND ARTICLE I SECTION 6 OF THE NEW
       YORK STATE CONSTITUTION

       Article I, Section 10(1) of the United States Constitution provides that" [n]o State

shall... pass any... law impairing the Obligation of Contracts." Similarly, Article I, Section

6 of the New York State Constitution provides "[n] 0 person shall be deprived oflife, liberty


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or property without due process of law.", which means that "the State may not deprive a

party to a contract of an essential contractual attribute without due process of law."

Consumers Union of US, Inc. v. State of New York, 5 NY3d 327, 359 (2005); Patterson v.

Carey, 41 NY2d 714, 720 (1977).

       Under the federal Constitution, the impairment of contract clause is not an absolute

bar to subsequent modification of a State's own financial obligations. An impairment may

be constitutional if it is reasonable and necessary to serve an important public purpose

under the police power. In other words, a statute which impairs a contract that a state has

previously entered into may be justified by an appropriate exercise of the police power.

United States Trust Co. v. New Jersey, 431 US 1, at 19 (1977).

       It is not necessary that an impairment totally destroy the obligation of the state

under the contract in order to violate the contract impairment clause. However, the extent

of the impairment is a relevant factor in considering the reasonableness of the impairment.

United State's Trust Co. V. New Jersey, supra, 431 US at 21.

       The law is similar under the New York State Constitution.          When a statute is

challenged on non-procedural grounds as a violation of due process, the test is whether the

deprivation or impairment of contract rights has a fair, just and reasonable connection

with the promotion of the health, comfort, safety and welfare of society, that is, the means

provided by the statute must be reasonably related to the goal to be achieved. Patterson v.

Carey, supra, 41 NY2d at 720-721.

       State statutes can create contractual rights that are binding on the state. Alliance of

American Insurers v. Chu, 77 NY2d 573, 585 (1991). Constitutionally protected property


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interests are "created and their dimensions are defined by existing rules or understandings

that stem from an independent source such as state law."      Board of Regents v. Roth, 408

US 564, 577 (1972). The courts must look to state law in order to determine whether

federally protected contractual rights have been created by a statute.

       In this case, Civil Service Law 167(1)(a) explicitly provides that the State of New

York will pay 90% of the premiums for individual medical coverage under NYSIDP, and

75% of the premiums for dependent coverage, for State retirees. This is precisely the type

of state statute which creates a contract or vested property interest that is protected by the

United States Constitution and the New York State Constitution. Alliance of American

Insurers v. Chu, supra, 77 NY2d at 585 (state statute granted contributors to property and

liability insurance security fund property rights in the income generated for their

contributions to the fund, and subsequent state legislation that diverted income and assets

of the fund to the state's general accounts violated the contract impairment clause of the

federal and state constitutions); Matter of Economico v. Village of Pelham, 50 NY2d 120,

125 (1980); Board of Regents v. Roth, supra, 408 US at 577; Cleveland Board of Education

v. Loudermill, 470 US 532, 538 (1985).

       The mere fact that the State has negotiated an increase in the percentage of the

premiums for medical benefits paid by the currently employed union members in collective

bargaining agreements with CSEA and/or other unions, and that the State wishes to save

money by also increasing the percentage of premiums for benefits paid by State retirees,

does not cancel the contractual obligation of the State to pay 90% of individual coverage

and 75% of dependent coverage for State retirees. New York State can not renege on its


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contractual obligations simply because it wants to save money. If the State could renege on

contracts it had previously entered into because it wanted to save money, all contracts with

the State would be meaningless:


               "The only justification the State can offer for the breach of its
       commitment is the enhancement of the state's general revenues. It is self-
       evident that this cannot justify the State's actions; the State's commitment to
       preserve the fund would be meaningless if it could be overcome by its desire
       to use funds for other purposes."

Alliance of American Insurers v. Chu, 77 NY2d 573, 588-589 (1991).

       Under these principles, the administrative increase in the percentage of premiums

paid by State retirees for their medical benefits clearly violates the prohibitions against

impairment of contracts in the federal and State constitutions.

       Civil Service Law 167(l)(a) is a type of State statute which constitutes a contract by

the State with its retirees. Section 167(1)(a) is a promise by the State to its employees that

when they retire the State will pay 90% of their individual premiums for medical benefits

under NYSHIP, and 75% of dependent coverage premiums. During the term of their

employment, State retirees relied on this promise as an assurance that after their

retirement they would receive affordable medical care for themselves and their families

because they would have to pay only 10% (or 25% in the case of dependent) for their

medical coverage. Many State workers could have had higher paying jobs in the private

sector, but chose to remain in State service in order to obtain the promised medical benefits

after their retirement. During the term of their employment, the State retirees contributed

to NYSHIP fund which would be paying for their medical benefits after retirement. In

planning their retirement years, State retirees relied on the promise of receiving medical

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benefits and having to pay only 10% of the premiums (or 25% for dependents) in their

financial planning and retirement budgets.

       The State retirees contract with New York for payment of 90% of their medical

benefits premiums (or 75% for dependent coverage) became finalized at the time of their

retirement, and the percentage payable by the retirees may not be increased without

violating the impairment clause. Medical benefits are not a part of retirement benefits

within the meaning of Article V, Section 7 of the New York State Constitution [Lippman v.

Sewanhaka School District, 66 NY2d 313 (1985)], and therefore during the term of their

active employment State employees do not have contractual rights to the promised

retirement medical benefits. As with retirement benefits under Article V, Section 7, the

State employees' rights to the State's payment of 90% (or 75% of dependent coverage) of

their medical benefits becomes vested at the time of their retirement.

       The notification, emergency rule, and proposed amended regulation are clearly an

abrogation of the promise in Civil Service Law 167(1)(a). Section 167(1)(a) squarely states

that the State will pay 90% of individual premiums and 75% of dependent premiums for

State retirees medical benefits. An across-the-board increase in the percentage of

premiums payable by State retirees by 2% is an impairment of New York State's

obligation to pay the State retirees medical benefits at the promised rate.

       The 2% across-the-board increase in payments for medical benefits under NYSIDP

is not such an insignificant change in the State's obligation to retirees that it would not be

deemed impairment under the contract clause. The contract clause is not an absolute bar

to subsequent modification of a state's financial obligations, particularly if the change is an


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exercise of the police power and is limited or temporary. Home building & Loan Assn. v.

Blaisdell, 290 US 398, 439 (1934).

       However, the 2% across-the-board increase promulgated by the President of the

Civil Service Commission is a permanent and significant economic hardship to retirees who

are on a fixed pension income. For example, plaintiff-petitioner A. Joanne Lantz was

employed by the New York State Department of Education where she held the position of

Specialist in Pupil Personnel Guidance for 10 years. Ms. Lantz is currently a participant in

NYSHIP, and she is enrolled in the United Health Care Plan with individual coverage.

Prior to October 1 her monthly contribution for the individual health insurance premium

was $170.78 per month. Under the proposed increase in the percentage of contributions for

NYSIDP by retirees, Ms. Lantz's payment for health insurance premium will be $198.92

per month, an increase of $28.14 per month.

       For retirees with dependent coverage, the 2 % increase could range up to $500.00 a

year or more in additional payments for medical coverage. An increase of $500.00 per year

in payments for medical benefits is a significant breach of the State's obligations toward a

retiree who is receiving only $15,000.00 per year in pension payments. Since the State

retirees' share of the cost of medical benefits is deducted from monthly pension checks, this

would be a substantial decrease in annual pension income for State retiree who had been a

CSEA union member. The extent of the impairment of the State's obligation to its retirees,

who are on a fixed pension income and relying upon the State's promise to pay for their

medical coverage during retirement, is serious and substantial.

       Most importantly, the 2% across-the-board increase in payments for medical


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benefits for retirees imposed by the President of the Civil Service Commission is not an

exercise of the police power by the State, but is simply an economic ploy to generate income

for the State. Exercise of the police power by the State involves laws and statutes for "the

promotion of the health, comfort, safety and welfare of society".         In order for an

impairment of a State's contractual obligation not to violate the impairment clause there

must be a "fair, just and reasonable connection" between the statute and exercise of the

police power. Patterson v. Carey, supra, 41 NY2d at 720-721.

       In Patterson v. Carey, supra, 41 N.Y.2d 714, the Legislature enacted a statute that

rescinded an increase in tolls promulgated by the Jones Beach State Parkway Authority for

use of parkway for 120 days.      The Court of Appeals held that the statute deprived

bondholders of their property since the toll was the sole source of funds for payment of the

bonds and therefore was an essential attribute of the bondholders contract with the

Authority. The deprivation of contractual rights was achieved without due process of law,

since there was no reasonable relationship between the asserted goal of reducing traffic

congestion to the public health, comfort, welfare and since the statute would have

prevented toll dodging for a period of only 120 days. See also United States Trust Co. v.

New Jersey, 431 US 1 (1977); Advance-Rumely Co. v. Jackson, 287 US 283, 288 (1932);

Alliance of American Insurers v. Chu, 77 NY2d 573 (1991) (state statute which diverted

income from income producing assets of insurance fund was impairment of the State's

contractual obligations under the United States Constitution contract clause and Article 1

Section 7 of the State Constitution); Matter of Hodes v. Axelrod, 70 NY2d 364 (1987);

Kirschenbaum v. General Outdoor Advertising Co., 258 NY 489 (1932).


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       At the time State employees retired before October 1, 2011, Civil Service Law

167(a)(I) created a vested right in State retirees that New York would pay 90% of their

individual health care coverage under NYSmp and 75% for dependent coverage. A 2%

across-the-board increase in the percentage of payments by State retirees is a violation of

that contract, and the impairment has no legitimate purpose under the police power. This

administrative increase in the percentage of payments for medical benefits is an economic

recourse, to save money for the State. This is a clear violation of the contract impairment

clause of the federal and State constitutions.

       In this case the administrative increase in the percentage of payments by State

retirees for medical benefits has absolutely no relationship to the police power. Exercise of

the police power by the state typically involves health or safety measures or enforcement of

criminal laws that are necessary for the survival of society. Montgomerv v. Daniels, 38

NY2d 41, 54 (1975); A.E. Nettleton Co. v. Diamond, 27 NY2d 182, 193 (1970), appeal

dismissed 401 US 969 (1971); People v. Runis, 9 NY2d 1, 4 (1961). The administrative

increase in the percentage of payments for medical benefits by State retirees has no

purpose related to preserving the health or safety or welfare of society in general. It is

purely a budgetary and financial measure to increase income for the State.

       In Mayor June 2011 the State negotiated a collective bargaining agreement with

CSEA and certain other collective-bargaining units which provided for a 2% increase in

the cost of medical coverage under NYSHIP for current CSEA union members who are

currently employed by and working for the State. The increase in the cost of medical

coverage for CSEA members in the collective bargaining agreement was negotiated purely


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as a financial measure to save the State money on account of an alleged budget shortfall

anticipated in the 2011-2012 fiscal year. Instead of facing layoffs of State employees who

were CSEA members, the collective bargaining agreement with CSEA contained certain

"give-backs" which were designed to save money for the State budget. The 2% increase in

the cost of medical coverage for current CSEA members was one of these givebacks.      In

consideration of these givebacks, CSEA members were guaranteed there would be no State

layoffs for the five-year term of the collective bargaining agreement and received salary

increases in the 4th and 5th years of the contract and other benefits.     See Exhibit B,

Governor Andrew Cuomo Announces Five Year Labor Agreement with Civil Service

Employees Association. Yet, retirees do not get any benefits from the CSEA or other

contracts.

       Nor does the collective bargaining agreement between the State and CSEA reached

in May and June 2011, and later with other employee unions, have any impact on the

contractual rights of State retirees.   CSEA, PEF, and other State employee unions

represent current State employees only in collective bargaining. Once the State employee

retires, they are no longer represented in collective bargaining by CSEA and other

employee unions.      Under the Taylor Law recognized collective bargaining units for

current State employees such as CSEA have authority to negotiate away vested rights of

union members in collective bargaining agreements in exchange for other benefits. Matter

of County of Chautauqua v. Civil Service Employees Association, Local 1000, AFSCME,

and AFL-CIO, 8 NY3d 517 (2007).

       For example, in the 2011 collective bargaining agreement between the State of New


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York and CSEA, CSEA agreed to a 2% increase in the percentage of medical premiums

paid by union members for medical coverage in exchange for a five-year contract

containing a no layoff clause for the term of the contract, and salary increases in the 4th

and 5th years of the collective bargaining agreement. See Exhibit B, Governor Cuomo

Announces Five Year Labor Agreement with Civil Service Employee's Association.

       However, the Taylor Law provides that State retirees are not represented by

collective-bargaining units, and State employee unions such as CSEA (pEF etc.) have no

authority to bargain for State retirees. Accordingly, the concessions in the recent CSEA

collective bargaining agreement, whereby current State employees who are CSEA

members will pay an increased percentage of 2% of the premium for their medical

coverage, do not apply to State retirees such as the plaintiff-petitioners herein. This is

logical since State retirees will not receive the quid pro quo for these concessions that

CSEA members will receive, because State retirees are not subject to layoff or pension

increases. Retirees do not share in any benefits of the CSEA contract or other collective

bargaining agreements.

       All in all, the Administration increase in the percentage of contribution to be paid

by retirees for NYSIDP from 10% of premiums for individual coverage to 12%, and from

25% for dependent coverage to 27%, violates the contract clause in Article I, Section 10(1}

of the United States Constitution and Article I Section 6 of the New York State

Constitution. Accordingly, the increase should be null and void.




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                                         POINT III

       THE ADMINISTRATIVE INCREASE IN THE PERCENTAGE OF
       CONTRIBUTION TO BE PAID BY RETIREES FOR NYSIDP FROM
       PAYING 10% FOR INDIVIDUAL COVERAGE to 12%, and from 25% TO
       27% FOR DEPENDENT COVERAGE, FOR THEIR MEDICAL
       BENEFITS COVERAGE VIOLATES ARTICLE III, SECTION 1 OF THE
       NEW YORK STATE CONSTITUTION BECAUSE IT IS AN IMPROPER
       DELEGATION OF AUTHORITY OF THE LEGISLATURE TO THE
       EXECUTIVE WITHOUT ADEQUATE STANDARDS AND GUIDELINES.


       The administrative increase in the percentage of contribution to be paid by retirees

for NYSHIP violates Article III, Section 1 of the New York State Constitution because the

Legislature has not delegated the authority to increase contributions for medical benefits

by retirees to the President of the Civil Service Commission or any other agency. Only the

Legislature has authority to enact legislation and make laws under Article III, Section 1 of

the New York State Constitution which provides: "The legislative power of this state shall

be vested in the Senate and Assembly."

       An administrative agency possesses only those powers expressly delegated to it by

the Legislature, together with those powers required by necessary implication. Matter of

Beer Garden v. New York State Liquor Authority, 79 NY2d 266,276 (1992); T.n. v. New

York State Office of Mental Health, supra 228 AD2d at 107. Although the Legislature may

delegate the power to adopt regulations in order to implement statutes to an administrative

agency, the Legislature may not cede its fundamental policy responsibility to make social

and political policy to an administrative agency. Matter of Medical Society of the State of

New York v. Serio, 100 N.Y.2d 854, 864 (2003). The administrative agency has flexibility in

promulgating its regulations, but the regulations must be within the scope of the legislative

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delegation and may not exceed the scope of authority delegated by the Legislature.

       The Legislature can not delegate its lawmaking power to make social and political

policy to an administrative agency, but the State Constitution allows the Legislature to

delegate broad powers to an agency charged with administering a law enacted by the

Legislature as long as the Legislature has set forth reasonable standards and safeguards for

the agency to follow in promulgating its regulations.

       In this case, the Legislature has not delegated the authority to fIx the contribution

rate of State retirees for medical coverage under NYSIDP to any agency. Civil Service

Law 167(1)(a) specifically provides that the State will pay 90% of the premium for

individual coverage and 75% of the premium for dependent coverage. This is a precise

legislative determination, which could hardly be more specifIc, about the percentage of

contribution by the State for the retirees medical coverage, and it leaves no room for the

President of the Civil Service Commission or any other administrative agency to reduce the

contribution by the State, or conversely increase the percentage of contribution by retirees.

       Moreover, the Legislature may not delegate a legislative function unless it provides

adequate standards and guidelines for the administrative agency to follow in implementing

a statute. "Without such standards there is no government of law, but only government of

men left to set their own standards, with resultant authoritarian possibilities". Rapp v.

Carey, 44 NY2d 157, 162 (1978).




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       The standards and guidelines may allow the administrative agency wide discretion

and flexibility, but agency regulations may not exceed the scope of authority granted by the

statute.

       It is axiomatic that, in order to be consistent with the standards and guidelines set

by the Legislature in delegating its authority, the regulations promulgated by an

administrative agency can not contradict the statute sought to be implemented by the

agency. Regulations that are inconsistent with a statute are arbitrary and capricious and

beyond the scope of authority of the administrative agency to promulgate.

       In this case, the regulations contained in the notification, the emergency rule, and

the proposed amended regulation exceed the scope of the authority granted by the

Legislature concerning the percentage of contribution payable by retirees for their health

care coverage under NYSIDP. Section 167(1)(a) is explicit that the State will pay 90% of

premiums for individual coverage and 75% of premiums for dependent coverage, which

leaves 10% to be paid by retirees for individual coverage and 25% to be paid by retirees

for dependent coverage. There is no authorization in Section 167(1)(a) for the President of

the Civil Service Commission to change the percentage of contribution by the State.

       There is no authorization in Section 167(a)(I) for the President to legislate a 2%

across-the-board increase in the percentage of contribution payable by retirees for their

health care.   The increase in percentage of contribution by State retirees is directly

contrary to Section 167(1)(a), and therefore is arbitrary and capricious, beyond the scope

of authority delegated by the Legislature, and must be declared invalid.

       The statutory structure for     providing health care benefits for State retirees


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demonstrates the Legislature's intent in Section 167(1)(a) was that retirees should benefit

from an increase in the percentage of contribution by the State for health care payments

that might be negotiated by the current State employees in their collective-bargaining

agreements, but the Legislature never intended for the President of the Civil Service

Commission or any other agency to have authority to increase the percentage of

contribution payable by retirees.

       It is black letter law that a long-standing administrative interpretation of a statute

by an agency is entitled to great weight in determining the intent of the Legislature and

meaning of the statute. Civil Service Law 161-a, entitled "Implementation of Negotiated

Agreements", provides that where there is an agreement between the State and a state

union such as CSEA, PEF, etc.) the President of the Civil Service Commission, with

approval of the Director of the Budget, may extend the provisions of the collective

bargaining agreement, in whole or part, to "employees" not subject to the provisions of

such agreement. The statute provides:

       "1. Where, and to the extent that, an agreement between the state and an
       employee organization entered into pursuant to article fourteen of this
       chapter provides for health benefits, the president, after receipt of written
       directions from the director of employee relations, shall implement the
       provisions of such agreement consistent with the terms thereof and to the
       extent necessary shall adopt regulations providing for the benefits to be
       thereunder provided. The president, with the approval of the director of the
       budget, may extend such benefits, in whole or in part, to employees not
       subject to the provisions of such agreement.

       2. Insofar as the provisions of this section are inconsistent with any other act,
       general or special, or any rule or regulation adopted thereunder, the
       provisions of this section shall be controlling and insofar as the regulations
       promulgated by the president pursuant to subdivision one of this section are
       inconsistent with any rule or regulation, the provisions of such regulations
       shall be controlling.

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       3. There is hereby created a council on employee health insurance to
       supenrise the administration of changes to the health benefit plan negotiated
       in collective negotiations and to provide continuing policy direction to
       insurance plans administered by the state the provisions of any other law to
       the contrary notwithstanding. The council shall consist of the president, the
       director of the division of the budget, and the director of employee relations."
       [emphasis added]

       The language in Section 161-a, allowing the President of the Civil Senrice

Commission to extend the benefits of a collective bargaining agreement to State

"employees" not covered by the agreement, was intended by the Legislature to allow

employees who are not subject to a collective bargaining agreement, such as Management

Confidential employees who are excluded from membership in any unions, to receive the

benefits of a collective bargaining agreement.        [See Affidavit of Hanrey Randall].

Significantly, the President could extend the benefits to employees not subject to the

provisions of a collective bargaining agreement only with the approval of the Director of

the Budget because historically collective bargaining agreements have almost always

increased the percentage payable by the State for current State employees, and approval by

the Director of the Budget to extend these benefits to employees was required because this

would also involve an increase in the State budget. (See Affidavit of Harvey Randall).

Significantly, the President is empowered to extend the benefits of union contracts to

"employees" not subject to the agreement, but not to retirees.

       Civil Senrice Law 165 entitled "Termination of Active Employment" provides in

pertinent part that the health care benefit coverage of any employee or his dependents

"shall cease upon the discontinuance of his or her term of office or employment...." Thus,

health care benefits for employees terminate at retirement. Retirees from State senrice in

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the retirement system are entitled to receive health care benefits under NYSIDP.

       Civil Service Law 167(1)(a) entitled "Contributions" provides that 90% of the cost

of premium or subscription charges for the coverage of "State employees and retired State

employees" retiring on or after January 1, 1983 will be paid by the State, and that 75% of

the cost of premiums for dependent coverage "of such State employees and retired State

employees" shall be paid by the State. Notably, this statute provides that the State will pay

the same percentage for health care coverage of current state employees, as well as state

retirees. The statute provides as follows:

       "1. (a) The full cost of premium or subscription charges for the coverage of
       retired state employees who are enrolled in the statewide and the
       supplementary health insurance plans established pursuant to this article
       and who retired prior to January first, nineteen hundred eighty-three
       shall be paid by the state. Nine-tenths of the cost of premium or
       subscription charges for the coverage of state employees and retired state
       employees retiring on or after January first, nineteen hundred eighty-
       three who are enrolled in the statewide and supplementary health insurance
       plans shall be paid by the state. Three-quarters of the cost of premium
       or subscription charges for the coverage of dependents of such state
       employees and retired state employees shall be paid by the state."

       The history of collective bargaining in the 1980s, 1990s, and 2000s shows that over

the years State employee collective bargaining unts (unions) consistently achieved increases

in the percentage of contribution for health care payable by the State for current State

employees who were members of the unions.

       In order to allow for administrative adjustment to the pattern of negotiated

increases in contributions for medical benefits for State employees over the years, the

Legislature provided in Civil Service Law 167(8) that the costs of premiums for employees

covered by the collective bargaining agreements "may be increased" during the terms of


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the agreement by the Commissioner of Civil Service, that the President could establish

rules and regulations providing for the increases, and that the increases in State costs

would only apply during the period provided in the collective bargaining agreement "and

shall not be applied during retirement". The statute provides:

       "8. Notwithstanding any inconsistent provision of law, where and to the
       extent that an agreement between the state and an employee organization
       entered into pursuant to article fourteen of this chapter so provides, the state
       cost of premium or subscription charges for eligible employees covered by
       such agreement may be modified pursuant to the terms of such agreement.
       The president, with the approval of the director of the budget, may extend
       the modified state cost of premium or subscription charges for employees or
       retirees not subject to an agreement referenced above and shall promulgate
       the necessary rules or regulations to implement this provision."

Significantly, Section 167(8) allowed the President to increase the percentage of

contribution for medical premiums for "State employees covered by such agreement", but

not for State retirees. Further, the increase in State contributions terminated at the time

the state employee reached retirement.

       The President of the Civil Service Commission has for decades interpreted the

statutory structure in Civil Service Law Article 11, including sections 160, 161-a, 165, and

167, to mean that when State unions such as CSEA negotiated an increase in the percentage

of health care premiums for their membership, the increase in health care premiums has

also been made applicable to Management Confidential employees who are not covered by

collective bargaining agreements. Thus, successive increases in the percentage of health

care costs paid by the State for members of CSEA have been passed on to Management

Confidential employees (including, for example, judges) over the past several decades [see

Affidavit of Harry Randall].


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        However, these increases in State contribution to health care coverage has never

been passed on to State retirees. The percentage of health care payments paid by the State

for State retirees has consistently remained at 90% for individuals and 75% for dependent

coverage, as specifically provided in Section 167(l)(a). Implementation of these increases

in the percentage of contribution for retirees is specifically prohibited by section 167(8). In

other words, the President has for decades interpreted the statutory structure to mean that

the benefit increases in the contribution rate by the State negotiated with union members

may be extended to current employees, such as Management Confidential, but not to State

retirees.

       The Legislature has never granted to the Commissioner of Civil Service authority to

change or alter the provisions of Civil Service Law 167(l)(a) concerning the percentage of

contribution for medical benefits for State retirees. Under the statutory structure in Civil

Service Law Article 11, the President has authority to extend the benefit of increased

percentage of contribution for medical benefits negotiated by CSEA (or PEF, etc.) to

Management Confidential employees who are not covered by collective bargaining

agreements, but the President has never asserted or exercised the authority to extend the

benefit of this increased percentage of State contributions for health care to State retirees.

The history of the interpretation of Article 11 by the Commissioner is consistent with the

statutory structure.

       The historical interpretation of Article 11 by the President of Civil Service

Commission is entitled to great weight in interpreting the intent of the Legislature and

meaning of Article 11. The President's power to adjust the percentage of contribution for


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medical benefits set forth in Section 167 (1)(a) has always been extended to current State

employees not covered by collective bargaining agreements, but never to State retirees. If

the Legislature had intended for the President to have authority to change the percentage

of contribution for medical coverage for State retirees, it would have happened within the

last 30 years, but the percentage of contribution by the State for retirees has always

remained level at 90% for individual coverage and 75% for dependent coverage.

       A State agency is bound by its interpretation of its jurisdictional statute and by its

interpretation of its own regulations. While a State administrative agency may change or

reverse its interpretation of its own regulations, in order to be effective the State agency

must explain the basis for and justify a reversal in its interpretation. Richardson case. The

Commissioner of Civil Service has not provided any valid explanation for the change in

interpretation of the historic meaning given to Section 167(1)(a).

       The emergency rule published in the State Register by the Commissioner on

October 12, 2011, as well as the proposed amended regulation published on December 14,

2011 erroneously cite Laws of 2011 Chapter 491 as a justification for increasing the

percentage of contribution by State retirees for medical coverage. Both Civil Service Law

161-a and Civil Service Law 167(8) authorize the President to extend the benefits of

collective bargaining agreements "to employees" not subject to the provisions of the

agreement, but not to retirees. These statutes restrict the power of the Commissioner from

changing the 90%-75% formula for retirees. While the President may change the formula

for current State employees not covered by collective bargaining agreements who are not

retired (such as Management Confidential), there is no authority to increase or decrease or


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otherwise alter the percentage paid by the State for retirees medical benefits which is

explicitly set forth in Section 167(1)(a). Laws of 2011 Section 491 Section 2 does not repeal

or amend Section 161-a, which restricts the authority of the President "to employees", not

retirees.

       The amendment to Civil Service Law 167(8) contained in Laws of 2011, Chapter

491, sec. 2 does not change the result for State retirees. The phrase" or retirees not subject

to an agreement referenced above" contained in the amendment to Civil Service Law

167(8) [see Laws of 2011 Chapter 491 sec 2] is nonsensical and can not be interpreted to

give the President of the Civil Service Commission authority to deviate from the percentage

of contribution for retirees provided in Section 167(1)(a) because retirees are never covered

by collective-bargaining agreements. Under the Taylor Law, retirees are excluded from

collective bargaining and are excluded from union membership.                 Moreover, the

Amendment to subdivision (8) does not repeal or alter the plain language of Section

167(1)(a) that the State will pay 90% of individual medical coverage of State retirees and

75% for dependent coverage. Subdivision (1)(a) is in the same statute as subdivision (8) of

Section 167, and if the Legislature had intended to repeal subdivision (1)(a) or to allow the

President to alter the 90%-75% formula administratively, the Legislature would have said

so.

       The mere fact that the CSEA and the state reached a collective bargaining

agreement does not provide adequate guidelines for the president of the Civil Service

Commission to be delegated authority by the Legislature to promulgate regulations that

alter or change the specific provisions of Civil Service Law 167(1)(a) which mandate that


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the State contribute to retiree medical benefits payments according to the 90%-75%

formula. Collective bargaining agreements with different unions could have different times

regarding payment of medical benefits for union members, and laws of 2011 Chapter 491,

Section 2 provides no standards or guidance for the Commissioner to apply in fixing the

percentage of State contributions for retirees. For example, CSEA's contract with the State

may provide that the CSEA members will pay 50% of their medical benefits and received a

5% salary increase, while PEF's contract with the State may provide that its members will

pay 25% of their medical benefits and receive a 4% salary increase, and that same time

NYSCOBA's contract with the State may provide that its members will pay 15% of their

medical benefits and receive a 3% salary increase with a guarantee of no layoffs during the

term of the contract.

       The amendment to Civil Service Law 167(8) enacted bylaws of 2011 Chapter 491

Section 2 provides no guidelines for the President of the Civil Service Commission to

determine which of these different provisions about the percentage of medical benefits

payable by the State should be applied to State retirees. The amendment to Section 167(8)

says something very vague and unclear or about medical benefits and retirees, but the

amendment does not provide the Commissioner with any guidance about whether or which

collective bargaining agreement should be applied to State retirees. In the example above,

the amended language, clearly does not provide any guidance to the President of the Civil

Service Commission about whether to promulgate a regulation requiring State retirees to

pay 50% of medical benefits as in the CSEA contract, or 25% as in the PEF's contract, or

15% as in the NYSCOBA contract. The Commissioner's selection of which percentage of


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medical benefits retirees should be would be completely arbitrary because the statute

contains no standards or guidelines.

       The amendment to Section 167(8) provides not one shred of guidance or standards

about which collective bargaining agreement arrived at between the union and the State

should be applied to State retirees. It is pure happenstance that CSEA was the first union

to achieve a collective bargaining agreement with the State in 2011, and therefore the terms

of the CSEA contract for the percentage of payment of medical coverage was applied to

retirees. For the President of the Commission to select the first contract arrived at between

the State and any of the major unions would be completely arbitrary. In 5 years the PEF's

contract could be arrived at first, and the President could apply the terms for the

percentage of medical benefits to be paid by the State in the PEF contract to State retirees.

In any given year, the selection of which collective bargaining agreement will apply to State

retirees is a decision that the President would have to make on an arbitrary basis because

the statute provides no guidelines.

       The President of the Civil Service Commission does not have statutory authority

conferred in any act of the Legislature to increase the percentage of contribution for

participation in NYSmp by State retirees.     While the President may believe it is a good

idea during financially difficult times to burden retirees with paying an increased

percentage of their health care coverage, this is a policy decision which must be made by

the Legislature and not an administrative agency. Members of collective bargaining units

are bound by the collective bargaining agreements reached by the unions, but retirees are

not members of and are not represented by unions. The collective bargaining units have no


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authority to represent retirees, and can not waive the clear and specific provisions of

Section 167(1)(a) regarding the percentage of medical benefits for retirees to be paid by the

State.



                                       CONCLUSION

         WHEREFORE, it is respectfully requested that this Court grant a fmal judgment

and order pursuant to CPLR 3001 and CPLR Article 78 containing the following relief:

         (1)   Declaring that the administrative implementation of an increase in the
               percentages of the contributions for medical benefits under NYSHIP payable
               by State retirees and/or their dependents participating in NYSIDP in excess
               of that set forth in Civil Service Law 167(l)(a) allegedly effective on October
               1,2011 is invalid and null and void; and

         (g)   Declaring that the emergency regulation filed on September 27, 2011, and to
               take effect on October 1, 2011, and published in the State Register in an issue
               dated October 12, 2011 promulgated by the New York State Department of
               Civil Service purportedly implementing the increase in the percentages of
               contributions for NYSIDP by retirees participating in NYSIDP is invalid and
               null and void; and

         (h)   Granting a preliminary and permanent injunction prohibiting the
               defendant-respondents or any of the their officers, agents, or employees from
               implementing the October 1, 2011 increases in the percentages of the
               contributions for health insurance benefits under NYSHIP by retirees
               participating in NYSHIP and enjoining the said defendant-respondents from
               implementing the proposed amended regulations published in the State
               Register on December 14, 2011; and

         (i)   Directing that any increases for NYSIDP paid by State retirees since October
               1, 2011 under color of the notification and/or said emergency regulation be
               refunded; and

         G)    For the costs and disbursements of this action; and

         (1)   For such other and further relief as the Court may deem just and proper.



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DATED:    Albany, New York
          January 20, 2011


                                 RESPECTFULLY SUBMITTED,



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         NEW YORK STATE REGISTER
           VOLUME XXXIII, ISSUE 50
             December 14, 2011
              RULE MAKING ACTIVITIES
                DEPARTMENT OF CIVIL SERVICE
                  PROPOSED RULE MAKING
                    NO HEARING(S) SCHEDULED
         I.D No. CVS-50-11-0000S-P

                           "Provision of the Health Benefit Plan for Active and Retired New York State Employees


         PURSUANT TO THE PROVISIONS OF THE State Administrative Procedure Act, NOTICE is hereby given of the
         follOWing proposed rule:

         Proposed Action:
         Amendment of sections 73.3(b) and 73.12 of Title 4 NYCRR.

         Statutory authority:
         Civil Service Law. sections 160(1), 161-a and 167(8)

         Subject:
         Provision of the health benefit plan for active and retired New York State employees.

         Purpose:
         To conform 4 NYCRR 73.12 with Chapter 491 of the Laws of 2011.

         Text of proposed rule:
         RESOLVED, That the first paragraph of subdivision (b) of section 73.3 of Title 4 NYCRR is hereby amended to
         read as follows:

         73.3(b) •    Rate. of .... contribution ....

         The. rate. of +contribution. of New York State on account of the coverage of its em ployees, post
         retirees and their dependents shall be 100 percent of the charge on account of individual coverage and 75
         percent of the charge on account of dependent coverage, e~f.ept that for the [optional benefit plans] Health
         Maintenance Organization options the State's contribution o/'l~11 not exceed the same dollar amount as is paid
         by the State under the basic benefit plan. Effective Octobtf: 1, 2011, for those employees employed in a title
         allocated or equated to salary grade 9 or below, the State's rate of contribution for such employees and their
         dependents enrolled in the Empire Plan or a Health Maintenance Organization shall be 88 percent of the
         charge on account of individual coverage and 73 percent of the charge on account of dependent coverage;
         provided, however, that for hospital/medical/mental health and substance abuse coverage provided under a
         Health Maintenance Organization, the State's .rate'" of • contribution • shall not exceed 100 percent of
         its dollar .... contribution. for such coverage under the Empire Plan. For employees employed in a title
         allocated or equated to salary grade 10 or above, the State's "'rate'" of ...contribution ... for such
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         employees and their dependents enrolled in the Empire Plan or a Health Maintenance Organization shall be
         84 percent of the charge on account of individual coverage and 69 percent of the charge on account of
         dependent coverage, provided, however, that for hospital/medical/mental health and substance abuse
         coverage provided under a Health Maintenance Organization, the State's .rate. of.contribution'"
         shall not exceed 100 percent of its dollar. contribution ... for such coverage under the Empire Plan.
         Effective October 1,2011, the .rate'" of'" contribution ... on account of the coverage of post retirees
         shall be as follows:

         (i) for retirees who retired on or after January 1, 1983, and employees retiring prior to January 1, 2012, New
         .York State shall ... contribute ... 88 percent of the charge on account of individual coverage and 73 percent
         of the charge on account of dependent coverage, provided, however, that for hospital/medical/mental health
         and substance abuse coverage provided under a Health Maintenance Organization, the State's rate of
         contribution shall not exceed 100 percent of its dollar contribution for such coverage under the Empire Plan;

         (ii) for employees retiring on or after January 1, 2012, from a title allocated or equated to salary grade 9 or
         below, New York State shall contribute 88 percent of the charge on account of individual coverage and 73
         percent of the charge on account of dependent coverage, proVided, however, that for hospital/medical
         jmental health and substance abuse coverage provided under a Health Maintenance Organization, the State's
         rate of contribution shall not exceed 100 percent of its dollar contribution for such coverage under the Empire
         Plan;

         (iii) for employees retiring on or after January 1, 2012, from a title allocated or equated to salary grade 10 or
         above, New York State shall contribute 84 percent of the charge on account of individual coverage and 69
         percent of the charge on account of dependent coverage, provided, however, that for hospital/medical
         jmental health and substance abuse coverage provided under a Health Maintenance Organization, the State's
         .....rate. of"'contribution. shall not exceed 100 percent of its dollar ... contribution .... for such
         coverage under the Empire Plan.

         The "'rate'" of ... contribution .... of a participating employer on account of the coverage of its employees,
         post retirees and their dependents shall be not less than 50 percent of the charge on account of individual
         coverage and 35 percent of the charge on account of dependent coverage. A participating employer may
         elect to pay higher rates of contribution for the coverage of its employees, retired employees and their
         dependents; provided, however, that if a participating employer so elects to pay a higher or lower rate of
         contribution for its retired employees or their dependents, or both, than that paid by the State for its retired
         employees or their dependents, or both, amounts withheld from the retirement allowances of its retired
         em ployees for their share of premium or subscription charges, if any, shall, if the president so requires, be
         paid to such participating employer which shall pay into the health insurance fund the full cost of premium or
         subscription charges for the coverage of such retired employees and their dependents; and provided that
         notice of such election shall be furnished to the Department of Civil Service not less than 60 days prior to the
         date on which it is proposed to make such higher ..... rate ... of . . contribution .... effective. The ...
         contributions'" payable by a prior retiree shall be equal to the .contributions ... payable by active
         employees and post retirees having similar coverages; the employer's ... contributions .... shall be the
         difference between the "'contributions. of the prior retiree and the total charges on account of coverage
         for such prior retiree. Notwithstanding the foregoing provisions:

         FURTH ER, Section 73.12 of Title 4 NYCRR is hereby amended to read as follows:

         The provisions of this Chapter, insofar as they apply to employees in the negotiating units established
         pursuant to article 14 of the Civil Service Law and their dependents, shall be continued; provided, however,
         that during periods oftime when there is in effect an agreement between the State and an employee
         organization reached pursuant to the provision of said article 14, the provisions of such agreement and the
         provisions of this Chapter shall both be applicable. In the event the provisions of the agreement are different
         from the provisions of this Chapter, the provisions of the agreement shall be controlling. The president may,
         upon [certification] approval by the Director of [Employee Relations] the Budget, provide for the
         [supplementation of benefits] extension of the negotiated provisions of such agreement, in whole or in part,
         [provided hereinabove for] to officers and employees not in a negotiating unit within the meaning of article
         14 of the Civil Service Law and may extend provisions regarding the modified state cost of premium or
         subscription charges to such employees or retirees.

         Text of proposed rule and any required statements and analyses may be obtained from:
         Shirley LaPlante, NYS Department of Civil Service, Albany, NY 12239, (518) 473-6598, email:
         shirley.laolante@cs.state.ny.us
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          Data, views or arguments may be submitted to:
          Mark Worden, Associate Attorney, NYS Department of Civil Service, Albany, NY 12239, (518) 473-2624,
          email: mark.worden@cs.state.ny.us

          Public comment will be received until:
          45 days after publication of this notice.

          Regulatory Impact Statement
          1. Statutory Authority: Section 160(1) of the Civil Service Law authorizes the President of the State Civil
          Service Commission to establish regulations concerning the eligibility of active and retired employees to
          participate in the health benefit plan authorized by Article XI of the Civil Service Law. Section 161-a of the
          Civil Service Law authorizes the President of the State Civil Service Commission to implement those
          provisions of a collective bargaining agreement between the state and an employee organization which
          provide for health benefits in a manner consistent with the terms thereof, and to extend such benefits in
          whole or in part to employees not subject to the provisions of such agreement. Section 167(8) of the Civil
          Service Law provides that notwithstanding any inconsistent provision of law, where and to the extent that a
          collective bargaining agreement between the State and an employee organization provides that the cost of
          premium or subscription charges for eligible employees covered by such agreement may be modified
          pursuant to the terms of such agreement, the President of the State Civil Service Commission, upon approval
          of the Director of the Budget, may extend the modified State cost of premiums or subscription charges for
          employees not subject to a collective bargaining agreement and retirees and shall promulgate the necessary
          rules or regulations to implement this provision.

         2. Legislative Objectives: The President of the State Civil Service Commission has been granted broad
         authority to prescribe regulations concerning the administration of the health benefit plan authorized by
         Article XI of the Civil Service Law. Consistent with such authority, the President is amending the Rules and
         Regulations of the Department of Civil Service with respect to the extension of health plan benefits provided
         to active and retired employees not subject to collective bargaining.

          3. Needs and Benefits: Chapter 491 of the Laws of 2011 implements the terms of a collective bargaining
          agreement covering members of the Administrative Services Unit, the Institutional Services Unit, and
          Operational Services Unit, and the Division of Military and Naval Affairs Unit represented by the Civil Service
          Employees Association (CSEA). The Chapter also establishes terms and conditions of employment for
          employees designated as Management/Confidential (M/C) and other unrepresented employees. The Chapter
          provides that modified state cost of premium or subscription charges for health insurance coverage may be
          extended to M/C and other unrepresented employees and retirees. The Chapter also provides M/C and other
          unrepresented employees with compensation increases, payments, and benefits comparable to negotiated
          increases and benefits for represented employees. This rule ensures that the President implements these
          essential benefits and provisions in a timely fashion for M/C and other unrepresented employees and retirees
          in the manner required by the Chapter and in accordance with the State's obligations.

          4. Costs:

          a. Cost to regulated parties for the implementation of and continuing compliance with the rule: This rule
          conforms the Regulations of the Department of Civil Service with Chapter 491 of the Laws of 2011 and
          relevant provisions of such law will be implemented through ministerial acts performed by the New York
          State Department of Civil Service as administrator of the New York State Health Insurance Program. There
          are no specific costs associated with implementation of and continuing compliance with this rule.

         b. Costs to the agency, the State and local governments for the implementation and continuation of the rule:
         This rule conforms the Regulations of the Department of Civil Service with Chapter 491 of the Laws of 2011
         and will be implemented through ministerial acts performed by the New York State Department of Civil
         Service as administrator of the New York State Health Insurance Program. There are no specific costs to New
         York State associated with implementation and continuation of this rule and, as the proposal applies only to
         certain State employees and retirees, it will not impose any costs upon local governments.

         c. The information, including the source(s) of such information, and methodology upon which the cost analysis
         is based: Preliminary estimates regarding administrative costs associated with providing the subject benefits
         to M/C and other unrepresented employees and retirees have been evaluated by the Department of Civil
         Service.
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         5. Local Government Mandates: The proposal applies only to certain State Classified Service employees and
         retirees and will not impose any mandates upon local governments.

         6. Paperwork: The proposal will not require any new or additional application or reporting forms.

         7. Duplication: The proposal does not duplicate or conflict with any State or federal requirements.

         8. Alternatives: This rule reflects the only appropriate method of implementing the provisions of Chapter 491
         of the Laws of 2011 with respect to prOViding M/C and other unrepresented employees and retirees with the
         health plan benefits in the manner required by the Chapter timely and in accordance with the State's
         obligations.

         9. Federal Standards: This proposal does not exceed any minimum standards of the federal government for
         the same or similar subject areas.

         10. Compliance Schedule: Compliance commenced automatically upon the effective date of the emergency
         adoption of this regulation which is now proposed for permanent adoption.

         Regulatory Flexibility Analysis
         Since this rule serves only to provide for essential health plan benefits for certain M/C and other
         unrepresented employees and retirees, it has no economic impact and places no reporting, recordkeeping or
         other compliance requirements upon small businesses, as defined by Section 102(8) of the State
         Administrative Procedure Act, or any local government. Therefore, a Regulatory Flexibility Analysis (RFA) is
         not required by Section 202-b of such Act.

         Rural Area Flexibility Analysis
         Since this rule serves only to prOVide for essential health plan benefits for certain M/C and other
         unrepresented employees and retirees, without regard to the geographic distribution of personal residences
         or work locations of such employees and retirees, this rule will not impose any adverse economic impact or
         create reporting, recordkeeping or other compliance requirements for public and private entities in rural
         areas, as defined in Section 102(10) of State Administrative Procedure Act. Therefore, a Rural Area Flexibility
         Analysis (RAFA) is not reqUired by Section 202-bb of such Act.

         Job Impact Statement
         By modifying Title 4 NYCRR to provide for essential health plan benefits for certain M/C and other
         unrepresented employees and retirees, this rule will positively impact jobs or employment opportunities for
         covered employees, as set forth in Section 201-a(2)(a) of the State Administrative Procedure Act (SAPA).
         Therefore, a Job Impact Statement (JIS) is not reqUired by Section 201-a of such Act.

         12/14/11 NY-ADR CVS-SO-11-0000S-P RM

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Civil Service, Department of
1 / Provision of the Health Benefit Plan for Active and Retired New
York State Employees (P)
Provision of the Health Benefit Plan for Active and Retired New
York State Employees
I.D. No. CVS-50-11-00005-P
PURSUANT TO THE PROVISIONS OF THE State Administrative Procedure Act, NOTICE is
hereby given ofthe following proposed rule:
Proposed Action: Amendment of sections 73.3(b) and 73.12 of Title 4
NYCRR.
Statutory authority: Civil Service Law, sections 160(1), 161-a and 167(8)
Subject: Provision of the health benefit plan for active and retired New
York State employees.
Purpose: To conform 4 NYCRR 73.12 with Chapter 491 of the Laws of2011.
Text of proposed rule: RESOLVED, That the first paragraph of subdivision (b) of section 73.3 of
Title 4 NYCRR is hereby amended to read as follows:

73 .3 (b) Rate of contribution.
The rate of contribution of New York State on account ofthe coverage
of its employees, post retirees and their dependents shall be 100 percent of
the charge on account of individual coverage and 75 percent of the charge
on account of dependent coverage, except that for the [optional benefit
plans] Health Maintenance Organization options the State's contribution
shall not exceed the same dollar amount as is paid by the State under the
basic benefit plan. Effective October 1,2011, for those employees
employed in a title allocated or equated to salary grade 9 or below, the
State's rate of contribution for such employees and their dependents
enrolled in the Empire Plan or a Health Maintenance Organization shall
be 88 percent of the charge on account of individual coverage and 73
percent ofthe charge on account of dependent coverage; provided,
however, that for hospital/medical/mental health and substance abuse
coverage provided under a Health Maintenance Organization, the State's
rate of contribution shall not exceed 100 percent of its dollar contribution
for such coverage under the Empire Plan. For employees employed in a
title allocated or equated to salary grade 10 or above, the State's rate of
contribution for such employees and their dependents enrolled in the
Empire Plan or a Health Maintenance Organization shall be 84 percent of
the charge on account of individual coverage and 69 percent of the charge
on account of dependent coverage, provided, however, that for hospital/
medical/mental health and substance abuse coverage provided under a
Health Maintenance Organization, the State's rate of contribution shall
not exceed 100 percent of its dollar contribution for such coverage under
the Empire Plan. Effective October 1, 2011, the rate of contribution on account of the coverage of
post retirees shall be as follows:
(i) for retirees who retired on or after January 1, 1983, and employees retiring prior to
January 1,2012, New York State shall contribute 88
percent of the charge on account of individ ual coverage and 73 percent of
the charge on account of dependent coverage, provided, however, that for
hospital/medical/mental health and substance abuse coverage provided
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     under a Health Maintenance Organization, the State's rate of contribution shall not exceed
    100 percent of its dollar contribution for such coverage under the Empire Plan;
    (ii) for employees retiring on or after January 1,2012, from a title
    allocated or equated to salary grade 9 or below, New York State shall
    contribute 88 percent of the charge on account of individual coverage and
    73 percent of the charge on account of dependent coverage, provided,
    however, that for hospital/medical/mental health and substance abuse
    coverage provided under a Health Maintenance Organization, the State's
    rate of contribution shall not exceed 100 percent of its dollar contribution
    for such coverage under the Empire Plan;
    (iii) for employees retiring on or after January 1,2012, from a title
    allocated or equated to salary grade 10 or above, New York State shall
    contribute 84 percent of the charge on account of individual coverage and
    69 percent ofthe charge on account of dependent coverage, provided,
    however, that for hospital/medical/mental health and substance abuse
    coverage provided under a Health Maintenance Organization, the State's
    rate of contribution shall not exceed 100 percent of its dollar contribution
    for such coverage under the Empire Plan.
    The rate of contribution ofa participating employer on account of the
    coverage of its employees, post retirees and their dependents shall be not
    less than 50 percent ofthe charge on account of individual coverage and
    35 percent ofthe charge on account of dependent coverage. A participating employer may elect to
    pay higher rates of contribution for the coverage of its employees, retired employees and their
    dependents; provided, however, that if a participating employer so elects to pay a higher or lower
    rate of contribution for its retired employees or their dependents, or both,
    than that paid by the State for its retired employees or their dependents, or
- - both, amounts withheld from_the retirement allowances of its I~tireJi employees for_ thejr share of
    premium or subscription charges, if any, shall; if
    the president so requires, be paid to such participating employer which
    shall pay into the health insurance fund the full cost of premium or
    subscription charges for the coverage of such retired employees and their
    dependents; and provided that notice of such election shall be furnished to
    the Department of Civil Service not less than 60 days prior to the date on
    which it is proposed to make such higher rate of contribution effective.
    The contributions payable by a prior retiree shall be equal to the contributions payable by active
    employees and post retirees having similar coverages; the employer's contributions shall be the
    difference between the
    contributions ofthe prior retiree and the total charges on account of coverage for such prior
    retiree. Notwithstanding the foregoing provisions:
    FURTHER, Section 73.12 of Title 4 NYCRR is hereby amended to
    read as follows:
    The provisions of this Chapter, insofar as they apply to employees in
    1the negotiating units established pursuant to article 14 of the Civil Service
    Law and their dependents, shall be continued; provided, however, that
    during periods of time when there is in effect an agreement between the
    State and an employee organization reached pursuant to the provision of
    said article 14, the provisions of such agreement and the provisions of this
    Chapter shall both be applicable. In the event the provisions of the agreement are different from
    the provisions of this Chapter, the provisions of
    the agreement shall be controlling. The president may, upon [certification]
    approval by the Director of [Employee Relations] the Budget, provide for
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     the [supplementation of benefits] extension ofthe negotiated provisions of
     such agreement, in whole or in part, [provided hereinabove for] to officers
     and employees not in a negotiating unit within the meaning of article 14 of
     the Civil Service Law and may extend provisions regarding the modified
     state cost of premium or subscription charges to such employees or
     retirees.

    Text of proposed rule and any required statements and analyses may be
    obtained from: Shirley LaPlante, NYS Department of Civil Service,
    Albany, NY 12239, (518) 473-6598, email: shirley.laplante@cs.state.ny.us
    Data, views or arguments may be submitted to: Mark Worden, Associate
    Attorney, NYS Department of Civil Service, Albany, NY 12239, (518)
    473-2624, email: mark.worden@cs.state.ny.us

    Public comment will be received until: 45 days after publication of this
    notice.

    Regulatory Impact Statement
    1. Statutory Authority: Section 160(1) ofthe Civil Service Law
    authorizes the President ofthe State Civil Service Commission to establish regulations
    concerning the eligibility of active and retired employees
    to participate in the health benefit plan authorized by Article XI of the
    Civil Service Law. Section 161-a of the Civil Service Law authorizes the
    President ofthe State Civil Service Commission to implement those provisions of a collective
    bargaining agreement between the state and an employee organization which provide for health
    benefits in a manner consistent with the terms thereof, and to extend such benefits in whole or in
    part
    to employees not subject to the provisions of such agreement. Section
    167(8) ofthe Civil Service Law provides that notwithstanding any inconsistent provision of law,
    where and to the extent that a collective bargaining agreement between the State and an employee
    organization provides
    that the cost of premium or subscription charges for eligible employees
    covered by such agreement may be modified pursuant to the terms of such
    agreement, the President of the State Civil Service Commission, upon approval of the Director of
    the Budget, may extend the modified State cost
    of premiums or subscription charges for employees not subject to a collective bargaining
    agreement and retirees and shall promulgate the necessary
    rules or regulations to implement this provision.
    2. Legislative Objectives: The President of the State Civil Service Commission has been granted
    broad authority to prescribe regulations concerning the administration ofthe health benefit plan
    authorized by Article XI
    ofthe Civil Service Law. Consistent with such authority, the President is
    amending the Rules and Regulations of the Department of Civil Service
    with respect to the extension of health plan benefits provided to active and
    retired employees not subject to collective bargaining.
    3. Needs and Benefits: Chapter 491 ofthe Laws of20l1 implements
    the terms of a collective bargaining agreement covering members ofthe
•   Admini s t rat ive Se rvi c e s Uni t, the Ins t i tut iona 1Se rvi c e s Uni t, and
    Operational Services Unit, and the Division of Military and Naval Affairs
    Unit represented by the Civil Service Employees Association (CSEA).
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        The Chapter also establishes terms and conditions of employment for employees designated as
        Management/Confidential (M/C) and other unrepresented employees. The Chapter provides that
        modified state cost of
        premium or subscription charges for health insurance coverage may be
        extended to M/C and other unrepresented employees and retirees. The
    •   Chapter also provides M/C and other unrepresented employees with
        compensation increases, payments, and benefits comparable to negotiated
        increases and benefits for represented employees. This rule ensures that
        the President implements these essential benefits and provisions in a
        timely fashion for M/C and other unrepresented employees and retirees in
        the manner required by the Chapter and in accordance with the State's
        obligations.
        4. Costs:
        a. Cost to regulated parties for the implementation of and continuing
        compliance with the rule: This rule conforms the Regulations of the
        Department of Civil Service with Chapter 491 of the Laws of 20 11 and
        relevant provisions of such law will be implemented through ministerial
        acts performed by the New York State Department of Civil Service as
        administrator of the New York State Health Insurance Program. There are
        no specific costs associated with implementation of and continuing
        compliance with this rule.
        b. Cos t s to the agency, the S tat e and loc a I gove rnment s for the
        implementation and continuation of the rule: This rule conforms the
        Regulations of the Department of Civil Service with Chapter 491 of the
        Laws of 20 11 and will be implemented through ministerial acts performed
        by the New York State Department of Civil Service as administrator of the
        New York State Health Insurance Program. There are no specific costs to
        New York State associated with implementation and continuation of this
        rule and, as the proposal applies only to certain State employees and
        retirees, it will not impose any costs upon local governments.
        c. The information, including the source(s) of such information, and
        methodology upon which the cost analysis is based: Preliminary estimates
        regarding administrative costs associated with providing the subject
        benefits to M/C and other unrepresented employees and retirees have been
        evaluated by the Department of Civil Service.
        S. Local Government Mandates: The proposal applies only to certain
        State Classified Service employees and retirees and will not impose any
        mandates upon local governments.
        6. Paperwork: The proposal will not require any new or additional application or reporting forms.
        7. Duplication: The proposal does not duplicate or conflict with any
        State or federal requirements.
        8. Alternatives: This rule reflects the only appropriate method of
        implementing the provisions of Chapter 491 of the Laws of2011 with respect to providing M/C
        and other unrepresented employees and retirees
        with the health plan benefits in the manner required by the Chapter timely
        and in accordance with the State's obligations.
        9. Federal Standards: This proposal does not exceed any minimum standards ofthe federal
•       government for the same or similar subject areas.
        10. Compliance Schedule: Compliance commenced automatically upon
        the effective date of the emergency adoption of this regulation which is
        now proposed for permanent adoption.
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        Regulatory Flexibility Analysis
        Since this rule serves only to provide for essential health plan benefits for
        certain M/C and other unrepresented employees and retirees, it has no
        economic impact and places no reporting, recordkeeping or other compliance requirements upon
        small businesses, as defined by Section 102(8) of
    •   the St ate Admini s t rat ive Proc edur e Ac t ,or any loc a I gove rnment .
        Therefore, a Regulatory Flexibility Analysis (RFA) is not required by
        Section 202-b of such Act.
        Rural Area Flexibility Analysis
        Since this rule serves only to provide for essential health plan benefits for
        certain M/C and other unrepresented employees and retirees, without
        regard to the geographic distribution of personal residences or work locations of such employees
        and retirees, this rule will not impose any adverse
        economic impact or create reporting, recordkeeping or other compliance
        requirements for public and private entities in rural areas, as defmed in
        Section I 02( I0) of State Administrative Procedure Act. Therefore, a Rural
        Area Flexibility Analysis (RAPA) is not required by Section 202-bb 'of
        such Act.
        Job Impact Statement
        By modifying Title 4 NYCRR to provide for essential health plan benefits
        for certain M/C and other unrepresented employees and retirees, this rule
        will positively impact jobs or employment opportunities for covered employees, as set forth in
        Section 201-a(2)(a) of the State Administrative
        Procedure Act (SAPA). Therefore, a Job Impact Statement (rrS) is not
        required by Section 20 I-a of such Act.




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                              EXHIBITM
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              Retired Public Employees Association, Inc.
             435 NEW KARNER ROAD· ALBANY, NY 12205· (518) 869·2542 • FAX (518) 869·0631 e-mail: maJ.l@rpea.org
             Stanley Wintelj President                                           Alan Dom, Executive Dfreetol'


                                         December 27,2011



    Mark Worden, Esq.
    Associate Attorney,
    NYS Department of Civil Service,
    Alfred E. Smith State Office Building
    Albany, NY 12239

     CERTIFIED MAlL - RETURN RECEIPT REQUESTED

    Dear Mr. Worden:

    The Retired Public Employees Association, Inc. (RPEA), on behalf of itself and its
    approximately 40,000 members, objects to the adoption of the amendments to 4 NYCRR
    73.3(b) and 4 NYCRR 73.12 as reported in the State Register as "PROPOSED RULE
    MAKING, NO HEARING(S) SCHEDULED ... I.D. No. CVS-50-11-00005-P,"
    insofar as it applies to individuals who l'etired from the State as their employer on or after
    January 1, 1983 and prior to October 1, 2011.

    This proposed rule appears to be identical to EMERGENCY RULE MAKING ... LD.
    No. CVS-41';'00007-E," filed on September 27,2011, and in essence, proposes to make
    the Emergency Rule permanent. As you are aware, RPEA, by letter to the Honorable
    Patricia Rite, dated October 20, 2011, objected to the Emergency Rule stating our reasons
    therefor and offering an alternative proposed rule in accordance with law. A copy of said
    letter of October 20,2011 and attached alternative proposed rule is attached hereto and
    made a part hereof.

    In addition, you may be aware that the NYS Department of Civil Service, Patricia Hite,
     Acting President, NYS Civil Service Department, the NYS Civil Service Commission,
     and the New York State Health Insurance Program are all named Defendant-Respondents
     in an action commenced by RPEA in Supreme Court ofthe State ofNew York, Albany
     County (Index No. 7586-11) challenging the above referenced Emergency Rule and de
    facto, this identical proposed rule. These four named Defendant-Respondents were aU
     duly served in said action on December 12,2011 at your offices in the A1:fi.'ed E. Smith
     Office State Office Building, Albany, NY 12239.

    Without limiting RPEA's causes of action in the aforesaid legal action, following are
    some ofthe salient reasons for our objection to this proposed rule making:

•   Civil Service Law, §167.1 (a) now mandates the State's contribtltion percentage ofthe
    cost ofpremium or subscription charges for the coverage of retired state employees
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     retiring on or after January first, nineteen hundred eighty-three who are enrolled in the
     Statewide and supplementary health benefit plans. The proposed rule making
     contravenes the clear mandate ofthis·provision of law.

     The President [ofthe State Civil Service Commission], in extending the modified State
     cost of premium or subscription charges for retirees not subject to collective bargaining
     agreements referenced in the amendment to Civil Service Law, §167.8 by Chapter 491 of
     the Laws of2011, Part A, §2, is acting ultra vires and in contravention of law. Prior to
     its amendment by Chapter 491 ofllie Laws of2011, §167.8 provided as follows:

            "8. Notwithstanding any inconsistent provision of law, where and to the
            extent that an agreement between the state and an employee organization
            entered into pursuant to article foul1een ofthis chapter so provides, the
            state cost ofpremium or subscription charges for eligible employees
            covered by such agreement may be increased pursuant to the tenns of such
            agreement and for a duration pmvided by such agreement and pursuant to
            rules and regulations as may be established by the president. Such increase
            in state cost shall only apply during the pedod if eligibility provided by
            such agreement and shall not be applied during retil·ement." (Emphasis
            supplied.)

    When the Legislature amended §167.8 by enacting Senate 5846 which upon approval by
    the Governor became Chapter 491 of the Laws of2011, the Sponsor's Memorandum in
    Support of Senate 5846 explained that the amendment was intended to apply to officers
    and employees ofthe State as the employer including officers and employees ofthe State
    as the employm' not subject to the terms of a negotiated agreement, but does not mention
    or refer to "a retiree" or "a retired employee" therein, directly or indirectly.

     Indeed, conspicuous by its absence is any reference to "retired employee" or "retiree" in
     this Memorandum, which states:

            "Section 2 of this part amends Civil Service Law §l67(8) to provide
            authority to modify the employer and employee shares of health premium
            and subscription costs under the New York State Health Insurance Plan."
            (Emphasis supplied,)

     Refen·ing to "Part B" of the bill, the Memorandum continues:

            "PART B OF TIIE BILL:

            "This part ofthe bill establishes terms and conditions of employment for
            M/C and other unrepresented employees." (Emphasis supplied.)
•
    Senate 5846 reads as follows (deleted provisions in brackets and strook through; new
    material underlined):                     -                                       .
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                 "8. Notwithstanding any inconsistent provision oflaw, where and to the
                 extent that an agreement between the state and an employee organization
    •           entered into pursuant to article fourteen ofthis chapter so provides, the
                 state cost of premium or subscription charges for eligible employees
                 covered by such agreement may be [inoreased] modified pursuant to the
                terms of such agreement [and for fl dm'atl:ea pt'o:r.tided by such flgpeement
                and pufSaQflt to rules alid }'egalatiofls as Biay he established by the .
                pt·esident. SUM increase in state east shall oaI)' appI)' dming the period of
                eligibiIitr pl'ovidea by sach agfcemeBt and shan Rot be appaed duriflg
                retiremeflt]. The president, with the approval ofthe director of the
                budget, may extend the modified state cost of premium or subscription
                charges for employees or retirees not subject to an agreement referenced
                above and shall promulgate the necessary rules or regulations to
                implement this provision."

        This amendment, with respect to retirees of the State as the employer, provides that the
        President, with the approval of the Director ofthe Budget, "may extend the modified
        state cost of premium or subscription charges for ... retirees ... and shall pl'omulgate the
        necessary lUles or regulations to implement this provision. H Significantly, §167.8 only
        authorizes the President, with the approval ofthe Dh'ector of the Budget, to promulgate
        the necessary lUles 01' regulations with respect to "retirees" ofthe State as the employer
        in contrast promulgating such rules with respect to "retired employees" of the State as the
        employer.

        The State Legislature, which is presumed to be aware ofits mandates with respect to
        retired employees of the State. and their dependents as set out in §167.l(a) ofthe Civil
                                                                                 .

        Service Law, did not amend §)67.1(a) of the Civil Service Law. As to the inclusion of
        the word "retiree" in § 167.8 as amended, it is essential that the Legislatw'e's intent when
        it amended §167.8 as reflected in the Sponsors' Memorandum be considered by the
        President when promulgating rules and regulations to implement the provisions of §167.8
        in order to make certain that such rules reflect that intent and are in harmony with the
        provisions of Civil Service Law §I67.1(a) and §I67.8 as amended. In other words, the
        President's lules or regulations with respect to implementing the provisions of §167.8 .
        must be consistent with and reflect both that legislative intent and the mandates of Civil
        Service Law §167.l(a) insofar as persons retired 01' retiring from the State as the
        employer are conce111ed.

        Insofar as retll'ees are concerned, it is clear that in amending §167.8 the Legislature
        intended to limit the authority of the President of the Civil Service Commission to extend
        the modified State's cost of such premium or subscription charges to reflect telms and
        conditions set out in a collective bargaining agreement negotiated pursuant to Article 14
        of the Civil Service Law in 2011, and successor such agreements, to (1) employees in the
        l'elevant negotiating unit during the term of the controlling colle~tive bargaining
"
        agreement J'etiring duri1lg tlte term ofsuch collective bargaining agreement; and (2)
        State officers and employees not subject to the terms and conditions of employment set
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         December 27, 2011
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         out in any collective bargaining agreement retiring during the tern, ojtlle relevant
         collective bm'gaillillg agreemellt.
    •
         Accordingly. we urge that the proposed rule language fia Imlekets aHd sa'uelr;: e~ hel9'Rr] be
         deleted and the language set out below in italics be adopted by the President to amend 4 NYCRR
         73.3(b). Rate of contdbutioll, as set out in CVS-50-l1-0000S-p. thereby reflecting the
         Legislature's intent in its passing Senate 5846, thereafter signed into law as Chapter 491 oftile
         Laws of2011. with respect to individuals who retired fl'OID the State on 01' aftel' January], 1983
         and prior to October 1,2011 and in harmony with the provisions of §§ 167.1 (a) and 167.8 (as
         amended) ofthe Civil Service Law.

         73.3(b) Rate of contribution.

         The I'ate of contribution ofNew YQ1·k State on account of the coverage of its employees,
         post retirees and their dependents shall be 100 percent of the charge on account of
         individual coverage and 75 percent of the charge on account of dependent coverage,
         except that for the [optional- benefit plans] Health Maintenance Organiza1ion options the
         Statets contribution shall not exceed the same dol1aramount as is paid by the State under
         the basic benefit plan, Effective October 1, 2011, for those employees employed in a title
         allocated or equated to salary grade 9 or below, the State's rate of contribution for such
         employees and their dependents.emolled in the Empire_Plan or a Health Maintenance
         Organization shaH b~ 88 percent ofthe charge on account of individual coverage and 73
         percent of the charge on account ofdependent coverage; provided. however, that for
         hospital/medicaUmental health and substance abuse coverage provided under a Health
         Maintenance Organization, the State's rate of contribution shall not exceed 100 percent of
         its dollar contribution for such coverage under the Empire Plan. For employees employed
         in a title allocated or equated to salary grade 10 or above, the State's rate of contribution
         for such employees and their dependents enrolled in the Empire Plan or a Health
         Maintenance Organization shall be 84 percent of the charge on account ofindividual
         coverage and 69 percent of the charge on account of dependent coverage, provided,
         however, that for hospital/medical/mental health and substance abuse coverage provided
         under a Health Maintenance Organization, the State's rate of contribution shall not exceed
         100 percent of its dollar contribution for such coverage under the Empire Plan. Effective
         October 1, 2011, the rate of contribution on account of the coverage of post retirees shaH
         be as follows:

          (i) [fel' l'eth'ees who I'etil'ed aD 01' afteI' Janual'y 1, 1983, aDa employees retiring pl'iol' to
          JaDuary 1, 2012, New YOi'll State shall eeah'ihute 88 !Jel'eeRt of the eharge OH aeeouRt of
          iDdividual eoverage alld 13 pet'eeHi ef the ehRI'ge on aee~uBt ef depeHdent eOVel'llge,
        . provided, h9"(\'evel'; tflat fel" llespitallmediealimentaI health aDd suhstaaee aBuse eoverage
          provided undeF a Health Maintenllnee Ol'gftHi2!RtiOll, the State's l'Ilte af eBHa'ihutioB shaD
          not exeeed 100 pel'eeBt of its dollal' eontrihutien fel' sueh eo¥el'Oge under tHe Empire PIaH;]

        for retirees who retired 011 or after October I, 2011, and employees retiring prior to January 1,
•       2012, New York State shall contribute 88 percellt ofthe charge on accolmt ofindividual coverage
        (lIld 73 percent ofthe charge 011 account ofdependent coverage, provided, ho·wever, (a) New York
        State shall contribute 90 percent ofthe charge 011 account ofindividual coverage 011 behalfof
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         Mark Worden, Esq.
         December 27, 2011
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         state employees wlto retired on or ajterJanumy 1,1983 andprior to October 1, 2011 and 75
         perce1tl ofthe charge on accOlmt ofdependent COl'e1·age 011 behalfofstate employees 'who retired
         prior to October 1, 2011 altd (b) thalfor hospital/medicalhnental health andsubstance abuse
    •
         coverage provided under a Health Maintenance Organization, the State's rate ofcontribution
         shallllot exceed 100 percent ofits dollar contributionfor such coverage wtder the Empire Plan,'

         It is further urged, for the reasons indicated above, that 4 NYCRR 73.12 as set out in CVS-SO-l1-
         00005-P also be amended by the President by inserting the language set out below in italics, to
         read as follows:

         The provisions.ofthis Chapter, insofar as they apply to employees in the negotiating units
         established pursuant to article 14 ofthe Civil Service Law and theit" dependents, shall be
         continued; provided, however, that during periods oftime when thel'e is in effect an agreement
         between the State and an employee organization reached pursuant to the provision of said article
         14, the provisions of such agreement and the provisions ofthis Chapter shall both be applicable.
         In the event the provisions of the agreement are different :fl.-om the provisions ofthis Chapter, the
         provisions ofthe agreement shall be controlling. The president may, upon [certification] approval
         by the Directol' of [EmpJoyeeRelations] the Budget, provide fOl'the [supplementation ofbenefits]
         extension of the negotiated provisions of such agreement, in whole or in part, [provided
         hereinabove for] to officers and employees not in a negotiating unit within the meaning of article
         14 oftIle Civil Service Law and may extend provisions regarding the modified state cost of
         premium or subscription charges to such employees or retirees retiring on or after October 1.
         2011.

         Thank you for yoUl· consideration of our objections as outlined above.

                                                                   Very truly yours,

                                                                   A1L~~'?: _
                                                              /AI~~DOl1l
                                                                   Executive Director

         Enclosure

         Cc:     Honorable Thomas P. DiNapoli
                 Lewis B. Oliver, Jr, Esq.




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                 Retired Public Employees Association, Inc.
                 485 NEW KARNER ROAD • ALBANY, NY 12205' (518) 869·2542 • FAX (518) 869·0631 e-mail: mail@rpea.org
                 Stanley 'Winter. Preaident                                           Alan Dorn, Executive Director


    •



                                                                     October 20, 2011

          The Honorable Patricia Hite
          Acting NYS Department of Civil
           Service Commission President
          NYS Department of Civil Service
          Alfred E. Smith State Office Building
          Albany, NY 12239

          CERTIFIED MAIL - RETURN RECEIPT REQUESTED

          Dear President Hite:

           The Retired Public Employees Association, Inc. (RPEA) notes the Department of
           Civil Service's posting of an Emergency Rule that would affect the Health Benefit
           Plan for Active and Retired New York State Employees, I.D. No. CVS-41-11-
         . OOD07-E, Filing Nc;>. 854, filed on September 27,2011 and to take effect on that
           date, in the State Register, dated October 12, 2011.

          With respect to such "Emergency Rule" providing, in pertinent part, that:

                Effective October 1, 2011, the rate of contribution .·..shaJI be as follows:

                        (i) for retirees who retired on or after January 1, 1983~ and
                employees retiring prior to January 1, 2012, New York State shall
                contribute 88 percent of the charge on account of individual coverage and
                73 percent of the charge on account of dependent coverage ..., and
                       (ii) for employees retiring on or after January 1, 2012, from a title
                allocated or equated to salary grade 9 or below, New York State shall
                contribute 88 percent of the charge on account of individual coverage and
                73 percent of the charge on account of dependent coverage, .. .and
                       (iii) for employees retiring on or after January 1J 2012, from a tit/e _
                allocated or equated to salary grade 10 or above, New York State shalJ
                contribute 84 percent of the charge on account of individual coverage and
                69 percent of the charge on account of dependent coverage....


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       RPEA, on behalf of retirees of the State as an employer and their dependents in
       general and Its members who are retirees of the State as an employer and their
       dependents in particular, objects to the adoption of such provisions for the
       following reasons:

                                               POINT I

       Except as otherwise provided by an agreement between the State and an
       employee organization entered into pursuant to Article fourteen ofthe Civil
       Service Law, Section 167.1 (a) requires the State to contribute ninewtenths of the
       cost of premiums or sUbscription charges for health ·insurance coverage of each
       such State employee or retired State employee and three-quarters of the cost of
       premium or subscription charges for the coverage of dependents of such State
       employees and retired State employee except as otherwise provided by Section
       167.1(a).                                        .

       Suffice it to note that lilt is wellwsetUed that a State regulation should be upheld if
       it has a rational basis and is not unreasonable,arbitrary, capricious or contrary
       to the statute under which it was promulgated" (see Kuppersmith v Dowling,
       93 NY2d 90, 96) [emphasis supplied].

       Clearly the Emergency Rule CVS-41 w11 w00007-E and, presumably, a final rule
       that would track Emergency Rule CVS-41-11-00007-E "is contrary to the statute
       under which it was prornu!gatedn with insofar as it requires a retiree of the State
       as the employer to pay more than (1) 10% of the heaJth insurance premium for
       individual health insurance coverage and (2) 25% of the health insurance .
       premium for dependent health insurance coverage.

                                             POINT II

      Assuming, but not conceding, that Civil Service Law §167.8 as relied upon by the
      President as authority for promulgating the changes set out in CVS-41-11-00007-
      E is viable, nothing in the "memorandum in support" of Senate 5486, which was
    - signed into law as Chapter 491 of the Laws of 2011 and which. in pertinent part,
                                                              J

      amended Section 167.8, suggests that this amendment was to apply to a retiree
      of the State as the employer.
      Indeed, the consistent theme, as demonstrate in the Sponsor's Memorandum's
      reference the amendment of CSL §167.8, is that the prOVision would apply with
      respect to "employer and employeell shares of the cost of health insurance and
      conspicuous by its absence is any reference to "retirees.n The Sponsor's
      Memorandum states:




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       "Section 2[of Part A of this law amends Civil Service Law § 167(8) to provide
       authority to modify the employer and employee shares of health premium
       and subscription costs under the New York State Health Insurance Plan."
       (emphasis supplied)           .

       As the Sponsor's Memorandum further explains, the bill is intended to apply as
       follows:
         .    "Part B of this bill provides the State's approximately 12,000
               unrepresented employees who are prohibited from collective
              negotiations by the Taylor Law, inclUding managerial or confidential
              ("M/C") employees, with benefits and increases in compensation at levels
              that are comparable to the benefits and increases in compensation
              received by employees represented by employee organizations."
              [emphasis supplied]

      Again, the phrasing of the Sponsor's Memorandum - "prOVides the State's
      approximately 12.000 unrepresented employees" - clearly neither contemplates
      nor implies that retirees of the State as the employer are to be sUbjected to the
      extension of the terms negotiated in the course of collective bargaining pursuant
      to Article 14 of the Civil Service Law with respect to any ratio of health Insurance
      contributions by the State and its employees in such collective bargaining unit in
      contrast to the President, with the approval of the Director of the BUdget, electing
      to promulgate a rule, regl.llation or policy under color of §167.8 extending such
      provisions to managerial or confidential employees and unrepresented
      employees.

                                           POINT III

      Assuming, arguendo, that in some way §167.8 is deemed applicable to retirees
      of the State as an employer, such application would be prospective only I
      applying to those employees of the State retiring on or after the claimed effective
      date, September 27, 2011, of the emergency rule as was the case when
      § 167.1 (a) was amended in 1983.                                .
      The uprospective application" of changes in retiree contributions for health
      insurance is reflected in both the Bill Jacket concerning the measure that was
      signed into law as Chapter 14 of the Laws of 1983, a uGovemor's Program Bill,"
      enacting the amendment to Civil Service Law, Section 167.1(a) changing the
      ratio of employer and employee contributions for health insurance prospectively
      as of January 1, 1983 with respect to employees of the State as the employer
      retiring on or ,after January 1, 1983 and continuing in place the superior
      contribution ratios for those retirees of the State as the employer retiring on or
      before December 31, 1982.




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       In a letter to you dated, September 14, 2011, RPEA offered a proposed
       amendment to the President's Rules which should have been promulgated
•      instead of the above Emergency Rule. For the above reasons, and for the
       reasons stated in our letter of September 14, 2011, RPEA respectfully requests
       an immediate withdrawal of the Emergency Rule and promulgation of our
       suggested proposed amendment which would be consistent with legal and
       historical precedent as we have painstakingly demonstrated.

                                                     Sincerely,

                                                     s/
                                                     Alan Dorn
                                                     Executive Director

       cc: Comptroller DiNapoli




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